Case: 22-10312, 04/25/2023, ID: 12702996, DktEntry: 36-10, Page 1 of 220




                  EXHIBIT 9
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1267 DktEntry:  36-10, Page
                                               Filed 01/18/22   Page 12 of
                                                                        of 219
                                                                           220
                                                                                 1889


 1

 2                           UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                  SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,                )   CR-18-00258-EJD
 6                                                )
                             PLAINTIFF,           )   SAN JOSE, CALIFORNIA
 7                                                )
                      VS.                         )   VOLUME 12
 8                                                )
         ELIZABETH A. HOLMES,                     )   SEPTEMBER 28, 2021
 9                                                )
                             DEFENDANT.           )   PAGES 1889 - 2106
10                                                )

11
                           TRANSCRIPT OF TRIAL PROCEEDINGS
12                      BEFORE THE HONORABLE EDWARD J. DAVILA
                             UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:          UNITED STATES ATTORNEY'S OFFICE
15                                  BY: JOHN C. BOSTIC
                                         JEFFREY B. SCHENK
16                                  150 ALMADEN BOULEVARD, SUITE 900
                                    SAN JOSE, CALIFORNIA 95113
17
                                    BY:  ROBERT S. LEACH
18                                       KELLY VOLKAR
                                    1301 CLAY STREET, SUITE 340S
19                                  OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1267 DktEntry:  36-10, Page
                                               Filed 01/18/22   Page 23 of
                                                                        of 219
                                                                           220
                                                                                 1890


 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:       WILLIAMS & CONNOLLY LLP
                                    BY: KEVIN M. DOWNEY
 4                                       LANCE A. WADE
                                         KATHERINE TREFZ
 5                                  725 TWELFTH STREET, N.W.
                                    WASHINGTON, D.C. 20005
 6
                                    LAW OFFICE OF JOHN D. CLINE
 7                                  BY: JOHN D. CLINE
                                    ONE EMBARCADERO CENTER, SUITE 500
 8                                  SAN FRANCISCO, CALIFORNIA 94111

 9
        ALSO PRESENT:               FEDERAL BUREAU OF INVESTIGATION
10                                  BY: ADELAIDA HERNANDEZ

11                                  OFFICE OF THE U.S. ATTORNEY
                                    BY: LAKISHA HOLLIMAN, PARALEGAL
12                                       MADDI WACHS, PARALEGAL

13                                  WILLIAMS & CONNOLLY
                                    BY: TIMIKA ADAMS-SHERMAN, PARALEGAL
14
                                    TBC
15                                  BY:   BRIAN BENNETT, TECHNICIAN

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                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1267 DktEntry:  36-10, Page
                                               Filed 01/18/22   Page 34 of
                                                                        of 219
                                                                           220
                                                                                 1891


 1
                                  INDEX OF PROCEEDINGS
 2
        GOVERNMENT'S:
 3

 4      ADAM ROSENDORFF
        DIRECT EXAM BY MR. BOSTIC (RES.)                  P. 1903
 5      CROSS-EXAM BY MR. WADE                            P. 1963

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1267 DktEntry:  36-10, Page
                                               Filed 01/18/22   Page 45 of
                                                                        of 219
                                                                           220
                                                                                 1892


 1                                 INDEX OF EXHIBITS

 2
                                                   IDENT.        EVIDENCE
 3      GOVERNMENT'S:

 4      4182                                                     1903
        4181                                                     1909
 5      1580                                                     1917
        1724                                                     1924
 6      1248                                                     1926
        4146                                                     1929
 7      4044                                                     1933
        4047                                                     1934
 8      2149                                                     1938
        4323                                                     1940
 9      4314                                                     1945
        4330                                                     1948
10      5378A, PAGES 28 & 33                                     1952
        2228                                                     1953
11

12

13      DEFENDANT'S:

14      11000A                                                   1981
        7603                                                     1986
15      12464                                                    2016
        7338                                                     2024
16      10272                                                    2054
        9903                                                     2082
17      9915                                                     2084
        9910                                                     2094
18      9945                                                     2094

19

20

21

22

23

24

25



                             UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 56 of
                                                                                  of 219
                                                                                     220
                                                                                           1893


           1      SAN JOSE, CALIFORNIA                              SEPTEMBER 28, 2021

           2                                P R O C E E D I N G S

08:35AM    3            (COURT CONVENED AT 8:35 A.M.)

08:35AM    4            (JURY OUT AT 8:35 A.M.)

08:35AM    5                   THE COURT:    LET'S GO ON THE RECORD IN UNITED STATES

08:35AM    6      VERSUS ELIZABETH HOLMES.

08:35AM    7            LET ME FIRST CAPTURE THE APPEARANCES OF THE PARTIES.

08:35AM    8            WHO APPEARS FOR THE GOVERNMENT?

08:35AM    9                   MR. SCHENK:    GOOD MORNING, YOUR HONOR.

08:35AM   10            JEFF SCHENK ON BEHALF OF THE UNITED STATES.          I'M JOINED BY

08:35AM   11      BOB LEACH, JOHN BOSTIC, ADDIE HERNANDEZ, AND LAKISHA HOLLIMAN.

08:35AM   12                   THE COURT:    THANK YOU.    GOOD MORNING.

08:35AM   13            AND I ALSO SEE MS. VOLKAR.

08:35AM   14                   MR. SCHENK:    AND MS. VOLKAR.     THANK YOU.

08:35AM   15                   THE COURT:    YES.   THANK YOU.    GOOD MORNING.

08:35AM   16                   MR. DOWNEY:    KEVIN DOWNEY FOR MS. HOLMES.

08:35AM   17            WITH ME ARE LANCE WADE, KATIE TREFZ, AND JOHN CLINE.

08:35AM   18            MS. HOLMES IS PRESENT IN COURT.

08:35AM   19                   THE COURT:    THANK YOU.    GOOD MORNING EVERYONE.

08:35AM   20            WE'RE OUTSIDE OF THE PRESENCE OF OUR JURY, AND I JUST

08:35AM   21      WANTED TO BRING TO THE PARTIES'S ATTENTION AN EMAIL I THINK

08:36AM   22      MS. KRATZMANN SHARED WITH YOU FROM ONE OF OUR ALTERNATE JURORS.

08:36AM   23                   MR. DOWNEY:    YES, YOUR HONOR.

08:36AM   24                   THE COURT:    I HAVE THAT AS WELL.      I WANTED TO

08:36AM   25      DISCUSS THAT WITH YOU AND TALK ABOUT NEXT STEPS WITH THIS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 67 of
                                                                                  of 219
                                                                                     220
                                                                                           1894


08:36AM    1      PERSON.

08:36AM    2            IT SUGGESTS WE SHOULD HAVE A CONVERSATION OUTSIDE OF THE

08:36AM    3      PRESENCE OF HER COLLEAGUES AND MAKE SOME FURTHER INQUIRY ABOUT

08:36AM    4      HER EMAIL AND THE ISSUES IT PRESENTS.

08:36AM    5            MR. SCHENK?

08:36AM    6                   MR. SCHENK:    I AGREE.    THE START DATE IS UNCLEAR,

08:36AM    7      AND SHE SAYS NEXT MONTH, AND THAT'S GOING TO AFFECT OUR

08:36AM    8      PERSPECTIVE ON IF SHE SHOULD BE RELEASED NOW OR IF IT'S A START

08:36AM    9      DATE THAT MAYBE WE COULD WORK WITH AND ASK HER TO STAY ON A

08:36AM   10      LITTLE BIT LONGER.

08:36AM   11                   THE COURT:    SURE.   ANYTHING?

08:36AM   12                   MR. DOWNEY:    NO, YOUR HONOR.

08:36AM   13                   THE COURT:    IT SEEMS IT'S PART-TIME.       IT'S A LITTLE

08:36AM   14      UNCLEAR ABOUT THE NATURE OF THE ENGAGEMENT AND THE DURATION OF

08:37AM   15      IT.   SO I THOUGHT I WOULD MAKE SOME INQUIRY.

08:37AM   16            CANDIDLY, I MAY ASK THE ALTERNATE JUROR WHETHER OR NOT IT

08:37AM   17      WOULD BE BENEFICIAL FOR THE COURT TO SPEAK WITH THE EMPLOYER

08:37AM   18      AND COLLECT SOME ADDITIONAL INFORMATION, AND THAT'S BEEN DONE

08:37AM   19      BEFORE, TO SEE IF SOME SCHEDULING MIGHT BE APPROPRIATE,

08:37AM   20      CHANGING OUR HOURS, THOSE TYPES OF THINGS.

08:37AM   21            SO WE'LL DO THAT THEN.       I'LL ASK MS. KRATZMANN TO CHECK

08:37AM   22      WHEN THIS ALTERNATE ARRIVES, AND THEN WE CAN INVITE HER IN AND

08:37AM   23      MAYBE HAVE THAT CONVERSATION.

08:37AM   24            AS TO SCHEDULING AND TIMING THIS WEEK, I'M GOING TO ASK

08:37AM   25      THE JURORS IF WE CAN GO UNTIL 3:00 TODAY.          MAYBE I CAN GO UNTIL



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 78 of
                                                                                  of 219
                                                                                     220
                                                                                           1895


08:37AM    1      4:00.    I'M HOPEFUL WE CAN GO UNTIL 3:00 OR 4:00 TOMORROW.

08:37AM    2      FRIDAY I WOULD LIKE TO END AT 2:00.         I WOULD SUGGEST MAYBE EVEN

08:37AM    3      1:00 O'CLOCK.     I HAVE AN ENGAGEMENT AND APPOINTMENT I WOULD

08:38AM    4      LIKE TO MAKE UP THE PENINSULA IN THE AFTERNOON IF I CAN.

08:38AM    5            BUT IF I CAN'T, OF COURSE, THAT'S FINE.          THIS CASE TAKES

08:38AM    6      PRIORITY OVER THAT.

08:38AM    7            BUT LET'S SEE WHAT THAT BRINGS US.

08:38AM    8            I'LL ALSO ASK OUR JURORS WHETHER GOING FORWARD PERHAPS WE

08:38AM    9      CAN EXTEND OUR TIME TO MAYBE 3:00 O'CLOCK INSTEAD OF 2:00, AND

08:38AM   10      THEN MAYBE 4:00 O'CLOCK TO SEE WHAT THEIR SCHEDULES PERMIT.               SO

08:38AM   11      I'LL MAKE THAT INQUIRY.

08:38AM   12            ANY INQUIRY ON THAT?

08:38AM   13                   MR. DOWNEY:    THAT'S FINE WITH US.

08:38AM   14                   MR. SCHENK:    NO.    THANK YOU.

08:38AM   15                   THE COURT:    GREAT.   MS. KRATZMANN, DO YOU KNOW THE

08:38AM   16      STATUS OF ANY OF OUR JURORS?

08:38AM   17                   THE CLERK:    NO, YOUR HONOR.      I HAVE NOT HAD AN

08:38AM   18      OPPORTUNITY TO CHECK IN WITH THEM.

08:38AM   19                   THE COURT:    OKAY.    I'LL STEP DOWN AND ALLOW YOU TO

08:38AM   20      DO THAT THEN.

08:38AM   21            WHAT I'LL DO IS THAT ONCE MS. KRATZMANN HAS CONFIRMED THE

08:38AM   22      ARRIVAL OF THE JUROR, THEN WE'LL COME BACK, AND WE'LL HAVE OUR

08:38AM   23      CONVERSATION.

08:38AM   24            ANYTHING FURTHER ABOUT ANYTHING ELSE?

08:38AM   25                   MR. SCHENK:    NO, YOUR HONOR.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 89 of
                                                                                  of 219
                                                                                     220
                                                                                           1896


08:38AM    1                   MR. DOWNEY:    NO.    THANK YOU, YOUR HONOR.

08:38AM    2                   THE COURT:    THIS MORNING -- MR. BOSTIC SUGGESTED

08:39AM    3      FRIDAY THAT HE HAD ABOUT AN HOUR LEFT I THINK, MR. BOSTIC, MORE

08:39AM    4      OR LESS?

08:39AM    5                   MR. BOSTIC:    YES, YOUR HONOR.     I THINK BETWEEN AN

08:39AM    6      HOUR AND TWO HOURS, BUT NO MORE THAN TWO.

08:39AM    7                   THE COURT:    OKAY.

08:39AM    8             (LAUGHTER.)

08:39AM    9                   THE COURT:    IT'S A WIDE FREEWAY, MR. BOSTIC.

08:39AM   10                   MR. BOSTIC:    I DID SOME WORK OVER THE WEEKEND.

08:39AM   11                   THE COURT:    I MEAN, WE ALL DID.      GREAT.   THANK YOU.

08:39AM   12                   THE CLERK:    COURT IS IN RECESS.

08:39AM   13             (RECESS FROM 8:39 A.M. UNTIL 8:56 A.M.)

08:56AM   14                   THE COURT:    WE'RE BACK ON THE RECORD.       ALL PARTIES

08:56AM   15      PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

08:56AM   16             LET'S BRING IN OUR ALTERNATE JUROR, PLEASE.

08:56AM   17             (ALTERNATE JUROR NUMBER 3 IS PRESENT.)

08:56AM   18                   THE COURT:    GOOD MORNING.     PLEASE BE SEATED.     THANK

08:56AM   19      YOU.

08:56AM   20             GOOD MORNING.    ALL COUNSEL ARE PRESENT AND DEFENSE COUNSEL

08:56AM   21      ARE PRESENT.

08:56AM   22             ALTERNATE JUROR NUMBER 3 IS PRESENT.        GOOD MORNING.

08:56AM   23                   JUROR:    GOOD MORNING.

08:56AM   24                   THE COURT:    MS. KRATZMANN SHARED WITH US AN EMAIL

08:56AM   25      THAT I SHARED WITH COUNSEL REGARDING ALTERNATE JUROR NUMBER 3,



                                        UNITED STATES COURT REPORTERS
               Case:
                Case 22-10312, 04/25/2023,
                     5:18-cr-00258-EJD     ID: 12702996,
                                        Document   1267 DktEntry: 36-10, Page
                                                         Filed 01/18/22  Page 10
                                                                              9 ofof219
                                                                                     220
                                                                                           1897


08:57AM    1       YOUR RESPONSIBILITY OF A NEW POSITION.

08:57AM    2                   JUROR:   YES, SIR.

08:57AM    3                   THE COURT:    NOW, TELL ME, IS THIS A PART-TIME

08:57AM    4       POSITION?

08:57AM    5                   JUROR:   IT'S A FULL TIME, BUT TEMPORARY, SO THEY'RE

08:57AM    6       HIRING ME UNTIL DECEMBER.

08:57AM    7                   THE COURT:    I SEE.   AND CAN YOU TELL US WHAT THE

08:57AM    8       HOURS ARE OF THIS JOB?

08:57AM    9                   JUROR:   9:00 TO 6:00.

08:57AM   10                   THE COURT:    I SEE.

08:57AM   11                   JUROR:   MONDAY THROUGH FRIDAY.

08:57AM   12                   THE COURT:    AND WHEN DOES IT BEGIN?

08:57AM   13                   JUROR:   THEY WANT ME TO START AS SOON AS POSSIBLE.

08:57AM   14       THEY ARE JUST DOING MY BACKGROUND CHECK RIGHT NOW.

08:57AM   15                   THE COURT:    I SEE.   AND I BELIEVE YOU'RE FULL-TIME

08:57AM   16       EMPLOYED NOW; RIGHT?

08:57AM   17                   JUROR:   YES.

08:57AM   18                   THE COURT:    SO THIS IS --

08:57AM   19                   JUROR:   IT IS A DIFFERENT FIELD I'VE BEEN WANTING TO

08:57AM   20       GO TO AND FINALLY HAD A CHANCE TO, SO I CAN'T PASS IT UP.

08:57AM   21                   THE COURT:    I SEE.   I SEE.

08:57AM   22             IS THIS SOMETHING THAT YOU -- DO YOU THINK THAT THEY WOULD

08:57AM   23       BE ABLE TO HOLD THIS POSITION FOR YOU UNTIL YOU FINISH YOUR

08:58AM   24       SERVICE HERE?

08:58AM   25                   JUROR:   I CAN ASK, BUT, YEAH, RIGHT NOW THEY'RE JUST



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 10
                                                                               11 of
                                                                                  of 219
                                                                                     220
                                                                                           1898


08:58AM    1       IN THE PROCESS OF CHECKING MY BACKGROUND.

08:58AM    2                   THE COURT:    SURE.   AND I'M SURE THAT'S GOING TO GO

08:58AM    3       FINE, ABSOLUTELY, YES.

08:58AM    4             (LAUGHTER.)

08:58AM    5                   THE COURT:    I'M CURIOUS IF IT MIGHT BE HELPFUL IF

08:58AM    6       YOU FIND THAT INFORMATION OUT, OR PERHAPS I COULD SPEAK TO

08:58AM    7       WHOEVER THE PERSON IS TO MAKE THAT INQUIRY TO SEE IF THAT MIGHT

08:58AM    8       BE OF ASSISTANCE.

08:58AM    9                   JUROR:   SO YOU WOULD LIKE ME TO PROVIDE THE PHONE

08:58AM   10       NUMBER OR EMAIL?

08:58AM   11                   THE COURT:    WELL, MAYBE.    I THINK IT MIGHT -- THAT

08:58AM   12       MIGHT BE SOMETHING THAT I WOULD LIKE TO DO, BUT I WANT TO GIVE

08:58AM   13       YOU -- I DON'T WANT TO INTERFERE WITH YOUR EMPLOYMENT

08:58AM   14       OPPORTUNITY AT ALL.      SO I WOULD LIKE TO HAVE YOU PERHAPS TALK

08:58AM   15       TO THEM, EXPLAIN TO THEM YOUR CURRENT PUBLIC SERVICE SITUATION,

08:58AM   16       AND THEN SEE IF PERHAPS THEY COULD EITHER DEFER YOUR EMPLOYMENT

08:59AM   17       OR IF, GIVEN OUR SCHEDULE, OUR SCHEDULE THAT WE BREAK AT 2:00

08:59AM   18       AND REALISTICALLY IT WILL BE AT 3:00 O'CLOCK, WHETHER OR NOT

08:59AM   19       THAT'S SOMETHING THAT WOULD AFFORD SOME RELIEF, AND ALSO

08:59AM   20       WHETHER OR NOT THERE MIGHT BE A POSSIBILITY FOR YOU TO DO SOME

08:59AM   21       WORK IN THE NEW POSITION REMOTELY.

08:59AM   22                   JUROR:   YES, YOUR HONOR.     I'LL GET IN TOUCH WITH

08:59AM   23       THAT PERSON THAT I KNOW.

08:59AM   24                   THE COURT:    OKAY.   THAT WOULD BE HELPFUL.      I WOULD

08:59AM   25       APPRECIATE THAT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 11
                                                                               12 of
                                                                                  of 219
                                                                                     220
                                                                                           1899


08:59AM    1              AND THEN MAYBE YOU COULD REPORT BACK AND THEN MAYBE I'LL

08:59AM    2       FOLLOW UP WITH REACHING OUT TO THEM.

08:59AM    3              BUT LET ME ASK THESE LAWYERS IF THEY HAVE ANY QUESTIONS AS

08:59AM    4       WELL.

08:59AM    5                    MR. SCHENK:    NOTHING FURTHER.

08:59AM    6              THANK YOU, YOUR HONOR.

08:59AM    7                    MR. DOWNEY:    NOTHING FROM US, YOUR HONOR.

08:59AM    8                    THE COURT:    THANK YOU.   ALL RIGHT.    THANK YOU FOR

08:59AM    9       LETTING US KNOW.      THANK YOU SO MUCH.    AND WE'LL BE CALLING YOU

08:59AM   10       ALL OUT IN JUST A MOMENT.

08:59AM   11                    JUROR:   THANK YOU.

08:59AM   12                    THE COURT:    OH, BEFORE YOU LEAVE, I DID WANT TO ASK

09:00AM   13       YOU ONE OTHER QUESTION IN RESPONSE TO THIS, AND THAT'S THE

09:00AM   14       QUESTION I ASK YOUR COLLEAGUES, AND I SHOULD HAVE ASKED

09:00AM   15       INITIALLY, DURING THE WEEKEND AND THE BREAK, DID YOU HAVE CAUSE

09:00AM   16       TO COME UPON ANY OR BE EXPOSED TO ANY INFORMATION ABOUT THIS

09:00AM   17       CASE, ANY PARTIES ATTACHED TO IT, OR TALK TO ANYONE ABOUT THIS

09:00AM   18       CASE?

09:00AM   19                    JUROR:   NO, YOUR HONOR.    NO, YOUR HONOR.

09:00AM   20                    THE COURT:    THANK YOU.   I APPRECIATE THAT.     THANK

09:00AM   21       YOU.

09:00AM   22              (PROCEEDINGS HELD OUT OF THE PRESENCE OF ALTERNATE JUROR

09:00AM   23       NUMBER 3.)

09:00AM   24                    THE COURT:    ARE THE BALANCE OF THE JURORS HERE,

09:00AM   25       MS. KRATZMANN?



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 12
                                                                               13 of
                                                                                  of 219
                                                                                     220
                                                                                           1900


09:00AM    1                   THE CLERK:    YES, YOUR HONOR.

09:00AM    2                   THE COURT:    WELL, LET'S BRING THEM IN.

09:00AM    3                   THE CLERK:    I'LL NEED TO GET THEM LINED UP, BUT,

09:00AM    4       YEAH.

09:00AM    5                   THE COURT:    THANK YOU.

09:00AM    6             ANYTHING FURTHER, COUNSEL?       SHOULD WE BRING THE JURY IN?

09:00AM    7                   MR. SCHENK:    NOTHING FURTHER.

09:00AM    8                   THE COURT:    I'M SORRY, MR. DOWNEY?

09:00AM    9                   MR. DOWNEY:    NO, NOTHING FURTHER.

09:00AM   10                   THE COURT:    THIS MAY TAKE A MINUTE.      AS YOU MAY

09:01AM   11       RECALL, I'M GOING TO ROTATE THE JURORS JUST TO GIVE EVERYONE AN

09:01AM   12       OPPORTUNITY TO HAVE BETTER SEATING, IF YOU WILL, TO OBSERVE THE

09:01AM   13       PROCEEDINGS.

09:01AM   14             AND I HAVE INFORMATION THAT WE SHOULD BREAK ABOUT 10:45

09:01AM   15       FOR ABOUT 30 MINUTES, AND THEN MAYBE ANOTHER 30, 20 MINUTE

09:01AM   16       BREAK LATER IN THE AFTERNOON IF THAT WORKS FOR FOLKS.

09:01AM   17                   MR. WADE:    EXACTLY, YOUR HONOR.     IF MR. BOSTIC IS

09:01AM   18       WITHIN A SHORT TIME OF COMPLETING HIS EXAMINATION AT 10:45, WE

09:01AM   19       HAVE A LITTLE BIT OF FLEXIBILITY.        WE WOULDN'T WANT TO

09:01AM   20       INTERRUPT THAT.

09:01AM   21                   THE COURT:    OKAY.

09:01AM   22                   MR. BOSTIC:    I APPRECIATE THAT.

09:01AM   23             AND THAT SCHEDULE IS FINE WITH THE GOVERNMENT.

09:01AM   24                   THE COURT:    THANK YOU.

09:01AM   25             (PAUSE IN PROCEEDINGS.)



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 13
                                                                               14 of
                                                                                  of 219
                                                                                     220
                                                                                           1901


09:05AM    1             (JURY IN AT 9:05 A.M.)

09:05AM    2                    THE COURT:   THANK YOU.    GOOD MORNING.    WE'RE BACK ON

09:05AM    3       THE RECORD.    ALL PARTIES ARE PRESENT, COUNSEL AND THE

09:05AM    4       DEFENDANT.    OUR JURY AND ALTERNATES ARE PRESENT.

09:05AM    5             OUR JURY BOX HAS A DIFFERENT LOOK TO IT.        GOOD MORNING,

09:05AM    6       LADIES AND GENTLEMEN.      WE HAVE ROTATED AS I SAID WE WOULD DO,

09:05AM    7       AND THANK YOU FOR YOUR COOPERATION IN THAT.

09:05AM    8             WE'LL DO THAT NEXT WEEK AGAIN.       WE'LL ROTATE THE SEATS

09:05AM    9       AROUND AND AFFORD EVERYONE A BETTER VIEW AND A BETTER

09:05AM   10       OPPORTUNITY TO PERCEIVE THE PROCEEDINGS.

09:05AM   11             THANK YOU VERY MUCH.

09:05AM   12             BEFORE WE BEGIN, I DO WANT TO ASK ALL OF YOU THE QUESTION

09:05AM   13       AGAIN ABOUT YOUR WEEKENDS.      I HOPE YOU ALL HAD PLEASANT

09:05AM   14       WEEKENDS.    MY QUESTION IS, DURING THE WEEKEND WHEN YOU WERE

09:05AM   15       AWAY FROM COURT, WERE ANY OF YOU EXPOSED TO ANYTHING ABOUT THIS

09:06AM   16       CASE THROUGH THE MEDIA, THE NEWSPAPER, RADIO, TELEVISION, OR

09:06AM   17       VIA COMMUNICATIONS, CONVERSATIONS WITH ANYONE ABOUT THIS CASE

09:06AM   18       OR ANYTHING TO DO WITH IT?      IF SO, I WOULD ASK YOU TO RAISE

09:06AM   19       YOUR HAND.

09:06AM   20             AGAIN, IF YOU WOULD LIKE TO SPEAK PRIVATELY WITH US ABOUT

09:06AM   21       THAT, WE WOULD BE HAPPY TO DO THAT AS WELL.

09:06AM   22             SO ANYONE HAVE EXPOSURE TO ANYTHING ABOUT THIS CASE DURING

09:06AM   23       THE LAST WEEK?

09:06AM   24             I SEE NO HANDS.

09:06AM   25             THANK YOU VERY MUCH FOR YOUR CONTINUED FIDELITY TO THAT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 14
                                                                               15 of
                                                                                  of 219
                                                                                     220
                                                                                           1902


09:06AM    1       ADMONITION.

09:06AM    2             COUNSEL, ANYTHING FURTHER BEFORE WE CONTINUE WITH THE

09:06AM    3       EXAMINATION?

09:06AM    4                   MR. BOSTIC:    NO, YOUR HONOR.

09:06AM    5                   MR. WADE:    NO, YOUR HONOR.

09:06AM    6                   THE COURT:    ALL RIGHT.    THANK YOU.

09:06AM    7             DO WE HAVE YOUR WITNESS HERE, MR. BOSTIC?

09:06AM    8                   MR. BOSTIC:    YES, YOUR HONOR.

09:06AM    9                   THE COURT:    GREAT.

09:07AM   10             GOOD MORNING, SIR.     I'LL ASK YOU TO RESUME THE WITNESS

09:07AM   11       STAND IF YOU WOULD.

09:07AM   12                   THE WITNESS:    UH-HUH.

09:07AM   13                   THE COURT:    AND AGAIN, FEEL FREE TO ADJUST THE CHAIR

09:07AM   14       AND MICROPHONE AS YOU NEED.

09:07AM   15             I THINK THERE'S SOME FRESH WATER THERE FOR YOUR

09:07AM   16       REFRESHMENT.    SHOULD YOU REQUIRE IT, HELP YOURSELF.

09:07AM   17                   THE WITNESS:    YES.   THANK YOU.

09:07AM   18                   THE COURT:    WHEN YOU ARE COMFORTABLE, WOULD YOU

09:07AM   19       PLEASE STATE YOUR NAME AGAIN.

09:07AM   20                   THE WITNESS:    YES, MY NAME IS ADAM ROSENDORFF.

09:07AM   21                   THE COURT:    THANK YOU.    AND I JUST WANT TO REMIND

09:07AM   22       YOU YOU'RE STILL UNDER OATH.

09:07AM   23                   THE WITNESS:    THANK YOU.

09:07AM   24             (GOVERNMENT'S WITNESS, ADAM ROSENDORFF, WAS PREVIOUSLY

09:07AM   25      SWORN.)



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 15
                                                                               16 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1903


09:07AM    1                           DIRECT EXAMINATION (RESUMED)

09:07AM    2       BY MR. BOSTIC:

09:07AM    3       Q.    GOOD MORNING, DR. ROSENDORFF.       WELCOME BACK.

09:07AM    4       A.    GOOD MORNING.

09:07AM    5       Q.    DO YOU HAVE A BINDER OF DOCUMENTS IN FRONT OF YOU?

09:07AM    6       A.    YES.

09:07AM    7       Q.    I'D LIKE TO PICK UP WHERE WE LEFT OFF, PLEASE.

09:07AM    8             IF YOU COULD TURN TO EXHIBIT 4182 IN THAT BINDER.

09:08AM    9       A.    I HAVE IT.

09:08AM   10       Q.    AND IS EXHIBIT 4182 AN EMAIL CHAIN INVOLVING INDIVIDUALS

09:08AM   11       AT THERANOS, INCLUDING SUNNY BALWANI AND DANIEL YOUNG?

09:08AM   12       A.    YES.

09:08AM   13       Q.    AND I'LL LET YOU FLIP THROUGH THAT EMAIL CHAIN IF YOU

09:08AM   14       WOULD LIKE, AND THEN I'LL ASK YOU, IS THAT EMAIL CHAIN RELATING

09:08AM   15       TO A PARTICULAR LAB TEST RESULT GENERATED WITHIN THERANOS?

09:08AM   16       A.    YES.   IT RELATES TO THE PT INR TEST.

09:08AM   17                    MR. BOSTIC:   YOUR HONOR, THE GOVERNMENT MOVES INTO

09:08AM   18       EVIDENCE EXHIBIT 4182.

09:08AM   19                    MR. WADE:    NO OBJECTION, YOUR HONOR.

09:08AM   20                    THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

09:08AM   21             (GOVERNMENT'S EXHIBIT 4182 WAS RECEIVED IN EVIDENCE.)

09:09AM   22                    MR. BOSTIC:   MS. HOLLIMAN, IF WE CAN START ON THE

09:09AM   23       BOTTOM OF PAGE 3 PLEASE, AND IF WE CAN ZOOM IN TO CAPTURE THAT

09:09AM   24       HEADER INFORMATION AT THE VERY BOTTOM, JUST THE LAST LINE OF

09:09AM   25       THE PAGE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 16
                                                                               17 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1904


09:09AM    1                    THE COURT:    GIVE US JUST A SECOND, MR. BOSTIC.

09:09AM    2             GREAT.   I THINK WE'VE GOT IT.      THANK YOU.

09:09AM    3                    MR. BOSTIC:    THANK YOU, YOUR HONOR.

09:09AM    4       Q.    DR. ROSENDORFF, DO YOU SEE IN FRONT OF YOU THAT WE'RE

09:09AM    5       ABOUT TO LOOK AT AN EMAIL IN FRONT OF YOU FROM AN INDIVIDUAL

09:09AM    6       NAMED TRACEY MASSON?

09:09AM    7       A.    YES.

09:09AM    8       Q.    THANK YOU.

09:09AM    9             MS. HOLLIMAN, IF WE COULD TURN TO PAGE 4, PLEASE.

09:09AM   10             LET'S LOOK AT THE TOP EMAIL.      DR. ROSENDORFF, DO YOU SEE

09:09AM   11       THIS IS AN EMAIL FROM AUGUST 24TH, 2014?

09:09AM   12       A.    YES.

09:09AM   13       Q.    AND SENT TO SUNNY BALWANI, CHRISTIAN HOLMES, AND OTHERS AT

09:10AM   14       THERANOS?

09:10AM   15       A.    YES.

09:10AM   16       Q.    AND DO YOU SEE THE SUBJECT IS BOT EXPERIENCE?

09:10AM   17       A.    YES.

09:10AM   18       Q.    AND THE TEXT READS "COULD YOU PLEASE CHECK ON THESE

09:10AM   19       RESULTS?     THESE ARE FOR" NAME REDACTED "ONE OF OUR BOTS."

09:10AM   20             IS BOT SHORT FOR PHLEBOTOMIST?

09:10AM   21       A.    YES.

09:10AM   22       Q.    AND WHAT IS A PHLEBOTOMIST?

09:10AM   23       A.    A PHLEBOTOMIST IS TRAINED TO DRAW BLOOD FROM A PATIENT.

09:10AM   24       Q.    LET'S ZOOM OUT.      AND THEN ZOOM IN ON THE FIRST TWO

09:10AM   25       PARAGRAPHS OF THE TEXT BELOW.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 17
                                                                               18 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1905


09:10AM    1             DR. ROSENDORFF, DO YOU SEE THE TEXT BELOW REPORTS THIS

09:10AM    2       EXPERIENCE FROM SOMEONE WHO BEEN ON ANTICOAGULANT FOR ABOUT

09:10AM    3       14 YEARS NOW?

09:10AM    4             DO YOU SEE THAT?

09:10AM    5       A.    YES, I DO.

09:10AM    6       Q.    IT GOES ON TO SAY, "I HAVE BEEN WITHIN RECOMMENDED PT INR

09:10AM    7       RANGE FOR ABOUT 13 YEARS, PROMPTING THE SAME MG DOSAGE FOR OVER

09:10AM    8       A DECADE."

09:11AM    9             WHAT IS PT INR?

09:11AM   10       A.    IT'S A COAGULANT TEST.     IT IS A TEST OF BLOOD CLOTTING.          A

09:11AM   11       NUMBER OF DIFFERENT CLINICAL CONDITIONS REQUIRE ANTICOAGULANT

09:11AM   12       LONG-TERM, SUCH AS AFIB.      THOSE PATIENTS WOULD BE ON COUMADIN

09:11AM   13       AND THEY WOULD HAVE THEIR COAGULANT MONITORED WITH A PT INR.

09:11AM   14       Q.    AND THAT REPORT GOES ON TO READ, "I RECENTLY HAD MY

09:11AM   15       STANDING ORDER SWITCHED TO THERANOS FOR MY PT INR MONITORING.

09:11AM   16       THIS WAS THE FIRST TIME I HAD A CTN DRAW FOR MY PT INR."

09:11AM   17             CAN YOU REMIND US WHAT CTN MEANS?

09:11AM   18       A.    IT'S CAPILLARY TUBE AND NANOTAINER.

09:12AM   19       Q.    AND YOU WERE GOING TO SAY IT WAS THE COLLECTION DEVICE?

09:12AM   20       A.    IT WAS THE COLLECTION DEVICE THAT THERANOS WAS USING FOR

09:12AM   21       FINGERSTICK SAMPLES.

09:12AM   22       Q.    IS THIS A THERANOS-SPECIFIC DEVICE?

09:12AM   23       A.    CORRECT.

09:12AM   24       Q.    THAT ACCOUNT GOES ON TO SAY "I WAS SURPRISED WHEN THE

09:12AM   25       RESULTS CAME BACK OUT OF RANGE (TOO LOW).         MY DOCTOR ADVISED ME



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 18
                                                                               19 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1906


09:12AM    1       TO RETEST ABOUT A WEEK LATER.       THE SECOND CTN RESULT WAS ALSO

09:12AM    2       EXTREMELY LOW AND HE INCREASED BY COUMADIN FOR ONE DOSE."

09:12AM    3             DO YOU SEE THAT?

09:12AM    4       A.    YES, I DO.

09:12AM    5       Q.    SHE THEN SAYS, "THIS WAS LAST WEEK.        I HAVE NOT FELT RIGHT

09:12AM    6       SINCE THE ONE INCREASED DOSE AND ALSO EXPERIENCED VARIOUS SKIN

09:12AM    7       BRUISING ON MY LEGS AND ARMS ALMOST IMMEDIATELY AFTER THE ONE

09:12AM    8       DOSE INCREASE.     I ASKED FOR ANOTHER STANDING ORDER DRAW AT THE

09:12AM    9       END OF MY SHIFT YESTERDAY.      THIS TIME I WANTED THE DRAW

09:12AM   10       SWITCHED FROM CTN TO VENOUS DRAW."

09:12AM   11             DO YOU SEE THAT?

09:12AM   12       A.    YES, I DO.

09:12AM   13       Q.    LET'S ZOOM OUT, MS. HOLLIMAN, AND ZOOM BACK IN JUST ON THE

09:12AM   14       LAST TWO LINES OF THIS PAGE.

09:13AM   15             LOOKING AT THE BOTTOM OF THAT SCREEN, DO YOU SEE THAT,

09:13AM   16       DR. ROSENDORFF?     IT GOES ON TO SAY, "MY DOCTOR JUST CALLED ME

09:13AM   17       BECAUSE MY PT INR RESULTS NOW SHOW THAT IT IS VERY HIGH."

09:13AM   18       A.    YES, I SEE THAT.

09:13AM   19       Q.    AND MS. HOLLIMAN, LET'S GO TO THE NEXT PAGE, PAGE 5, AND

09:13AM   20       ZOOM IN ON THE TEXT AT THE TOP.

09:13AM   21             SHE THEN GOES ON TO SAY, "FOR TESTING ACCURACY, I WILL BE

09:13AM   22       GETTING BOTH THE VENIPUNCTURE AND THE CTN DRAW ON MONDAY TO

09:13AM   23       COMPARE RESULTS, AS THIS INFORMATION WOULD BE OF UTMOST

09:13AM   24       IMPORTANCE TO THERANOS AND ULTIMATELY TO THE WELL-BEING OF OUR

09:13AM   25       PATIENTS."



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 19
                                                                               20 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1907


09:13AM    1             DO YOU SEE THAT?

09:13AM    2       A.    YES, I DO.

09:13AM    3       Q.    OKAY.   WE CAN ZOOM OUT, MS. HOLLIMAN.

09:14AM    4             DR. ROSENDORFF, AFTER SOME BACK AND FORTH IN THIS EMAIL,

09:14AM    5       I'LL ASK YOU TO LOOK NOW AT THE BOTTOM HALF OF PAGE 1 OF THIS

09:14AM    6       EXHIBIT.

09:14AM    7             MS. HOLLIMAN, IF WE CAN GO THERE.

09:14AM    8             DR. ROSENDORFF, DO YOU SEE IN THE BOTTOM OF THIS PAGE IN

09:14AM    9       THE SAME EMAIL CHAIN THERE'S A MESSAGE FROM SUNNY BALWANI TO

09:14AM   10       DANIEL YOUNG?

09:14AM   11       A.    YES.

09:14AM   12       Q.    AND ON AUGUST 24TH, 2014, MR. BALWANI WRITES, "DANIEL.

09:14AM   13       THE NET NET OF THIS SEEMS TO SUGGEST THAT OUR PT WAS REPORTING

09:14AM   14       RESULTS TOO LOW.     CAN U PLZ TAKE A LOOK INTO THIS."

09:14AM   15             DO YOU SEE THAT?

09:14AM   16       A.    I SEE THAT.

09:14AM   17       Q.    AND ABOVE THAT DANIEL RESPONDS, "AS I MENTIONED I HAD A

09:14AM   18       FEW CONCERNS A FEW WEEKS BACK ABOUT SAMPLE STABILITY PT INR

09:14AM   19       ONLY WHEN PATIENTS ARE UNDER COUMADIN TREATMENT.          WE CREATED A

09:15AM   20       STUDY PLAN TO EVALUATE THIS."

09:15AM   21             DO YOU SEE THAT?

09:15AM   22       A.    YES, I DO.

09:15AM   23       Q.    BASED ON YOUR EXPERIENCE AT THERANOS, ARE PATIENTS

09:15AM   24       MONITORING PT INR LIKELY TO BE UNDER TREATMENT WITH COUMADIN?

09:15AM   25       A.    VERY LIKELY.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 20
                                                                               21 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1908


09:15AM    1       Q.    ABOVE THAT MESSAGE FROM DANIEL YOUNG, MR. BALWANI ASKS,

09:15AM    2       "ARE THERE ANY OTHER ASSAYS YOU HAVE CONCERNS WITH, AND IF SO,

09:15AM    3       PLEASE SEND ME A LIST."

09:15AM    4             DO YOU SEE THAT?

09:15AM    5       A.    YES, I DO.

09:15AM    6       Q.    MS. HOLLIMAN, LET'S ZOOM IN ON THE TOP MESSAGE ON THIS

09:15AM    7       PAGE.

09:15AM    8             DR. ROSENDORFF, DO YOU SEE THAT DANIEL YOUNG RESPONDS ON

09:15AM    9       AUGUST 25TH, 2014, TO PROVIDE THAT LIST OF ASSAYS THAT HE HAS

09:15AM   10       CONCERNS WITH?

09:15AM   11       A.    YES.

09:15AM   12       Q.    AND THAT LIST INCLUDES, BESIDES PT INR, HCG, TESTOSTERONE,

09:15AM   13       VITAMIN B12, TSH/FT4, C02, AS WELL AS SOME REFERENCE TO

09:16AM   14       GLUCOSE, POTASSIUM, AND BICARBONATE?

09:16AM   15             DO YOU SEE THAT?

09:16AM   16       A.    YES.

09:16AM   17       Q.    WHICH, IF ANY, OF THESE ASSAYS DO YOU RECALL HAVING

09:16AM   18       ACCURACY ISSUES DURING YOUR TIME AT THE COMPANY?

09:16AM   19       A.    HCG, C02, GLUCOSE, POTASSIUM.       I DON'T HAVE A DISTINCT

09:16AM   20       RECOLLECTION ABOUT THE TSH/FT4, THE VITAMIN B12, OR THE

09:16AM   21       TESTOSTERONE.

09:16AM   22       Q.    THOSE ARE THE ONES THAT COME TO MIND.

09:16AM   23             IF I COULD ASK YOU TO TURN IN THAT ONE TAB IN YOUR BINDER

09:16AM   24       TO EXHIBIT 4181, PLEASE.

09:17AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 21
                                                                               22 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1909


09:17AM    1       Q.    AND DO YOU SEE THIS IS AN CONTINUATION OF THAT SAME EMAIL

09:17AM    2       CHAIN?

09:17AM    3       A.    YES.

09:17AM    4       Q.    AND WITH A COPY FROM SUNNY BALWANI TO ELIZABETH HOLMES?

09:17AM    5       A.    YES.

09:17AM    6                    MR. BOSTIC:   YOUR HONOR, THE GOVERNMENT MOVES TO

09:17AM    7       ADMIT EXHIBIT 4181.

09:17AM    8                    MR. WADE:    NO OBJECTION, YOUR HONOR.

09:17AM    9                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

09:17AM   10             (GOVERNMENT'S EXHIBIT 4181 WAS RECEIVED IN EVIDENCE.)

09:17AM   11                    MR. BOSTIC:   MS. HOLLIMAN, IF WE CAN JUST ZOOM IN ON

09:17AM   12       THE TOP HALF OF PAGE 1.

09:17AM   13       Q.    DR. ROSENDORFF, THIS IS IN THE SAME EMAIL CHAIN THAT WE

09:17AM   14       WERE JUST LOOKING AT?

09:17AM   15       A.    YES.

09:17AM   16       Q.    AND DO YOU SEE AT THE TOP OF THE PAGE SUNNY BALWANI

09:17AM   17       FORWARDS DANIEL YOUNG'S RESPONSE TO MS. HOLMES ON AUGUST 25TH,

09:17AM   18       2014?

09:17AM   19       A.    CORRECT.

09:17AM   20       Q.    AND HIS COMMENT THERE IS "ALWAYS ANOTHER STUDY AFTER THE

09:18AM   21       FACT."

09:18AM   22             DO YOU SEE THAT?

09:18AM   23       A.    YES.

09:18AM   24       Q.    AND WHEN YOU WERE AT THERANOS, WERE YOU AWARE GENERALLY OF

09:18AM   25       STUDIES PERFORMED WITHIN THE COMPANY TO ADDRESS ISSUES WITH



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 22
                                                                               23 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1910


09:18AM    1       ASSAYS BEING USED IN THE CLINICAL LAB?

09:18AM    2       A.    YES, THERE WERE FREQUENTLY STUDIES INITIATED AFTER

09:18AM    3       PROBLEMS WERE IDENTIFIED TO RECHECK ACCURACY.

09:18AM    4       Q.    AND WE'VE TALKED ABOUT YOUR CONCERNS WITH ACCURACY DURING

09:18AM    5       THAT TIME.

09:18AM    6             DID YOU DRAW ANY COMFORT FROM THE FACT THAT THESE STUDIES

09:18AM    7       WERE OCCURRING AT THERANOS?

09:18AM    8       A.    I THOUGHT THAT THEY WERE POTENTIALLY USEFUL.         ONE CONCERN

09:18AM    9       IS THAT THE STUDIES WOULD BE DONE UNDER OPTIMIZED CONDITIONS.

09:18AM   10             STUDIES WERE FREQUENTLY DONE USING VENOUS BLOOD ONLY AND

09:19AM   11       NOT VENOUS AND MATCHED FINGERPRICK, WHICH WOULD REDUCE THEIR

09:19AM   12       POWER STUDIES.

09:19AM   13       Q.    AND GENERALLY SPEAKING, DID THE STUDIES THAT WE'RE TALKING

09:19AM   14       ABOUT RESOLVE YOUR CONCERNS ABOUT THE ACCURACY OF THERANOS

09:19AM   15       TESTS?

09:19AM   16       A.    NO, THEY DID NOT.

09:19AM   17       Q.    I'D LIKE YOU TO THINK BACK ON THE TESTIMONY THAT YOU'VE

09:19AM   18       GIVEN FRIDAY AND TODAY ABOUT ISSUES OF THERANOS BLOOD TESTS.

09:19AM   19             DO YOU HAVE THAT TESTIMONY IN MIND?

09:19AM   20       A.    YES.

09:19AM   21       Q.    HAVE OUR DISCUSSIONS COVERED EVERY INCIDENT INVOLVING

09:19AM   22       ACCURATE PATIENT RESULTS THAT YOU OBSERVED AT THERANOS?

09:20AM   23       A.    I THINK OUR DISCUSSION HAS BEEN FAIRLY COMPREHENSIVE.

09:20AM   24       NOTHING COMES TO MIND IMMEDIATELY ABOUT SOMETHING THAT WE HAVE

09:20AM   25       OVERLOOKED, YEAH.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 23
                                                                               24 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1911


09:20AM    1       Q.    WHEN YOU WERE AT THE COMPANY, WHAT EFFECT DID THE

09:20AM    2       INCIDENTS LIKE THE ONES WE'VE DISCUSSED HAVE ON YOUR VIEW OF

09:20AM    3       THE TESTING ACCURACY AT THERANOS?

09:20AM    4       A.    EVERY TIME WE GOT A PHYSICIAN COMPLAINT OR QUERY, EVERY

09:20AM    5       TIME OUR QC WOULD FAIL, EVERY TIME WE HAD A SPATE OF ANOMALOUS

09:20AM    6       RESULTS OUT OF REFERENCE RANGE, IT RAISED SERIOUS OR GRAVE

09:20AM    7       CONCERNS FOR ME ABOUT THE ACCURACY OF THE TESTING PROCESS.

09:20AM    8       Q.    LET'S SHIFT GEARS A LITTLE BIT.

09:20AM    9             CAN YOU TELL ME, PLEASE, ARE YOU FAMILIAR WITH THE TERM

09:20AM   10       CALLED PROFICIENCY TESTING?

09:21AM   11       A.    YES.

09:21AM   12       Q.    AND WHAT IS PROFICIENCY TESTING?

09:21AM   13       A.    PROFICIENCY TESTING IS A WAY OF CHECKING THE ACCURACY AND

09:21AM   14       PRECISION OF YOUR TESTING PROCESS OVER AN EXTENDED PERIOD OF

09:21AM   15       TIME.   LABORATORIES SIGN UP WITH A PROFICIENCY TESTING

09:21AM   16       ORGANIZATION, SUCH AS THE COLLEGE FOR AMERICAN PATHOLOGISTS,

09:21AM   17       API, OR NEW YORK STATE PROFICIENCY, ET CETERA.          THEY RECEIVE A

09:21AM   18       CHALLENGE THREE TIMES A YEAR.       EACH CHALLENGE CONSISTS OF A

09:21AM   19       NUMBER OF SAMPLES.     THE LABORATORY IS NOT AWARE OF THE

09:21AM   20       CONCENTRATION OF ANALYTE IN THOSE SAMPLES.

09:21AM   21             THEY THEN TEST THEM IN THE SAME WAY THEY WOULD TEST

09:21AM   22       PATIENT SAMPLES AND THEY RECORD THE RESULTS TO THE ORGANIZATION

09:21AM   23       THAT SENT THEM THE SAMPLES.

09:21AM   24             THEY THEN RECEIVE AN EVALUATION THAT TELLS THEM HOW CLOSE

09:22AM   25       THEIR RESULT IS TO THEIR PEERS.       SO THE MEAN OF THEIR PEERS IS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 24
                                                                               25 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1912


09:22AM    1       CONSIDERED TO BE THE TARGET VALUE, YEAH.

09:22AM    2       Q.    THANK YOU.    WHAT IS THE RELATIONSHIP BETWEEN PROFICIENCY

09:22AM    3       TESTING AND QUALITY CONTROL THAT WE'VE PREVIOUSLY DISCUSSED?

09:22AM    4       A.    PROFICIENCY TESTING OCCURS IN DISCRETE CHALLENGES OVER THE

09:22AM    5       COURSE OF A YEAR.     YOU'RE REQUIRED BY LAW TO DO PROFICIENCY

09:22AM    6       TESTING.

09:22AM    7             QUALITY CONTROL IS DONE, AS I MENTIONED, AT THE BEGINNING

09:22AM    8       OF EACH DAY, OR AT THE BEGINNING OF EACH SHIFT.

09:22AM    9       Q.    AND WAS THERE A PROFICIENCY TESTING PROCESS IN PLACE AT

09:22AM   10       THERANOS WHEN YOU WERE AT THE COMPANY?

09:22AM   11       A.    NO, THERE WAS NO FORMAL PROFICIENCY TESTING PROCESS.

09:22AM   12       Q.    HOW DID PROFICIENCY TESTING WORK AT THERANOS?

09:23AM   13       A.    ON OCCASION, AS I MENTIONED, THERE WERE QC STUDIES TO

09:23AM   14       CHECK ACCURACY OF TESTING IF PROBLEMS WERE IDENTIFIED.           I

09:23AM   15       REPEATEDLY ALERTED MANAGEMENT TO THIS PROBLEM THAT WE DID NOT

09:23AM   16       HAVE PROFICIENCY TESTING IN PLACE.

09:23AM   17             WE STARTED TESTING IN SEPTEMBER AND IT WAS ALREADY OCTOBER

09:23AM   18       AND WE HADN'T PERFORMED PROFICIENCY.

09:23AM   19       Q.    WHEN YOU SAY YOU RAISED THOSE CONCERNS TO MANAGEMENT, WHO

09:23AM   20       SPECIFICALLY DID YOU SPEAK TO?

09:23AM   21       A.    THERE WAS A MEETING THAT WAS CONVENED IN MID 2014

09:23AM   22       SPECIFICALLY TO DISCUSS PROFICIENCY TESTING.         EVERYBODY WAS

09:23AM   23       AWARE THAT WE DID NOT HAVE A PROGRAM IN PLACE.          DIFFERENT

09:23AM   24       PROPOSALS WERE DISCUSSED AND VETTED AT THIS MEETING.

09:24AM   25       Q.    AND WHO WAS PRESENT AT THAT MEETING?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 25
                                                                               26 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1913


09:24AM    1       A.    ELIZABETH, SUNNY, DANIEL HOLMES -- I'M SORRY,

09:24AM    2       DANIEL YOUNG, BRAD ARINGTON.       HE WAS THE COUNSEL, THE CORPORATE

09:24AM    3       COUNSEL.     A NUMBER OF OTHER INDIVIDUALS THAT I DON'T RECALL.

09:24AM    4       Q.    AND WHAT DO YOU RECALL ABOUT THE CONTENT OF THAT MEETING?

09:24AM    5       WHAT CONCERNS DID YOU RAISE AT THAT TIME?

09:24AM    6       A.    I RAISED THE CONCERN THAT WE DID NOT HAVE A PROFICIENCY

09:24AM    7       PROGRAM IN PLACE.     I EXPRESSED MY VIEW THAT IT WOULD NEED TO BE

09:24AM    8       AN ALTERNATIVE ASSESSMENT OF PROFICIENCY BECAUSE THERANOS WAS

09:24AM    9       DOING THE LABORATORY DEVELOPED TESTS WITHOUT PEERS, AND WE

09:24AM   10       DISCUSSED DIFFERENT WAYS OF DOING THAT ALTERNATIVE ASSESSMENT

09:25AM   11       OF PROFICIENCY.

09:25AM   12       Q.    AND WAS THERE A COLLECTIVE DECISION OR RESOLUTION REACHED

09:25AM   13       AT THE END OF THAT MEETING?

09:25AM   14       A.    YES.   I WAS TOLD -- I LEFT THE MEETING -- I LEFT THE

09:25AM   15       MEETING STILL UNCOMFORTABLE.       I FELT THAT MANAGEMENT WAS PAYING

09:25AM   16       LIP SERVICE TO THIS ISSUE AND I DIDN'T FEEL LIKE I WOULD BE

09:25AM   17       GIVEN THE RESOURCES AND SUPPORT BY MANAGEMENT TO EXECUTE ON

09:25AM   18       THIS PROFICIENCY PROGRAM.

09:25AM   19       Q.    YOU MENTIONED THAT THAT MEETING WAS IN MID 2014; IS THAT

09:25AM   20       CORRECT?

09:25AM   21       A.    THAT'S AS I RECALL, CORRECT.

09:25AM   22       Q.    AND HOW MUCH LONGER DID YOU STAY WITH THE COMPANY AFTER

09:25AM   23       THAT MEETING?

09:25AM   24       A.    I LEFT IN NOVEMBER OF 2014.

09:25AM   25       Q.    AND IN THE INTERVENING MONTHS, WAS THERE ANY SIGNIFICANT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 26
                                                                               27 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1914


09:25AM    1       PROGRESS MADE ON THE PROFICIENCY FRONT?

09:25AM    2       A.    NO.

09:25AM    3       Q.    AND DID THERE COME A TIME WHEN THERANOS STAFF CONDUCTED

09:25AM    4       PROFICIENCY TESTING OF EDISON TESTS COMPARED TO STANDARD

09:26AM    5       COMMERCIAL ANALYZERS?

09:26AM    6       A.    YES.   I BELIEVE -- I'M NOT SURE IF WE DISCUSSED DURING MY

09:26AM    7       PREVIOUS TESTIMONY THAT LEFTOVER CAP SAMPLES WERE RUN ON BOTH

09:26AM    8       THE IMMULITE AND THE EDISON FOR A NUMBER OF ANALYTES AND

09:26AM    9       RESULTS WERE COMPARED AS A SPOT-CHECK OF ACCURACY.          IT WAS NOT

09:26AM   10       PART OF AN SOP.     IT WAS NOT PART OF A FORMAL PROFICIENCY

09:26AM   11       PROGRAM THAT WE HAD.

09:26AM   12       Q.    DO YOU RECALL WHOSE IDEA IT WAS TO CONDUCT THAT

09:26AM   13       PROFICIENCY TESTING?

09:26AM   14       A.    MARK PANDORI, LANGLY GEE, AND MYSELF MET TO DISCUSS THE

09:26AM   15       IDEA.

09:26AM   16       Q.    I'D LIKE TO SHOW YOU EXHIBIT 1548 AT THIS TIME.

09:26AM   17             IT'S ALREADY IN EVIDENCE.

09:26AM   18             MAY I PUBLISH IT, YOUR HONOR?

09:27AM   19                    THE COURT:    YES.

09:27AM   20                    MR. BOSTIC:   IF WE CAN PLEASE GO TO THE ATTACHMENT

09:27AM   21       TO THIS EMAIL, PLEASE, MS. HOLLIMAN, THE NATIVE.

09:27AM   22       Q.    DR. ROSENDORFF, IT WON'T BE IN THE BINDER, BUT ON THE

09:27AM   23       SCREEN IN FRONT OF YOU, DO YOU HAVE SOME IMAGES OF SOME TESTING

09:27AM   24       DATA?

09:27AM   25       A.    YES, I DO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 27
                                                                               28 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1915


09:27AM    1       Q.    AND ARE THESE THE RESULTS FROM THE SPOT-CHECK PROFICIENCY

09:27AM    2       TESTING THAT WE'VE BEEN DISCUSSING?

09:27AM    3       A.    YES.

09:27AM    4       Q.    DO YOU SEE IN THIS DATA THAT THERE ARE GROUPS OF RESULTS

09:27AM    5       FOR VITAMIN D, TPSA, FT4, AND TSH; IS THAT RIGHT?

09:27AM    6       A.    YES.

09:27AM    7       Q.    AND EACH ONE OF THOSE HAS A ROW LABELLED PREDICATE AND ONE

09:27AM    8       LABELED THERANOS.

09:27AM    9             CAN YOU EXPLAIN WHAT THOSE TWO ROWS SIGNIFY?

09:27AM   10       A.    THE PREDICATE ROW OF THE RESULTS OBTAINED FOR THE SET OF

09:27AM   11       PROFICIENCY SAMPLES ON THE IMMULITE INSTRUMENT, THE THERANOS

09:28AM   12       ROW INDICATES THE RESULTS OBTAINED USING THE EDISON INSTRUMENT,

09:28AM   13       AND THEN THE THIRD ROW IS A RATIO BETWEEN THE THERANOS RESULT

09:28AM   14       AND THE PREDICATE RESULTS.      A 100 PERCENT RECOVERY WOULD

09:28AM   15       INDICATE AN IDENTICAL RESULT.       ANYTHING HIGHER THAN 100 WOULD

09:28AM   16       SHOW THAT THE THERANOS METHOD WAS TESTING HIGHER THAN THE

09:28AM   17       PREDICATE METHOD.

09:28AM   18       Q.    AND WHAT WAS THE POINT, GENERALLY SPEAKING, OF INCLUDING

09:28AM   19       THE PREDICATE METHOD OF THE NON-THERANOS ANALYZER IN THIS TEST?

09:28AM   20       A.    WELL, THE ASSAY HAD BEEN VALIDATED AGAINST THE IMMULITE,

09:28AM   21       SO FOR THIS EXERCISE IT WAS AN APPROPRIATE CHOICE OF

09:28AM   22       COMPARATORY METHOD.

09:28AM   23       Q.    AND IN RUNNING A TEST LIKE THIS, WHAT CONSTITUTES GOOD

09:28AM   24       PERFORMANCE?    WHAT ARE YOU HOPING TO SEE WHEN YOU LOOK AT THESE

09:29AM   25       RESULTS?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 28
                                                                               29 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1916


09:29AM    1       A.    WELL, PROFICIENCY -- THE ALTERNATIVE ACCEPTANCE OF

09:29AM    2       PROFICIENCY -- IN AN ALTERNATIVE ACCEPTANCE OF PROFICIENCY, THE

09:29AM    3       ACCEPTANCE CRITERIA FOR HOW CLOSELY THE RESULTS SHOULD MATCH

09:29AM    4       ARE DEFINED IN THE SOP.

09:29AM    5             IN GENERAL, I WOULD HAVE SET 20 PERCENT DIFFERENCE AS

09:29AM    6       ACCEPTABLE PERFORMANCE.

09:29AM    7       Q.    AND WHEN YOU SAY 20 PERCENT DIFFERENCE, ARE YOU TALKING

09:29AM    8       ABOUT THE CLOSENESS OF THE MATCH BETWEEN THE THERANOS RESULTS

09:29AM    9       AND THE PREDICATE RESULTS?

09:29AM   10       A.    YES.

09:29AM   11       Q.    GENERALLY SPEAKING -- AND YOU CAN TAKE A MOMENT TO LOOK AT

09:29AM   12       THE DATA IF YOU WOULD LIKE -- GENERALLY SPEAKING, DID THERANOS

09:29AM   13       PERFORM WELL IN THIS COMPARISON TEST AGAINST THE PREDICATE?

09:29AM   14       A.    SO THE ONLY ANALYTE THAT I CAN SEE THAT IS WITHIN THAT

09:30AM   15       20 PERCENT WOULD BE TSH.      THE VITAMIN 2 THERANOS TESTS RETURNED

09:30AM   16       A RESULT THAT WAS MORE THAN DOUBLED THE PREDICATE FOR ALL OF

09:30AM   17       THE SAMPLES, THE NEW YORK STATE SAMPLES.

09:30AM   18             THERE IS BOTH UNDER RECOVERY AND OVER RECOVERY FOR TPSA

09:30AM   19       AND FREE T4.

09:30AM   20       Q.    AND FOR TSH SPECIFICALLY, DO YOU SEE IN COLUMN I THERE'S A

09:30AM   21       SET OF RESULTS WHERE THE PREDICATE TESTED AT LEVEL OF 10.2 AND

09:30AM   22       THERANOS TESTED AT 35.52?

09:30AM   23       A.    YES.   I OVERLOOKED THAT DATA POINT.       SO THAT WOULD BE --

09:31AM   24       SO IN PROFICIENCY TESTING, HOW MOST PEOPLE DO IT IS THAT YOU

09:31AM   25       LOOK AT FIVE SAMPLES ACROSS A RANGE OF VALUES AND THE PASSING



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 29
                                                                               30 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1917


09:31AM    1       CRITERIA IS THAT FOUR OUT OF FIVE SHOULD PASS.

09:31AM    2       Q.    OKAY.    UNDERSTOOD.

09:31AM    3             GENERALLY SPEAKING, WERE PEOPLE AT THERANOS PLEASED WITH

09:31AM    4       THE EDISON'S PERFORMANCE ON THIS TEST, IF YOU KNOW?

09:31AM    5       A.    ON TSH?

09:31AM    6       Q.    ACROSS THE BOARD ON THIS PROFICIENCY TEST.

09:31AM    7       A.    THE GROUP WHO CAME UP WITH THE PLAN WAS NOT AS CONCERNED,

09:31AM    8       AND THEN THE NEWS OF THIS EXERCISE LEAKED OUT TO OTHERS WITHIN

09:31AM    9       THE COMPANY.

09:31AM   10       Q.    I'LL ASK YOU TO TURN IN YOUR BINDER TO EXHIBIT 1580,

09:31AM   11       PLEASE.

09:31AM   12             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT THIS.         I

09:31AM   13       UNDERSTAND THE DEFENSE HAS STIPULATED TO THIS.

09:32AM   14                     MR. WADE:    ONE MOMENT, YOUR HONOR.

09:32AM   15             (PAUSE IN PROCEEDINGS.)

09:32AM   16                     MR. WADE:    THAT'S CORRECT, YOUR HONOR.

09:32AM   17                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:32AM   18             (GOVERNMENT'S EXHIBIT 1580 WAS RECEIVED IN EVIDENCE.)

09:32AM   19                     MR. BOSTIC:    THANK YOU.

09:32AM   20             MS. HOLLIMAN, IF WE CAN GO TO PAGE 5, PLEASE.         IF YOU CAN

09:32AM   21       ZOOM IN ON JUST THE MIDDLE OF THE PAGE.

09:32AM   22       Q.    DR. ROSENDORFF, FIRST, DO YOU SEE AN EMAIL FROM

09:32AM   23       DANIEL YOUNG TO YOU, ELIZABETH HOLMES, AND SUNNY BALWANI?

09:32AM   24       A.    YES, I DO.

09:32AM   25       Q.    AND DO YOU SEE GENERALLY THAT EMAIL DISCUSSES PROFICIENCY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 30
                                                                               31 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1918


09:32AM    1       TESTING?

09:32AM    2       A.    YES.

09:32AM    3       Q.    THANK YOU, MS. HOLLIMAN.

09:32AM    4             LET'S GO TO PAGE 4 IN THIS EXHIBIT.        LET'S ZOOM IN ON THE

09:33AM    5       TOP HALF OF THIS PAGE, PLEASE.

09:33AM    6             DR. ROSENDORFF, DO YOU SEE IN THE MIDDLE OF THAT IMAGE AN

09:33AM    7       EMAIL FROM LANGLY GEE TO YOU, DANIEL YOUNG, AND MARK PANDORI?

09:33AM    8       A.    YES.

09:33AM    9       Q.    AND THE TEXT SAYS, "ATTACHED IS DATA I HAVE COLLECTED ON

09:33AM   10       OUR PAST API AND NY PROFICIENCIES THAT COMPARES PREDICATE

09:33AM   11       VERSUS EDISON ON VITAMIN D."

09:33AM   12             DO YOU SEE THAT?

09:33AM   13       A.    YES.

09:33AM   14       Q.    I AM SORRY.    IT SAYS VITAMIN D, TSH, FT4, AND PSA; IS THAT

09:33AM   15       RIGHT?

09:33AM   16       A.    CORRECT.

09:33AM   17       Q.    AND LET'S GO TO PAGE 3 IN THIS EXHIBIT.        LET'S LOOK AT THE

09:33AM   18       BOTTOM HALF OF THIS PAGE, PLEASE.

09:33AM   19             DR. ROSENDORFF, DO YOU SEE A MESSAGE WHERE SUNNY BALWANI

09:34AM   20       SAYS, "WHERE AND WHO PULLED THE RESULTS FOR EDISON RUNS?"

09:34AM   21       A.    YEAH.

09:34AM   22       Q.    HE SAYS "I WOULD LIKE TO SEE THE RAW DATA FOR THESE AND

09:34AM   23       MAKE SURE THE CALIBRATIONS, ET CETERA, WERE PROPERLY APPLIED."

09:34AM   24             DO YOU SEE THAT?

09:34AM   25       A.    I SEE THAT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 31
                                                                               32 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1919


09:34AM    1       Q.    LET'S ZOOM IN, PLEASE, ON THE TOP HALF OF THIS PAGE NOW.

09:34AM    2             DO YOU SEE DISCUSSION IN THIS SECTION ABOUT HOW THE EDISON

09:34AM    3       ASSAYS WERE VALIDATED?

09:34AM    4       A.    YES, I DO.

09:34AM    5       Q.    CAN YOU EXPLAIN WHAT THAT MEANS, IN PARTICULAR YOUR

09:34AM    6       MESSAGE AT THE TOP WHERE IT SAYS, "THEY WERE VALIDATED ON THE

09:34AM    7       IMMULITE FOR THE MOST PART"?

09:34AM    8       A.    THE ACCURACY OF A LABORATORY TEST, IN THIS CASE THE

09:34AM    9       THERANOS EDISON TESTS WERE PERFORMED USING A VENOUS PLUG.           THE

09:35AM   10       SAME SAMPLE WOULD BE TESTED ON THE IMMULITE AND ON THE EDISON,

09:35AM   11       AND THAT'S HOW YOU WOULD DETERMINE THE ACCURACY, YEAH.

09:35AM   12       Q.    SO, IN OTHER WORDS, THE IMMULITE WAS USED AS THE STANDARD

09:35AM   13       FOR THE VALUATION OF THESE EDISON ASSAYS?

09:35AM   14       A.    CORRECT.   IT'S ALSO KNOWN AS THE COMPARATOR ASSAY.

09:35AM   15       Q.    LET'S GO TO PAGE 2 OF THIS EXHIBIT, PLEASE.         LET'S LOOK AT

09:35AM   16       THE BOTTOM MESSAGE.

09:35AM   17             DR. ROSENDORFF, DO YOU SEE THAT SUNNY BALWANI WRITES YOU

09:35AM   18       AND OTHERS TO SAY, "AND OUR VALIDATION AGAINST IMMULITE HAS

09:35AM   19       BEEN EXCELLENT IN THE PAST.       IT IS THESE PT SAMPLES THAT ARE

09:35AM   20       OFF"?

09:36AM   21       A.    YES, I SEE THAT.

09:36AM   22       Q.    DO YOU REMEMBER THIS EXCHANGE AT THE TIME AND MR. BALWANI

09:36AM   23       SAYING IT MUST BE THE PT SAMPLES THAT ARE OFF?

09:36AM   24       A.    YES, I REMEMBER IT VERY, VERY WELL.

09:36AM   25       Q.    DID YOU AGREE THAT IT WAS THE PT SAMPLES THEMSELVES THAT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 32
                                                                               33 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1920


09:36AM    1       WERE THE PROBLEM HERE?

09:36AM    2       A.    NO, I DID NOT.

09:36AM    3       Q.    AND WHY NOT?

09:36AM    4       A.    PT SAMPLES MUST BE DISTRIBUTED TO PARTICIPATING

09:36AM    5       LABORATORIES OVER AN EXTENDED TIME PERIOD.         THEY MUST SURVIVE

09:36AM    6       SHIPPING CONDITIONS.     THEY MUST BE STABLE TO FREEZE/THAW.

09:36AM    7             IN VIEW OF THESE CONSIDERATIONS, THEY'RE MADE OUT TO BE

09:36AM    8       VERY STABLE, THEY HAVE PRESERVATIVES TO PREVENT BACTERIA

09:36AM    9       GROWTH, AND THEY HAVE BUFFERS TO PREVENT PH CHANGES, AND

09:36AM   10       PROTEINS TO MAINTAIN THE OSMOTIC PRESSURE, ET CETERA.

09:37AM   11       Q.    AND --

09:37AM   12       A.    THAT ARE TO BE STABLE.

09:37AM   13       Q.    AND BASED ON YOUR EXPERIENCE IN WORKING WITH PT SAMPLES,

09:37AM   14       HAVE THEY PERFORMED AS INTENDED?

09:37AM   15       A.    YES.

09:37AM   16       Q.    LET'S ZOOM OUT AND ZOOM BACK IN ON THE TOP OF THIS PAGE,

09:37AM   17       PLEASE, THE VERY TOP.

09:37AM   18             DO YOU SEE AT THE TOP OF THE PAGE A MESSAGE "CC'ING

09:37AM   19       ELIZABETH ON THIS AS WE WENT THRU THESE DISCUSSION OVER A YEAR

09:37AM   20       AGO ALSO"?

09:37AM   21       A.    THIS MESSAGE IS FROM SUNNY BALWANI.

09:37AM   22       Q.    YOU SEE THAT ON THE EXHIBIT?

09:37AM   23       A.    ON PAGE 1 AT THE VERY BOTTOM OF THE PREVIOUS PAGE IT SAYS

09:37AM   24       FROM SUNNY BALWANI.

09:37AM   25       Q.    OKAY.    AND DO YOU SEE THAT ON THE SCREEN?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 33
                                                                               34 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1921


09:38AM    1       A.    NO.    I'M LOOKING AT THAT IN MY BINDER.

09:38AM    2       Q.    LET'S GO TO PAGE 1 OF THIS EXHIBIT NOW.        AND LET'S ZOOM IN

09:38AM    3       ON THE BOTTOM HALF OF THE PAGE MOVING FORWARD IN TIME HERE.

09:38AM    4             NOW LET'S CAPTURE THE BOTTOM HALF OF PAGE 1.

09:38AM    5             DR. ROSENDORFF, DO YOU SEE A MESSAGE FROM YOURSELF IN THIS

09:38AM    6       CHAIN STATING IF WE DID ENROLL FOR PT FOR THERANOS METHODS, WE

09:38AM    7       WOULD NEED TO DO AN ALTERNATE ASSESSMENT PROTOCOL OR AAP?

09:38AM    8       A.    YES.

09:38AM    9       Q.    AND WE'RE NOW IN FEBRUARY 2014.

09:38AM   10             WAS THIS THE FIRST TIME THAT YOU HAD RAISED THE NEED FOR

09:38AM   11       AAP PROFICIENCY TESTING AT THERANOS?

09:39AM   12       A.    NO.    I RAISED THE ISSUE WITH DANIEL YOUNG AND DISCUSSED IT

09:39AM   13       WITH HIM PRIOR TO THIS.

09:39AM   14       Q.    ABOVE YOUR EMAIL THERE'S A MESSAGE FROM ELIZABETH HOLMES.

09:39AM   15             DO YOU SEE THAT?

09:39AM   16       A.    YES.

09:39AM   17       Q.    SHE SAYS, "WE ENGAGED TOP COUNSEL ON THIS SOME TIME AGO.

09:39AM   18       SUNNY WILL DEBRIEF YOU TOMORROW -- IT IS CRITICAL THAT NO ONE

09:39AM   19       IS GUESSING ON MATTERS LIKE THESE."

09:39AM   20             DO YOU SEE THAT?

09:39AM   21       A.    YES, I DO.

09:39AM   22       Q.    AND IS THAT WHAT YOU WERE DOING, YOU WERE GUESSING?

09:39AM   23       A.    NO, I WAS NOT.    I WAS READING THROUGH THE REGULATIONS,

09:39AM   24       DECIDING WHAT WAS MOST APPROPRIATE FOR PATIENT CARE IN TERMS OF

09:39AM   25       VERIFYING ACCURACY AND GIVING MY GUIDANCE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 34
                                                                               35 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1922


09:39AM    1       Q.    AND HOW DID WHAT YOU WERE DOING FIT IN, IF IT DID AT ALL,

09:39AM    2       WITH THE ROLE OF LABORATORY DIRECTOR?

09:39AM    3       A.    THE LABORATORY DIRECTOR WAS RESPONSIBLE AT THE END OF THE

09:40AM    4       DAY FOR THE ACCURACY OF TESTS THAT GO OUT IN THE LAB.

09:40AM    5       Q.    AND DID THAT INCLUDE ESTABLISHING APPROPRIATE PROFICIENCY

09:40AM    6       TESTING AT THE LAB?

09:40AM    7       A.    YES.

09:40AM    8       Q.    LET'S GO NOW TO THE TOP HALF OF PAGE 1.

09:40AM    9             DR. ROSENDORFF, DO YOU SEE A MESSAGE HERE FROM

09:40AM   10       SUNNY BALWANI TO YOU AND OTHERS, INCLUDING ELIZABETH HOLMES, AT

09:40AM   11       THERANOS?

09:40AM   12       A.    YES, I DO.

09:40AM   13       Q.    AND HE SAYS AT THE TOP OF HIS EMAIL "I ALSO WANT TO

09:40AM   14       REITERATE THIS POINT.      I AM EXTREMELY IRRITATED AND FRUSTRATED

09:40AM   15       BY FOLKS WITH NO LEGAL BACKGROUND TAKING LEGAL POSITIONS AND

09:40AM   16       INTERPRETATIONS ON THESE MATTERS AND JUNIOR CLIA AND NON-CLIA

09:40AM   17       PERSONNEL CHALLENGING OUR CLIA SOP'S.        THIS MUST STOP," HE

09:40AM   18       SAYS.

09:40AM   19             DO YOU SEE THAT?

09:40AM   20       A.    YES, I DO.

09:40AM   21       Q.    AND IN THE SECOND PARAGRAPH OF THE EMAIL HE SAYS, "THESE

09:41AM   22       PAST FEW DAYS, WE HAVE WASTED SO MUCH TIME TALKING TO PEOPLE

09:41AM   23       OUTSIDE OF CLIA WHO HAVE COME TO US TO SHARE THAT OUR PT ON

09:41AM   24       VITAMIN D ON EDISON HAS FAILED.       THESE PT SAMPLES SHOULD HAVE

09:41AM   25       NEVER RUN ON EDISONS TO BEGIN WITH."



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 35
                                                                               36 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1923


09:41AM    1             DID YOU FEEL AT THIS TIME THAT THE PT TESTS THAT HAD BEEN

09:41AM    2       RUN WERE A WASTE OF TIME?

09:41AM    3       A.    NO.    LABORATORIES FREQUENTLY ENGAGE IN QC EXERCISES THAT

09:41AM    4       ARE DOCUMENTED.

09:41AM    5             MY PREFERENCE AND WHAT IS THE MOST COMMON PRACTICE IS TO

09:41AM    6       SIDE ON AN SOP -- A VALIDATION PLAN FOR DOING PROFICIENCY TO

09:41AM    7       WRITE A STANDARD OPERATING PROCEDURE WHICH INCLUDES ACCEPTANCE

09:42AM    8       CRITERIA FOR THE RESULTS OF THE PROFICIENCY TESTING EXERCISE,

09:42AM    9       AND TO RECORD THIS AS A -- TO HAVE THAT BE SIGNED OFF BY THE

09:42AM   10       LABORATORY DIRECTOR, AND THAT NEEDS TO BE IN CONTROLLED

09:42AM   11       DOCUMENTS SO THAT ANY CHANGES HAVE A DATE AND SIGNATURE

09:42AM   12       ASSOCIATED WITH IT.

09:42AM   13       Q.    IN THE LAST HALF, OR THE LAST PARAGRAPH OF MR. BALWANI'S

09:42AM   14       EMAIL, HE SAYS IN THE MIDDLE OF THAT PARAGRAPH, "NO PERSONAL

09:42AM   15       OPINIONS.     RIGHT NOW, EVERY CLS OR TS OR GS CONSIDERS

09:42AM   16       THEMSELVES AS REGULATORY EXPERT AND THIS CULTURE MUST BE NIP IN

09:42AM   17       THE BUD."

09:42AM   18             DO YOU SEE THAT?

09:42AM   19       A.    YES.

09:42AM   20       Q.    AND DO YOU AGREE WITH THOSE COMMENTS?

09:42AM   21       A.    I WAS HIRED TO APPLY MY EXPERTISE AND OPINIONS TO THE

09:42AM   22       DIRECTION OF THE LABORATORY.       I ALSO DELEGATED THE PROFICIENCY

09:43AM   23       TESTING TO THE TECHNICAL SUPERVISOR, SO IT'S NOT REALLY AN

09:43AM   24       APPROPRIATE STATEMENT.

09:43AM   25       Q.    I'LL ASK YOU TO TURN TO EXHIBIT 1724, PLEASE, IN YOUR



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 36
                                                                               37 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1924


09:43AM    1       BINDER.

09:43AM    2             DO YOU HAVE THAT?     LET ME KNOW IF YOU RECOGNIZE IT.

09:43AM    3       A.    I HAVE IT.

09:43AM    4       Q.    AND IS EXHIBIT 1724 AN EMAIL FROM YOU TO

09:43AM    5       CHIN MAY PANGARKAR?

09:43AM    6       A.    YES.

09:43AM    7                    MR. BOSTIC:    AND YOUR HONOR, THE GOVERNMENT MOVES TO

09:43AM    8       ADMIT EXHIBIT 1724.       I WAS THE DEFENSE HAS STIPULATED?

09:43AM    9                    MR. WADE:    WE HAVE, YOUR HONOR.

09:43AM   10                    THE COURT:    IT'S ADMITTED AND MAY BE PUBLISHED.

09:43AM   11             (GOVERNMENT'S EXHIBIT 1724 WAS RECEIVED IN EVIDENCE.)

09:43AM   12       BY MR. BOSTIC:

09:43AM   13       Q.    DR. ROSENDORFF, IS THIS AN EMAIL FROM MAY 13TH, 2014?

09:43AM   14       A.    YES, IT IS.

09:43AM   15       Q.    AND SO MONTHS LATER THAN WHAT WE HAVE BEEN LOOKING AT; IS

09:43AM   16       THAT CORRECT?

09:43AM   17       A.    I'M SORRY.    CAN YOU REMIND ME OF THE DATE OF THE PREVIOUS

09:44AM   18       EXHIBIT?

09:44AM   19       Q.    YES.   YOU CAN FLIP BACK TO EXHIBIT 1758 IF YOU NEED TO TO

09:44AM   20       REFRESH YOUR RECOLLECTION.

09:44AM   21       A.    THOSE DISCUSSIONS WERE IN FEBRUARY OF 2014, AND MY

09:44AM   22       REQUESTS FOR AN UPDATE FROM CHIN MAY WERE IN MAY 2014.

09:44AM   23       Q.    THIS EMAIL WHERE YOU ASKED FOR AN UPDATE, IS THIS

09:44AM   24       REFERRING TO THE SAME PROFICIENCY TESTING CONCERNS THAT YOU HAD

09:44AM   25       RAISED PREVIOUSLY?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 37
                                                                               38 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1925


09:44AM    1       A.    YES.

09:44AM    2       Q.    AND HAD ANY PROGRESS BEEN MADE ON GETTING PROFICIENCY

09:44AM    3       TESTING UP AND RUNNING AT THERANOS IN THE MONTHS BETWEEN THE

09:44AM    4       TWO EMAILS?

09:44AM    5       A.    NO.

09:44AM    6       Q.    AND WAS THAT FOR LACK OF EFFORT ON YOUR PART?

09:44AM    7       A.    NO.

09:44AM    8       Q.    WHAT WAS THE REASON, IF YOU UNDERSTOOD IT, WHY PROFICIENCY

09:44AM    9       TESTING STILL WASN'T HAPPENING?

09:45AM   10       A.    A PLAN HAD BEEN DRAFTED BY MYSELF MANY MONTHS BEFORE THIS.

09:45AM   11       I SIGNED UP ON THAT PLAN, I HAD DISCUSSIONS WITH MANAGEMENT

09:45AM   12       ABOUT THE NEED TO EXECUTE ON THAT PLAN, AND RESOURCES AND THE

09:45AM   13       MANAGEMENT DIRECTION WERE NEEDED TO ACTUALLY EXECUTE ON THE

09:45AM   14       PLAN.   I HAD DONE EVERYTHING I COULD FROM THE LAB DIRECTOR

09:45AM   15       PERSPECTIVE.

09:45AM   16       Q.    AT THE TOP OF THIS PAGE IN THE HEADER INFORMATION, THERE'S

09:45AM   17       A BCC TO A. ROSENDORFF AT GMAIL.COM.

09:45AM   18             DO YOU SEE THAT?

09:45AM   19       A.    YES.

09:45AM   20       Q.    AND DID YOU BCC YOUR PERSONAL EMAIL IN THIS MESSAGE?

09:45AM   21       A.    YES.

09:45AM   22       Q.    AND WHAT WAS THE PURPOSE OF THAT?

09:45AM   23       A.    AS I MENTIONED BEFORE, I WANTED TO PROTECT MYSELF IN THE

09:45AM   24       EVENT OF A GOVERNMENTAL OR CMS INVESTIGATION.

09:46AM   25             I WAS CONSIDERING FILING A QUI TAM OR FALSE CLAIMS LAWSUIT



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 38
                                                                               39 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1926


09:46AM    1       AGAINST THE COMPANY AND I ALSO -- I WANTED TO GET THE WORD OUT

09:46AM    2       ABOUT WHAT WAS HAPPENING AT THERANOS.

09:46AM    3       Q.    AND THAT INCLUDED PROFICIENCY TESTING?

09:46AM    4       A.    YES.

09:46AM    5       Q.    LET'S TALK ABOUT TRANSPARENCY AT THERANOS.

09:46AM    6             FIRST, LET'S LOOK AT EXHIBIT 1248, PLEASE.

09:46AM    7             YOU TESTIFIED BEFORE THAT PART OF THE LAB DIRECTOR ROLE

09:47AM    8       WAS SPEAKING TO PATIENTS AND DOCTORS ABOUT INDIVIDUAL TEST

09:47AM    9       RESULTS.

09:47AM   10             DO YOU REMEMBER THAT?

09:47AM   11       A.    YES.

09:47AM   12       Q.    IN THOSE CONVERSATIONS, DID YOU FEEL THAT YOU WERE ABLE TO

09:47AM   13       BE OPEN AND TRANSPARENT WITH DOCTORS AND PATIENTS ABOUT ISSUES

09:47AM   14       WITH THERANOS TESTS?

09:47AM   15       A.    I FELT A CONFLICT BETWEEN THE MESSAGING THAT THE COMPANY

09:47AM   16       WANTED ME TO PROVIDE AND THEIR DIRECTION TO EXPLORE

09:47AM   17       JUSTIFICATIONS FOR ERRONEOUS RESULTS AND MY DUTY AS A PHYSICIAN

09:47AM   18       TO INFORM THEM OF MY CONCERNS REGARDING THE ACCURACY OF THE

09:47AM   19       TESTING.

09:47AM   20       Q.    LET'S LOOK AT EXHIBIT 1248 NOW.

09:48AM   21             YOUR HONOR, THE GOVERNMENT MOVES IT INTO EVIDENCE.          I

09:48AM   22       UNDERSTAND IT'S SUBJECT TO STIPULATION.

09:48AM   23                    MR. WADE:    IT IS, YOUR HONOR.

09:48AM   24                    THE COURT:   IT'S ADMITTED.     IT MAY BE PUBLISHED.

09:48AM   25             (GOVERNMENT'S EXHIBIT 1248 WAS RECEIVED IN EVIDENCE.)



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 39
                                                                               40 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1927


09:48AM    1                    MR. BOSTIC:   IF WE CAN ZOOM IN ON THE TOP HALF OF

09:48AM    2       THE PAGE.

09:48AM    3       Q.    DR. ROSENDORFF, YOU'RE NOT ON THIS EMAIL CHAIN; CORRECT?

09:48AM    4       A.    CORRECT.

09:48AM    5       Q.    AND THIS IS AN EMAIL FROM DANIEL YOUNG TO SUNNY BALWANI

09:48AM    6       AND ELIZABETH HOLMES IN NOVEMBER OF 2013; IS THAT CORRECT?

09:48AM    7       A.    YES.

09:48AM    8       Q.    AND IT SAYS, "QUICK SUMMARY OF MEETING WITH SHARADA, RAN,

09:48AM    9       ADAM, AND SURAJ."

09:48AM   10             ARE YOU THE ADAM IN THAT LIST?

09:48AM   11       A.    YES.   THERE WAS ONLY ONE OTHER ADAM AT THE COMPANY AND I

09:48AM   12       DON'T THINK THIS REFERS TO HIM.

09:48AM   13       Q.    UNDER THE BULLET POINTS THERE IN DANIEL YOUNG'S EMAIL, THE

09:48AM   14       SECOND ONE IS FOR TSH.

09:48AM   15             DO YOU SEE THAT?

09:48AM   16       A.    YES.

09:48AM   17       Q.    AND THE FIRST BULLET UNDER THAT SAYS, "WE DISCUSSED THE

09:49AM   18       CURRENT LLOQ FOR TSH WHICH IS.1."

09:49AM   19             WHAT IS LLOQ?

09:49AM   20       A.    IT IS THE LOWER LIMITS OF QUANTITATION.        IT IS THE LOWEST

09:49AM   21       CONCENTRATION OF ANALYTES THAT CAN BE MEASURED WITH AN

09:49AM   22       ACCEPTABLE PRECISION AND ACCURACY.

09:49AM   23       Q.    SO IS IT A MEASURE OF HOW SENSITIVE A GIVEN ASSAY IS?

09:49AM   24       A.    CORRECT.

09:49AM   25       Q.    AND THE SECOND BULLET POINT SAYS, "ADAM NOTED THAT SOME



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 40
                                                                               41 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1928


09:49AM    1       ASSAYS THIRD AND FOURTH GENERATION ASSAYS ON THE MARKET HAVE

09:49AM    2       LOWER LLOQ."

09:49AM    3             WOULD THAT MEAN A HIGHER SENSITIVITY?

09:49AM    4       A.    CORRECT.

09:49AM    5       Q.    AND THE THIRD BULLET POINT SAYS, "ADAM WANTED TO ADD A

09:49AM    6       NOTE ON THE LAB RESULTS INDICATING THAT OUR ASSAY IS SECOND

09:49AM    7       GENERATION.    I TOLD HIM THIS IS NOT WHAT WE WERE GOING TO DO."

09:49AM    8             DO YOU SEE THAT?

09:49AM    9       A.    YES, I DO.

09:49AM   10       Q.    AND WHY DID YOU WANT TO INDICATE A NOTE THAT THE THERANOS

09:49AM   11       TEST WAS SECOND GENERATION AS OPPOSED TO THIRD OR FOURTH

09:50AM   12       GENERATION?

09:50AM   13       A.    IT'S IMPORTANT FOR PHYSICIANS TO KNOW HOW SENSITIVE THE

09:50AM   14       TSH IS.   IT'S ESSENTIALLY FOR DISTINGUISHING MILD

09:50AM   15       HYPERTHYROIDISM FROM SEVERE HYPERTHYROIDISM, SO THYROID

09:50AM   16       TOXICOSIS.

09:50AM   17       Q.    THE HEADER OF THIS EMAIL TELLS US THAT THIS EMAIL WAS SENT

09:50AM   18       TO SUNNY BALWANI AND ELIZABETH HOLMES; IS THAT CORRECT?

09:50AM   19       A.    CORRECT.

09:50AM   20       Q.    WAS THIS POLICY EVER CHANGED AT THERANOS?         WERE YOU EVER

09:50AM   21       PERMITTED TO INCLUDE THAT NOTE ON LAB TESTS FOR TSH?

09:50AM   22       A.    NO, I WAS NOT.

09:50AM   23       Q.    LET'S LOOK NEXT AT EXHIBIT 4146, PLEASE.

09:51AM   24             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT EXHIBIT 4146.             I

09:51AM   25       BELIEVE THE DEFENSE HAS STIPULATED.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 41
                                                                               42 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1929


09:51AM    1                    MR. WADE:    WE HAVE.

09:51AM    2                    THE COURT:    IT'S ADMITTED AND IT MAY BE PUBLISHED.

09:51AM    3             (GOVERNMENT'S EXHIBIT 4146 WAS RECEIVED IN EVIDENCE.)

09:51AM    4                    MR. BOSTIC:   LET'S START WITH PAGE 3, PLEASE, ON THE

09:51AM    5       BOTTOM HALF.

09:51AM    6       Q.    DR. ROSENDORFF, DO YOU SEE THIS EMAIL CHAIN STARTS WITH A

09:51AM    7       MESSAGE EMAIL FROM GURBIR SIDHU AT THERANOS?

09:51AM    8       A.    YES.

09:51AM    9       Q.    AND MR. SIDHU SAYS, "HI ADAM, I HAVE SUBMITTED REQUEST FOR

09:51AM   10       REDRAW FOR CBC AND ESR ON PATIENT," AND THEN REDACTED, "DUE TO

09:51AM   11       COMPROMISED INTEGRITY."

09:51AM   12             DO YOU SEE THAT?

09:51AM   13       A.    YES.

09:51AM   14       Q.    AND ABOVE IT SAYS APPROVED.

09:51AM   15       A.    YES.

09:51AM   16       Q.    AND WHAT WERE YOU APPROVING HERE?

09:51AM   17       A.    THE REDRAW FOR THIS PATIENT FOR CBC AND ESR.

09:52AM   18       Q.    AND WHY WAS A REDRAW NECESSARY IN THIS CASE?

09:52AM   19       A.    I HAD BEEN INFORMED BY A CLINICAL LABORATORY SCIENTIST WHO

09:52AM   20       WAS QUALIFIED TO MAKE THE DETERMINATION AS TO SAMPLE INTEGRITY,

09:52AM   21       AND HE HAD INFORMED ME THAT THE SAMPLE INTEGRITY WAS

09:52AM   22       COMPROMISED.    I APPROVED THE REDRAW.

09:52AM   23       Q.    DO YOU HAVE AN UNDERSTANDING OF WHAT EQUIPMENT WAS USED AT

09:52AM   24       THERANOS TO RUN, FOR EXAMPLE, THE CBC TEST AT THIS TIME?

09:52AM   25       A.    YES.   WHOLE BLOOD WOULD BE MIXED WITH ANTIBODIES SPECIFIC



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 42
                                                                               43 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1930


09:52AM    1       FOR EACH CELL TYPE IN THE WHOLE BLOOD.

09:52AM    2             A SECONDARY ANTIBODY WOULD BE APPLIED, CONJUGATED TO A

09:52AM    3       FLUOROPHORE, AND THIS WOULD BE RAN ON A COMMERCIALLY AVAILABLE

09:52AM    4       FLOW CYTOMETRY INSTRUMENT.

09:52AM    5       Q.    AND FOR FINGERSTICK SAMPLES, WAS THAT COMMERCIALLY

09:53AM    6       AVAILABLE ANALYZER MODIFIED BY THERANOS?

09:53AM    7       A.    NOT TO MY KNOWLEDGE.

09:53AM    8             I JUST WANT TO ADD THAT IT WAS A -- IT'S A RESEARCH

09:53AM    9       INSTRUMENT.    I MEAN, ANY TEST RUN ON THE ANALYZER WOULD HAVE TO

09:53AM   10       BE A LABORATORY DEVELOPED TEST.

09:53AM   11       Q.    UNDERSTOOD.    SO THIS WOULD BE, IN OTHER WORDS, A THERANOS

09:53AM   12       SPECIFIC TEST AND NOT AN FDA APPROVED TEST?

09:53AM   13       A.    CORRECT.

09:53AM   14       Q.    AND LET'S LOOK AT PAGE 2 IN THIS EMAIL, PLEASE.         LET'S

09:53AM   15       ZOOM IN ON THE BOTTOM HALF.

09:53AM   16             DR. ROSENDORFF, DO YOU SEE AN EMAIL FROM SOMEONE NAMED

09:53AM   17       ANAM KHAN TO CHRISTIAN HOLMES ON MAY 29TH IN, 2014?

09:53AM   18       A.    YES, I DO.

09:53AM   19       Q.    AND IT SAYS, "HI, CHRISTIAN, CAN YOU PLEASE APPROVE THIS

09:54AM   20       REDRAW?   THANKS ANAM."

09:54AM   21       A.    I SEE THAT.

09:54AM   22       Q.    ARE YOU AWARE OF ANY ROLE THAT CHRISTIAN HOLMES HAD AT THE

09:54AM   23       COMPANY IN APPROVING REDRAWS?

09:54AM   24       A.    I WASN'T AWARE AT ALL THAT HE WAS INVOLVED IN THAT KIND OF

09:54AM   25       A DECISION.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 43
                                                                               44 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1931


09:54AM    1       Q.    AND DID HE HAVE ANY POSITION IN THE CLINICAL LAB AT

09:54AM    2       THERANOS ITSELF?

09:54AM    3       A.    NO.   SO ANYBODY MAKING A CLINICAL DECISION HAS TO BE ON

09:54AM    4       THE CMS ROSTER, IT'S FORM 209.       IT LISTS ALL OF THE PERSONNEL

09:54AM    5       THAT ARE HANDLING PATIENT SPECIMENS, MAKING DECISIONS SUCH AS

09:54AM    6       THESE, ET CETERA.

09:54AM    7       Q.    DID CHRISTIAN HOLMES HAVE A MEDICAL OR A SCIENCE

09:54AM    8       BACKGROUND TO YOUR KNOWLEDGE?

09:54AM    9       A.    NO, HE DID NOT.

09:54AM   10       Q.    WHEN YOU WERE LAB DIRECTOR AT THE COMPANY, WERE YOU AWARE

09:54AM   11       THAT IN SOME CASES CHRISTIAN HOLMES WOULD BE ASKED TO APPROVE

09:55AM   12       REDRAWS?

09:55AM   13       A.    I WAS NOT AWARE.

09:55AM   14       Q.    LET'S ZOOM OUT, MS. HOLLIMAN, AND CAPTURE THE EMAIL

09:55AM   15       MESSAGE JUST ABOVE THAT.      ACTUALLY, LET'S GO DOWN TO THE

09:55AM   16       MESSAGE JUST BELOW THAT ONE.

09:55AM   17             DO YOU SEE THAT, DR. ROSENDORFF, THAT CHRISTIAN HOLMES

09:55AM   18       EMAILS DANIEL EDLIN AND ELIZABETH HOLMES AND IT SAYS,

09:55AM   19       "DANIEL - PLEASE SEE NOTES BELOW.       FROM WHAT IT SEEMS A REDRAW

09:55AM   20       IS NECESSARY GIVEN THE DISINTEGRATION OF CELLS."

09:55AM   21             DO YOU SEE THAT?

09:55AM   22       A.    YES, I SEE THAT.

09:55AM   23       Q.    AND LET'S GO TO THE MESSAGE ABOVE.

09:55AM   24             AND HERE CHRISTIAN HOLMES INDICATES THAT MESSAGE SHOULD

09:55AM   25       HAVE GONE TO DANIEL YOUNG INSTEAD OF DANIEL EDLIN.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 44
                                                                               45 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1932


09:56AM    1             DO YOU SEE THAT?

09:56AM    2       A.    YES, I SEE THAT.

09:56AM    3       Q.    LET'S GO TO PAGE 1 OF THIS EMAIL, PLEASE.         AND LET'S ZOOM

09:56AM    4       IN ON THE BOTTOM HALF.

09:56AM    5             DR. ROSENDORFF, DO YOU SEE AT BOTTOM OF THE SCREEN THERE'S

09:56AM    6       A MESSAGE FROM CHRISTIAN HOLMES TO ELIZABETH HOLMES AND

09:56AM    7       DANIEL YOUNG SAYING, "UNFORTUNATELY THIS DOC CALLED BACK AND

09:56AM    8       REACHED A DIFFERENT CSR WHO SAW ADAM APPROVED THE REDRAW,

09:56AM    9       FORGOT TO CHECK WITH ME, AND TOLD THE DOC WE NEED A REDRAW."

09:56AM   10             DO YOU SEE THAT?

09:56AM   11       A.    YES.

09:56AM   12       Q.    AND HE THEN SAYS BELOW, "NEED TO DISCUSS MESSAGING FOR MY

09:56AM   13       CALL WITH THIS DOC, WITH REGARD TO THE REASON FOR REDRAW."

09:56AM   14       A.    YES, I SEE THAT.

09:56AM   15       Q.    AND CAN YOU EXPLAIN THE ROLES THAT YOU AND

09:56AM   16       CHRISTIAN HOLMES HAD IN COMMUNICATING WITH DOCTORS ABOUT

09:56AM   17       THERANOS RESULTS?

09:56AM   18       A.    MY UNDERSTANDING OF THE PROCESS WAS THAT CHRISTIAN WOULD

09:57AM   19       RECEIVE QUERIES OR COMPLAINTS FROM CUSTOMER REPRESENTATIVES, HE

09:57AM   20       WOULD THEN FORWARD THOSE TO ME.

09:57AM   21       Q.    AND BETWEEN THE TWO OF YOU, WAS THERE ONE OF YOU WHO HAD

09:57AM   22       THE ACTUAL JOB OF SPEAKING TO PHYSICIANS ABOUT THE RESULTS, OR

09:57AM   23       WAS THAT HANDLED BY BOTH OF YOU?       WHAT WAS YOUR UNDERSTANDING?

09:57AM   24       A.    THAT WAS MYSELF.

09:57AM   25       Q.    AND THE MESSAGE ABOVE THE ONE WE WERE JUST LOOKING AT,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 45
                                                                               46 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1933


09:57AM    1       CHRISTIAN HOLMES WRITES AGAIN TO SAY, "DANIEL - SORRY TO FLOOD

09:57AM    2       YOUR INBOX WITH THESE TODAY."

09:57AM    3             AT THE BOTTOM OF THAT MESSAGE HE SAYS, "JUST NEED TO KNOW

09:57AM    4       WHAT HAPPENED SO EAH AND I CAN WORK ON MESSAGING TO THE DOC."

09:57AM    5             DO YOU SEE THAT?

09:57AM    6       A.    YES, I DO.

09:57AM    7       Q.    WERE EAH ELIZABETH HOLMES'S INITIALS?

09:57AM    8       A.    CORRECT.

09:57AM    9       Q.    WE CAN PUT THAT ONE ASIDE.      THANK YOU.

09:58AM   10             LET'S LOOK AT EXHIBIT 4044.

09:58AM   11             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT EXHIBIT 4044.

09:58AM   12       IT'S BEEN STIPULATED TO.

09:58AM   13                    MR. WADE:    THAT'S CORRECT, YOUR HONOR.

09:58AM   14                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

09:58AM   15             (GOVERNMENT'S EXHIBIT 4044 WAS RECEIVED IN EVIDENCE.)

09:58AM   16                    MR. BOSTIC:   MS. HOLLIMAN, LET'S GO TO PAGE 2,

09:58AM   17       PLEASE.   AND IF WE CAN ZOOM IN ON THE TOP HALF.

09:58AM   18       Q.    DR. ROSENDORFF, DO YOU SEE THIS EMAIL CHAIN FROM

09:58AM   19       ELIZABETH HOLMES TO YOU AND OTHERS AT THERANOS?

09:58AM   20       A.    YES.

09:58AM   21       Q.    AND HER EMAIL SAYS, "CHECKING IN ON THE DAY BY DAY PLAN

09:58AM   22       FOR AUDIT PREPARATIONS."

09:59AM   23             DO YOU SEE THAT?

09:59AM   24       A.    YES.

09:59AM   25       Q.    AND DO YOU RECALL WHAT AUDIT THIS WOULD BE REFERRING TO IN



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 46
                                                                               47 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1934


09:59AM    1       NOVEMBER OF 2013?

09:59AM    2       A.    THIS WOULD BE REFERRING TO THE IMPENDING LABORATORY FIELD

09:59AM    3       SERVICES AUDIT.     LABORATORY FIELD SERVICES CONDUCTS AUDITS IN

09:59AM    4       LABORATORIES IN CALIFORNIA ON BEHALF OF CMS.

09:59AM    5       Q.    AND SO WHO EMPLOYS THE INDIVIDUALS WHO ARE CONDUCTING THAT

09:59AM    6       AUDIT?    WHO DO THEY WORK FOR?

09:59AM    7       A.    THEY'RE PART OF THE CALIFORNIA DEPARTMENT OF PUBLIC

09:59AM    8       HEALTH.    LABORATORY FIELD SERVICES IS A DIVISION OF CDPH.

09:59AM    9       Q.    AND MS. HOLMES IS ASKING HERE FOR INFORMATION ABOUT THE

09:59AM   10       DAY BY DAY PLAN FOR PREPARATIONS FOR THAT AUDIT; IS THAT

09:59AM   11       CORRECT?

09:59AM   12       A.    CORRECT.

09:59AM   13       Q.    AND LET'S LOOK AT PAGE 1 OF THIS EXHIBIT, PLEASE.

09:59AM   14             DR. ROSENDORFF, ON PAGE 1 DO YOU SEE AN EMAIL FROM YOU IN

10:00AM   15       RESPONSE LISTING SOME BULLET POINTS AS PART OF THE PREPARATION

10:00AM   16       PLAN FOR THAT AUDIT?

10:00AM   17       A.    YES, I DO.

10:00AM   18       Q.    LET'S LOOK NEXT AT EXHIBIT 4047.       THAT SHOULD BE THE NEXT

10:00AM   19       ONE IN YOUR BINDER.

10:00AM   20             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT THIS AS WELL.             I

10:00AM   21       BELIEVE THE DEFENSE HAS STIPULATED.

10:00AM   22                   MR. WADE:    CORRECT, YOUR HONOR.

10:00AM   23                   THE COURT:    IT'S ADMITTED.     IT MAY BE PUBLISHED.

10:00AM   24             (GOVERNMENT'S EXHIBIT 4047 WAS RECEIVED IN EVIDENCE.)

10:00AM   25                   MR. BOSTIC:    AND LET'S ZOOM IN ON THE TOP HALF OF



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 47
                                                                               48 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1935


10:00AM    1       THE PAGE, PLEASE.

10:00AM    2       Q.    DR. ROSENDORFF, DO YOU SEE AT THE BOTTOM OF THE SCREEN AN

10:00AM    3       EMAIL FROM ELIZABETH HOLMES TO YOU AND OTHERS AT THERANOS

10:00AM    4       CC'ING SUNNY BALWANI AT THE BOTTOM OF THE PAGE?

10:00AM    5       A.    YES.   I'M SORRY.    I DIDN'T MEAN TO INTERRUPT YOU.

10:00AM    6       Q.    AND DO YOU SEE THAT THE TEXT OF THAT MESSAGE SAYS, "LET ME

10:00AM    7       KNOW IF THE PATH FOR WALKING THE AUDITORS IN AND DOWNSTAIRS HAS

10:01AM    8       BEEN CEMENTED SO WE AVOID AREAS THAT CANNOT BE ACCESSED, AND

10:01AM    9       WHAT THAT PATH IS."

10:01AM   10             DO YOU SEE THAT?

10:01AM   11       A.    YES, I DO.

10:01AM   12       Q.    DO YOU RECALL DURING YOUR TIME AT THERANOS ANY DISCUSSION

10:01AM   13       ABOUT THE AREAS OF THE COMPANY THAT AUDITORS COULD AND COULD

10:01AM   14       NOT SEE?

10:01AM   15       A.    YES, I REMEMBER DISCUSSING WITH ELIZABETH HOLMES AND SUNNY

10:01AM   16       SPECIFICALLY THAT NOBODY WAS ALLOWED TO GO IN OR OUT OF THE

10:01AM   17       NORMANDY LAB DURING THE TIME OF THE INSPECTION.

10:01AM   18       Q.    AND THE EMAIL CHAIN ABOVE THAT, OR SORRY, THE EMAIL

10:01AM   19       MESSAGE ABOVE THAT IS FROM MS. HOLMES AGAIN AND IT SAYS IN

10:01AM   20       PARENTHESIS, "(KERRY, PLEASE DELINEATE THIS BASED ON WHAT WE

10:01AM   21       DID WITH THE NEW YORK INSPECTOR RECENTLY AND SEND THAT OUT.)"

10:01AM   22             DO YOU RECALL THAT?

10:01AM   23       A.    YES, I DO.

10:01AM   24       Q.    AND DO YOU RECALL THE NEW YORK INSPECTOR'S VISIT AND ANY

10:01AM   25       AREAS THAT WERE OFF LIMITS OR INCLUDED DURING THAT VISIT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 48
                                                                               49 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1936


10:02AM    1       A.    I WAS NOT INVOLVED IN THE NEW YORK STATE AUDIT.

10:02AM    2       Q.    THE DIRECTION THAT YOU JUST REFERENCED, THAT NO ONE SHOULD

10:02AM    3       COME OR GO DURING NORMANDY, WHAT INSPECTION WAS THAT DURING?

10:02AM    4       A.    IT WAS DURING -- IT REFERRED TO THE ALCHEMIST OR THE CLIA

10:02AM    5       INSPECTION IN NOVEMBER.

10:02AM    6       Q.    AND WHO SPECIFICALLY GAVE THAT DIRECTION THAT NO ONE

10:02AM    7       SHOULD COME OR GO FROM THE LAB DURING THAT INSPECTION?

10:02AM    8       A.    IT CAME FROM SUNNY.

10:02AM    9       Q.    DID YOU RECEIVE ANY DIRECTION ABOUT WHETHER TO SHOW

10:02AM   10       AUDITORS OR INSPECTORS THE NORMANDY DURING THAT VISIT?

10:02AM   11       A.    SO STANDARD PRACTICE DURING AN INSPECTION IS TO SHOW THE

10:02AM   12       AUDITORS WHAT THEY ASKED FOR.       THEY ASKED FOR VALIDATION

10:03AM   13       STUDIES FOR THE EDISON INSTRUMENT AND FOR THE MODIFIED SIEMENS

10:03AM   14       LDT'S.   WE SHOWED THEM THESE STUDIES.

10:03AM   15             WHILE THIS WAS GOING ON, I EMAILED DANIEL YOUNG AND ASKED

10:03AM   16       HIM IF WE SHOULD MENTION THE DOWNSTAIRS LAB, AND HE SAID NOT

10:03AM   17       UNLESS THEY SPECIFICALLY BRING IT UP OR REQUEST TO SEE IT.

10:03AM   18       Q.    AND JUST AS A REMINDER, WHAT WAS IN THE DOWNSTAIRS LAB AT

10:03AM   19       THERANOS?

10:03AM   20       A.    THE SIEMENS INSTRUMENTING RUNNING THE LDT'S, THE TECAN

10:03AM   21       LIQUID HANDLERS, SOFTWARE THAT WOULD INTERFACE WITH THIS

10:03AM   22       EQUIPMENT, A ROBOT TO HANDLE SPECIMENS AS THEY CAME IN,

10:03AM   23       CENTRIFUGES, ET CETERA.

10:03AM   24       Q.    DURING THIS INSPECTION, WERE YOU WITH THE AUDITOR OR

10:03AM   25       AUDITORS DURING THE COURSE OF THE DAY?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 49
                                                                               50 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1937


10:03AM    1       A.    FOR THE MAJORITY OF IT, YES.

10:04AM    2       Q.    AND WAS THERE A SPECIFIC PORTION WHERE YOU WEREN'T WITH

10:04AM    3       THEM?

10:04AM    4       A.    CORRECT.   I RETIRED TO MY OFFICE WHILE THE INSPECTOR WAS

10:04AM    5       REVIEWING DOCUMENTATION IN THE UPSTAIRS LABORATORY.

10:04AM    6       Q.    TO YOUR KNOWLEDGE, AT ANY POINT DURING THAT DAY WERE THE

10:04AM    7       INSPECTORS SHOWN AN EDISON DEVICE?

10:04AM    8       A.    NOT TO MY KNOWLEDGE.     THERE WAS DISCUSSION BETWEEN

10:04AM    9       DANIEL YOUNG AND THE AUDITOR AT THE BEGINNING OF THE AUDIT

10:04AM   10       AROUND WHAT WAS PROPRIETARY AND WHAT MIGHT NOT BE REVEALED AND

10:04AM   11       WHAT COULD BE SHOWN.       I DON'T KNOW THE SPECIFICS OF THAT

10:04AM   12       DISCUSSION, BUT THAT WAS BROUGHT UP.

10:04AM   13       Q.    I'LL ASK YOU TO LOOK AT EXHIBIT 2149, PLEASE.

10:05AM   14             DO YOU HAVE 2149 IN FRONT OF YOU?

10:05AM   15       A.    YES, I DO.

10:05AM   16       Q.    IS THIS AN EMAIL CHAIN INCLUDING CORRESPONDENCE BETWEEN

10:05AM   17       YOU AND DANIEL YOUNG AND OTHERS AT THERANOS?

10:05AM   18       A.    YES.

10:05AM   19                    MR. BOSTIC:    YOUR HONOR, THE GOVERNMENT MOVES TO

10:05AM   20       ADMIT EXHIBIT 2149.

10:05AM   21                    THE WITNESS:    SO -- I'M SORRY.    I DON'T KNOW IF I'M

10:05AM   22       ON THE RIGHT EXHIBIT.       I'M ON EXHIBIT 2149.    THE FIRST HEADER

10:05AM   23       SHOWS ME CC'ING THIS TO MY GMAIL ACCOUNT.         THE SECOND HEADER IS

10:05AM   24       AN EMAIL FROM DANIEL YOUNG TO A NUMBER OF PEOPLE, INCLUDING

10:05AM   25       MYSELF.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 50
                                                                               51 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1938


10:06AM    1       BY MR. BOSTIC:

10:06AM    2       Q.    YOU'RE ON THE RIGHT DOCUMENT.       YOU'RE IN THE RIGHT PLACE.

10:06AM    3       A.    OKAY.

10:06AM    4                     MR. BOSTIC:   YOUR HONOR, THE GOVERNMENT MOVES TO

10:06AM    5       ADMIT THIS EXHIBIT AT THIS TIME.

10:06AM    6                     MR. WADE:    THE COURT'S INDULGENCE.

10:06AM    7             (PAUSE IN PROCEEDINGS.)

10:06AM    8                     MR. WADE:    NO OBJECTION, YOUR HONOR.

10:06AM    9                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

10:06AM   10             (GOVERNMENT'S EXHIBIT 2149 WAS RECEIVED IN EVIDENCE.)

10:06AM   11                     MR. BOSTIC:   MS. HOLLIMAN, IF WE CAN JUST CAPTURE

10:06AM   12       THE TOP HALF OF THE PAGE APPROXIMATELY.        LET'S GO DOWN A LITTLE

10:06AM   13       BIT FURTHER.

10:06AM   14             THAT'S GOOD.    THANK YOU.

10:06AM   15       Q.    DR. ROSENDORFF, DO YOU SEE AT THE BOTTOM OF THE PAGE

10:06AM   16       THERE'S SOME CORRESPONDENCE BETWEEN YOU, DANIEL YOUNG, AND

10:06AM   17       OTHERS FROM SEPTEMBER 2013?

10:06AM   18       A.    YES.

10:06AM   19       Q.    AND IN YOUR EMAIL, THE FIRST LINE SAYS, "I FAVOR

10:07AM   20       ESTABLISHING DE-NOVO REFERENCE RANGES ON CAPILLARY BLOOD BASED

10:07AM   21       ON ALREADY COLLECTED AND WALGREENS NORMALS."

10:07AM   22             DO YOU SEE THAT TEXT?

10:07AM   23       A.    YES, I DO.

10:07AM   24       Q.    AND DO YOU RECALL THIS CONVERSATION GENERALLY?

10:07AM   25       A.    YES, I DO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 51
                                                                               52 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1939


10:07AM    1       Q.    AT THE TOP OF THE PAGE, YOU FORWARD THAT EMAIL CHAIN TO

10:07AM    2       YOUR PERSONAL EMAIL; IS THAT CORRECT?

10:07AM    3       A.    YES.

10:07AM    4       Q.    AND THE EMAIL IS SEPTEMBER 2013, BUT YOU FORWARDED IT MORE

10:07AM    5       THAN A YEAR LATER; IS THAT CORRECT?

10:07AM    6       A.    CORRECT.

10:07AM    7       Q.    WHY DID YOU DECIDE TO FORWARD THIS EMAIL CHAIN TO YOURSELF

10:07AM    8       IN OCTOBER OF 2014?

10:07AM    9       A.    DESPITE MY BEST EFFORTS TO IMPROVE ASSAYS, TO WORK MY

10:07AM   10       HARDEST WITH THE COMPANY, TO ALERT MANAGEMENT TO PROBLEMS, THE

10:08AM   11       NUMBER AND SEVERITY OF ISSUES HAD REACHED A CRESCENDO FOR ME.

10:08AM   12             AT THAT TIME IN OCTOBER OF 2014, AS I MENTIONED, I THINK I

10:08AM   13       ALREADY DISCUSSED THE REASONS WHY I FORWARDED THE EMAIL IN

10:08AM   14       GENERAL TO MY GMAIL ACCOUNT.

10:08AM   15       Q.    AND I THINK THERE WAS SOMETHING AT THIS POINT IN TIME THAT

10:08AM   16       CAUSED YOU TO CONTINUE WITH THAT PRACTICE.

10:08AM   17       A.    IT WAS AROUND THIS TIME THAT WE WERE GETTING A HIGH

10:08AM   18       FREQUENCY OF DOCTOR COMPLAINTS.

10:08AM   19       Q.    AND REMIND US WHEN APPROXIMATELY DID YOU LEAVE THE

10:08AM   20       COMPANY?

10:08AM   21       A.    NOVEMBER 2014.

10:08AM   22       Q.    AND SO WE'RE NOW IN YOUR FINAL WEEKS WITH THERANOS; IS

10:08AM   23       THAT CORRECT?

10:08AM   24       A.    CORRECT.

10:08AM   25       Q.    AND LET'S LOOK AT EXHIBIT 4323 NEXT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 52
                                                                               53 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1940


10:08AM    1             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT THIS.         I BELIEVE

10:08AM    2       THE DEFENSE HAS STIPULATED.

10:09AM    3             (PAUSE IN PROCEEDINGS.)

10:09AM    4                    MR. WADE:    WE HAVE, YOUR HONOR.

10:09AM    5                    THE COURT:   IT'S ADMITTED.     IT MAY BE PUBLISHED.

10:09AM    6             (GOVERNMENT'S EXHIBIT 4323 WAS RECEIVED IN EVIDENCE.)

10:09AM    7       BY MR. BOSTIC:

10:09AM    8       Q.    LET'S START ON PAGE 4 OF THIS EXHIBIT -- DR. ROSENDORFF,

10:09AM    9       DO YOU SEE --

10:09AM   10             LET'S ZOOM IN ON THAT FIRST EMAIL MESSAGE AT THE BOTTOM.

10:09AM   11             DR. ROSENDORFF, DO YOU SEE THIS BEGINS WITH AN EMAIL TO

10:09AM   12       CHRISTIAN HOLMES ABOUT A DOCTOR CALLING ABOUT HDL AND LDL

10:09AM   13       RESULTS?

10:09AM   14       A.    YES.

10:09AM   15       Q.    AND WHAT ARE HDL AND LDL?

10:09AM   16       A.    HIGH DENSITY LIPO PROTEIN AND LOW DENSITY LIPO PROTEIN.

10:10AM   17       Q.    AND GENERALLY SPEAKING, WHAT IS THE CLINICAL SIGNIFICANCE

10:10AM   18       OF THOSE?

10:10AM   19       A.    PATIENTS WITH HIGH LDL OR HIGH TOTAL CHOLESTEROL ARE AT

10:10AM   20       RISK FOR HEART DISEASE.

10:10AM   21             BY CONTRAST, HIGH HDL IS PROTECTIVE AGAINST HEART DISEASE.

10:10AM   22       Q.    AND THIS CALL INDICATES THAT A DOCTOR WAS CONCERNED ABOUT

10:10AM   23       HDL AND LDL RESULTS AND THE LIPID PANEL FOR A CERTAIN PATIENT.

10:10AM   24             DO YOU SEE THAT?

10:10AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 53
                                                                               54 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1941


10:10AM    1       Q.    AND THE RECORD IS THAT HDL AND LDL ARE NOT ADDING UP AND

10:10AM    2       THE DOCTOR THOUGHT THAT THE LDL WAS A FALSE READING.

10:10AM    3             DO YOU SEE THAT?

10:10AM    4       A.    YES, I SEE THAT.

10:10AM    5       Q.    WHY WOULD IT BE A PROBLEM THAT HDL AND LDL WERE NOT ADDING

10:10AM    6       UP?

10:10AM    7       A.    THE TOTAL CHOLESTEROL CAN BE ESTIMATED BY ADDING HDL TO

10:11AM    8       LDL AND THEN BY ADDING TRIGLYCERIDES AND DIVIDING THAT VALUE BY

10:11AM    9       5.    IT'S KNOWN AS THE FRIEDEWALD OCCASION.

10:11AM   10             THIS EMAIL SUGGESTS THAT THE M.A. HAD APPLIED THAT

10:11AM   11       FORMULA, AND THEN COMPARED THE TOTAL CALCULATED CHOLESTEROL TO

10:11AM   12       THE ACTUAL CHOLESTEROL MEASURED BY THE LABORATORY.

10:11AM   13       Q.    AND DID THE RESULTS CALL INTO QUESTION THE ACCURACY OF THE

10:11AM   14       THERANOS TEST?

10:11AM   15       A.    YES.

10:11AM   16       Q.    LET'S GO TO PAGE 3 OF THIS EXHIBIT, PLEASE.         LET'S LOOK AT

10:11AM   17       THE BOTTOM HALF OF THE PAGE ON PAGE 3.

10:12AM   18             DR. ROSENDORFF, DO YOU SEE AN EMAIL FROM YOU NOW TO

10:12AM   19       CHRISTIAN HOLMES ABOUT THIS TOPIC?

10:12AM   20       A.    YES, I DO.

10:12AM   21       Q.    AND YOU INDICATE THAT YOU CALLED AND LEFT A MESSAGE WITH

10:12AM   22       THE PROVIDER SAYING THAT THERANOS WOULD ATTEMPT TO RERUN THE

10:12AM   23       SAMPLE; IS THAT RIGHT?

10:12AM   24       A.    YES.

10:12AM   25       Q.    AND YOU THEN DESCRIBE THE PROBLEM BELOW THAT YOU JUST



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 54
                                                                               55 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1942


10:12AM    1       TALKED ABOUT; IS THAT CORRECT?

10:12AM    2       A.    CORRECT.

10:12AM    3       Q.    LET'S ZOOM OUT AND LOOK AT THE TOP MESSAGE ON THIS PAGE.

10:12AM    4             DR. ROSENDORFF, DO YOU SEE AN EMAIL FROM YOU AT THE VERY

10:12AM    5       TOP OF THE PAGE?

10:12AM    6       A.    YES, I DO.

10:12AM    7       Q.    YOU SAY, "SEEMS LIKE A TECHNICAL PROBLEM.         THERE ARE NO

10:12AM    8       PATIENT FACTORS THAT WOULD EXPLAIN THIS."

10:12AM    9       A.    RIGHT.

10:12AM   10       Q.    AND WHAT DID YOU MEAN BY THAT?

10:12AM   11       A.    I MEANT THAT IT WOULDN'T MATTER, FOR INSTANCE, IF THE

10:12AM   12       PATIENT WAS TAKING CHOLESTEROL LOWERING MEDICATION OR IF THE

10:13AM   13       PATIENT HAD HYPERCHOLESTEROLEMIA.       THERE ARE NO PREEXISTING

10:13AM   14       ILLNESSES OR MEDICATIONS THAT WOULD EXPLAIN THIS KIND OF

10:13AM   15       DISCREPANCY.

10:13AM   16       Q.    AND IF THERE ARE NO PATIENT FACTORS THAT WOULD EXPLAIN IT,

10:13AM   17       WHAT DOES THAT LEAVE AS THE POSSIBLE EXPLANATION?

10:13AM   18       A.    TECHNICAL PROBLEM.

10:13AM   19       Q.    IN OTHER WORDS, A PROBLEM WITH THE TEST ITSELF?

10:13AM   20       A.    CORRECT.

10:13AM   21       Q.    LET'S GO TO PAGE 2 NOW, MOVING FORWARD IN TIME.         LET'S

10:13AM   22       ZOOM IN ON THE VERY BOTTOM HALF OF THE PAGE.

10:13AM   23             DR. ROSENDORFF, DO YOU SEE AN EMAIL FROM CHRISTIAN HOLMES

10:13AM   24       TO YOU ON NOVEMBER 14TH, 2014?

10:13AM   25       A.    YES, I DO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 55
                                                                               56 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1943


10:13AM    1       Q.    HE SAYS, "I ESCALATED THIS AND RECEIVED THE FOLLOWING

10:13AM    2       RESPONSE.    ADAM IS THIS SUFFICIENT FOR YOU TO RELAY TO THE

10:13AM    3       DOC?"

10:13AM    4             IS THAT CORRECT?

10:13AM    5       A.    YES.

10:13AM    6       Q.    AND HE THEN PROVIDES A PURPORTED EXPLANATION FOR THE

10:14AM    7       THERANOS RESULTS; IS THAT CORRECT?

10:14AM    8       A.    YES.

10:14AM    9       Q.    LET'S ZOOM OUT AND LOOK AT YOUR RESPONSE JUST ABOVE THAT

10:14AM   10       MESSAGE.

10:14AM   11             MS. HOLLIMAN, IF WE CAN GO DOWN A LITTLE BIT FURTHER.

10:14AM   12       PERFECT.     THANK YOU.

10:14AM   13             DR. ROSENDORFF, DO YOU SEE YOUR RESPONSE TO

10:14AM   14       CHRISTIAN HOLMES'S EMAIL AT THE BOTTOM THERE?

10:14AM   15       A.    YES, I DO.

10:14AM   16       Q.    AND YOU SAY, "I AM GOING TO PASS ON THIS ONE."

10:14AM   17             IS THAT CORRECT?

10:14AM   18       A.    CORRECT.

10:14AM   19       Q.    AND CHRISTIAN HOLMES THEN ASKS, "CAN YOU PLEASE CLARIFY

10:14AM   20       WHAT YOU MEAN BY THIS?"

10:14AM   21             AND YOU SAY, "IF YOU'RE ASKING ME TO DEFEND THESE VALUES

10:14AM   22       THEN THE ANSWER IS NO."

10:14AM   23             IS THAT RIGHT?

10:14AM   24       A.    CORRECT.

10:14AM   25       Q.    AND WHY DID YOU REFUSE TO DEFEND THE VALUES IN THIS CASE?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 56
                                                                               57 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1944


10:14AM    1       A.    BECAUSE I DIDN'T BELIEVE THEM TO BE ACCURATE.

10:14AM    2       Q.    LET'S LOOK AT PAGE 1 AND SEE THE CONTINUATION OF THIS

10:15AM    3       CONVERSATION.

10:15AM    4             LET'S ZOOM IN ON THE BOTTOM MESSAGE.

10:15AM    5             DR. ROSENDORFF, DO YOU SEE THAT CHRISTIAN HOLMES RESPONDS,

10:15AM    6       "THIS CAN BE HANDLED CONSTRUCTIVELY INTERNALLY."

10:15AM    7             AND THEN HE SAYS, "ADAM, IF YOU'RE GOING TO REFUSE TO

10:15AM    8       SPEAK WITH THE CLINICIAN WHO IS ASKING TO SPEAK WITH OUR LAB

10:15AM    9       DIRECTOR ABOUT INTERPRETING A PATIENT'S RESULTS, THEN SO BE IT,

10:15AM   10       BUT SIMPLY PASSING ON GETTING BACK TO THIS DOC IS NOT AN

10:15AM   11       OPTION."

10:15AM   12             DO YOU SEE THAT?

10:15AM   13       A.    YES, I DO.

10:15AM   14       Q.    WERE YOU REFUSING TO SPEAK TO THE DOCTOR AT ALL?

10:15AM   15       A.    NO.    I WAS REFUSING TO DEFEND THE ACCURACY OF THE RESULT.

10:15AM   16       Q.    LET'S ZOOM IN ON THE TOP HALF OF THIS PAGE.

10:15AM   17             AND IN THE MIDDLE OF THE SCREEN, DR. ROSENDORFF, DO YOU

10:15AM   18       SEE A MESSAGE FROM ELIZABETH HOLMES TO HER BROTHER

10:16AM   19       CHRISTIAN HOLMES ON NOVEMBER 14TH AT 2:22?

10:16AM   20       A.    YES.

10:16AM   21       Q.    SHE SAYS, "CHRISTIAN:     YOU HANDLED THIS EXCELLENTLY.       THE

10:16AM   22       LAST NOTE TO ADAM BELOW, ESPECIALLY THE SECOND SENTENCE, WAS

10:16AM   23       EXACTLY RIGHT."

10:16AM   24             DO YOU SEE THAT?

10:16AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 57
                                                                               58 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1945


10:16AM    1       Q.    LET'S LOOK AT EXHIBIT 4314.

10:16AM    2             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT THIS EXHIBIT,

10:16AM    3       4314.   IT'S SUBJECT TO STIPULATION.

10:16AM    4             (PAUSE IN PROCEEDINGS.)

10:16AM    5                    MR. WADE:    THAT'S CORRECT, YOUR HONOR.

10:16AM    6                    THE COURT:   IT'S ADMITTED.     IT MAY BE PUBLISHED.

10:16AM    7             (GOVERNMENT'S EXHIBIT 4314 WAS RECEIVED IN EVIDENCE.)

10:16AM    8       BY MR. BOSTIC:

10:16AM    9       Q.    LET'S LOOK AT THE TOP HALF OF PAGE 2.

10:16AM   10             DR. ROSENDORFF, DO YOU SEE THIS IS A CONTINUATION OF THAT

10:16AM   11       SAME EMAIL CHAIN THAT WE WERE JUST LOOKING AT?

10:16AM   12       A.    YES, I DO.

10:16AM   13       Q.    YOUR RESPONSE TO CHRISTIAN IS AT THE TOP OF THE PAGE.             YOU

10:17AM   14       SAY, "I WILL HAPPILY SPEAK TO THE CLINICIAN BUT I WILL NOT

10:17AM   15       DEFEND THE RESULTS."

10:17AM   16             WAS THAT YOUR POSITION AT THE TIME?

10:17AM   17       A.    YES.

10:17AM   18       Q.    AND LET'S GO TO PAGE 1 NOW AND ZOOM IN ON THE BOTTOM HALF

10:17AM   19       OF THE PAGE.

10:17AM   20             YOU THEN FOLLOW UP WITH YOUR EMAIL TO CHRISTIAN; IS THAT

10:17AM   21       CORRECT?

10:17AM   22       A.    YES, I DID.

10:17AM   23       Q.    AND YOU SAY, "TO CLARIFY, NUMBER 1, THIS IS NOT A QUESTION

10:17AM   24       OF INTERPRETING RESULTS, THIS IS THE QUESTION OF RELIABILITY

10:17AM   25       AND ACCURACY OF THE RESULT."



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 58
                                                                               59 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1946


10:17AM    1             DO YOU SEE THAT?

10:17AM    2       A.    YES.

10:17AM    3       Q.    YOU SAY, "THE MOST CONSTRUCTIVE THING AT THIS POINT IS TO

10:17AM    4       OFFER RELIABLE AND ROBUST ASSAYS, NOT TO SPIN."

10:17AM    5             DID YOU FEEL AT THIS TIME YOU WERE BEING ASKED TO SPIN

10:17AM    6       INSTEAD OF PROVIDE RELIABLE AND ROBUST ASSAYS?

10:17AM    7       A.    YES, I DID.

10:17AM    8       Q.    POINT NUMBER 3 IN YOUR EMAIL SAYS, "FURTHER 100 PERCENT

10:17AM    9       HONESTY AND TRANSPARENCY TO THE PATIENT IS ESSENTIAL."

10:17AM   10             AT THIS TIME DID YOU FEEL THAT THERANOS WAS BEING

10:18AM   11       100 PERCENT HONEST AND TRANSPARENT TO THE PATIENT?

10:18AM   12       A.    NO.    DESPITE MY DIRECTION, THE COMPANY WAS NOT SHOWING ON

10:18AM   13       THE PATIENT REPORT WHAT THE SAMPLE TYPE WAS, WHETHER IT WAS

10:18AM   14       VENOUS OR CAPILLARY, AND WHAT METHOD WAS BEING USED TO RUN THE

10:18AM   15       SAMPLE.

10:18AM   16             MY INTERACTIONS WITH MANAGEMENT, THEY MADE IT VERY CLEAR

10:18AM   17       WHAT THE MESSAGING SHOULD BE.

10:18AM   18       Q.    AND WHAT WAS THE MESSAGE -- WHAT WAS THE MESSAGING

10:18AM   19       DIRECTION THAT YOU RECEIVED FROM MANAGEMENT?

10:18AM   20       A.    THE MESSAGING WOULD BE TO DEFEND THE RESULTS BY COMING UP

10:18AM   21       WITH PATIENT FACTORS THAT WOULD EXPLAIN DISCREPANCIES.

10:18AM   22       Q.    LET'S ZOOM OUT AND LOOK AT THE VERY TOP MESSAGE ON THIS

10:18AM   23       PAGE, PAGE 1.

10:19AM   24             DO YOU SEE THERE, DR. ROSENDORFF, AN EMAIL FROM

10:19AM   25       CHRISTIAN HOLMES TO ELIZABETH HOLMES AND SUNNY BALWANI STATING,



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 59
                                                                               60 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1947


10:19AM    1       "HIS RESPONSE TO THIS WAS TO DO A VACUTAINER REDRAW AND I ENDED

10:19AM    2       THE CONVERSATION AT THAT POINT."

10:19AM    3       A.    I JUST WANTED TO ADD SOMETHING RELATED TO MY PREVIOUS

10:19AM    4       COMMENTS.

10:19AM    5       Q.    GO AHEAD.

10:19AM    6       A.    THE FACT THAT THE SAMPLE TYPE AND METHOD TYPE WAS NOT

10:19AM    7       SHOWN ON THE REPORT MADE IT VERY DIFFICULT FOR ME TO

10:19AM    8       TROUBLESHOOT OR INTERPRET RESULTS AS A LABORATORY DIRECTOR.

10:19AM    9             IN OTHER WORDS, THIS INFORMATION WAS NOT AVAILABLE TO THE

10:19AM   10       PHYSICIANS AND IT WAS NOT TRANSPARENT TO ME EITHER.

10:19AM   11       Q.    THANK YOU.

10:19AM   12       A.    I COULD FIND OUT -- I WAS ABLE TO FIND OUT THAT

10:19AM   13       INFORMATION, BUT IT REQUIRED A LOT OF EFFORT.

10:19AM   14       Q.    SO YOU HAD ACCESS TO THAT INFORMATION THROUGH EFFORT; IS

10:19AM   15       THAT RIGHT?

10:19AM   16       A.    YES.

10:19AM   17       Q.    AND DID PHYSICIANS HAVE ACCESS TO THAT SAME INFORMATION IF

10:19AM   18       THEY NEEDED IT?

10:19AM   19       A.    IT WAS NOT ON THE REPORT.      I DON'T RECALL ANY PHONE CALLS

10:20AM   20       ASKING US WHETHER SAMPLES WERE RUN ON VENOUS BLOOD OR CAPILLARY

10:20AM   21       BLOOD.

10:20AM   22       Q.    WERE YOU PERMITTED TO TELL PHYSICIANS ABOUT THE SPECIFIC

10:20AM   23       METHODS USED TO RUN THERANOS TESTS?

10:20AM   24       A.    I DIDN'T RECEIVE EXPLICIT INSTRUCTION NOT TO, SO IF I WAS

10:20AM   25       ASKED, I WOULD, I WOULD TELL PHYSICIANS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 60
                                                                               61 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1948


10:20AM    1             I ALSO THINK IT'S GOOD MEDICAL CARE AND PATIENT CARE TO

10:20AM    2       TELL PHYSICIANS ABOUT THIS, ABOUT THESE ISSUES.

10:20AM    3       Q.    BUT YOUR RECOMMENDATION WAS TO INCLUDE THAT INFORMATION ON

10:20AM    4       THE REPORT ITSELF?

10:20AM    5       A.    CORRECT, CORRECT.

10:20AM    6       Q.    AND GOING BACK TO EXHIBIT 4314.

10:20AM    7             CHRISTIAN HOLMES'S EMAIL REPORTS THAT YOUR POSITION WAS TO

10:20AM    8       DO A VACUTAINER REDRAW.      WHAT WOULD THAT MEAN IN THIS CASE?

10:21AM    9       A.    IT WOULD MEAN TO DRAW VENOUS BLOOD AND TO RUN THAT SAMPLE

10:21AM   10       ON AN FDA APPROVED COMMERCIALLY AVAILABLE INSTRUMENT.

10:21AM   11       Q.    IN OTHER WORDS, A NON-THERANOS METHOD?

10:21AM   12       A.    CORRECT.

10:21AM   13       Q.    I'LL ASK YOU TO LOOK NOW AT EXHIBIT 4330, PLEASE.

10:21AM   14             YOUR HONOR, THE GOVERNMENT MOVES TO ADMIT 4330.         THE

10:21AM   15       DEFENSE HAS STIPULATED.

10:21AM   16                   MR. WADE:    WE HAVE, YOUR HONOR.

10:21AM   17                   THE COURT:    IT'S ADMITTED.     IT MAY BE PUBLISHED.

10:21AM   18             (GOVERNMENT'S EXHIBIT 4330 WAS RECEIVED IN EVIDENCE.)

10:21AM   19       BY MR. BOSTIC:

10:21AM   20       Q.    LET'S START WITH PAGE 3 OF THIS EXHIBIT.        AND IF WE CAN

10:21AM   21       ZOOM IN ON THAT EMAIL.

10:21AM   22             DR. ROSENDORFF, DO YOU SEE AN EMAIL FROM YOU ON

10:21AM   23       NOVEMBER 14TH, 2014 TO MS. HOLMES AND MR. BALWANI?

10:21AM   24       A.    YES, I DO.

10:21AM   25       Q.    AND YOU SAY IN THIS EMAIL, "I AM HEARING THAT THERANOS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 61
                                                                               62 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1949


10:21AM    1       INTENDS TO TEST SAMPLES TO RULE OUT OR DIAGNOSE EBOLA AT 7373

10:22AM    2       GATEWAY.

10:22AM    3             "CAN YOU PLEASE CONFIRM THAT THIS IS CORRECT.         IF SO, I AM

10:22AM    4       WONDERING WHY, AS LAB DIRECTOR, I WAS NOT INVOLVED IN THE

10:22AM    5       DECISION."

10:22AM    6             DO YOU SEE THAT?

10:22AM    7       A.    I SEE THAT.

10:22AM    8       Q.    LET'S LOOK AT PAGE 2 AND CAPTURE THE BOTTOM OF THE PAGE.

10:22AM    9             MS. HOLMES RESPONDS TO YOU TO SAY "THAT IS NOT CORRECT.

10:22AM   10       WHO SAID THIS?"

10:22AM   11             DO YOU SEE THAT?

10:22AM   12       A.    YES.

10:22AM   13       Q.    YOU SUGGEST A COMPANY-WIDE EMAIL?

10:22AM   14       A.    YES.

10:22AM   15       Q.    LET'S LOOK AT THE TOP OF THIS PAGE.

10:22AM   16             YOU THEN FOLLOW UP ON THIS EMAIL CHAIN TO SAY, "ELIZABETH,

10:22AM   17       I FEEL REALLY UNCOMFORTABLE WITH WHAT IS HAPPENING RIGHT NOW IN

10:22AM   18       THIS COMPANY.    IS THERE ANY WAY YOU CAN GET SPENCER BACK ON THE

10:23AM   19       CLIA LICENSE AND TAKE ME OFF?       I AM FEELING PRESSURED TO VOUCH

10:23AM   20       FOR RESULTS THAT I CANNOT BE CONFIDENT IN AND ALSO IN A NUMBER

10:23AM   21       OF CASES WHERE I GET QUESTIONS ABOUT ASSAYS, I DO NOT KNOW WHAT

10:23AM   22       METHOD IS BEING USED.      IE VACUTAINERS, ILIQUOTTED INTO CTN'S,

10:23AM   23       ET CETERA."

10:23AM   24             WHAT PROMPTED YOU TO SEND THIS MESSAGE AT THIS TIME?

10:23AM   25       A.    IT WAS THE CULMINATION OF A LARGE NUMBER OF THE ISSUES



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 62
                                                                               63 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1950


10:23AM    1       THAT WE HAVE BEEN DISCUSSING DURING MY TESTIMONY, AND I WAS

10:23AM    2       PARTICULARLY DISTURBED BY THE FACT THAT WHAT WAS BEING DONE AT

10:23AM    3       THE COMPANY WAS NOT VISIBLE TO ME IN TERMS OF THE EBOLA EMAIL

10:23AM    4       THAT I MENTIONED AND IN TERMS OF THE METHODS BEING RUN,

10:23AM    5       ET CETERA.

10:23AM    6       Q.     AND LET'S LOOK AT PAGE 1 TO SEE MS. HOLMES'S RESPONSE.

10:23AM    7       IT'S AN EMAIL ON THE BOTTOM OF THE PAGE.

10:24AM    8              MS. HOLMES RESPONDS, "HOW SAD AND DISAPPOINTING TO SEE

10:24AM    9       THIS FROM YOU."

10:24AM   10              SHE SAID, "OUTSIDE OF THE FACT THAT YOU'VE NEVER EMAILED

10:24AM   11       ME ON ANY CONCERNS YOU ALLUDE TO THERE BEFORE BUT NOW EMAIL

10:24AM   12       THIS, YOU KNOW FROM EVERY CONVERSATION WE'VE EVER HAD TOGETHER

10:24AM   13       HOW FUNDAMENTAL IT IS TO ALL OF US FOR YOU OR ANY OTHER

10:24AM   14       EMPLOYEE NEVER TO DO ANYTHING YOU'RE NOT COMPLETELY CONFIDENT

10:24AM   15       IN."

10:24AM   16              DO YOU SEE THAT?

10:24AM   17       A.     YES, I DO.

10:24AM   18       Q.     AND DID YOU AGREE WITH THOSE WORDS AT THE TIME?

10:24AM   19       A.     NO, I DID NOT.

10:24AM   20       Q.     WHY NOT?

10:24AM   21       A.     I HAD FREQUENT CONVERSATIONS WITH ELIZABETH ABOUT CONCERNS

10:24AM   22       THAT I HAD IN THE LABORATORY.       I -- AS THE JURY HAS SEEN, A

10:24AM   23       NUMBER OF EMAILS DEALING WITH THESE ISSUES WERE CC'D TO

10:24AM   24       ELIZABETH, AND THAT WAS VISIBLE TO ME AS WELL.

10:24AM   25              I EMAILED ELIZABETH DIRECTLY ON OCCASION TO ALERT HER TO



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 63
                                                                               64 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1951


10:25AM    1       CONCERNS.    I HAD AT LEAST ONE MEETING IN HER OFFICE BEFORE THE

10:25AM    2       LAUNCH TO DISCUSS MY CONCERNS.

10:25AM    3       Q.     YOUR REQUEST TO BE TAKEN OFF OF THE CLIA LICENSE AND PUT

10:25AM    4       SOMEONE ELSE ON, IN EFFECT, WHAT WOULD THAT MEAN WITH RESPECT

10:25AM    5       TO YOUR LAB DIRECTOR POSITION?

10:25AM    6       A.     I WOULD NO LONGER BE THE CLIA LABORATORY DIRECTOR OF

10:25AM    7       RECORD, AND IN THE EYES OF THE STATE AND THE FEDERAL

10:25AM    8       GOVERNMENT, I WOULD NOT BE THE PERSON RESPONSIBLE FOR THE

10:25AM    9       LABORATORY.

10:25AM   10       Q.     WE CAN PUT THAT ASIDE.

10:25AM   11              YOUR HONOR, THE GOVERNMENT WOULD LIKE TO ADMIT TWO PAGES

10:25AM   12       OF 5387A, AND THESE WERE AUTHENTICATED THROUGH A PREVIOUS

10:25AM   13       WITNESS, AND AT THIS TIME THE GOVERNMENT IS ADMITTING

10:26AM   14       PAGE 28 AND PAGE 33 FOR ADMISSION INTO EVIDENCE.

10:26AM   15              I DON'T BELIEVE IT'S IN THE BINDER, BUT I DO HAVE ONE COPY

10:26AM   16       IF THE COURT WOULD LIKE TO REVIEW.

10:26AM   17                   THE COURT:    PLEASE.

10:26AM   18              IS THERE ANY OBJECTION?

10:26AM   19                   MR. WADE:    I DON'T HAVE A COPY.

10:26AM   20                   MR. BOSTIC:    I DON'T HAVE A COPY FOR THE DEFENSE,

10:26AM   21       BUT I DID GIVE THEM NOTICE ABOUT THESE.

10:26AM   22                   THE COURT:    WHY DON'T WE SHOW MR. WADE FIRST.        THANK

10:26AM   23       YOU.

10:26AM   24                   MR. WADE:    I'M SORRY, COUNSEL.     AGAIN THE NUMBER

10:26AM   25       PLEASE?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 64
                                                                               65 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1952


10:26AM    1                   MR. BOSTIC:    EXHIBIT NUMBER 5387A, PAGES 28 AND 33.

10:27AM    2                   MR. WADE:    NO OBJECTION.

10:27AM    3                   THE COURT:    THOSE TWO PAGES, PAGE 28 AND 33, ARE

10:27AM    4       ADMITTED.    THEY MAY BE PUBLISHED.

10:27AM    5                   MR. BOSTIC:    THANK YOU, YOUR HONOR.

10:27AM    6             (GOVERNMENT'S EXHIBIT 5387A, PAGES 28 AND 33, WAS RECEIVED

10:27AM    7      IN EVIDENCE.)

10:27AM    8                   MR. BOSTIC:    MS. HOLLIMAN, IF WE CAN FIRST CAPTURE

10:27AM    9       THE CONTENT OF THIS TEXT EXCHANGE.

10:27AM   10       Q.    DR. ROSENDORFF, DURING YOUR TIME AT THE COMPANY, YOU

10:27AM   11       DIDN'T HAVE ACCESS TO TEXT MESSAGES BETWEEN ELIZABETH HOLMES

10:27AM   12       AND SUNNY BALWANI; CORRECT?

10:27AM   13       A.    NO, I DID NOT.

10:27AM   14       Q.    EXHIBIT 5387A, PAGE 28, CONTAINS AN EXCHANGE.

10:27AM   15             FIRST THERE'S A MESSAGE FROM ELIZABETH HOLMES THAT READS:

10:27AM   16             "JUST FINISHED CALLS.     ALICE WALTON IN FOR 50.

10:27AM   17             "CONFIRMED 100 GREG."

10:27AM   18             DO YOU SEE THAT LANGUAGE?

10:27AM   19       A.    YES, I DO.

10:28AM   20       Q.    AND THERE'S A RESPONSE FROM MR. BALWANI, "AWESOME.

10:28AM   21             "I WAS THINKING TODAY.     THEY ARE NOT INVESTING IN OUR

10:28AM   22       COMPANY.

10:28AM   23             "THEY ARE INVESTING IN OUR DESTINY."

10:28AM   24             DO YOU SEE THAT?

10:28AM   25       A.    YES, I DO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 65
                                                                               66 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1953


10:28AM    1       Q.    AND MR. BALWANI SAYS, "SO TOTAL 10."

10:28AM    2             MS. HOLMES RESPONDS, "150 TOTAL."

10:28AM    3             AND MS. HOLMES SAYS, "RUPERT OVER 100."

10:28AM    4             DO YOU SEE THAT?

10:28AM    5       A.    YES.

10:28AM    6       Q.    AND MR. BALWANI SAYS, "AWESOME.

10:28AM    7             "CAN'T WAIT TO LEARN MORE ABOUT CONVERSATION WITH RUPERT."

10:28AM    8             DURING THE EVENTS WE HAVE BEEN DISCUSSING WHEN YOU WERE

10:28AM    9       HAVING CONCERNS WITH THERANOS TESTING ACCURACY, WERE YOU AWARE

10:28AM   10       THAT MR. BALWANI AND MS. HOLMES WERE RAISING TENS OF MILLIONS

10:28AM   11       OF DOLLARS FROM INVESTORS?

10:28AM   12       A.    I WAS AWARE THAT INVESTING WAS OCCURRING, YES.

10:28AM   13       Q.    AND WERE YOU INVOLVED IN SPEAKING TO INVESTORS AT ALL OR

10:28AM   14       SECURING THOSE INVESTMENTS FOR THE COMPANY?

10:28AM   15       A.    NO, NOT AT ALL.

10:29AM   16       Q.    LET'S LOOK BRIEFLY AT EXHIBIT 2228 IN YOUR BINDER.

10:29AM   17             DR. ROSENDORFF --

10:29AM   18             ACTUALLY, YOUR HONOR, I BELIEVE THIS IS SUBJECT TO

10:29AM   19       STIPULATION AND THE GOVERNMENT MOVES TO ADMIT 2228.

10:29AM   20                    MR. WADE:    THAT'S CORRECT, YOUR HONOR.

10:29AM   21                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

10:29AM   22             (GOVERNMENT'S EXHIBIT 2228 WAS RECEIVED IN EVIDENCE.)

10:29AM   23                    MR. BOSTIC:   LET'S START, MS. HOLLIMAN, WITH PAGE 2,

10:29AM   24       PLEASE.   LET'S ZOOM IN ON THE BOTTOM HALF OF THE PAGE.

10:30AM   25       Q.    DR. ROSENDORFF, DO YOU SEE AN EMAIL TO YOU AND CLS GROUP



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 66
                                                                               67 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1954


10:30AM    1       ON NOVEMBER 21ST, 2014?

10:30AM    2       A.    YES, I DO.

10:30AM    3       Q.    IS THIS JUST DAYS BEFORE YOU LEFT THE COMPANY?

10:30AM    4       A.    YES, IT IS.

10:30AM    5       Q.    THE MESSAGE SAYS, "HI ADAM, PLEASE APPROVE A REDRAW FOR

10:30AM    6       CMP FOR," AND THEN THE PATIENT NAME IS REDACTED, "THE CHLORIDE

10:30AM    7       WAS CRITICAL HIGH AND THE COLLECTED CTN WAS QNS FOR RERUN."

10:30AM    8             WHAT DOES QNS MEAN IN THIS CONTEXT?

10:30AM    9       A.    QUANTITY NOT SUFFICIENT.

10:30AM   10       Q.    IN OTHER WORDS, THERE WASN'T ENOUGH OF THE SAMPLE TO

10:30AM   11       RERUN?

10:30AM   12       A.    CORRECT.

10:30AM   13       Q.    LET'S ZOOM IN ON THE TOP HALF OF THIS PAGE, PLEASE.

10:30AM   14             YOU FORWARD THIS INFORMATION TO ELIZABETH HOLMES AND

10:31AM   15       SUNNY BALWANI; CORRECT?

10:31AM   16       A.    CORRECT.

10:31AM   17       Q.    AND YOU SAY, "ELIZABETH/SUNNY, WE ARE STILL VOIDING

10:31AM   18       CRITICAL ISE RESULTS AND ASKING FOR REDRAW.         THIS MEANS WE

10:31AM   19       WOULD MISS A TRULY CRITICAL ISE RESULT.        BY THE SAME TOKEN, IT

10:31AM   20       CALLS INTO QUESTION THE ACCURACY OF EVEN THE NORMAL ISE

10:31AM   21       RESULTS.

10:31AM   22             "ARE YOU BOTH COMFORTABLE WITH THIS?"

10:31AM   23             CAN YOU EXPLAIN WHAT YOUR CONCERN WAS IN THIS CASE?

10:31AM   24       A.    FIRST OF ALL, PHYSICIANS WOULD HAVE BEEN ORDERING THESE

10:31AM   25       TESTS AND EXPECTING TO GET RESULTS BACK FROM THE LAB.           WE WERE



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 67
                                                                               68 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1955


10:31AM    1       VOIDING THE CRITICAL RESULTS BY RULE, BY DEFAULT.          SO THE VERY

10:31AM    2       CLINICAL SITUATIONS THAT WOULD REQUIRE ACCURATE REPORTING OF

10:31AM    3       CRITICAL ISE RESULTS WOULD THEN NOT BE REPORTED.

10:31AM    4             SO THAT MEANS WE WOULD MISS A TRULY CRITICAL ISE RESULT

10:32AM    5       AND WE WOULDN'T BE REPORTING IT, AND IT ALSO CALLED INTO

10:32AM    6       QUESTION THE ACCURACY OF THE ISE RESULTS THAT WERE WITHIN THE

10:32AM    7       NORMAL RANGE.

10:32AM    8       Q.    AND YOU ASK MS. HOLMES AND MR. BALWANI IF THEY WERE

10:32AM    9       COMFORTABLE WITH THIS.      WERE YOU COMFORTABLE WITH THIS AT THE

10:32AM   10       TIME?

10:32AM   11       A.    NO, I WAS NOT.

10:32AM   12       Q.    LET'S LOOK AT PAGE 1 OF THIS EXHIBIT, AND LET'S ZOOM IN ON

10:32AM   13       THE BOTTOM OF THAT PAGE.

10:32AM   14             DR. ROSENDORFF, DO YOU SEE A RESPONSE FROM SUNNY BALWANI

10:32AM   15       ON YOUR SCREEN?

10:32AM   16       A.    YES, I DO.

10:32AM   17       Q.    AND HE SAYS, "ADAM.     SEE ATTACHED.

10:32AM   18             "MICHAEL JUMPED THE GUN IN REQUESTING THIS REDRAW.          AND SO

10:32AM   19       DID YOU IN JUMPING TO CONCLUSION WITHOUT UNDERSTANDING THE

10:32AM   20       PROCESS."

10:32AM   21             AND THEN HE SAYS, "WE HAVE VERY HIGH CONFIDENCE IN EVERY

10:32AM   22       RESULT WE ARE RELEASING."

10:32AM   23             DID YOU AGREE WITH THAT RESPONSE?

10:32AM   24       A.    NO.

10:32AM   25       Q.    AND LET'S ZOOM OUT AND LOOK AT YOUR RESPONSE.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 68
                                                                               69 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1956


10:33AM    1             YOU THEN FORWARD MR. BALWANI'S RESPONSE TO MS. HOLMES; IS

10:33AM    2       THAT CORRECT?

10:33AM    3       A.    CORRECT.

10:33AM    4       Q.    YOU SAY, "ELIZABETH, I FIND SUNNYS RESPONSE OFFENSIVE AND

10:33AM    5       DISINGENUOUS.    HE SHOULD APOLOGIZE."

10:33AM    6             IS THAT CORRECT?

10:33AM    7       A.    CORRECT.

10:33AM    8       Q.    AND LET'S LOOK, PLEASE, NOW, AT THE TOP MESSAGE IN THIS

10:33AM    9       EMAIL CHAIN.

10:33AM   10             MR. BALWANI WRITES TO MS. HOLMES AFTER SHE FORWARDS HIM

10:33AM   11       YOUR MESSAGE; IS THAT CORRECT?

10:33AM   12       A.    CORRECT.

10:33AM   13       Q.    AND HE SAYS, "WE NEED TO RESPOND TO HIM NOW AND CUT HIM

10:33AM   14       MONDAY."

10:33AM   15             DO YOU SEE THAT MESSAGE?

10:33AM   16       A.    YES, I DO.

10:33AM   17       Q.    HOW DID IT COME THAT YOU SEPARATED FROM THE COMPANY?          WHAT

10:33AM   18       WERE THE CIRCUMSTANCES OF YOUR DEPARTURE?

10:33AM   19       A.    I ACCEPTED AN OFFER OF EMPLOYMENT FROM ANOTHER DIAGNOSTIC

10:33AM   20       LABORATORY I BELIEVE IN OCTOBER OR THEREABOUTS.

10:34AM   21             I EMAILED SUNNY AND ELIZABETH TO THANK THEM FOR THE

10:34AM   22       OPPORTUNITY FOR WORKING AT THERANOS AND TO GIVE THEM ENOUGH

10:34AM   23       TIME THAT THEY COULD FIND ANOTHER LABORATORY DIRECTOR.

10:34AM   24             THIS EMAIL FROM SUNNY SAYING THAT THEY NEED TO CUT ME

10:34AM   25       ESSENTIALLY MEANS THAT THEY WOULD HAVE FIRED ME A FEW DAYS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 69
                                                                               70 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1957


10:34AM    1       BEFORE I HAD INTENDED TO QUIT ANYWAY.

10:34AM    2       Q.    AT ANY POINT DURING YOUR FINAL WEEKS AT THE COMPANY, DID

10:34AM    3       MS. HOLMES OR MR. BALWANI ASK YOU TO STAY AT THE COMPANY TO

10:34AM    4       HELP FIX THE PROBLEMS THAT YOU WERE SEEING WITH THE THERANOS

10:34AM    5       TESTS?

10:34AM    6       A.    ON MY LAST DAY AT THE COMPANY I WAS SCHEDULED TO MEET WITH

10:34AM    7       SUNNY.   HE EXTENDED HIS HAND TO ME.       I DECLINED TO SHAKE HIS

10:34AM    8       HAND.

10:34AM    9             HE THEN ASKED ME TO SIGN SOME DOCUMENTS REMOVING ME AS

10:35AM   10       LABORATORY DIRECTOR AT THE THERANOS LAB AND THE ARIZONA

10:35AM   11       LABORATORY.

10:35AM   12             HE THEN MENTIONED THAT HE WOULD BE PREPARED TO KEEP ME ON

10:35AM   13       AS LABORATORY DIRECTOR IF I WANTED TO.

10:35AM   14             I SAID NO, IT WASN'T WORTH THE RISK TO MY REPUTATION TO DO

10:35AM   15       THAT.

10:35AM   16       Q.    AND WAS YOUR THINKING THERE BASED ON THE PROBLEMS THAT YOU

10:35AM   17       WERE SEEING WITH THE THERANOS TESTS?

10:35AM   18       A.    YES.

10:35AM   19       Q.    LET'S GO BACK, PLEASE, TO EXHIBIT 5387A, AND LET'S LOOK AT

10:35AM   20       PAGE 33 NOW.

10:35AM   21             DR. ROSENDORFF, ARE YOU LOOKING AT A TEXT EXCHANGE BETWEEN

10:35AM   22       MS. HOLMES AND MR. BALWANI IN DECEMBER OF 2014?

10:35AM   23       A.    YES.

10:35AM   24       Q.    AND WOULD THIS BE AFTER YOU LEFT THE COMPANY?

10:36AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 70
                                                                               71 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1958


10:36AM    1       Q.    AND MS. HOLMES WRITES AT THE TOP:

10:36AM    2             "THIS YEAR IS OUR YEAR."

10:36AM    3             SHE SAYS.    "WE CAN NEVER FORGET THIS TIGER."

10:36AM    4             DO YOU SEE THAT?

10:36AM    5       A.    YES, I DO.

10:36AM    6       Q.    AND MR. BALWANI SAYS, "I KNOW.       I AM FOCUSSED ON IT.

10:36AM    7             "WE WILL EXECUTE THIS YEAR."

10:36AM    8             MS. HOLMES SAYS, "I KNOW.

10:36AM    9             "I AM FOCUSSED ON IT TOO.

10:36AM   10             "AND FOR OUR KIDS NEVER FORGET WHO WE ARE."

10:36AM   11             DO YOU SEE THAT?

10:36AM   12       A.    YES, I DO.

10:36AM   13       Q.    MR. BALWANI IS SAYING "WE WILL EXECUTE THIS YEAR" IN

10:36AM   14       DECEMBER OF 2014.

10:36AM   15             CAN YOU REMIND US WHEN THERANOS FIRST BEGAN OFFERING

10:36AM   16       PATIENT TESTING TO THE PUBLIC?

10:36AM   17       A.    SEPTEMBER 9TH, 2013.

10:36AM   18                   MR. BOSTIC:    MAY I HAVE A MOMENT, YOUR HONOR?

10:36AM   19                   THE COURT:    YES.

10:37AM   20             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

10:37AM   21       BY MR. BOSTIC:

10:37AM   22       Q.    DR. ROSENDORFF, AFTER YOU LEFT THERANOS, DID YOU DISCUSS

10:37AM   23       THINGS THAT YOU HAD SEEN AT THE COMPANY WITH ANYONE ELSE?

10:37AM   24       A.    YES, I DID.

10:37AM   25       Q.    YOU MENTIONED EARLIER THAT ONE REASON THAT YOU FORWARDED



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 71
                                                                               72 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1959


10:37AM    1       EMAILS TO YOURSELF WAS BECAUSE YOU THOUGHT YOU NEEDED TO GET

10:37AM    2       THE WORD OUT ABOUT THERANOS.

10:37AM    3       A.    YES.

10:37AM    4       Q.    AND WHO DID YOU SPEAK TO, IF ANYONE, TO MAKE THAT HAPPEN?

10:37AM    5       A.    I SPOKE TO NANCY HERSH, A LAWYER.       I THEN RECEIVED A PHONE

10:37AM    6       CALL FROM JOHN CARREYROU WITH "THE WALL STREET JOURNAL" AND I

10:37AM    7       SPOKE OFF THE RECORD REGARDING MY EXPERIENCE AT THERANOS.

10:37AM    8       Q.    AND WHY DID YOU DECIDE TO SPEAK TO THE JOURNALIST ABOUT

10:37AM    9       YOUR EXPERIENCE AT THE COMPANY?

10:37AM   10       A.    EVEN MONTHS AFTER I LEFT THE COMPANY, I FELT OBLIGATED

10:38AM   11       FROM A MORAL AND ETHICAL PERSPECTIVE TO ALERT THE PUBLIC.           I

10:38AM   12       DIDN'T QUITE KNOW HOW I SHOULD DO THAT, BUT WHEN THIS

10:38AM   13       OPPORTUNITY PRESENTED ITSELF, I TOOK ADVANTAGE OF IT.

10:38AM   14       Q.    I'D LIKE TO ASK YOU JUST A COUPLE OF DIFFERENT QUESTIONS

10:38AM   15       ABOUT PROFICIENCY TESTING IF I COULD.

10:38AM   16             PRIOR TO SEPTEMBER 2013, DO YOU HAVE AN UNDERSTANDING OF

10:38AM   17       HOW THERANOS WAS CONDUCTING ITS PROFICIENCY TESTING?

10:38AM   18       A.    PRIOR TO DECEMBER 2013?

10:38AM   19       Q.    PRIOR TO SEPTEMBER OF 2013.      SO BEFORE THE COMMERCIAL

10:38AM   20       LAUNCH, ARE YOU AWARE OF ANY PROFICIENCY TESTING HAPPENING AT

10:38AM   21       THERANOS?

10:38AM   22       A.    NO.

10:38AM   23       Q.    YOU TESTIFIED BEFORE --

10:39AM   24       A.    I ALSO WANT TO ADD THAT I ALSO SPOKE TO SAM SHELDON, A

10:39AM   25       LAWYER -- AT THE TIME HE WAS AT QUINN EMANUEL.          I WAS REFERRED



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 72
                                                                               73 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1960


10:39AM    1       TO HIM BY "THE WALL STREET JOURNAL" JOURNALIST.

10:39AM    2       Q.    UNDERSTOOD.

10:39AM    3             YOU TESTIFIED EARLIER ABOUT THE KIND OF TESTING THAT WAS

10:39AM    4       BEING CONDUCTED AT THERANOS PRIOR TO THE COMMERCIAL LAUNCH.

10:39AM    5             DO YOU RECALL THAT TESTIMONY?

10:39AM    6       A.    YES.

10:39AM    7       Q.    AND WAS THE TESTING THAT WAS DONE PRIOR TO SEPTEMBER 2013

10:39AM    8       ON THERANOS SPECIFIC DEVICES OR WAS IT ON FDA APPROVED

10:39AM    9       COMMERCIAL ANALYZERS?

10:39AM   10       A.    FDA APPROVED COMMERCIAL ANALYZERS.

10:39AM   11       Q.    AND BY THE TIME YOU LEFT THERANOS IN NOVEMBER OF 2014, HAD

10:39AM   12       THERANOS IMPLEMENTED PROFICIENCY TESTING IN THE WAY THAT YOU

10:39AM   13       HAD RECOMMENDED?

10:39AM   14       A.    NO.

10:39AM   15       Q.    IN NOVEMBER OF 2013, WAS YOUR DECISION TO LEAVE THE

10:40AM   16       COMPANY SOMETHING THAT YOU TOOK LIGHTLY?

10:40AM   17       A.    NOVEMBER 2014.

10:40AM   18       Q.    NOVEMBER 2014.

10:40AM   19       A.    NO.    IT WAS AFTER CONSIDERABLE EFFORT ON MY PART TO

10:40AM   20       IMPROVE THE TESTING METHODOLOGY AT THERANOS, ENDLESS MEETINGS

10:40AM   21       AND CONVERSATIONS, VERY CAREFUL STUDY OF THE MEDICAL

10:40AM   22       LITERATURE, LATE NIGHTS, GREAT EFFORT ON MY PART TO IMPROVE THE

10:40AM   23       QUALITY AT THERANOS.

10:40AM   24       Q.    THANK YOU, DR. ROSENDORFF.

10:40AM   25             NO FURTHER QUESTIONS AT THIS TIME, YOUR HONOR.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 73
                                                                               74 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1961


10:40AM    1                    THE COURT:    MR. WADE, DO YOU HAVE CROSS-EXAMINATION?

10:40AM    2                    MR. WADE:    I DO HAVE CROSS-EXAMINATION.

10:40AM    3                    THE COURT:    LET'S TAKE OUR MORNING BREAK NOW, LADIES

10:40AM    4       AND GENTLEMEN.    WE'LL TAKE OUR BREAK.

10:40AM    5             WE'LL TAKE A 30 MINUTE BREAK AT THIS TIME, 30 MINUTES,

10:40AM    6       PLEASE.

10:40AM    7             AND I MEANT TO MENTION AT THE BEGINNING, IS THERE ANY

10:41AM    8       OBJECTION TO GOING TO 3:00 P.M. TODAY?         3:00 P.M. TODAY?     IS

10:41AM    9       THERE ANY PROBLEM THAT WOULD PRESENT WITH ANYONE?          IF SO,

10:41AM   10       PLEASE RAISE YOUR HAND.

10:41AM   11             I SEE NONE.    THANK YOU.

10:41AM   12             I'D LIKE TO GO TO AT LEAST 3:00 TOMORROW --

10:41AM   13                    THE WITNESS:    YOUR HONOR, MAY I SAY SOMETHING?

10:41AM   14                    THE COURT:    OH, YES.

10:41AM   15                    THE WITNESS:    I HAVE CHILDCARE OBLIGATIONS TOMORROW

10:41AM   16       AFTERNOON.    I WOULD PREFER TO FINISH AT 2:00 TOMORROW.         I DON'T

10:41AM   17       KNOW IF THAT'S POSSIBLE.

10:41AM   18                    MR. WADE:    WE WANT TO ACCOMMODATE THE WITNESS

10:41AM   19       OBVIOUSLY.

10:41AM   20                    THE COURT:    ALL RIGHT.   WELL, THANK YOU FOR THAT.

10:41AM   21       THANK YOU FOR THAT.       I APPRECIATE THAT.

10:41AM   22             IT SOUNDS LIKE WE'LL SEE IF THAT CAN BE ACCOMPLISHED.

10:41AM   23       THANK YOU.

10:41AM   24                    THE WITNESS:    THANK YOU.

10:41AM   25                    THE COURT:    SO TOMORROW I'D LIKE TO GO UNTIL PERHAPS



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 74
                                                                               75 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF DIRECT BY MR. BOSTIC (RES.)                                  1962


10:41AM    1       3:00, AND I MIGHT ASK YOU TO LOOK AT YOUR SCHEDULES IF WE CAN

10:41AM    2       GO UNTIL 4:00 TOMORROW IF THAT'S NOT IN -- DON'T ANSWER ME NOW,

10:41AM    3       BUT CHECK YOUR SCHEDULE, PLEASE.

10:41AM    4             FRIDAY WE'LL FINISH AT 2:00, AND IT MAY BE THAT WE'LL

10:41AM    5       FINISH AT 1:00, BUT NO LATER THAN 2:00 FOR CERTAIN.

10:42AM    6             THAT'S OUR TENTATIVE SCHEDULE.       THANK YOU VERY MUCH.

10:42AM    7                    THE CLERK:   COURT IS IN RECESS.

10:42AM    8             (RECESS FROM 10:42 A.M. UNTIL 11:18 A.M.)

11:18AM    9                    THE COURT:   WE'RE BACK ON THE RECORD.      THE JURY IS

11:18AM   10       PRESENT.   THE ALTERNATES ARE PRESENT.       ALL COUNSEL ARE PRESENT

11:18AM   11       AND THE DEFENDANT IS PRESENT.

11:18AM   12             THE WITNESS IS ON THE STAND.

11:18AM   13             MR. WADE, DO YOU HAVE CROSS-EXAMINATION?

11:18AM   14                    MR. WADE:    I DO.   MAY I APPROACH THE WITNESS?

11:18AM   15                    THE COURT:   YES.

11:18AM   16                    MR. WADE:    DR. ROSENDORFF, I'M GOING TO HAND YOU TWO

11:19AM   17       YELLOW BINDERS.

11:19AM   18                    THE WITNESS:   YES.

11:19AM   19                    MR. WADE:    AND THESE ARE STATEMENTS OF YOURS AND

11:19AM   20       THERE ARE TIMES THAT I WILL ASK YOU ABOUT YOUR STATEMENTS AND

11:19AM   21       KNOW THAT THAT'S WHAT THESE YELLOW BINDERS ARE.

11:19AM   22                    THE WITNESS:   THANK YOU.    THESE ARE DURING MY

11:19AM   23       TESTIMONY?

11:19AM   24                    MR. WADE:    (HANDING.)

11:19AM   25                    THE WITNESS:   THANKS.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 75
                                                                               76 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1963


11:19AM    1                                 CROSS-EXAMINATION

11:19AM    2       BY MR. WADE:

11:19AM    3       Q.    DR. ROSENDORFF, WE HAVE NEVER MET BEFORE, HAVE WE?

11:19AM    4       A.    NO, SIR.

11:19AM    5       Q.    I'VE NEVER HAD A CHANCE TO ASK YOU A SINGLE QUESTION?

11:19AM    6       A.    CORRECT.

11:19AM    7       Q.    IN FACT, HAVE YOU EVER SEEN ME BEFORE YOU WALKED INTO THIS

11:19AM    8       COURTROOM LAST WEEK?

11:19AM    9       A.    NOT IN PERSON, NO.

11:19AM   10       Q.    AND YOU'VE HAD NO INTERACTIONS WITH ME?

11:19AM   11       A.    NO.

11:19AM   12       Q.    YOU'VE HAD NO INTERACTIONS WITH MR. DOWNEY?

11:19AM   13       A.    NO.

11:19AM   14       Q.    OR MS. TREFZ?

11:19AM   15       A.    NO.

11:19AM   16       Q.    OR MR. CLINE?

11:19AM   17       A.    NO.

11:20AM   18       Q.    OR ANY OTHER MEMBER OF OUR TEAM; RIGHT?

11:20AM   19       A.    CORRECT.

11:20AM   20       Q.    YOU'VE ALSO HAD INTERACTIONS WITH THE GOVERNMENT; CORRECT?

11:20AM   21       A.    CORRECT.

11:20AM   22       Q.    EXTENSIVE INTERACTIONS?

11:20AM   23       A.    I'VE MET WITH THEM MULTIPLE TIMES.

11:20AM   24       Q.    HOW MANY TIMES?

11:20AM   25       A.    I DO NOT RECALL THE EXACT NUMBER.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 76
                                                                               77 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1964


11:20AM    1       Q.    IT'S EIGHT TIMES, WASN'T IT, SIR?

11:20AM    2       A.    I DON'T RECALL THE EXACT NUMBER.

11:20AM    3       Q.    YOU'VE MET WITH MR. SCHENK?

11:20AM    4       A.    YES, SIR.

11:20AM    5       Q.    ON A NUMBER OF OCCASIONS?

11:20AM    6       A.    I -- HE'S BEEN PART OF THE GOVERNMENT TEAM ON THE

11:20AM    7       OCCASIONS WHEN I'VE MET WITH THE GOVERNMENT.         I'VE MADE HIS

11:20AM    8       ACQUAINTANCE.

11:20AM    9       Q.    AND YOU'VE MET NUMEROUS TIMES WITH MR. BOSTIC?

11:20AM   10       A.    CORRECT.

11:20AM   11       Q.    AND YOU'VE MET NUMEROUS TIMES WITH MR. LEACH?

11:20AM   12       A.    CORRECT.

11:20AM   13       Q.    HAVE YOU MET WITH SPECIAL AGENT HERNANDEZ?

11:20AM   14       A.    NO, SIR.

11:20AM   15       Q.    YOU HAVEN'T MET WITH HER?

11:20AM   16       A.    NO.

11:20AM   17       Q.    BUT ARE THERE OTHER AGENTS WHO YOU'VE INTERACTED WITH IN

11:21AM   18       THIS CASE?

11:21AM   19       A.    CAN YOU CLARIFY WHAT YOU MEAN BY "AGENTS."

11:21AM   20       Q.    HAVE THERE BEEN OTHER FEDERAL AGENTS FOR EITHER THE FDA,

11:21AM   21       THE U.S. POSTAL SERVICE, OR THE FBI IN ANY OF YOUR INTERACTIONS

11:21AM   22       WITH THE GOVERNMENT IN THIS CASE?

11:21AM   23       A.    YES.   INITIALLY I MET WITH THE S.E.C.       I BELIEVE THERE WAS

11:21AM   24       A POSTAL INSPECTOR PRESENT DURING THAT INTERVIEW, AS WELL AS AN

11:21AM   25       FBI, A MEMBER OF THE FBI.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 77
                                                                               78 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1965


11:21AM    1             I KNOW CHRIS MCCOLLOW, WHO IS A POSTAL INSPECTOR, WHO HAS

11:21AM    2       BEEN VERY HELPFUL IN COORDINATING MY INTERACTIONS WITH THE

11:21AM    3       GOVERNMENT.

11:21AM    4       Q.    IN FACT, THOSE AGENTS HAVE BEEN PRESENT FOR MANY OF THE

11:21AM    5       INTERACTIONS THAT YOU'VE HAD WITH THE GOVERNMENT; RIGHT?

11:21AM    6       A.    CORRECT.

11:21AM    7       Q.    AND ARE THOSE AGENTS HERE IN THE COURTROOM TODAY?

11:21AM    8       A.    I SEE MR. MCCOLLOW.      I DON'T RECOGNIZE ANY OTHERS.

11:22AM    9       Q.    COULD YOU IDENTIFY MR. MCCOLLOW?

11:22AM   10       A.    SURE.   HE'S SITTING NEXT TO MY COUNSEL, DAN KOFFMAN, TO

11:22AM   11       HIS LEFT.

11:22AM   12       Q.    AND THERE ARE TWO AGENTS TO HIS RIGHT, CORRECT, SITTING

11:22AM   13       OVER ON THE RIGHT-HAND SIDE?

11:22AM   14       A.    WELL, DAN IS SITTING --

11:22AM   15       Q.    TO YOUR RIGHT.    IN THE SAME ROW THAT YOUR COUNSEL IS IN,

11:22AM   16       THERE ARE TWO OTHER AGENTS SITTING THERE, AREN'T THERE?

11:22AM   17       A.    I DON'T RECOGNIZE THEM AS AGENTS, SIR.

11:22AM   18       Q.    AND DO YOU RECALL THAT YOU MET WITH FBI SPECIAL AGENT

11:22AM   19       MARIO SCUSSEL?

11:22AM   20       A.    NO.

11:22AM   21       Q.    AND DO YOU RECALL THAT YOU MET WITH FEDERAL POSTAL

11:22AM   22       INSPECTOR MATTHEW NORFLEET?

11:22AM   23       A.    NO.

11:22AM   24       Q.    AND DO YOU RECALL THAT YOU MET WITH U.S. FDA CRIMINAL

11:22AM   25       INVESTIGATOR GEORGE SCAVDIS?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 78
                                                                               79 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1966


11:22AM    1       A.    NO.

11:22AM    2       Q.    AND MR. SCAVDIS WAS IN YOUR MEETING THREE WEEKS AGO.          YOU

11:23AM    3       DON'T RECALL THAT, SIR?

11:23AM    4       A.    THERE WAS AN FDA REPRESENTATIVE THERE.        I DO NOT RECALL

11:23AM    5       HIS NAME.

11:23AM    6       Q.    YOUR FIRST INTERACTION WITH THEM WAS IN 2016; RIGHT?

11:23AM    7       A.    I BELIEVE SO.

11:23AM    8       Q.    AND YOUR NEXT INTERACTION WAS IN 2017?

11:23AM    9       A.    I BELIEVE SO.

11:23AM   10       Q.    AND THEN 2018?

11:23AM   11       A.    YES.

11:23AM   12       Q.    YOU GAVE GRAND JURY TESTIMONY IN 2018?

11:23AM   13       A.    CORRECT.

11:23AM   14       Q.    YOU MET WITH THE GOVERNMENT AGAIN IN SEPTEMBER OF 2020?

11:23AM   15             DO YOU RECALL THAT?

11:23AM   16       A.    I DO NOT HAVE A RECOLLECTION OF THAT.

11:23AM   17       Q.    YOU GAVE THEM STATEMENTS ABOUT YOUR EXPERTISE IN ADVANCE

11:23AM   18       OF AN EXPERT DISCLOSURE.

11:24AM   19             DO YOU RECALL THAT?

11:24AM   20       A.    I REMEMBER DISCUSSING WITH MY ATTORNEYS AT THE TIME

11:24AM   21       WHETHER I WAS GOING TO BE A FACT WITNESS OR AN EXPERT WITNESS.

11:24AM   22       THERE WAS A ZOOM MEETING AT SOME POINT DURING COVID WHERE I DID

11:24AM   23       TALK TO THE GOVERNMENT BY ZOOM.

11:24AM   24       Q.    AND YOU TALKED TO THEM ABOUT ISSUES IN ADVANCE OF A

11:24AM   25       DISCLOSURE THAT THEY WERE GOING TO MAKE INDICATING THAT YOU



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 79
                                                                               80 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1967


11:24AM    1       WERE GOING TO SERVE AS AN EXPERT; CORRECT?

11:24AM    2       A.    THEY WERE THINKING ABOUT IT.      I DON'T KNOW THAT THAT WAS A

11:24AM    3       DONE DEAL AT THAT POINT.       THAT WAS SOMETHING THAT THEY WERE

11:24AM    4       CONSIDERING.

11:24AM    5       Q.    AND DO YOU KNOW WHETHER THEY EVER MADE A DISCLOSURE OF YOU

11:24AM    6       AS AN EXPERT?

11:24AM    7       A.    NO, I DO NOT.

11:24AM    8       Q.    WE'LL COME BACK TO THAT.

11:24AM    9             YOU MET WITH THEM AGAIN IN 2021; CORRECT?

11:24AM   10       A.    CORRECT.

11:24AM   11       Q.    YOU MET WITH THEM AUGUST 30TH, 2021?

11:24AM   12       A.    CORRECT.

11:24AM   13       Q.    AND YOU MET WITH THEM ON SEPTEMBER 13TH, 2021?

11:24AM   14       A.    CORRECT.

11:24AM   15       Q.    YOU MET WITH THEM ON SEPTEMBER 23RD, 2021?

11:24AM   16       A.    CORRECT.

11:24AM   17       Q.    AND WAS THE INFORMATION THAT YOU PROVIDED IN THESE

11:25AM   18       INTERVIEWS TO THESE PROSECUTORS AND FEDERAL AGENTS TRUE,

11:25AM   19       ACCURATE, AND COMPLETE?

11:25AM   20       A.    YES, SIR.

11:25AM   21       Q.    AND DID YOU EVER MISLEAD THE FBI?

11:25AM   22       A.    I DID NOT.

11:25AM   23       Q.    DID YOU EVER MISLEAD THE PROSECUTORS IN THIS CASE?

11:25AM   24       A.    I DID NOT.

11:25AM   25       Q.    DID YOU EVER LIE TO THE GOVERNMENT?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 80
                                                                               81 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1968


11:25AM    1       A.    NO, SIR.

11:25AM    2       Q.    DID YOU EVER CONCEAL ANYTHING FROM THE GOVERNMENT?

11:25AM    3       A.    NO, SIR.

11:25AM    4       Q.    AND I WOULD GUESS AT SOME POINT IN TIME ONE OF THESE

11:25AM    5       AGENTS ADVISED YOU THAT IT'S ACTUALLY A FEDERAL CRIME TO LIE TO

11:25AM    6       AN AGENT, IS IT NOT?

11:25AM    7       A.    CORRECT.

11:25AM    8       Q.    UNDER 18 U.S.C. 1001, DID THEY ADVISE YOU OF THAT?

11:25AM    9       A.    I DO NOT RECALL THE STATUTE NUMBER.        BUT I SIGNED AN

11:25AM   10       AGREEMENT WITH THE GOVERNMENT ON A NUMBER OF OCCASIONS WHERE I

11:25AM   11       WOULD BE GRANTED IMMUNITY FOR THE DAY, BUT MY DIRECT INTERVIEW

11:26AM   12       COULD NOT BE USED AGAINST ME.       THAT'S WHAT I RECALL, YEAH.

11:26AM   13       Q.    AND YOUR INTERVIEW COULDN'T BE USED AGAINST YOU BECAUSE

11:26AM   14       YOU WERE GRANTED -- HAVE YOU EVER HEARD OF THE TERM "QUEEN FOR

11:26AM   15       A DAY"?

11:26AM   16       A.    I HAVE HEARD OF THAT.

11:26AM   17       Q.    MAYBE KING FOR A DAY?

11:26AM   18       A.    KING FOR A DAY.

11:26AM   19       Q.    YOU'VE HEARD THAT?

11:26AM   20       A.    YES.

11:26AM   21       Q.    AND THOSE STATEMENTS COULD NOT BE USED AGAINST YOU UNLESS

11:26AM   22       YOU LIED OR CONCEALED; RIGHT?

11:26AM   23       A.    CORRECT.

11:26AM   24       Q.    AND THEN IT COULD BE USED AGAINST YOU?

11:26AM   25       A.    I BELIEVE SO.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 81
                                                                               82 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1969


11:26AM    1       Q.    HAS THE GOVERNMENT EVER INDICATED THAT THERE'S SOME

11:26AM    2       CONCERN THAT YOU MAY BE PROSECUTED FOR HAVING LIED TO A FEDERAL

11:26AM    3       AGENT?

11:26AM    4       A.    NO, AT NO TIME.

11:26AM    5       Q.    THREE OF THE MEETINGS THAT WE DISCUSSED, THE ONES THAT

11:26AM    6       OCCURRED THIS YEAR, WERE FOR PREPARATION OF YOUR TESTIMONY HERE

11:26AM    7       OVER THE LAST COUPLE OF DAYS; RIGHT?

11:26AM    8       A.    YES, SIR.

11:26AM    9       Q.    AND THEY WERE ACTUALLY SPECIFICALLY DEDICATED TO WHAT YOU

11:27AM   10       WERE GOING TO DO IN THIS TRIAL; RIGHT?

11:27AM   11       A.    YES.    YES.

11:27AM   12       Q.    AND YOU MET WITH THE GOVERNMENT LAWYERS AND AGENTS?

11:27AM   13       A.    THE SEPTEMBER 13TH MEETING, I REMEMBER THE THREE

11:27AM   14       GOVERNMENT LAWYERS WERE THERE, MR. MCCOLLOW WAS THERE, AND I

11:27AM   15       BELIEVE AN FDA PERSON.      I JUST DO NOT RECALL THE ROLL CALL OF

11:27AM   16       THESE MEETINGS.

11:27AM   17       Q.    IF YOU COULD LOOK AT VOLUME 1 OF YOUR BINDER.         LOOK AT

11:28AM   18       EXHIBIT 11424.

11:28AM   19       A.    I'M SORRY.     THAT IS NOT IN VOLUME 1 IN MY BINDER.

11:28AM   20       Q.    TRY VOLUME 2 OF YOUR BINDER, 11424, SIR.

11:28AM   21       A.    OKAY.   I SEE IT.

11:28AM   22       Q.    DO YOU SEE IT?

11:28AM   23       A.    YES.

11:28AM   24       Q.    AND PLEASE READ THE FIRST PARAGRAPH OF THAT MEMORANDUM TO

11:28AM   25       YOURSELF.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 82
                                                                               83 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1970


11:29AM    1       A.    OKAY.

11:29AM    2       Q.    AND DOES THAT REFRESH YOUR RECOLLECTION, SIR, THAT U.S.

11:29AM    3       FOOD AND DRUG ADMINISTRATION OFFICE OF INSPECTOR GENERAL

11:29AM    4       SPECIAL AGENT GEORGE SCAVDIS WAS PRESENT FOR YOUR INTERVIEW?

11:29AM    5       A.    AS I'VE SAID, I REMEMBER THAT AN FDA REPRESENTATIVE WAS

11:29AM    6       THERE.   THIS DOES NOT REFRESH MY RECOLLECTION OF HIS NAME.

11:29AM    7       Q.    DID HE SPEAK DURING THE INTERVIEW?

11:29AM    8       A.    NO.

11:29AM    9       Q.    DURING THOSE PREP SESSIONS, YOU WENT THROUGH THE QUESTIONS

11:29AM   10       THAT WERE GOING TO BE ASKED BY THE GOVERNMENT AND THE ANSWERS

11:29AM   11       THAT YOU WERE GOING TO GIVE; RIGHT?

11:29AM   12       A.    WE DISCUSSED SOME OF EXHIBITS THAT WERE POSSIBLY GOING TO

11:29AM   13       BE PRESENTED.

11:30AM   14             I WAS ALWAYS INSTRUCTED BY THE GOVERNMENT TO BE TRUTHFUL

11:30AM   15       AND TO TELL THE TRUTH WITH REGARD TO THOSE EXHIBITS.

11:30AM   16       Q.    AND DID THEY INSTRUCT YOU TO TELL THAT ANSWER WHEN I ASKED

11:30AM   17       HOW YOU PREPARED IN THAT SESSION?

11:30AM   18       A.    NO, SIR.

11:30AM   19       Q.    AND DID YOU DISCUSS THE ANSWER YOU JUST GAVE --

11:30AM   20       A.    NO.

11:30AM   21       Q.    -- IN THAT MEETING WITH THE GOVERNMENT?

11:30AM   22       A.    NO.

11:30AM   23                     MR. BOSTIC:   OBJECTION, YOUR HONOR.     ARGUMENTATIVE.

11:30AM   24       HE NEEDS TO BE ALLOWED TO COMPLETE HIS ANSWER.

11:30AM   25                     THE COURT:    YOU NEED TO LET HIM HIS ANSWER SO YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 83
                                                                               84 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1971


11:30AM    1       CAN BE FULLY INFORMED AS TO YOUR NEXT QUESTION.

11:30AM    2                     MR. WADE:   MY APOLOGIES, YOUR HONOR.

11:30AM    3                     THE WITNESS:   IN ALL OF MY MEETINGS WITH THE

11:30AM    4       GOVERNMENT, WE HAVE REVIEWED EMAILS THAT MAY OR MAY NOT BE

11:30AM    5       PRESENTED AS EXHIBITS DURING THE TRIAL, AND MY INSTRUCTIONS

11:30AM    6       FROM THE PROSECUTION, FROM THE GOVERNMENT, WERE TO GIVE

11:30AM    7       TRUTHFUL ANSWERS DURING THE TRIAL.

11:30AM    8       BY MR. WADE:

11:30AM    9       Q.    AND IT'S YOUR POSITION THAT YOU GAVE TRUTHFUL ANSWERS

11:30AM   10       DURING THIS TRIAL?

11:30AM   11       A.    YES, SIR.

11:30AM   12       Q.    OKAY.    AND MY QUESTION TO YOU WAS NOT WHETHER THEY ASKED

11:30AM   13       YOU TO GIVE TRUTHFUL ANSWERS.

11:30AM   14             MY QUESTION WAS, DID THEY GO OVER THE QUESTIONS THAT THEY

11:31AM   15       WERE GOING TO ASK YOU IN THESE PREP SESSIONS, YES OR NO?

11:31AM   16       A.    MANY OF THEM, YES.

11:31AM   17       Q.    AND DID THEY GO OVER AND DID YOU DISCUSS THE ANSWERS THAT

11:31AM   18       YOU WERE GOING TO GIVE IN RESPONSE TO THOSE QUESTIONS?

11:31AM   19       A.    DURING THE PREP SESSIONS, THE GOVERNMENT ASKED ME

11:31AM   20       QUESTIONS REGARDING THE EMAILS AND I GAVE THEM ANSWERS.

11:31AM   21             THERE WAS NO EXPECTATION OR PRESSURE ON ME TO GIVE A

11:31AM   22       SPECIFIC ANSWER.     I WAS MERELY INSTRUCTED TO TELL THE TRUTH.

11:31AM   23       Q.    AND AGAIN, SIR, THAT WASN'T MY QUESTION.

11:31AM   24             MY QUESTION WAS, DID YOU DISCUSS WITH THE GOVERNMENT THE

11:31AM   25       ANSWERS THAT YOU WERE GOING TO GIVE IN THIS TRIAL, YES OR NO?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 84
                                                                               85 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1972


11:31AM    1       A.    I ANSWERED THE GOVERNMENT'S QUESTIONS DURING THOSE

11:31AM    2       SESSIONS.     I'M NOT SURE WHAT ELSE I HAVE TO SAY ABOUT THAT,

11:31AM    3       YEAH.

11:32AM    4                     THE COURT:    CAN YOU ANSWER THAT QUESTION YES OR NO

11:32AM    5       WITHOUT AN EXPLANATION?

11:32AM    6                     THE WITNESS:    NO.

11:32AM    7       BY MR. WADE:

11:32AM    8       Q.    WERE THERE EVER INSTANCES IN WHICH YOU DIDN'T RECALL

11:32AM    9       SOMETHING AND THE GOVERNMENT HELPED REFRESH YOUR RECOLLECTION

11:32AM   10       AS TO A SPECIFIC DATE OR A SPECIFIC EVENT?

11:32AM   11       A.    NO, THEY DID NOT CORRECT ME IF I MADE A MISTAKE ABOUT A

11:32AM   12       DATE.

11:32AM   13             YOU KNOW, ONE EXAMPLE WOULD BE THE DATE OF THE ROLLOUT.             I

11:32AM   14       REMEMBER THAT DATE.        THE GOVERNMENT DIDN'T HAVE TO REFRESH MY

11:32AM   15       RECOLLECTION ABOUT THAT.

11:32AM   16       Q.    DIDN'T HAVE TO REFRESH YOUR RECOLLECTION ABOUT THAT?

11:32AM   17       A.    NO.

11:32AM   18       Q.    OKAY.    WELL, LET'S LOOK AT THAT.

11:33AM   19             LOOK ON PAGE 3 OF THAT SAME DOCUMENT.        AND MY QUESTION TO

11:33AM   20       YOU, SIR, IS THIS, WAS YOUR RECOLLECTION ON THAT LAUNCH DATE

11:33AM   21       BASED UPON YOUR REVIEW OF DOCUMENTS IN THAT INTERVIEW?

11:33AM   22       A.    NO.

11:33AM   23       Q.    YOU DID NOT IDENTIFY THE LAUNCH DATE WITH WALGREENS AS

11:33AM   24       SEPTEMBER 9TH, 2013 FROM YOUR REVIEW OF THE DOCUMENTS?

11:33AM   25       A.    NO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 85
                                                                               86 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1973


11:33AM    1       Q.    IS THAT YOUR TESTIMONY, SIR?

11:33AM    2       A.    YES.

11:33AM    3       Q.    AND LOOKING AT PAGE 3 OF THIS EXHIBIT, THIRD PARAGRAPH,

11:33AM    4       FIRST SENTENCE, THAT DOESN'T REFRESH YOUR RECOLLECTION AS TO

11:33AM    5       WHETHER YOU IDENTIFIED THE THERANOS LAUNCH WITH WALGREENS AS

11:34AM    6       SEPTEMBER 9TH, 2013 FROM YOUR REVIEW OF DOCUMENTS?

11:34AM    7       A.    I BELIEVE I HAD AN INDEPENDENT RECOLLECTION OF THAT.

11:34AM    8       Q.    THE LAST PREP SESSION THAT YOU HAD WITH THE GOVERNMENT WAS

11:34AM    9       THE THURSDAY NIGHT BEFORE YOU CAME IN TO TESTIFY IN THIS TRIAL;

11:34AM   10       RIGHT?

11:34AM   11       A.    RIGHT.

11:34AM   12       Q.    AND IT WAS AT 8:00 O'CLOCK AT NIGHT; RIGHT?

11:34AM   13       A.    CORRECT.

11:34AM   14       Q.    AND THAT WAS THE THIRD SESSION?

11:34AM   15       A.    YES, I BELIEVE SO.

11:34AM   16       Q.    AND THEN YOU CAME IN HERE THE NEXT MORNING TO TESTIFY?

11:34AM   17       A.    CORRECT.

11:34AM   18       Q.    RIGHT UP THERE?

11:34AM   19       A.    YEP.

11:34AM   20       Q.    AND YOU TOOK THE OATH?

11:34AM   21       A.    CORRECT.

11:34AM   22       Q.    AND YOU AGREED TO TELL THE TRUTH?

11:34AM   23       A.    YES.

11:34AM   24       Q.    AND YOU'VE TESTIFIED TODAY YOU'VE TOLD THE TRUTH; RIGHT?

11:35AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 86
                                                                               87 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1974


11:35AM    1       Q.    THE WHOLE TIME?

11:35AM    2             AND THEN YOUR EXAMINATION BEGAN.

11:35AM    3             DO YOU RECALL THAT?

11:35AM    4       A.    YES.

11:35AM    5       Q.    AND YOU TOOK OFF YOUR MASK AND YOUR EXAMINATION BEGAN.

11:35AM    6             DO YOU RECALL?

11:35AM    7       A.    YES.

11:35AM    8       Q.    AND THE FIRST SUBSTANTIVE QUESTION THAT YOU WERE ASKED WAS

11:35AM    9       ABOUT WHY YOU LEFT THERANOS.

11:35AM   10             DO YOU RECALL THAT?

11:35AM   11       A.    YES, SIR.

11:35AM   12       Q.    OKAY.    LET'S LOOK AT EXHIBIT 11439.

11:35AM   13             WOULD YOU TURN YOUR ATTENTION AND COUNSEL'S ATTENTION TO

11:36AM   14       1702.

11:36AM   15             NOW, SIR, AGAIN YOU WERE ASKED FOUR QUESTIONS.         THE FIRST

11:36AM   16       QUESTION WAS, WERE YOU AT ONE TIME EMPLOYED BY A COMPANY CALLED

11:36AM   17       THERANOS AND YOU SAID YES?

11:36AM   18       A.    CORRECT.

11:36AM   19       Q.    AND THEN YOU WERE ASKED YOUR POSITION AT THE COMPANY AND

11:36AM   20       YOU SAID YOU WERE A LAB DIRECTOR.

11:36AM   21       A.    CORRECT.

11:36AM   22       Q.    RIGHT?

11:36AM   23       A.    CORRECT.

11:36AM   24       Q.    AND THEN YOU WERE ASKED ABOUT THE APPROXIMATE DATES OF

11:36AM   25       YOUR EMPLOYMENT AND YOU GAVE THEM?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 87
                                                                               88 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1975


11:36AM    1       A.    YES.

11:36AM    2       Q.    AND THEN THE FIRST SUBSEQUENT QUESTION YOU WERE ASKED, THE

11:36AM    3       FIRST QUESTION IN YOUR EXAMINATION WAS, WHAT WAS YOUR REASON

11:36AM    4       FOR LEAVING THE COMPANY; RIGHT?

11:36AM    5       A.    YES.

11:36AM    6       Q.    AND YOU GAVE FOUR REASONS.      YOU SAID THERE WERE MANY

11:36AM    7       FACTORS.     ONE WAS THE UNWILLINGNESS OF MANAGEMENT TO PERFORM

11:36AM    8       PROFICIENCY AS REQUIRED BY LAW; I FELT PRESSURED TO VOUCH FOR

11:37AM    9       TESTS THAT I DID NOT HAVE CONFIDENCE IN; I CAME TO BELIEVE THAT

11:37AM   10       THE COMPANY BELIEVED MORE ABOUT PR AND FUNDRAISING THAN ABOUT

11:37AM   11       PATIENT CARE; AND ALSO THE EQUIPMENT AND REAGENTS, THE PLATFORM

11:37AM   12       WAS NOT ALLOWING ME TO FUNCTION EFFECTIVELY AS A LAB DIRECTOR.

11:37AM   13             THAT'S WHAT YOU TESTIFIED, RIGHT, SIR?

11:37AM   14       A.    YES, SIR.

11:37AM   15       Q.    IS THAT ONE OF THE QUESTIONS AND ANSWERS YOU DISCUSSED

11:37AM   16       WITH THE GOVERNMENT?

11:37AM   17       A.    THE GOVERNMENT DID ASK ME WHY I LEFT THE COMPANY ON A FEW

11:37AM   18       MEETINGS WITH THEM, YES.

11:37AM   19       Q.    SO IS THAT A YES?

11:37AM   20       A.    YES.

11:37AM   21       Q.    DID YOU ANSWER THE QUESTION?

11:37AM   22       A.    YES.

11:37AM   23       Q.    OKAY.   SO THAT WAS ONE OF THE QUESTIONS AND ANSWERS YOU

11:37AM   24       DISCUSSED WITH THE GOVERNMENT?

11:37AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 88
                                                                               89 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1976


11:37AM    1       Q.    AND, SIR, YOU WERE PREVIOUSLY ASKED NEARLY THAT EXACT SAME

11:37AM    2       QUESTION UNDER OATH SEVERAL YEARS AGO, WEREN'T YOU?

11:37AM    3       A.    ARE YOU REFERRING TO MY GRAND JURY TESTIMONY?

11:38AM    4       Q.    NO.    WHY DON'T YOU LOOK AT DX 11000.

11:38AM    5       A.    OKAY, I HAVE THAT HERE.      OH, I SEE.    OKAY.

11:38AM    6       Q.    AND DX 11000.

11:38AM    7             DO YOU SEE THAT, SIR?

11:38AM    8       A.    YES.

11:38AM    9       Q.    AND THAT'S A DEPOSITION TRANSCRIPT; RIGHT?

11:38AM   10       A.    YES.

11:38AM   11       Q.    AND THAT'S TESTIMONY THAT YOU GAVE IN A CIVIL DEPOSITION

11:38AM   12       IN FEBRUARY OF 2019?

11:38AM   13       A.    YES.

11:38AM   14       Q.    DO YOU RECALL GIVING THAT DEPOSITION?

11:38AM   15       A.    YES.

11:38AM   16       Q.    AND IT WAS IN SAN FRANCISCO?

11:38AM   17       A.    YES.

11:38AM   18       Q.    AND IT WAS IN A CONFERENCE ROOM; RIGHT?

11:39AM   19       A.    YES.

11:39AM   20       Q.    AND YOU WERE SURROUNDED BY LAWYERS WHO WERE ASKING YOU

11:39AM   21       QUESTIONS; RIGHT?

11:39AM   22       A.    YES.

11:39AM   23       Q.    AND AS HERE, THERE WAS A COURT REPORTER WHO WAS WRITING

11:39AM   24       DOWN YOUR ANSWERS; RIGHT?

11:39AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 89
                                                                               90 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1977


11:39AM    1       Q.    AND AS HERE, YOU RAISED YOUR RIGHT HAND AND GAVE AN OATH;

11:39AM    2       RIGHT?

11:39AM    3       A.    YES.

11:39AM    4       Q.    AND DID YOU TELL THE TRUTH IN THAT TESTIMONY, SIR?

11:39AM    5       A.    YES.

11:39AM    6       Q.    I'D LIKE YOU TO LOOK AT 167, PAGE 167 OF THE TESTIMONY.

11:39AM    7             TELL ME WHEN YOU HAVE THAT IN FRONT OF YOU, SIR.

11:39AM    8       A.    I HAVE IT.

11:40AM    9       Q.    AND I'D LIKE TO DIRECT YOUR ATTENTION ON PAGE 167 TO

11:40AM   10       LINE 11.

11:40AM   11             YOU WERE ASKED, "AND WHY DID YOU STOP WORKING AT

11:40AM   12       THERANOS?"

11:40AM   13             AND YOUR ANSWER WAS, "I WASN'T SATISFIED THAT MANAGEMENT

11:40AM   14       HAD RESPONDED TO MY COMPLAINTS REGARDING PROFICIENCY TESTING."

11:40AM   15             RIGHT?

11:40AM   16       A.    CORRECT.

11:40AM   17       Q.    AND THEN YOU WERE ASKED, "DID YOU HAVE ANY OTHER CONCERNS

11:40AM   18       THAT PRECIPITATED YOUR RESIGNATION?"

11:40AM   19             AND YOU ANSWERED, "THAT WAS THE MAIN ONE."

11:40AM   20             RIGHT?

11:40AM   21       A.    CORRECT.

11:40AM   22       Q.    AND THEN YOU WERE ASKED, "WERE THERE SMALLER CONCERNS THAT

11:40AM   23       YOU HAD IN ADDITION TO THE MAIN ONE?"

11:40AM   24             AND YOU SAID NO; RIGHT?

11:40AM   25       A.    CORRECT.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 90
                                                                               91 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1978


11:40AM    1       Q.    THAT WAS ON FEBRUARY 26TH, 2019, AT ABOUT 12:23 P.M.;

11:40AM    2       RIGHT?

11:40AM    3       A.    YES.

11:41AM    4       Q.    AND YOU WERE SENT A COPY OF THAT TRANSCRIPT TO REVIEW,

11:41AM    5       WERE YOU NOT, SIR?

11:41AM    6       A.    YES.

11:41AM    7       Q.    I'D LIKE YOU TO TURN IN THAT BINDER TO EXHIBIT 11439.

11:41AM    8             DO YOU HAVE THAT IN FRONT OF YOU, SIR?

11:41AM    9       A.    YES.

11:41AM   10       Q.    AND THIS IS WHAT IS REFERRED TO AS AN ERRATA SHEET;

11:41AM   11       CORRECT?     HAVE YOU EVER HEARD THAT TERM?

11:41AM   12       A.    ERRATA?

11:42AM   13       Q.    IT'S A SHEET THAT YOU SIGN AFTER YOU GET A CHANCE TO

11:42AM   14       REVIEW YOUR DEPOSITION; IS THAT RIGHT?

11:42AM   15       A.    I'M NOT FAMILIAR WITH THE LEGAL TERM.

11:42AM   16       Q.    OKAY.    DO YOU RECOGNIZE THIS DOCUMENT?

11:42AM   17                     MR. BOSTIC:   APOLOGIES.    I WONDER IF THERE'S A

11:42AM   18       MISSTATEMENT.

11:42AM   19                     THE COURT:    11439.    I BELIEVE THAT'S A TRANSCRIPT.

11:42AM   20                     MR. WADE:    IT MAY BE 11439A, 11439A.

11:42AM   21                     MS. TREFZ:    11000A.

11:42AM   22                     MR. WADE:    OH, I'M SORRY, 11000A.

11:42AM   23       Q.    MY APOLOGIES, DR. ROSENDORFF.        DO YOU HAVE 11000A IN FRONT

11:42AM   24       OF YOU?

11:43AM   25       A.    NO, I DO NOT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 91
                                                                               92 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1979


11:43AM    1       Q.    TRY THE OTHER BINDER IF YOU MIGHT.

11:43AM    2       A.    I DO NOT SEE IT IN THE OTHER BINDER.

11:43AM    3                    MR. WADE:    CAN WE BRING UP THE EXHIBIT, PLEASE,

11:43AM    4       ELECTRONICALLY ONLY FOR THE WITNESS AND THE COURT AND COUNSEL?

11:43AM    5                    THE CLERK:    COUNSEL WILL NEED TO TURN OFF THEIR

11:43AM    6       MONITORS.

11:43AM    7                    MR. WADE:    DO YOU HAVE IT, YOUR HONOR?

11:43AM    8       Q.    IS THAT DOCUMENT MARKED AT THE TOP, SIR?

11:43AM    9       A.    IT'S MARKED 11000A.

11:43AM   10       Q.    AND DO YOU RECOGNIZE THIS DOCUMENT?

11:43AM   11       A.    YES.

11:43AM   12       Q.    AND IS THAT YOUR SIGNATURE ON THIS DOCUMENT?

11:43AM   13       A.    YES.

11:43AM   14                    MR. WADE:    I MOVE THE ADMISSION OF THIS DOCUMENT,

11:44AM   15       YOUR HONOR.

11:44AM   16                    MR. BOSTIC:   OBJECTION, YOUR HONOR, UNDER 613.

11:44AM   17                    THE COURT:    THIS IS THE SIGNATURE DOCUMENT?

11:44AM   18                    MR. WADE:    I CAN LAY A LITTLE MORE FOUNDATION,

11:44AM   19       YOUR HONOR.

11:44AM   20                    THE COURT:    WHY DON'T YOU?    WHY DON'T YOU?

11:44AM   21       BY MR. WADE:

11:44AM   22       Q.    THIS WAS A DOCUMENT THAT YOU WERE SENT ALONG WITH YOUR

11:44AM   23       TRANSCRIPT, RIGHT, SIR?

11:44AM   24       A.    YES.

11:44AM   25       Q.    AND AT THE TOP IT SAYS DECLARATION UNDER PENALTY OF



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 92
                                                                               93 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1980


11:44AM    1       PERJURY; RIGHT?

11:44AM    2       A.    CORRECT.

11:44AM    3       Q.    AND IT ASKS YOU TO CERTIFY UNDER THE PENALTY OF PERJURY

11:44AM    4       UNDER THE LAWS OF THE STATE OF CALIFORNIA --

11:44AM    5                    THE COURT:    MR. WADE, YOU DON'T HAVE TO -- IT HASN'T

11:44AM    6       BEEN ADMITTED YET.       THIS IS FOUNDATION FOR --

11:44AM    7                    MR. WADE:    I'M JUST ASKING HIM -- THIS IS A

11:44AM    8       QUESTION, YOUR HONOR.

11:44AM    9                    THE COURT:    RIGHT.   BUT BY SAYING WHAT THE EXHIBIT

11:44AM   10       IS, YOU'RE IN ESSENCE ADMITTING THE EXHIBIT.

11:44AM   11             I THINK THE FOUNDATION IS -- I THINK YOU WERE TALKING

11:45AM   12       ABOUT A PRIOR DEPOSITION, AND MAYBE YOU COULD RELAY HOW THIS

11:45AM   13       RELATES TO THE DEPOSITION.

11:45AM   14                    MR. WADE:    VERY WELL, YOUR HONOR.     I THOUGHT I DID,

11:45AM   15       BUT LET ME TRY IT AGAIN.

11:45AM   16       Q.    THIS DOCUMENT RELATES TO THAT DEPOSITION THAT WE WERE

11:45AM   17       JUST -- THAT I JUST SHOWED YOU; RIGHT?

11:45AM   18       A.    YES.

11:45AM   19       Q.    AND THIS DOCUMENT IS A DOCUMENT WHERE YOU CERTIFY THE

11:45AM   20       ACCURACY OF THAT DEPOSITION; RIGHT?

11:45AM   21       A.    YES.

11:45AM   22                    MR. WADE:    MOVE THE ADMISSION, YOUR HONOR.

11:45AM   23                    MR. BOSTIC:    NO OBJECTION, YOUR HONOR.

11:45AM   24                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

11:45AM   25                    MR. WADE:    THANK YOU, YOUR HONOR.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 93
                                                                               94 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1981


11:45AM    1              (DEFENDANT'S EXHIBIT 11000A WAS RECEIVED IN EVIDENCE.)

11:45AM    2       BY MR. WADE:

11:45AM    3       Q.     LET'S BLOW UP THE TOP OF THAT DOCUMENT.

11:45AM    4              AND HERE IT SAYS THAT YOU CERTIFY UNDER THE PENALTY OF

11:45AM    5       PERJURY UNDER THE LAWS OF THE STATE OF CALIFORNIA THAT THE

11:45AM    6       FOREGOING IS TRUE AND CORRECT; RIGHT?

11:45AM    7       A.     YES.

11:45AM    8       Q.     AND THAT'S YOUR SIGNATURE RIGHT THERE (INDICATING)?

11:45AM    9       A.     YES.

11:45AM   10       Q.     AND WHEN YOU GOT THAT TRANSCRIPT, YOU READ IT, DIDN'T YOU,

11:46AM   11       SIR?

11:46AM   12       A.     I REVIEWED THE TRANSCRIPT, YES.

11:46AM   13       Q.     OKAY.    LET'S GO TO THE SECOND PAGE.

11:46AM   14              DO YOU SEE ON THE SECOND PAGE AT THE TOP YOU MAKE SEVERAL

11:46AM   15       CORRECTIONS TO THE TRANSCRIPT; RIGHT?

11:46AM   16       A.     YES.

11:46AM   17       Q.     YOU DIDN'T CORRECT OR CLARIFY THE TESTIMONY THAT I JUST

11:46AM   18       ASKED YOU ABOUT A COUPLE MINUTES AGO, DID YOU?

11:46AM   19       A.     NO.

11:47AM   20                      MR. WADE:    THE COURT'S INDULGENCE?

11:47AM   21                      THE COURT:   YES.

11:47AM   22       BY MR. WADE:

11:47AM   23       Q.     DO YOU HAVE A WHITE BINDER UP THERE, SIR?

11:47AM   24       A.     YES.

11:47AM   25       Q.     AND YOU WERE ASKED A LOT OF QUESTIONS ABOUT DOCUMENTS



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 94
                                                                               95 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1982


11:47AM    1       WITHIN THAT BINDER DURING YOUR DIRECT EXAMINATION.

11:47AM    2             DO YOU RECALL THAT?

11:47AM    3       A.    YES.

11:47AM    4       Q.    AND I REALIZED OVER THIS WEEKEND THIS BINDER IS IN

11:47AM    5       APPROXIMATELY CHRONOLOGICAL ORDER, BUT YOU WERE NOT ASKED ABOUT

11:47AM    6       THESE DOCUMENTS IN CHRONOLOGICAL ORDER, WERE YOU?

11:47AM    7       A.    NO.

11:47AM    8       Q.    NO.    THE GOVERNMENT JUMPED ALL AROUND IN THAT BINDER?

11:47AM    9       A.    YES.

11:47AM   10       Q.    AND THEY JUMPED FROM ASSAY TO ASSAY?

11:47AM   11       A.    CORRECT.

11:47AM   12       Q.    AT TIMES THEY JUMPED FROM ONE YEAR TO THE NEXT?

11:47AM   13       A.    CORRECT.

11:47AM   14       Q.    AND THEN BACK TO -- AND THEN ANOTHER YEAR AGAIN?

11:47AM   15       A.    CORRECT.

11:47AM   16       Q.    AND THEY NEVER WALKED YOU ALL THE WAY THROUGH ONE OF THE

11:47AM   17       TESTS FROM START TO FINISH?

11:47AM   18       A.    NO, THEY DID NOT.

11:47AM   19       Q.    THEY DIDN'T SHOW YOU A SINGLE POLICY DOCUMENT, DID THEY?

11:47AM   20       A.    NO.

11:47AM   21       Q.    AND THEY DIDN'T SHOW YOU ANY OF THE VALIDATION REPORTS,

11:47AM   22       DID THEY?

11:47AM   23       A.    NO.

11:47AM   24       Q.    AND THEY DIDN'T SHOW YOU THE REGULATIONS THAT RELATED TO

11:47AM   25       YOUR RESPONSIBILITY WITHIN THE LAB, DID THEY?



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 95
                                                                               96 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1983


11:47AM    1       A.    NO, THEY DID NOT.

11:47AM    2       Q.    AND AS THEY JUMPED FROM DOCUMENT TO DOCUMENT AND DREW YOUR

11:48AM    3       ATTENTION TO A PARAGRAPH, THE OVERARCHING PRINCIPLE WAS THAT

11:48AM    4       THEY WANTED YOU TO OFFER AND EXPLAIN YOUR CONCERNS WITH RESPECT

11:48AM    5       TO A PARTICULAR ITEM IDENTIFIED IN THE DOCUMENT; RIGHT?

11:48AM    6       A.    YES.

11:48AM    7       Q.    AND THEY ACTUALLY DID THAT AGAIN AND AGAIN; RIGHT?

11:48AM    8       A.    YES.

11:48AM    9       Q.    AND THEY IDENTIFIED CONCERNS WITH RESPECT TO DR. YOUNG?

11:48AM   10       A.    I DON'T RECALL THEM ASKING ME ABOUT CONCERNS ABOUT

11:48AM   11       DR. YOUNG.

11:48AM   12             CAN YOU CLARIFY YOUR QUESTION?       I'M SORRY.

11:48AM   13       Q.    WELL, THERE WERE MANY INSTANCES IN WHICH THEY TRIED TO GET

11:49AM   14       YOU TO EXPRESS CONCERNS ABOUT THINGS THAT DR. YOUNG WAS DOING;

11:49AM   15       RIGHT?

11:49AM   16                    MR. BOSTIC:   OBJECTION.    ARGUMENTATIVE.

11:49AM   17                    THE COURT:    SUSTAINED AS TO THE FORM OF THE

11:49AM   18       QUESTION.

11:49AM   19       BY MR. WADE:

11:49AM   20       Q.    DO YOU RECALL INSTANCES IN WHICH YOU WERE ASKED QUESTIONS

11:49AM   21       ABOUT DR. YOUNG'S WORK?

11:49AM   22       A.    YES.

11:49AM   23       Q.    AND DO YOU RECALL INSTANCES IN WHICH YOU WERE ASKED

11:49AM   24       QUESTIONS ABOUT MR. BALWANI'S WORK?

11:49AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 96
                                                                               97 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1984


11:49AM    1       Q.    AND DO YOU HAVE -- DO YOU RECALL QUESTIONS WHERE YOU WERE

11:49AM    2       ASKED CONCERNS -- OR ASKED QUESTIONS ABOUT MR. HOLMES'S WORK?

11:49AM    3       A.    MS. HOLMES OR --

11:49AM    4       Q.    MR. HOLMES, CHRISTIAN?

11:49AM    5       A.    YES.

11:49AM    6       Q.    DO YOU RECALL THAT?

11:49AM    7       A.    YES.

11:49AM    8       Q.    AND YOU WERE ASKED QUESTIONS ABOUT MS. HOLMES'S WORK;

11:49AM    9       RIGHT?

11:49AM   10       A.    YES.

11:49AM   11       Q.    AND MANY OF THE QUESTIONS PROMPTED ANSWERS WHERE YOU WERE

11:49AM   12       CRITICIZING THEM FOR THINGS RELATING TO THE LAB; RIGHT?

11:49AM   13       A.    I WAS ASKED WHETHER THESE INDIVIDUALS HAD THE APPROPRIATE

11:49AM   14       BACKGROUND TO BE MAKING THESE DECISIONS THAT THEY WERE, AND I

11:50AM   15       RESPONDED THAT THEY WERE NOT.

11:50AM   16       Q.    DR. ROSENDORFF, YOU WERE THE CLIA LAB DIRECTOR FROM

11:50AM   17       SEPTEMBER 2013 UNTIL NOVEMBER OF 2014; RIGHT?

11:50AM   18       A.    CORRECT.

11:50AM   19       Q.    AND DURING THAT TIME, YOU WERE THE HIGHEST AUTHORITY UNDER

11:50AM   20       THE FEDERAL REGULATIONS WITHIN THAT LAB; RIGHT?

11:50AM   21       A.    CORRECT.

11:50AM   22       Q.    FEDERAL CLIA REGULATIONS MAKE YOU -- MADE YOU LEGALLY

11:50AM   23       RESPONSIBLE FOR ALL OF THE CRITICALLY IMPORTANT FUNCTIONS OF

11:50AM   24       CLIA LAB OPERATIONS; RIGHT?

11:50AM   25       A.    YES.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 97
                                                                               98 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1985


11:50AM    1       Q.    IF YOU COULD LOOK --

11:50AM    2             MAY I APPROACH, YOUR HONOR?

11:50AM    3                    THE COURT:    YES.

11:51AM    4             DO YOU HAVE THIS?

11:51AM    5                    MR. BOSTIC:    I'M NOT SURE, YOUR HONOR.     WHICH

11:51AM    6       VOLUME?

11:51AM    7                    MR. WADE:    IT'S VOLUME 1 OF THE EXHIBITS.

11:51AM    8                    MR. BOSTIC:    YES, YOUR HONOR.

11:51AM    9       BY MR. WADE:

11:51AM   10       Q.    IF I COULD CALL YOUR ATTENTION TO EXHIBIT 7603.

11:51AM   11                    THE CLERK:    THAT EXHIBIT NUMBER AGAIN, COUNSEL,

11:51AM   12       PLEASE.

11:51AM   13                    MR. WADE:    7603.

11:51AM   14                    THE WITNESS:   I HAVE IT.

11:51AM   15       BY MR. WADE:

11:51AM   16       Q.    THESE ARE THE FEDERAL CLIA LAB REGULATIONS; RIGHT?

11:51AM   17       A.    YES.

11:51AM   18       Q.    AND WHEN I SAY THAT YOU'RE RESPONSIBLE FOR THE FEDERAL

11:51AM   19       CLIA LAB REGULATIONS, YOU ACTUALLY HAVE TO KNOW ESSENTIALLY ALL

11:51AM   20       OF THESE REGULATIONS AS IT RELATES TO THE FUNCTION OF THE LAB

11:51AM   21       FOR WHICH YOU'RE THE LAB DIRECTOR; RIGHT?

11:51AM   22       A.    I HAVE TO BE AWARE OF THE LABORATORY DIRECTOR

11:51AM   23       RESPONSIBILITIES AND TO EXECUTE ON THOSE.         THAT'S THE MAJOR

11:52AM   24       FOCUS.    I CAN'T TESTIFY THAT I'M AWARE OF EVERY SINGLE

11:52AM   25       REGULATION IN THIS BINDER.



                                       UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 98
                                                                               99 of
                                                                                  of 219
                                                                                     220
                   ROSENDORFF CROSS BY MR. WADE                                            1986


11:52AM    1       Q.    WE'LL GET TO THE LAB DIRECTOR RESPONSIBILITIES.             BUT YOU

11:52AM    2       FREQUENTLY CONSULT THESE MATERIALS WHEN YOU'RE RUNNING A LAB;

11:52AM    3       RIGHT?

11:52AM    4       A.    YES.

11:52AM    5                    MR. WADE:    OKAY.   I MOVE FOR THE ADMISSION OF

11:52AM    6       EXHIBIT 7603.

11:52AM    7                    MR. BOSTIC:      OBJECTION.   RELEVANCE, YOUR HONOR.

11:52AM    8                    THE COURT:    YOU'RE SEEKING TO ADMIT THE ENTIRETY OF

11:52AM    9       THE DOCUMENT?

11:52AM   10                    MR. WADE:    THEY ARE THE REGULATIONS THAT

11:52AM   11       ENCOMPASS -- YES.      YES.

11:52AM   12                    THE COURT:    I KNOW WHAT THEY ARE.      AND THEY ARE HOW

11:52AM   13       MANY PAGES?    122?

11:52AM   14                    MR. WADE:    YES.

11:52AM   15                    THE COURT:    IT WILL BE ADMITTED.       OBJECTION

11:52AM   16       OVERRULED.

11:52AM   17             (DEFENDANT'S EXHIBIT 7603 WAS RECEIVED IN EVIDENCE.)

11:52AM   18       BY MR. WADE:

11:52AM   19       Q.    JUST SO THE RECORD IS CLEAR, YOU HAD GENERAL FAMILIARITY

11:52AM   20       TO THE EXTENT THAT YOU NEEDED TO KNOW ABOUT A REGULATION IN

11:53AM   21       DOING YOUR RESPONSIBILITIES AS LAB DIRECTOR IN THE LAB; RIGHT?

11:53AM   22       A.    YES.

11:53AM   23       Q.    AND UNDER THESE REGULATIONS, YOU WERE THE PERSON WHO WAS

11:53AM   24       RESPONSIBLE FOR ENSURING THAT TESTS THAT WERE OFFERED WERE

11:53AM   25       VERIFIED AND VALIDATED?



                                         UNITED STATES COURT REPORTERS
               Case:
                Case 22-10312, 04/25/2023,
                     5:18-cr-00258-EJD     ID: 12702996,
                                        Document   1267 DktEntry: 36-10, Page
                                                         Filed 01/18/22  Page 100
                                                                              99 ofof219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1987


11:53AM    1       A.    CORRECT.

11:53AM    2       Q.    YOU WERE THE PERSON WHO WAS RESPONSIBLE FOR ENSURING THE

11:53AM    3       ACCURACY AND RELIABILITY OF PATIENT RESULTS?

11:53AM    4       A.    CORRECT.

11:53AM    5       Q.    YOU WERE THE INDIVIDUAL WHO WAS REQUIRED TO ENSURE THAT

11:53AM    6       THE TEST METHODOLOGY SELECTED HAD THE CAPABILITY OF PROVIDING

11:53AM    7       THE QUALITY OF RESULTS THAT ARE REQUIRED FOR PATIENT CARE;

11:53AM    8       RIGHT?

11:53AM    9       A.    CORRECT.

11:53AM   10       Q.    YOU WERE THE INDIVIDUAL WHO IS REQUIRED TO ENSURE LAB

11:53AM   11       PERSONNEL WERE PERFORMING THE TEST METHODS AS REQUIRED FOR

11:53AM   12       ACCURATE AND RELIABLE RESULTS; RIGHT?

11:53AM   13       A.    YES.

11:53AM   14       Q.    ALL OF THOSE OBLIGATIONS ARE SET FORTH IN THOSE

11:54AM   15       REGULATIONS?

11:54AM   16       A.    CORRECT.

11:54AM   17       Q.    AND MANY OTHERS?

11:54AM   18       A.    CORRECT.

11:54AM   19       Q.    AND YOU UNDERSTOOD THAT IF YOU FAILED TO DISPATCH THOSE

11:54AM   20       OBLIGATIONS, YOU COULD FACE SERIOUS CONSEQUENCES, RIGHT, SIR?

11:54AM   21       A.    CORRECT.

11:54AM   22       Q.    AND YOU COULD LOSE YOUR ABILITY TO SERVE AS A LAB

11:54AM   23       DIRECTOR?

11:54AM   24       A.    CAN I MAKE A CLARIFYING STATEMENT?

11:54AM   25       Q.    YOU CAN ANSWER A QUESTION.       THE LAST QUESTION POSED, I CAN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 100
                                                                               101 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1988


11:54AM    1       READ IT BACK.

11:54AM    2                    THE COURT:    DO YOU NEED TO CLARIFY YOUR ANSWER?

11:54AM    3                    THE WITNESS:    I --

11:54AM    4                    THE COURT:    DO YOU NEED TO CLARIFY YOUR ANSWER?

11:54AM    5                    THE WITNESS:    YES.   I ENDEAVORED EARNESTLY TO

11:54AM    6       FULFILL THE LABORATORY DIRECTOR OBLIGATIONS.          I FACED

11:54AM    7       CONSTRAINTS AND PUSHBACK FROM MANAGEMENT.

11:54AM    8                    MR. WADE:    YOUR HONOR, MOVE TO STRIKE.

11:55AM    9       NONRESPONSIVE.

11:55AM   10                    THE COURT:    I THINK IT WAS RESPONSIVE TO HIS ANSWER.

11:55AM   11       YOU CAN CERTAINLY PROBE THAT AS WELL.         OVERRULED.

11:55AM   12                    MR. WADE:    WE'LL PROBE THAT IN A MINUTE.

11:55AM   13       Q.    MY QUESTION WAS, YOU UNDERSTOOD THAT IF YOU FAILED TO

11:55AM   14       DISPATCH YOUR OBLIGATIONS, YOU COULD FACE SERIOUS CONSEQUENCES?

11:55AM   15       A.    CORRECT.

11:55AM   16       Q.    AND YOU COULD FACE CIVIL MONETARY PENALTIES; RIGHT?

11:55AM   17       A.    CORRECT.

11:55AM   18       Q.    YOU COULD EVEN IN SOME CASES LOSE YOUR LICENSE TO

11:55AM   19       PRACTICE -- TO BE A LAB DIRECTOR; RIGHT?

11:55AM   20       A.    CORRECT.

11:55AM   21       Q.    AND IN SOME CASES YOU COULD EVEN FACE CRIMINAL LIABILITY;

11:55AM   22       IS THAT NOT CORRECT?

11:55AM   23       A.    CORRECT.

11:55AM   24       Q.    AND YOU ONLY HAD THE ABILITY TO HOLD THAT IMPORTANT JOB AS

11:55AM   25       LAB DIRECTOR BECAUSE OF YOUR SPECIALIZED TRAINING; RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 101
                                                                               102 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1989


11:55AM    1       A.    NO.    IN TERMS OF THE LABORATORY DIRECTOR'S

11:55AM    2       RESPONSIBILITIES -- I DON'T KNOW IF YOU WANT ME TO GO INTO

11:55AM    3       THIS.    YOU EITHER HAVE TO BE AN M.D., A D.O., OR A PH.D. AND

11:56AM    4       SOME EXPERIENCE MANAGING LABS.

11:56AM    5             AND FOR PH.D.'S, THERE ARE BOARDS THAT YOU HAVE TO PASS,

11:56AM    6       BE CERTIFIED BY VARIOUS BOARDS TO BE A LABORATORY DIRECTOR, AND

11:56AM    7       THAT'S ALL SPELLED OUT IN THE REGULATIONS.

11:56AM    8       Q.    AND YOU WERE AN M.D.?

11:56AM    9       A.    CORRECT.

11:56AM   10       Q.    AND BECAUSE YOU WERE AN M.D., YOU WERE ABLE TO SERVE AS A

11:56AM   11       LABORATORY DIRECTOR, ALONG WITH THOSE OTHER QUALIFICATIONS;

11:56AM   12       RIGHT?

11:56AM   13       A.    FOR AN M.D. I BELIEVE IT'S A YEAR OF LABORATORY EXPERIENCE

11:56AM   14       IN A HIGH COMPLEX LABORATORY THAT IS REQUIRED.

11:56AM   15       Q.    RIGHT.   AND I BELIEVE MY QUESTION WAS IT'S BECAUSE OF YOUR

11:56AM   16       SPECIALIZED TRAINING THAT YOU QUALIFIED AND WERE ABLE TO SERVE

11:56AM   17       AS LAB DIRECTOR; RIGHT?

11:56AM   18       A.    YES.

11:56AM   19       Q.    AND AS A MEDICAL DOCTOR, YOU ALSO HAD ETHICAL OBLIGATIONS;

11:56AM   20       RIGHT?

11:56AM   21       A.    ABSOLUTELY.

11:56AM   22       Q.    FIRST, DO NO HARM?

11:56AM   23       A.    CORRECT.

11:56AM   24       Q.    AND SO, SIR, IN LIGHT OF YOUR TESTIMONY, I HAVE TO ASK YOU

11:56AM   25       DIRECTLY AND SQUARELY, DID YOU FAITHFULLY DISPATCH YOUR LEGAL



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 102
                                                                               103 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1990


11:57AM    1       OBLIGATIONS AS LAB DIRECTOR AT THERANOS?

11:57AM    2       A.    YES, I DID.

11:57AM    3       Q.    DID YOU OFFER TESTS, LAB TESTS THAT YOU KNEW AT THE TIME

11:57AM    4       WERE INACCURATE OR UNRELIABLE?

11:57AM    5       A.    NO.   WHENEVER TESTS WERE INACCURATE OR UNRELIABLE, I

11:57AM    6       ORDERED THE LABORATORY TO CEASE TESTING OR MOVE TO AN FDA

11:57AM    7       APPROVED TEST, AND I RAISED MY CONCERNS TO MANAGEMENT.

11:57AM    8             WHENEVER THERE WAS AN ISSUE OF PATIENT HARM OR PATIENT

11:57AM    9       CARE, I STEPPED IN VERY AGGRESSIVELY TO DISPATCH MY OBLIGATIONS

11:57AM   10       AS A PHYSICIAN.

11:57AM   11       Q.    THANK YOU, SIR.

11:57AM   12             SO YOU NEVER OFFERED TESTS THAT YOU THOUGHT WERE

11:57AM   13       INACCURATE AND UNRELIABLE WHEN YOU WERE SERVING AS LAB DIRECTOR

11:57AM   14       AT THERANOS; CORRECT?

11:57AM   15       A.    CORRECT.

11:57AM   16       Q.    AND DID YOU EVER PROVIDE PATIENT TEST RESULTS THAT YOU

11:58AM   17       KNEW WERE INACCURATE OR UNRELIABLE AT THE TIME THAT YOU

11:58AM   18       PROVIDED THEM?

11:58AM   19       A.    NO.   THERE'S NO WAY TO DEFINITIVELY KNOW ON A TEST BY TEST

11:58AM   20       BASIS WHETHER A TEST IS UNRELIABLE.

11:58AM   21       Q.    I UNDERSTAND, SIR.     I'M JUST ASKING THE QUESTION WHETHER

11:58AM   22       YOU KNEW -- LET ME TRY AGAIN.       I'M JUST LOOKING FOR AN ANSWER

11:58AM   23       FROM MY QUESTION.

11:58AM   24             AND THE FIRST RELATES TO THE ASSAY -- LET ME INQUIRE, THE

11:58AM   25       ASSAYS THAT WERE OFFERED IN THE LAB, OKAY, THE TYPES OF TESTS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 103
                                                                               104 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1991


11:58AM    1       THAT YOU WERE OFFERING --

11:58AM    2       A.    YES.

11:58AM    3       Q.    -- DID YOU EVER USE A TEST ON PATIENTS THAT YOU BELIEVED

11:58AM    4       WAS INACCURATE AND UNRELIABLE?

11:58AM    5       A.    NO.

11:58AM    6       Q.    AND WITH RESPECT TO THE RESULTS THAT YOU PROVIDED TO

11:58AM    7       PATIENTS, DID YOU EVER PROVIDE TEST RESULTS THAT YOU KNEW TO

11:58AM    8       BELIEVE WERE INACCURATE AND UNRELIABLE AT THE TIME THAT THOSE

11:58AM    9       TEST RESULTS WERE TRANSMITTED?

11:58AM   10       A.    NO.

11:58AM   11       Q.    AND YOU WERE NEVER TOLD BY MS. HOLMES TO REPORT AN

11:59AM   12       INACCURATE RESULT; CORRECT?

11:59AM   13       A.    CORRECT.

11:59AM   14       Q.    YOU WERE NEVER TOLD BY MR. BALWANI TO REPORT AN INACCURATE

11:59AM   15       RESULT?

11:59AM   16       A.    THERE WERE NUMEROUS INSTANCES, AS I PREVIOUSLY TESTIFIED,

11:59AM   17       WHEN I ORDERED THE TESTS SHOULD BE RUN ON THE FDA INSTRUMENTS,

11:59AM   18       BUT THOSE ORDERS WERE IGNORED.

11:59AM   19       Q.    SIR, DO YOU RECALL IN THAT DEPOSITION THAT WE PREVIOUSLY

11:59AM   20       LOOKED AT THAT YOU WERE ASKED, "AND YOU WERE NEVER TOLD BY

11:59AM   21       MR. BALWANI TO REPORT A FALSE RESULT, RIGHT?"

11:59AM   22             AND YOU ANSWER "CORRECT?"

11:59AM   23       A.    THAT'S WHAT I JUST SAID.

11:59AM   24       Q.    OKAY.   I JUST WANT TO MAKE SURE IT'S CLEAR.

11:59AM   25             IF YOU HAD COME TO A CONCLUSION THAT RESULTS FROM AN ASSAY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 104
                                                                               105 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1992


11:59AM    1       SHOULD NOT BE USED, THEN YOU HAD AN OBLIGATION TO TAKE THAT

11:59AM    2       TEST DOWN; RIGHT?

11:59AM    3       A.    CORRECT.

11:59AM    4       Q.    AND THERE WERE OCCASIONS, AS YOU TESTIFIED, THAT YOU DID

12:00PM    5       PAUSE OR DISCONTINUE THE USE OF ASSAYS ON CERTAIN ITEMS; RIGHT?

12:00PM    6       A.    YES.

12:00PM    7       Q.    AND THAT WAS YOUR OBLIGATION TO DO THAT?

12:00PM    8       A.    YES.

12:00PM    9       Q.    AND MS. HOLMES NEVER DIRECTED YOU TO DO THAT?

12:00PM   10       A.    CORRECT.

12:00PM   11       Q.    AND SHE NEVER TOLD YOU YOU HAD TO USE AN ASSAY ON A

12:00PM   12       CERTAIN MACHINE?

12:00PM   13       A.    THE STANCE OF THE COMPANY WAS THAT WHENEVER POSSIBLE WE

12:00PM   14       SHOULD USE THERANOS METHODS AND DEVICES.

12:00PM   15       Q.    RIGHT.   BUT YOU JUST TESTIFIED THAT ONLY IF IT WAS

12:00PM   16       ACCURATE AND RELIABLE WHEN IT WAS BEING OFFERED; RIGHT?

12:00PM   17       A.    CORRECT.

12:00PM   18       Q.    OKAY.    AND YOU FOLLOWED THAT; RIGHT?

12:00PM   19       A.    RIGHT.

12:00PM   20       Q.    AND THAT WAS YOUR LEGAL OBLIGATION, SIR?

12:00PM   21       A.    YES.

12:00PM   22       Q.    AND WITH RESPECT TO THE OPERATIONS OF THE LAB, YOU WERE

12:00PM   23       THE PERSON WHO WAS RESPONSIBLE FOR ENSURING COMPLYING

12:00PM   24       OPERATIONS IN THE LAB; RIGHT?

12:01PM   25       A.    ME AND THE QUALITY DIRECTOR, YES.        ULTIMATELY I WAS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 105
                                                                               106 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1993


12:01PM    1       RESPONSIBLE, AND I DELEGATED SOME OF THOSE RESPONSIBILITIES TO

12:01PM    2       THE QUALITY MANAGER.

12:01PM    3       Q.    AND AS A LAB DIRECTOR, YOU HAVE THE ABILITY TO DELEGATE

12:01PM    4       RESPONSIBILITIES TO QUALIFIED PEOPLE; RIGHT?

12:01PM    5       A.    YES.

12:01PM    6       Q.    AND THOSE FEDERAL REGULATIONS IN 7603, THEY SET FORTH THE

12:01PM    7       SPECIFIC QUALIFICATIONS THAT PEOPLE HAVE TO HAVE WITH RESPECT

12:01PM    8       TO IMPORTANT JOBS; RIGHT?

12:01PM    9       A.    YES.

12:01PM   10       Q.    AND YOU FOLLOWED THOSE REGULATIONS; RIGHT?

12:01PM   11       A.    CORRECT.

12:01PM   12       Q.    AND THE PEOPLE WHO PERFORM THOSE FUNCTIONS, LIKE QUALITY

12:01PM   13       MANAGER, THEY MET THOSE REQUIREMENTS; RIGHT?

12:01PM   14       A.    CORRECT.

12:01PM   15       Q.    BUT ULTIMATELY, IF THEY FAILED, IT WAS YOUR

12:01PM   16       RESPONSIBILITY; RIGHT?

12:01PM   17       A.    CORRECT.

12:01PM   18       Q.    SO DID YOU MAKE SURE THEY DID A GOOD JOB?

12:01PM   19       A.    YES.   I WAS MONITORING THE PERFORMANCE OF THE SUPERVISORS

12:01PM   20       OF THE QUALITY MANAGER, YES.

12:01PM   21       Q.    IN FACT, YOU HAD REGULAR MEETINGS WITH THE QUALITY

12:01PM   22       MANAGER; RIGHT?

12:01PM   23       A.    YES.

12:01PM   24       Q.    AND THE QUALITY MANAGER GAVE REGULAR REPORTS TO YOU;

12:02PM   25       RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 106
                                                                               107 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1994


12:02PM    1       A.    HE GAVE ME MONTHLY QC REPORTS, AND THERE WERE WEEKLY

12:02PM    2       MEETINGS WITH THE ENTIRE CLIA GROUP.

12:02PM    3       Q.    AND WE TALKED ABOUT QUALITY CONTROL.

12:02PM    4             DO YOU RECALL SOME OF THAT TESTIMONY?

12:02PM    5       A.    YES.

12:02PM    6       Q.    OKAY.    IT WAS YOUR RESPONSIBILITY TO ENSURE THAT QUALITY

12:02PM    7       CONTROL WAS PERFORMED; RIGHT?

12:02PM    8       A.    CORRECT.

12:02PM    9       Q.    AND THAT QUALITY CONTROL POLICIES WERE ADHERED TO; RIGHT?

12:02PM   10       A.    CORRECT.

12:02PM   11       Q.    AND IT WAS YOUR RESPONSIBILITY TO ENSURE THAT PROFICIENCY

12:02PM   12       TESTING OR AAP WAS PERFORMED IN REQUIRED INTERVALS; RIGHT?

12:02PM   13       A.    YES.    BUT IF THE RESOURCES PERSONNEL AND DIRECTION FROM

12:02PM   14       MANAGEMENT DOES NOT SUPPORT ME, THAT ISN'T POSSIBLE.

12:02PM   15       Q.    WE'LL TALK ABOUT AAP AND PT MORE SPECIFICALLY LATER.

12:02PM   16             BUT MY QUESTION FOR NOW IS, ULTIMATELY THAT IS YOUR

12:02PM   17       RESPONSIBILITY, RIGHT, SIR?

12:03PM   18       A.    YES.    I THINK I'VE TESTIFIED PREVIOUSLY THAT THE TESTING

12:03PM   19       PLATFORM WAS NOT ALLOWING ME TO EXECUTE MY RESPONSIBILITIES AS

12:03PM   20       LABORATORY DIRECTOR EFFECTIVELY.        THAT WAS ONE OF THE REASONS

12:03PM   21       WHY I QUIT.

12:03PM   22                     MR. WADE:    MOVE TO STRIKE.   NONRESPONSIVE.

12:03PM   23                     THE COURT:   THAT LAST RESPONSE IS STRICKEN AS

12:03PM   24       NONRESPONSIVE.

12:03PM   25             I'M SURE WE'LL HAVE OTHER QUESTIONS FOR YOU.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 107
                                                                               108 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1995


12:03PM    1       BY MR. WADE:

12:03PM    2       Q.    AND YOU MENTIONED THE QUALITY MANAGER; RIGHT?

12:03PM    3       A.    YES.

12:03PM    4       Q.    THERE ARE OTHER IMPORTANT FUNCTIONS WITHIN THE LAB AS

12:03PM    5       WELL; RIGHT?

12:03PM    6       A.    YES.

12:03PM    7       Q.    THERE'S A TECHNICAL SUPERVISOR?

12:03PM    8       A.    YES.

12:03PM    9       Q.    AND A CLINICAL CONSULTANT?

12:03PM   10       A.    YES.

12:03PM   11       Q.    AND A GENERAL SUPERVISOR?

12:04PM   12       A.    YES.

12:04PM   13       Q.    AND THERE ARE TESTING PERSONNEL; RIGHT?

12:04PM   14       A.    YES.

12:04PM   15       Q.    AND THE JOBS OF ALL OF THOSE PEOPLE ARE SET FORTH IN THE

12:04PM   16       REGULATIONS; RIGHT?

12:04PM   17       A.    CORRECT.

12:04PM   18       Q.    AND THERE'S SPECIFIC EDUCATION LEVELS AND TRAINING THAT

12:04PM   19       ARE REQUIRED TO MEET THOSE -- TO BE QUALIFIED TO PERFORM THOSE

12:04PM   20       FUNCTIONS?

12:04PM   21       A.    YES.

12:04PM   22       Q.    AND ONE OF YOUR JOBS AS LABORATORY DIRECTOR IS TO ENSURE

12:04PM   23       THAT THE PEOPLE WHO ARE DOING THOSE JOBS ARE QUALIFIED?

12:04PM   24       A.    CORRECT.

12:04PM   25       Q.    IF YOU COULD LOOK WITHIN 7603 AT 493.1147.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 108
                                                                               109 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1996


12:04PM    1             IF IT'S EASIER, IT'S ALSO SEPARATE IN YOUR BOOK UNDER

12:05PM    2       7603D.    IF IT'S EASIER TO LOOK AT, IT'S THE SAME MATERIAL.

12:05PM    3                     THE WITNESS:    COULD YOU TELL ME WHAT THE HOLMES

12:05PM    4       NUMBER IS ON THAT PAGE?

12:05PM    5       BY MR. WADE:

12:05PM    6       Q.    DO YOU HAVE 7603 IN FRONT OF YOU?

12:05PM    7       A.    I HAVE 7603D.

12:05PM    8       Q.    OKAY.    7603D.     YOU HAVE THAT IN FRONT OF YOU?

12:05PM    9       A.    YES.

12:05PM   10       Q.    OKAY.    HOLMES NUMBER 793.

12:05PM   11             YOUR HONOR, WE INCLUDED THIS AS AN EXCERPT FOR

12:05PM   12       CONVENIENCE.     IT'S A SMALLER DOCUMENT.      IF THERE'S NO

12:05PM   13       OBJECTION, WE'LL PUBLISH THIS VERSION.

12:05PM   14                     MR. BOSTIC:    IF THIS IS INCLUDED IN 7603, NO

12:05PM   15       OBJECTION.

12:05PM   16                     MR. WADE:    IT IS.

12:05PM   17                     THE COURT:    I THINK IT IS.   GO RIGHT AHEAD.

12:05PM   18                     MR. WADE:    IF WE CAN PULL THAT UP AND IF WE CAN

12:06PM   19       HIGHLIGHT.

12:06PM   20       Q.    DO YOU SEE WHERE IT SETS FORTH THE STANDARD FOR TECHNICAL

12:06PM   21       SUPERVISOR QUALIFICATIONS?

12:06PM   22             DO YOU SEE THAT?

12:06PM   23       A.    YES.

12:06PM   24       Q.    AND ARE YOU FAMILIAR WITH THESE REQUIREMENTS GENERALLY?

12:06PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 109
                                                                               110 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1997


12:06PM    1       Q.    AND GENERALLY, WHAT IS REQUIRED TO BE A TECHNICAL

12:06PM    2       SUPERVISOR WITHIN A HIGH COMPLEXITY CLIA LAB?

12:06PM    3       A.    YOU NEED TO HAVE A BACHELOR'S OR HIGHER DEGREE IN A

12:06PM    4       RELEVANT SUBJECT, SUCH AS CLINICAL LABORATORY MEDICINE OR

12:06PM    5       BIOLOGY.

12:06PM    6             YOU NEED TO HAVE SOME YEARS OF EXPERIENCE WORKING IN A

12:06PM    7       CLINICAL LABORATORY.

12:06PM    8       Q.    OKAY.   ARE YOU FAMILIAR WITH MS. HOLMES'S EDUCATIONAL

12:06PM    9       BACKGROUND?

12:06PM   10       A.    I BELIEVE SHE DROPPED OUT OF STANFORD AT THE AGE OF 19.

12:06PM   11       Q.    AND BASED ON YOUR UNDERSTANDING OF HER BACKGROUND, WOULD

12:07PM   12       SHE QUALIFY TO BE A TECHNICAL SUPERVISOR IN A CLIA LAB?

12:07PM   13       A.    NO, SHE WOULD NOT.

12:07PM   14       Q.    LET ME ASK, I THINK IT'S OBVIOUS FROM YOUR PRIOR

12:07PM   15       TESTIMONY, BUT WOULD SHE BE QUALIFIED TO BE A LABORATORY

12:07PM   16       DIRECTOR?

12:07PM   17       A.    NO, DEFINITELY NOT.

12:07PM   18       Q.    LET'S GO TO HOLMES PAGE 800.       IF WE CAN HIGHLIGHT THE

12:07PM   19       HEADING ON THAT PAGE.

12:07PM   20             DO YOU SEE THAT SETS FORTH THE TECHNICAL SUPERVISOR'S

12:07PM   21       RESPONSIBILITIES?

12:07PM   22       A.    YES.

12:07PM   23       Q.    AT A HIGH LEVEL COULD YOU EXPLAIN FOR US WHAT A TECHNICAL

12:07PM   24       SUPERVISOR DOES WITHIN A LAB?

12:07PM   25       A.    THEY ARE RESPONSIBLE FOR THE TECHNICAL ASPECTS OF TESTS,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 110
                                                                               111 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1998


12:07PM    1       RUNNING OF TESTS.     THEY ALSO OVERSEE PROFICIENCY TESTING, THAT

12:08PM    2       THE LIMS SYSTEM IS WORKING CORRECTLY.         THEY'RE INVOLVED IN THE

12:08PM    3       TECHNICAL ASPECTS OF THE LABORATORY.

12:08PM    4       Q.    OKAY.   IS THAT AN IMPORTANT JOB WITHIN A CLIA LAB?

12:08PM    5       A.    YES.

12:08PM    6       Q.    AND DID YOU HAVE A TECHNICAL SUPERVISOR AT THERANOS?

12:08PM    7       A.    I BELIEVE WE DID.     I DON'T RECALL WHO THAT WAS.

12:08PM    8       Q.    AND YOU DON'T RECALL THE NAME?

12:08PM    9       A.    NO.

12:08PM   10       Q.    OKAY.   LET'S GO TO THE NEXT PAGE.       801.

12:08PM   11       A.    YES.

12:08PM   12       Q.    AND DO YOU SEE THE HEADING THERE FOR A CLINICAL

12:08PM   13       CONSULTANT?

12:08PM   14       A.    YES.

12:08PM   15       Q.    AND IT SETS FORTH THE REQUIREMENTS FOR A CLINICAL

12:08PM   16       CONSULTANT.

12:08PM   17       A.    YES.

12:08PM   18       Q.    DO YOU SEE THAT?

12:08PM   19       A.    YES.

12:08PM   20       Q.    AND GENERALLY WHAT ARE THE QUALIFICATIONS FOR A CLINICAL

12:08PM   21       CONSULTANT?

12:08PM   22       A.    THEY HAVE TO BE QUALIFIED AS A LABORATORY DIRECTOR OR BE A

12:09PM   23       DOCTOR OF MEDICINE, DOCTOR OF OSTEOPATHY, AND LICENSED IN THE

12:09PM   24       STATE IN WHICH THEY'RE WORKING.

12:09PM   25       Q.    AND WAS MS. HOLMES, WOULD SHE BE QUALIFIED IN YOUR



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 111
                                                                               112 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         1999


12:09PM    1       UNDERSTANDING OF THIS REGULATION TO BE A CLINICAL CONSULTANT?

12:09PM    2       A.     NO.

12:09PM    3       Q.     DO YOU SEE THE NEXT COLUMN OF THAT PAGE WHICH TALKS ABOUT

12:09PM    4       A GENERAL SUPERVISOR?

12:09PM    5       A.     YES.

12:09PM    6       Q.     ACTUALLY, BEFORE I GET TO THAT, DID YOU HAVE A CLINICAL

12:09PM    7       CONSULTANT, OR DID SOMEONE FUNCTION AS A CLINICAL CONSULTANT AT

12:09PM    8       THERANOS?

12:09PM    9       A.     I BELIEVE I WAS -- THE LABORATORY DIRECTOR CAN ALSO

12:09PM   10       FUNCTION AS THE CLINICAL CONSULTANT.        YOU CAN HOLD TWO

12:09PM   11       POSITIONS.     I BELIEVE THAT WAS THE CASE AT THERANOS.

12:10PM   12       Q.     YOU BELIEVED YOU SERVED BOTH POSITIONS?

12:10PM   13       A.     YES.

12:10PM   14       Q.     OKAY.   AND IF I CAN HAVE -- MY APOLOGIES FOR INTERRUPTING

12:10PM   15       YOU.

12:10PM   16              IF I CAN DRAW YOUR ATTENTION TO THE NEXT COLUMN TO THE

12:10PM   17       RIGHT.

12:10PM   18              DO YOU SEE WHERE IT TALKS ABOUT GENERAL SUPERVISOR?

12:10PM   19       A.     YES.

12:10PM   20       Q.     AND GENERALLY WHAT ARE THE REQUIREMENTS FOR A GENERAL

12:10PM   21       SUPERVISOR?

12:10PM   22       A.     GENERALLY THEY HAVE TO HAVE A CLINICAL LABORATORY CLS

12:10PM   23       LICENSE IN CALIFORNIA; THEY HAVE TO MEET THE REQUIREMENTS FOR A

12:10PM   24       LABORATORY DIRECTOR OR A TECHNICAL SUPERVISOR; OR THEY CAN BE A

12:10PM   25       DOCTOR OF MEDICINE; THEY MUST HAVE AT LEAST ONE YEAR OF LAB



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 112
                                                                               113 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2000


12:10PM    1       TRAINING AND EXPERIENCE; THEY MUST QUALIFY AS TESTING

12:10PM    2       PERSONNEL, ET CETERA.

12:10PM    3              THERE'S A NUMBER OF REQUIREMENTS LISTED HERE.

12:10PM    4       Q.     AND WOULD MS. HOLMES QUALIFY FOR THAT POSITION BASED ON

12:11PM    5       YOUR UNDERSTANDING?

12:11PM    6       A.     NO.

12:11PM    7       Q.     AND DID YOU HAVE A GENERAL SUPERVISOR WITHIN THE LAB?

12:11PM    8       A.     YES, I BELIEVE THAT WAS HODA ALAMDAR.

12:11PM    9       Q.     AND SHE REPORTED TO YOU?

12:11PM   10       A.     CORRECT.   SO IT WAS NEVER FORMALLY -- YES, UNDER CLIA LAW

12:11PM   11       THOSE PEOPLE REPORT TO ME.       BUT I WAS NEVER TOLD WHO MY REPORTS

12:11PM   12       WERE WITHIN THE COMPANY THOUGH.

12:11PM   13       Q.     I RECALL THAT TESTIMONY, SIR.      DO YOU RECALL TESTIFYING

12:11PM   14       PREVIOUSLY THAT THERE WERE 12 PEOPLE WHO REPORTED DIRECTLY TO

12:11PM   15       YOU?

12:11PM   16       A.     APPROXIMATELY, YES.

12:11PM   17       Q.     REPORTING DIRECTLY TO YOU?

12:11PM   18       A.     I BELIEVE SO.

12:11PM   19       Q.     OKAY.

12:11PM   20       A.     AND CAN I ADD SOMETHING HERE?

12:11PM   21       Q.     SURE.

12:11PM   22       A.     I JUST WANT TO CLARIFY THAT SUNNY BALWANI WAS HEAVILY

12:12PM   23       INVOLVED AND WAS GIVING US BOTH DIRECTIONS ON A DAILY BASIS.

12:12PM   24       Q.     MY QUESTION WAS, WERE THEY REPORTING DIRECTLY TO YOU?

12:12PM   25       A.     UNDER CLIA LAW, YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 113
                                                                               114 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2001


12:12PM    1       Q.    AND YOU WERE REPORTING DIRECTLY TO MR. BALWANI; CORRECT?

12:12PM    2       A.    YES.

12:12PM    3       Q.    AND I BELIEVE YOU TESTIFIED PREVIOUSLY THAT THE DOTTED

12:12PM    4       LINE REPORTED DIRECTLY TO DANIEL YOUNG; RIGHT?

12:12PM    5       A.    I BELIEVE SO.

12:12PM    6       Q.    BECAUSE HE WAS THE VICE PRESIDENT OF THE COMPANY?

12:12PM    7       A.    CORRECT.

12:12PM    8       Q.    AND HE WAS A SENIOR EMPLOYEE TO YOU?

12:12PM    9       A.    CORRECT.

12:12PM   10       Q.    AND SO IN A SENSE WHEN YOU'RE DEALING WITH HIM, HE'S PART

12:12PM   11       OF SENIOR MANAGEMENT?

12:12PM   12       A.    YES.

12:12PM   13       Q.    OKAY.   DO YOU THINK -- ARE THERE EVER CIRCUMSTANCES WHERE

12:12PM   14       IT'S APPROPRIATE FOR SENIOR MANAGEMENT TO HAVE DISCUSSION ABOUT

12:12PM   15       A SUBORDINATE?

12:12PM   16       A.    I DON'T UNDERSTAND YOUR QUESTION, SIR.

12:12PM   17       Q.    ARE THERE EVER -- LET ME TRY IT AGAIN.

12:12PM   18             YOU UNDERSTAND THAT THERE ARE SOMETIMES PEOPLE WHO SERVE

12:13PM   19       IN A CERTAIN HIERARCHY WITHIN A COMPANY; RIGHT?

12:13PM   20       A.    YES.

12:13PM   21       Q.    AND THERE ARE SOMETIMES PEOPLE WHO ARE SUBORDINATE TO

12:13PM   22       THEM, WHO ARE LOWER DOWN IN THE HIERARCHY?

12:13PM   23       A.    YES.

12:13PM   24       Q.    OKAY.   IS IT EVER APPROPRIATE FOR PEOPLE HIGHER UP IN THE

12:13PM   25       HIERARCHY TO HAVE A CONVERSATION ABOUT A PERSON LOWER DOWN IN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 114
                                                                               115 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2002


12:13PM    1       THE HIERARCHY WITHOUT INCLUDING THAT PERSON?

12:13PM    2       A.    NO, IT'S NOT APPROPRIATE.

12:13PM    3       Q.    IT'S NEVER APPROPRIATE?

12:13PM    4       A.    CORRECT.

12:13PM    5       Q.    SO HYPOTHETICALLY, A CEO AND A PRESIDENT OF A COMPANY

12:13PM    6       COULDN'T HAVE A CONVERSATION ABOUT THE PERFORMANCE OF THE CHIEF

12:13PM    7       FINANCIAL OFFICER WITHOUT THE CHIEF FINANCIAL OFFICER BEING

12:13PM    8       PRESENT?

12:13PM    9       A.    ARE YOU ASKING WHAT IS APPROPRIATE BUSINESS CONDUCT, OR

12:13PM   10       ARE YOU ASKING WHAT THE COMPANY POLICY IS?         OR ARE YOU ASKING

12:13PM   11       ABOUT THE LAW?

12:13PM   12       Q.    WELL, YOU'VE WORKED IN BUSINESS; RIGHT?

12:14PM   13       A.    CORRECT.

12:14PM   14       Q.    WITHIN COMPANIES?

12:14PM   15       A.    IT DOES FREQUENTLY HAPPEN THAT HIGH MANAGEMENT WILL ASK

12:14PM   16       ABOUT A MIDDLE MANAGEMENT PERSON WITH A SUBORDINATE.           THAT DOES

12:14PM   17       HAPPEN, YES.

12:14PM   18       Q.    MY QUESTION IS, ISN'T IT PERFECTLY NORMAL AND APPROPRIATE

12:14PM   19       FOR SENIOR MANAGEMENT TO HAVE DISCUSSIONS ABOUT A LOWER LEVEL

12:14PM   20       EMPLOYEE?

12:14PM   21       A.    THAT THEY WOULD HAVE THOSE DISCUSSIONS WITH THE DIRECT --

12:14PM   22       THE PERSON THAT THE EMPLOYEE REPORTED TO, RIGHT.          SO IF UPPER

12:14PM   23       MANAGEMENT HAD A CONCERN ABOUT SOMEBODY THAT REPORTED TO

12:14PM   24       DANISE YAM, THEY WOULD ASK HER ABOUT IT.         THEY WOULDN'T GO

12:14PM   25       DIRECTLY TO THE SUBORDINATE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 115
                                                                               116 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2003


12:14PM    1       Q.    I'M NOT ASKING ABOUT THEM GOING TO THE SUBORDINATE.           I'M

12:14PM    2       ASKING ABOUT THEM HAVING COMMUNICATIONS WITH EACH OTHER.

12:14PM    3             LET ME GIVE YOU AN EXAMPLE, OKAY?

12:14PM    4       A.    UH-HUH.

12:14PM    5       Q.    LET'S SAY MS. HOLMES AND MR. BALWANI WANTED TO HAVE A

12:14PM    6       CONVERSATION ABOUT THE FACT THAT ADAM ROSENDORFF KEPT ROTTEN

12:15PM    7       FOOD IN HIS OFFICE AND IT SMELLED A LOT AND IT WAS BECOMING A

12:15PM    8       PROBLEM AND PEOPLE WERE COMPLAINING AND IT BECAME A SANITARY

12:15PM    9       ISSUE.

12:15PM   10             COULD MS. HOLMES AND MR. BALWANI HAVE A CONVERSATION ABOUT

12:15PM   11       THAT ISSUE WITHOUT INCLUDING YOU?

12:15PM   12       A.    THEY WOULD -- IT'S MOST APPROPRIATE THAT THEY WOULD COME

12:15PM   13       TO ME FIRST, YES.

12:15PM   14       Q.    THAT WASN'T MY QUESTION.

12:15PM   15             MY QUESTION WAS, IS IT YOUR TESTIMONY HERE THAT IT IS

12:15PM   16       INAPPROPRIATE FOR SENIOR EMPLOYEES TO HAVE DISCUSSIONS ABOUT

12:15PM   17       THE PERFORMANCE AND FUNCTIONS OF A SUBORDINATE EMPLOYEE?

12:15PM   18       THAT'S YOUR TESTIMONY?

12:15PM   19       A.    NO.   SO THE EVALUATION PROCESS DIFFERS FROM COMPANY TO

12:15PM   20       COMPANY.    FOR INSTANCE, I WORKED AT INVITAE.        THERE WERE 360

12:15PM   21       EVALUATIONS WHERE EVERYBODY GOT TO EVALUATE EVERYBODY ELSE.

12:15PM   22             I'M TRYING TO BE AS RESPONSIVE TO YOUR QUESTION AS I CAN.

12:16PM   23       I GUESS I'M JUST NOT GETTING IT OR -- YEAH.

12:16PM   24       Q.    LET ME TRY TO MAKE IT MORE CONCRETE.        HODA -- IS IT

12:16PM   25       ALAMDAR?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 116
                                                                               117 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2004


12:16PM    1       A.    ALAMDAR.

12:16PM    2       Q.    -- REPORTED TO YOU?

12:16PM    3       A.    CORRECT.

12:16PM    4       Q.    AND YOU REPORTED TO MR. BALWANI?

12:16PM    5       A.    CORRECT.

12:16PM    6       Q.    AND DID YOU EVER HAVE CONVERSATIONS WITH MR. BALWANI ABOUT

12:16PM    7       MS. ALAMDAR'S PERFORMANCE OUT OF THE PRESENCE OF MS. ALAMDAR?

12:16PM    8       A.    I DO NOT RECALL.

12:16PM    9       Q.    DID YOU EVER HAVE CONVERSATIONS WITH MR. BALWANI ABOUT THE

12:16PM   10       PERFORMANCE OF ANY OF THE OTHER PEOPLE WHO REPORTED TO YOU

12:16PM   11       OUTSIDE OF THE PRESENCE OF THOSE EMPLOYEES?

12:16PM   12       A.    I DO NOT RECALL.     I WILL SAY ON MY FIRST DAY AT THE

12:16PM   13       COMPANY, SUNNY FIRED ONE OF THE CLS'S WITHOUT CONSULTING ME.

12:16PM   14                    MR. WADE:    MOVE TO STRIKE AS NONRESPONSIVE.

12:17PM   15                    THE COURT:    THAT LAST RESPONSE IS STRICKEN, LADIES

12:17PM   16       AND GENTLEMEN.

12:17PM   17       BY MR. WADE:

12:17PM   18       Q.    NOW, AT THE TIME YOU LEFT THE COMPANY, THERE WERE OTHER

12:17PM   19       PEOPLE WORKING IN THE CLIA LAB; RIGHT?

12:17PM   20       A.    CORRECT.

12:17PM   21       Q.    AND YOU HAD SIGNED OFF ON OR AGREED WITH THE HIRING OF ALL

12:17PM   22       OF THE PEOPLE WHO WERE LEFT AT THE TIME YOU LEFT; RIGHT?

12:17PM   23       A.    NO.   THERE WERE SOME INDIVIDUALS THAT WERE HIRED BEFORE I

12:17PM   24       CAME ON BOARD.

12:17PM   25       Q.    BUT NO ONE WAS -- NO ONE WHO WAS LEFT THERE WAS EVER HIRED



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 117
                                                                               118 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2005


12:17PM    1       OVER YOUR OBJECTION?

12:17PM    2       A.    CORRECT.

12:17PM    3       Q.    AND OF THE PEOPLE THAT WERE LEFT, YOU NEVER ASKED THAT

12:17PM    4       ANYONE BE FIRED?

12:17PM    5       A.    CORRECT.

12:17PM    6       Q.    YOU HAD CONFIDENCE --

12:17PM    7       A.    I DID HAVE A PROBLEM WITH ONE EMPLOYEE THAT I RAISED TO

12:17PM    8       MANAGEMENT, YES.     BUT I NEVER ASKED THAT SHE BE FIRED, NO.

12:18PM    9       Q.    AND WHO IS THAT EMPLOYEE?

12:18PM   10       A.    CHI NGUYEN.

12:18PM   11       Q.    YOU HAD CONFIDENCE IN THE PEOPLE WHO WERE WORKING UNDER

12:18PM   12       YOU; RIGHT?

12:18PM   13       A.    YES.

12:18PM   14       Q.    YOU ACTUALLY THOUGHT YOU HAD A GOOD TEAM THROUGHOUT THE

12:18PM   15       TIME YOU WERE AT THERANOS?

12:18PM   16       A.    YES.

12:19PM   17       Q.    YOU TESTIFIED A COUPLE MINUTES AGO ABOUT THE DATE OF THE

12:19PM   18       LAUNCH.

12:19PM   19             DO YOU RECALL THAT?

12:19PM   20       A.    YES.

12:19PM   21       Q.    AND YOU TESTIFIED ON DIRECT EXAMINATION THAT IT WAS THE

12:19PM   22       9TH OF SEPTEMBER?

12:19PM   23       A.    CORRECT.

12:19PM   24       Q.    EIGHT YEARS AGO?

12:19PM   25       A.    CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 118
                                                                               119 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2006


12:19PM    1       Q.    YOU RECALL THAT DATE SPECIFICALLY?

12:19PM    2       A.    YES.

12:19PM    3       Q.    AND THE REASON -- YOU HAVE AN INDEPENDENT RECOLLECTION OF

12:19PM    4       IT?   IT'S NOT BECAUSE YOU WERE SHOWN DOCUMENTS BY THE

12:19PM    5       GOVERNMENT; RIGHT?

12:19PM    6       A.    YES.   YES.

12:19PM    7       Q.    AND THROUGHOUT THE QUESTIONING BY THE GOVERNMENT ON YOUR

12:19PM    8       DIRECT TESTIMONY, THERE WERE FREQUENT DISCUSSIONS AND QUESTIONS

12:20PM    9       THAT TALKED ABOUT THAT COMMERCIAL LAUNCH IN SEPTEMBER OF 2013.

12:20PM   10             DO YOU RECALL THAT?

12:20PM   11       A.    YES.

12:20PM   12       Q.    YOU WERE ASKED A QUESTION ABOUT EVENTS PRIOR TO THE

12:20PM   13       COMMERCIAL LAUNCH IN SEPTEMBER OF 2013?

12:20PM   14       A.    YES.

12:20PM   15       Q.    AND LEADING UP TO THAT COMMERCIAL LAUNCH, THE BROADER

12:20PM   16       COMMERCIAL LAUNCH IN SEPTEMBER OF 2013; RIGHT?

12:20PM   17       A.    YES.   SO SEPTEMBER 9TH, 2013, TESTING WAS OPENED UP TO

12:20PM   18       FRIENDS AND FAMILY, BUT NOT TO THE GENERAL PUBLIC IF THAT'S

12:20PM   19       WHAT YOU MEAN BY "BROADER."

12:20PM   20       Q.    IF WE CAN -- IF I CAN DRAW YOUR ATTENTION TO PAGE 1721 OF

12:21PM   21       THE TRIAL TRANSCRIPT, WHICH IS EXHIBIT 11439.

12:21PM   22       A.    YES, I HAVE IT.

12:21PM   23       Q.    AND DO YOU SEE A -- ACTUALLY, LET ME START AT 1711.           OKAY?

12:21PM   24             YOU WERE ASKED --

12:21PM   25       A.    EXHIBIT 11711?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 119
                                                                               120 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2007


12:21PM    1       Q.    11711.

12:21PM    2       A.    I'M SORRY.    I'M FINDING IT VERY DIFFICULT SWITCHING

12:22PM    3       BINDERS.

12:22PM    4       Q.    I'M SORRY.    I'M BEING -- PAGE -- LET ME STRIKE IT AND

12:22PM    5       START OVER FOR EVERYONE'S CLARITY.

12:22PM    6             EXHIBIT 11439, PAGE 1711.

12:22PM    7       A.    OKAY.

12:22PM    8       Q.    YOU WERE ASKED, "DID THERE COME A TIME WHEN THERANOS BEGAN

12:22PM    9       OFFERING THESE BLOOD TESTING SERVICES?"

12:22PM   10             AND YOU SAID, "RIGHT."

12:22PM   11             RIGHT?

12:22PM   12       A.    YES.

12:22PM   13       Q.    AND YOU WERE ASKED, DO YOU RECALL WHEN THAT WAS.

12:22PM   14             AND IT WAS EARLY IN SEPTEMBER OF 2013.         IT WAS I THINK THE

12:22PM   15       9TH OF SEPTEMBER; RIGHT?

12:22PM   16       A.    YES.

12:22PM   17       Q.    OKAY.    LET'S GO TO PAGE 1721, LINE 10.

12:23PM   18             YOU WERE ASKED THE QUESTION, "PRIOR TO THE COMMERCIAL

12:23PM   19       LAUNCH IN SEPTEMBER OF 2013, WAS THERANOS CONDUCTING ANY

12:23PM   20       PATIENT TESTING?"

12:23PM   21             DO YOU SEE THAT?

12:23PM   22       A.    YES.

12:23PM   23       Q.    AND THEN ON LINE 22, "AND LEADING UP TO THAT COMMERCIAL

12:23PM   24       LAUNCH, THE BROADER COMMERCIAL LAUNCH IN SEPTEMBER OF 2013,

12:23PM   25       WHAT WAS THE OVERALL MOOD AT THE COMPANY?"



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 120
                                                                               121 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2008


12:23PM    1             RIGHT?

12:23PM    2       A.    YES.

12:23PM    3       Q.    AND YOU WERE ASKED SOME QUESTIONS ABOUT EXHIBITS THAT

12:23PM    4       RELATED TO THAT TIME PERIOD WHEN YOU WERE GETTING READY TO

12:23PM    5       LAUNCH; RIGHT?

12:23PM    6       A.    YES.

12:23PM    7       Q.    AND YOU WERE ASKED ABOUT AN EMAIL THAT RELATED TO WHETHER

12:23PM    8       THERE WERE ANY GENERAL CHEMISTRY ASSAYS THAT WERE VALIDATED.

12:23PM    9             DO YOU RECALL THAT?

12:23PM   10       A.    YES.

12:23PM   11       Q.    AND YOU WERE ASKED GENERALLY ABOUT WHETHER THAT WAS

12:24PM   12       CONCERNING TO YOU THAT NONE OF THEM HAD BEEN VALIDATED AS OF

12:24PM   13       AUGUST 31ST, 2013; RIGHT?

12:24PM   14       A.    COULD YOU POINT ME TO THAT PART OF MY TESTIMONY?

12:24PM   15       Q.    SURE.    NO, LET'S PUT UP 3231.     IT'S IN EVIDENCE.     IT MIGHT

12:24PM   16       COME UP ON YOUR SCREEN.      THAT MIGHT BE EASIER.

12:24PM   17             LET'S BLOW UP THE EMAIL IN THE MIDDLE OF THE PAGE.

12:24PM   18       A.    I SEE.   THIS IS AN EMAIL FROM ROSE EDMONDS WHERE I WAS

12:24PM   19       CC'D.

12:24PM   20       Q.    DO YOU SEE THAT?

12:24PM   21       A.    YES.

12:24PM   22       Q.    AND THIS IS AUGUST 31ST, 2013; RIGHT?

12:24PM   23       A.    YES, YES.

12:24PM   24       Q.    AND THE BEGINNING OF THE EMAIL RIGHT THERE SAYS, "AS OF

12:25PM   25       RIGHT NOW NONE OF OUR ASSAYS ARE COMPLETELY THROUGH VALIDATION



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 121
                                                                               122 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2009


12:25PM    1       INCLUDING CLINICAL SAMPLE TESTING WITH FINGERSTICK."

12:25PM    2             RIGHT?   DO YOU SEE THAT?

12:25PM    3       A.    YES.

12:25PM    4       Q.    OKAY.    AND YOU WERE ASKED ABOUT THIS DOCUMENT ON DIRECT

12:25PM    5       EXAMINATION; RIGHT?

12:25PM    6       A.    YES.

12:25PM    7       Q.    AND YOU TESTIFIED THAT THIS WAS SIGNIFICANT BECAUSE IT WAS

12:25PM    8       NINE DAYS BEFORE THE LAUNCH AND NONE OF THE TESTS THAT THE

12:25PM    9       COMPANY WAS INTENDING TO LAUNCH HAD BEEN VALIDATED FOR PATIENT

12:25PM   10       CARE.

12:25PM   11             DO YOU RECALL THAT?

12:25PM   12       A.    YES, I BELIEVE I SAID THAT.       YES.

12:25PM   13       Q.    OKAY.

12:25PM   14       A.    I JUST WANT TO ADD THAT NO TESTS WERE IMPLEMENTED BEFORE I

12:26PM   15       REVIEWED AND SIGNED OFF ON THE VALIDATION DOCUMENTS.

12:26PM   16       Q.    RIGHT.   BUT I BELIEVE YOU SAID ON DIRECT EXAMINATION, YOU

12:26PM   17       SAID YOU WERE CONCERNED BECAUSE YOU WERE ABOUT A WEEK FROM THE

12:26PM   18       LAUNCH AND NONE OF THE GENERAL CHEMISTRY ASSAYS HAD BEEN

12:26PM   19       VALIDATED; RIGHT?

12:26PM   20       A.    YES.

12:26PM   21       Q.    AND YOU WERE ASKED, "IS THIS SITUATION CONCERNING TO YOU

12:26PM   22       AT THIS TIME?"

12:26PM   23             AND YOU SAID, "YES."

12:26PM   24             RIGHT?

12:26PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 122
                                                                               123 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2010


12:26PM    1       Q.    AND YOU WERE ASKED "WHY?"

12:26PM    2             AND YOU SAID, "THIS VALIDATION WAS BEING RUSHED."

12:26PM    3             RIGHT?

12:26PM    4       A.    CORRECT.

12:26PM    5       Q.    AND THERE WAS BEING PRESSURE TO LAUNCH, AT THE START OF

12:26PM    6       THAT COMMERCIAL LAUNCH ON SEPTEMBER 9TH; RIGHT?

12:26PM    7       A.    YES.

12:26PM    8       Q.    AND DO YOU RECALL YOU WERE ASKED ABOUT ANOTHER DOCUMENT

12:27PM    9       DATED SEPTEMBER 29TH RELATING TO GLUCOSE AND SODIUM AND THE

12:27PM   10       FACT THAT THEY WERE STILL WORKING OUT ISSUES WITH RESPECT TO

12:27PM   11       THOSE TWO ASSAYS?

12:27PM   12             DO YOU RECALL THAT?

12:27PM   13       A.    YES.

12:27PM   14       Q.    AND YOU WERE ASKED WHETHER THAT WAS CONCERNING TO YOU.

12:27PM   15             DO YOU RECALL THAT?

12:27PM   16       A.    YES.   YES.

12:27PM   17       Q.    AND YOU SAID SOMETHING LIKE IT WAS CONCERNING BECAUSE IT

12:27PM   18       WAS JUST DAYS BEFORE THE LAUNCH; RIGHT?

12:27PM   19       A.    YES.

12:27PM   20       Q.    AND YOU WERE ASKED ABOUT MS. HOLMES'S TESTIMONY, OR YOUR

12:27PM   21       MEETING WITH MS. HOLMES.

12:27PM   22             DO YOU RECALL THAT?

12:27PM   23       A.    YES.

12:27PM   24       Q.    AND YOU DESCRIBED WITH SOME DRAMA THE EVENTS, HOW SHE

12:27PM   25       PHYSICALLY RESPONDED TO YOUR COMMENTS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 123
                                                                               124 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2011


12:27PM    1             DO YOU RECALL THAT?

12:27PM    2       A.    NO DRAMA.    I WAS JUST MAKING OBSERVATIONS.       I WAS

12:27PM    3       REPORTING WHAT I OBSERVED.

12:27PM    4       Q.    YOU SAID SOMETHING LIKE SHE WAS TREMBLING, SHAKING, SHE

12:28PM    5       WASN'T HER USUAL SELF; RIGHT?

12:28PM    6       A.    RIGHT.

12:28PM    7       Q.    AND BECAUSE YOU HAD EXPRESSED THIS CONCERN ABOUT THE

12:28PM    8       SODIUM ASSAY; RIGHT?

12:28PM    9       A.    AND POTASSIUM AND GLUCOSE.

12:28PM   10       Q.    OKAY.    AND WE'LL COME BACK TO THAT.      OKAY?

12:28PM   11       A.    YES.

12:28PM   12       Q.    BUT DO YOU RECALL YOU WERE ASKED ABOUT THAT ASSAY?

12:28PM   13       A.    YES.

12:28PM   14       Q.    IN CONNECTION WITH THIS LAUNCH?

12:28PM   15       A.    YES.

12:28PM   16       Q.    AND AGAIN AND AGAIN YOU WERE ASKED ABOUT THE EVENTS

12:28PM   17       LEADING UP TO THIS SEPTEMBER 9TH LAUNCH AND THE CONCERNS THAT

12:28PM   18       YOU HAD BECAUSE PEOPLE WERE EXPRESSING CONCERNS IN ADVANCE OF

12:28PM   19       THAT LAUNCH; RIGHT?

12:28PM   20       A.    YES.

12:28PM   21       Q.    SIR, YOU PREVIOUSLY TESTIFIED THAT THAT WAS A SOFT LAUNCH

12:28PM   22       THAT WAS OPEN TO A LIMITED NUMBER OF FRIENDS AND FAMILIES;

12:28PM   23       RIGHT?

12:28PM   24       A.    CORRECT.

12:28PM   25       Q.    AND YOU DIDN'T MAKE THAT CLEAR IN YOUR DIRECT TESTIMONY,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 124
                                                                               125 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2012


12:29PM    1       DID YOU, SIR?

12:29PM    2       A.    I WAS NEVER ASKED ABOUT THE SPECIFIC PATIENTS THAT WERE

12:29PM    3       BEING TESTED DURING MY DIRECT.

12:29PM    4             I HAVE COMMUNICATED THAT TO THE GOVERNMENT ON OTHER

12:29PM    5       OCCASIONS.

12:29PM    6       Q.    YOU HAVE COMMUNICATED THE CONCEPT OF SOFT LAUNCH --

12:29PM    7       A.    CORRECT.

12:29PM    8       Q.    -- ON MANY OCCASIONS; RIGHT?

12:29PM    9       A.    AT LEAST ONE OCCASION.

12:29PM   10       Q.    RIGHT.   YOU TESTIFIED IN THE GRAND JURY WITH RESPECT TO

12:29PM   11       THE SOFT LAUNCH; RIGHT?

12:29PM   12       A.    THAT WAS A LONG TIME AGO.      I DON'T RECALL.

12:29PM   13       Q.    OKAY.    WELL, LET'S LOOK AT THAT TESTIMONY.

12:29PM   14             YOUR GRAND JURY TESTIMONY IS 11002.

12:30PM   15       A.    OKAY.

12:30PM   16       Q.    AND DO YOU HAVE THAT IN FRONT OF YOU?

12:30PM   17       A.    YES.

12:30PM   18       Q.    LET ME DRAW YOUR -- THAT'S EXHIBIT 11002.         IF I COULD DRAW

12:31PM   19       YOUR ATTENTION TO PAGE 82.       IF YOU CAN LET ME KNOW WHEN YOU ARE

12:31PM   20       THERE.

12:31PM   21       A.    OKAY.

12:31PM   22       Q.    OKAY.    AND IF YOU COULD JUST READ TO YOURSELF LINE 16 ON

12:31PM   23       PAGE 82 TO LINE 21 ON PAGE 83.

12:31PM   24       A.    YES.

12:31PM   25             (PAUSE IN PROCEEDINGS.)



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 125
                                                                               126 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2013


12:31PM    1                     THE WITNESS:    YES.

12:31PM    2       BY MR. WADE:

12:31PM    3       Q.    YOU'VE READ ALL OF THAT TESTIMONY ALREADY?

12:31PM    4       A.    YES, YES, 19 THROUGH 21.

12:31PM    5       Q.    NO, I'M SORRY.     I WANT YOU TO READ FROM LINE 16 ON PAGE 82

12:31PM    6       TO LINE 21 ON PAGE 83, THE NEXT PAGE.

12:32PM    7       A.    OH, I SEE.     I SEE.

12:32PM    8             (PAUSE IN PROCEEDINGS.)

12:32PM    9                     THE WITNESS:    YES.

12:32PM   10       BY MR. WADE:

12:32PM   11       Q.    OKAY.    AND IF I COULD ALSO HAVE YOU READ ON PAGE 76,

12:32PM   12       LINE 10 THROUGH LINE 23.

12:33PM   13       A.    LINE 23 ON THE SAME PAGE?

12:33PM   14       Q.    YES.

12:33PM   15       A.    OKAY.

12:33PM   16       Q.    AND DOES THAT REFRESH YOUR RECOLLECTION THAT YOU DISCUSSED

12:33PM   17       THE SOFT LAUNCH IN YOUR GRAND JURY TESTIMONY?

12:33PM   18       A.    YES.

12:33PM   19       Q.    AND IN THE PRESENCE OF THE GOVERNMENT LAWYERS --

12:33PM   20       A.    YES.

12:33PM   21       Q.    -- IN THIS CASE; RIGHT?

12:33PM   22       A.    YES.    CAN I JUST ASK YOU --

12:33PM   23       Q.    I'M ASKING THE QUESTIONS HERE, SIR, AND YOU'RE GIVING THE

12:33PM   24       ANSWERS.     OKAY?

12:33PM   25             DO YOU RECALL THAT TESTIMONY?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 126
                                                                               127 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2014


12:33PM    1       A.    YES.

12:33PM    2       Q.    AND YOU TESTIFIED THAT THAT WAS A LIMITED FRIENDS AND

12:33PM    3       FAMILY LAUNCH; RIGHT?

12:34PM    4       A.    CORRECT.    THAT DIDN'T ALLAY ANY OF MY CONCERNS THOUGH.           IF

12:34PM    5       YOU'RE TESTING ONE PATIENT OR A THOUSAND, IT DOESN'T MAKE A

12:34PM    6       DIFFERENCE.

12:34PM    7                    MR. WADE:    YOUR HONOR, MOVE TO STRIKE THE LAST

12:34PM    8       PORTION.

12:34PM    9                    THE COURT:    THE LAST PORTION IS STRICKEN.

12:34PM   10             HE'LL ASK YOU QUESTIONS AND JUST ANSWER HIS QUESTIONS AS

12:34PM   11       BEST YOU CAN, PLEASE.

12:34PM   12                    THE WITNESS:    SURE.

12:34PM   13       BY MR. WADE:

12:34PM   14       Q.    AND DOES THAT REFRESH YOUR RECOLLECTION, SIR, THAT YOU

12:34PM   15       TOLD THEM THAT THAT WASN'T OPEN TO THE GENERAL PUBLIC; RIGHT?

12:34PM   16       A.    CORRECT.    CORRECT.

12:34PM   17       Q.    THAT SOFT LAUNCH?

12:34PM   18       A.    CORRECT.

12:34PM   19       Q.    AND IS IT YOUR TESTIMONY THAT THE NATURE OF THAT SOFT

12:34PM   20       LAUNCH WAS CLEAR IN YOUR PRIOR TESTIMONY?         DO YOU BELIEVE THAT

12:34PM   21       WAS CLEAR?

12:34PM   22       A.    I WASN'T SPECIFICALLY ASKED ABOUT THE SOFT LAUNCH IN MY

12:34PM   23       PREVIOUS TESTIMONY.

12:34PM   24       Q.    YOU WERE ASKED ABOUT THE COMMERCIAL LAUNCH; RIGHT?

12:34PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 127
                                                                               128 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2015


12:34PM    1       Q.    AND YOU SAID IT WAS THIS DATE; RIGHT?

12:34PM    2       A.    YES.

12:34PM    3       Q.    BUT THE TESTING WAS NOT OPEN TO THE GENERAL PUBLIC UNTIL

12:34PM    4       MONTHS LATER; RIGHT?

12:34PM    5       A.    I DO NOT RECALL THE DATES AFTER SEPTEMBER 9TH WHEN THE

12:35PM    6       TESTING WAS OPENED UP TO THE GENERAL PUBLIC.

12:35PM    7       Q.    LET ME DRAW YOUR ATTENTION TO DX 12464.

12:35PM    8                    MR. BOSTIC:    IF COUNSEL COULD IDENTIFY WHICH BINDER

12:35PM    9       THIS EXHIBIT IS IN, THAT WOULD HELP THE WITNESS.

12:35PM   10                    THE COURT:    THAT WOULD HELP.

12:35PM   11                    MR. WADE:    IF COUNSEL KNEW FOR SURE, COUNSEL WOULD.

12:35PM   12             (LAUGHTER.)

12:35PM   13                    THE COURT:    ONE OF THE BLACK BINDERS.

12:35PM   14       BY MR. WADE:

12:35PM   15       Q.    IT'S A DOCUMENT AND IT'S ONE OF THE TWO EXHIBIT BINDERS.

12:35PM   16             FOR REFERENCE, THE YELLOW BINDERS RELATE TO YOUR

12:35PM   17       TESTIMONY.

12:35PM   18       A.    UH-HUH.

12:35PM   19       Q.    AND THE BLACK BINDERS THAT ARE BEFORE YOU SHOULD HAVE

12:36PM   20       DOCUMENTS IN THEM.

12:36PM   21             THIS IS AN EMAIL THAT I'D LIKE TO DRAW YOUR ATTENTION TO

12:36PM   22       WHICH IS 12464?

12:36PM   23       A.    IN THE BLACK BINDER OR THE YELLOW BINDER?

12:36PM   24       Q.    THE BLACK BINDER.     I BELIEVE IT'S IN VOLUME 2.

12:36PM   25       A.    I ONLY HAVE ONE VOLUME OF A BLACK BINDER UP HERE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 128
                                                                               129 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2016


12:36PM    1                      MR. WADE:    MAY I APPROACH?

12:36PM    2                      THE COURT:    YES.

12:36PM    3                      MR. WADE:    (HANDING.)

12:36PM    4                      THE WITNESS:    THANK YOU.   12462, SIR?

12:37PM    5       BY MR. WADE:

12:37PM    6       Q.     12464, PLEASE.

12:37PM    7       A.     ALL RIGHT.    UH-HUH.

12:37PM    8       Q.     DO YOU RECOGNIZE THIS AS AN EMAIL BETWEEN YOU AND

12:37PM    9       MR. BALWANI RELATING TO THE PUBLIC LAUNCH OF THERANOS ON

12:37PM   10       NOVEMBER -- IN NOVEMBER OF 2013?

12:37PM   11       A.     YES.

12:37PM   12       Q.     OKAY.

12:37PM   13              MOVE THE ADMISSION OF THIS EXHIBIT.

12:37PM   14                      MR. BOSTIC:    NO OBJECTION.

12:37PM   15                      THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

12:37PM   16              (DEFENDANT'S EXHIBIT 12464 WAS RECEIVED IN EVIDENCE.)

12:37PM   17                      MR. WADE:    LET'S GO TO THE BOTTOM AND BLOW THAT UP.

12:37PM   18       Q.     DO YOU SEE HERE THIS IS AN EMAIL FROM SUNNY BALWANI TO

12:37PM   19       YOU?

12:37PM   20       A.     YES.

12:37PM   21       Q.     AND THAT'S -- AND THE SUBJECT IS 300 U AVE?

12:37PM   22       A.     YES.

12:37PM   23       Q.     AND 300 U AVE IS THE TESTING LOCATION IN PALO ALTO?

12:37PM   24       A.     CORRECT.    IT'S THE WALGREENS IN PALO ALTO.

12:38PM   25       Q.     AND THAT FIRST SENTENCE SAYS, "WE WOULD LIKE TO OPEN OUR



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 129
                                                                               130 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2017


12:38PM    1       300 UNIVERSITY AVE. STORE TO PUBLIC THIS COMING MONDAY."

12:38PM    2             RIGHT?

12:38PM    3       A.    RIGHT.

12:38PM    4       Q.    BECAUSE IT HADN'T PREVIOUSLY BEEN OPEN TO THE PUBLIC;

12:38PM    5       RIGHT?

12:38PM    6       A.    CORRECT.

12:38PM    7       Q.    AND IT HAD PREVIOUSLY BEEN OPENED TO FRIENDS AND FAMILY OF

12:38PM    8       PEOPLE OF THERANOS; IS THAT RIGHT?

12:38PM    9       A.    THAT'S RIGHT.

12:38PM   10       Q.    AND IT HAD PREVIOUSLY -- YOU HAD TO HAVE A CERTIFICATE, A

12:38PM   11       SPECIAL CERTIFICATE IN ORDER TO GO THERE AND GET A TEST?

12:38PM   12       A.    CORRECT.

12:38PM   13       Q.    AND IT WAS A VERY LOW VOLUME OF PEOPLE WHO WERE GETTING

12:38PM   14       THOSE TESTS.

12:38PM   15             DO YOU RECALL THAT?

12:38PM   16       A.    I DO NOT RECALL THE TESTING VOLUME AT THAT TIME.

12:38PM   17       Q.    DO YOU RECALL IT WAS AN AVERAGE OF ABOUT THREE PATIENTS A

12:38PM   18       DAY IN ADVANCE OF THE COMMERCIAL LAUNCH?

12:38PM   19       A.    I DO NOT.

12:38PM   20       Q.    DO YOU RECALL BEING OVERWHELMED BY THE VOLUME?

12:38PM   21       A.    NO.

12:39PM   22       Q.    AND IN THE SECOND SENTENCE IT SAYS, "WE FEEL CONFIDENT

12:39PM   23       THAT WE CAN HANDLE ABOUT 30 SAMPLES/DAY FROM THIS LOCATION AT

12:39PM   24       THIS POINT."

12:39PM   25             IS THAT CORRECT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 130
                                                                               131 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2018


12:39PM    1       A.    YES.

12:39PM    2       Q.    AND WOULD THAT SUGGEST THAT YOU WERE DOING MORE THAN 30

12:39PM    3       SAMPLES PREVIOUSLY?

12:39PM    4       A.    AS I TESTIFIED JUST NOW, I DO NOT RECALL THE VOLUME THAT

12:39PM    5       WAS BEING RUN PREVIOUSLY.

12:39PM    6       Q.    AND IT SAYS THERE, "AND IT HAS BEEN 2 MONTHS SINCE WE HAVE

12:39PM    7       BEEN OUT IN WALGREENS."

12:39PM    8             RIGHT?

12:39PM    9       A.    YES.

12:39PM   10       Q.    AND IT SAYS, "IT'S TIME TO GO LIVE."

12:39PM   11             RIGHT?

12:39PM   12       A.    YES.

12:39PM   13       Q.    BECAUSE ALL OF THE TESTING THAT HAD OCCURRED BEFORE THEN

12:39PM   14       WAS NOT OPEN TO THE GENERAL PUBLIC?

12:39PM   15       A.    CORRECT.

12:40PM   16       Q.    AND DO YOU RECALL WHEN YOU TESTIFIED TO THE GOVERNMENT, TO

12:40PM   17       THE GRAND JURY, YOU MADE THIS POINT TO THEM; RIGHT?

12:40PM   18       A.    YES.

12:40PM   19       Q.    AND YOU WERE ACTUALLY ASKED SPECIFIC QUESTIONS ABOUT THIS

12:40PM   20       ISSUE; RIGHT?

12:40PM   21       A.    YES.

12:40PM   22       Q.    AND IN THAT TESTIMONY, THE GOVERNMENT TRIED TO SUGGEST

12:40PM   23       THAT, WELL, AT THIS TIME THE LAUNCH WAS IMMINENT; RIGHT?

12:40PM   24             DO YOU RECALL THAT?

12:40PM   25       A.    I THINK I JUST READ THEY WERE ABOUT TO GO LIVE AND I SAW



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 131
                                                                               132 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2019


12:40PM    1       SOMETHING WHEN I WAS REVIEWING THE GRAND JURY TESTIMONY TO THAT

12:40PM    2       EFFECT, YES.

12:40PM    3       Q.    DO YOU RECALL YOU INITIALLY WERE ASKED SOME QUESTIONS WITH

12:40PM    4       RESPECT TO THE LAUNCH; RIGHT?

12:40PM    5       A.    YES.

12:40PM    6       Q.    AND THEN YOU CAME BACK LATER AFTER THE GRAND JURORS HAD

12:40PM    7       ASKED SOME QUESTIONS AND MR. SCHENK ASKED YOU A COUPLE OF

12:41PM    8       CLARIFYING QUESTIONS ABOUT THAT.

12:41PM    9             DO YOU RECALL THAT?

12:41PM   10       A.    I RECALL AT THE END OF THE GRAND JURY PROCEEDINGS

12:41PM   11       MR. SCHENK ASKED ME SOME QUESTIONS AND ONE OF THE JURORS IN THE

12:41PM   12       GRAND JURY ASKED ME SOME QUESTIONS.

12:41PM   13       Q.    ABOUT THAT SOFT LAUNCH?

12:41PM   14       A.    I DON'T RECALL WHAT THE TOPIC WAS.

12:41PM   15       Q.    LET'S -- LET'S LOOK AT THOSE PAGES AGAIN.         THAT'S

12:41PM   16       EXHIBIT 11002, PAGE 82.

12:41PM   17       A.    I DO NOT HAVE THAT EXHIBIT IN MY BINDER.

12:41PM   18       Q.    IT'S IN A YELLOW BINDER.      SORRY.

12:42PM   19       A.    110?

12:42PM   20       Q.    11002.    IT WAS THE GRAND JURY TESTIMONY WE PREVIOUSLY

12:42PM   21       DISCUSSED.

12:42PM   22       A.    OKAY.    I HAVE IT.    I HAVE IT.

12:42PM   23       Q.    IF YOU COULD RE-READ THE TESTIMONY FROM LINE 16 ON PAGE 82

12:42PM   24       TO LINE 21 ON PAGE 83.

12:42PM   25                     THE COURT:    TO HIMSELF?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 132
                                                                               133 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                           2020


12:42PM    1                     MR. WADE:   TO HIMSELF.

12:42PM    2             (PAUSE IN PROCEEDINGS.)

12:42PM    3                     THE WITNESS:   OKAY.

12:43PM    4       BY MR. WADE:

12:43PM    5       Q.    AND DOES THIS REFRESH YOUR RECOLLECTION THAT IN THE GRAND

12:43PM    6       JURY YOU TESTIFIED ABOUT HOW THIS WAS A RESTRICTED LAUNCH THAT

12:43PM    7       WAS ONLY OPEN TO FAMILY OR EMPLOYEES OR FRIENDS OF EMPLOYEES?

12:43PM    8       A.    I DON'T HAVE AN INDEPENDENT RECOLLECTION OF THIS.          I'M

12:43PM    9       READING IT NOW, SO I --

12:43PM   10       Q.    DOES IT REFRESH YOUR RECOLLECTION?

12:43PM   11       A.    I'M UNDERSTANDING THE CONTENT OF THESE PAGES TODAY.           I DO

12:43PM   12       NOT HAVE AN INDEPENDENT RECOLLECTION OF IT.

12:43PM   13       Q.    OKAY.    AND DOES READING THESE PAGES REFRESH YOUR

12:43PM   14       RECOLLECTION ABOUT BEING ASKED WHETHER IT WAS SOON TO BE THAT

12:43PM   15       ANYONE COULD WALK INTO THE WALGREENS IN THE 40 OR SO LOCATIONS?

12:43PM   16       A.    YES.

12:43PM   17       Q.    AND YOU SAID YES?

12:43PM   18       A.    WELL, I'M READING THAT AND UNDERSTANDING THAT.

12:44PM   19             AS I SAID, I DON'T HAVE AN INDEPENDENT RECOLLECTION IN MY

12:44PM   20       MIND ABOUT THIS CONVERSATION.

12:44PM   21       Q.    ON SEPTEMBER 9TH OF 2013?

12:44PM   22       A.    YES.

12:44PM   23       Q.    IT WAS STILL MONTHS BEFORE THE GENERAL PUBLIC COULD WALK

12:44PM   24       INTO THAT WALGREENS; RIGHT?

12:44PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 133
                                                                               134 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2021


12:44PM    1       Q.    AND SO THESE DOCUMENTS FROM LATE AUGUST TO -- LET ME

12:44PM    2       STRIKE THAT.

12:44PM    3             DO YOU KNOW HOW MANY TESTS WERE OFFERED IN THE FRIENDS AND

12:44PM    4       FAMILY LAUNCH?

12:44PM    5       A.    IT WAS APPROXIMATELY 30 GENERAL CHEMISTRY TESTS AND ABOUT

12:44PM    6       FOUR OR FIVE EDISON TESTS.       THAT'S THE VERY ROUGH FIGURE.

12:44PM    7       THOSE ARE VERY ROUGH FIGURES.

12:44PM    8       Q.    OKAY.    IN THE SOFT LAUNCH --

12:45PM    9       A.    YES.

12:45PM   10       Q.    -- I JUST WANT TO MAKE SURE I UNDERSTAND YOUR TESTIMONY.

12:45PM   11             THE NUMBERS YOU JUST GAVE REFER TO THE SOFT LAUNCH IN

12:45PM   12       SEPTEMBER OF 2013?

12:45PM   13       A.    YES, THAT'S CORRECT.

12:45PM   14       Q.    OKAY.

12:45PM   15             THE COURT'S INDULGENCE FOR ONE SEC?

12:45PM   16                     THE COURT:   OF COURSE.

12:45PM   17       BY MR. WADE:

12:46PM   18       Q.    IN YOUR BLACK BINDER, I THINK IT SHOULD BE VOLUME 2, DO

12:46PM   19       YOU HAVE EXHIBIT 13880?

12:47PM   20       A.    I HAVE IT.    I HAVE IT.

12:47PM   21       Q.    PLEASE TAKE A MOMENT TO READ THAT TO YOURSELF.

12:47PM   22             AND DOES THIS DOCUMENT REFRESH YOUR RECOLLECTION AS TO AN

12:47PM   23       APPROXIMATE DATE OF THE FRIENDS AND FAMILY LAUNCH BEING IN

12:47PM   24       SEPTEMBER OF 2013?

12:47PM   25       A.    AS I TESTIFIED, I REMEMBER THAT INDEPENDENTLY, YEAH.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 134
                                                                               135 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2022


12:47PM    1       Q.    OKAY.   AND ISN'T IT THE CASE, SIR, THAT THERE WERE NO

12:47PM    2       EDISON TESTS OFFERED UNTIL MUCH LATER IN TIME?

12:47PM    3       A.    I BELIEVE THAT EDISON TESTS WERE OFFERED AT THAT TIME.

12:47PM    4       Q.    SIR, ISN'T IT TRUE THAT THROUGHOUT THE MONTH OF SEPTEMBER,

12:47PM    5       THE ONLY TESTS THAT WERE OFFERED THERE WERE CBC AND HBA1C;

12:48PM    6       ISN'T THAT RIGHT?

12:48PM    7       A.    NO.    AFTER SEPTEMBER 9TH, THERE WERE GENERAL CHEMISTRY

12:48PM    8       TESTS THAT WERE OFFERED USING THE SIEMENS INSTRUMENTS THAT WERE

12:48PM    9       MODIFIED TO PERFORM THE LABORATORY DEVELOPED TESTS.

12:48PM   10       Q.    I UNDERSTAND THAT AFTER THERE WERE.        I'M ASKING WHEN.

12:48PM   11       A.    OH.    AT THE TIME OF LAUNCH IT WAS NOT JUST CBC AND HBA1C.

12:48PM   12       IT WAS GENERAL CHEMISTRY ASSAYS, TOO, AND I BELIEVE THERE WERE

12:48PM   13       SOME EDISON TESTS OFFERED AS WELL.

12:48PM   14       Q.    WHICH ASSAYS SPECIFICALLY, SIR, WERE OFFERED?

12:48PM   15       A.    I DO NOT RECALL.

12:48PM   16             IN TERMS OF GENERAL CHEMISTRY, IT WAS SOMETHING LIKE A

12:48PM   17       BASIC METABOLIC PANEL.

12:48PM   18       Q.    SIR, IF YOU COULD PLEASE GO TO EXHIBIT 7338.

12:49PM   19       A.    YES.

12:49PM   20       Q.    I'LL ASK YOU TO TAKE A MINUTE AND READ THIS -- READ THE

12:49PM   21       EMAIL FIRST.     TELL ME WHEN YOU'RE DONE READING THE EMAIL.

12:49PM   22       A.    OKAY.

12:49PM   23       Q.    AND DO YOU SEE THERE'S AN ATTACHMENT TO THE EMAIL, SIR,

12:50PM   24       WHICH IS A SPREADSHEET?

12:50PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 135
                                                                               136 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                           2023


12:50PM    1       Q.    ARE YOU ABLE TO REVIEW THAT?       I THINK IT'S READABLE AND IN

12:50PM    2       NON-NATIVE FORM.     WHY DON'T YOU TAKE A MINUTE AND REVIEW THAT?

12:50PM    3       A.    YES.   WHAT IS THE ATTACHMENT INTENDED TO SHOW OR --

12:50PM    4       Q.    I -- I -- I'M JUST ASKING YOU TO READ IT TO YOURSELF.

12:50PM    5       A.    UH-HUH.

12:50PM    6       Q.    AND TELL ME WHEN YOU'RE DONE.

12:50PM    7                    MR. WADE:    YOUR HONOR, THIS IS A DOCUMENT THAT I

12:51PM    8       BELIEVE WE HAVE STIPULATED IS AUTHENTIC.         THE WITNESS IS NOT ON

12:51PM    9       IT.   BUT IT MIGHT BE EASIER TO ADMIT IT AS A BUSINESS RECORD

12:51PM   10       NOW AND HAVE THE WITNESS EXPLAIN.

12:51PM   11                    THE COURT:    THIS IS THE DOCUMENT AT THE END OF THE

12:51PM   12       NATIVE FORMAT?

12:51PM   13                    MR. WADE:    THE 7338, AND THEN WE CAN PULL THE NATIVE

12:51PM   14       FORMAT UP.

12:51PM   15                    MR. BOSTIC:    I WOULD OBJECT AS TO FOUNDATION.       I

12:51PM   16       DON'T BELIEVE A FOUNDATION HAS BEEN LAID FOR A BUSINESS RECORD.

12:51PM   17                    THE COURT:    FOR THE EMAILS?

12:51PM   18                    MR. BOSTIC:    FOR THE EMAILS, AND SPECIFICALLY THE

12:51PM   19       ATTACHMENT.

12:51PM   20                    MR. WADE:    I WOULD ASK UNDER, I THINK IT'S 104, IF

12:51PM   21       IT CAN BE CONDITIONALLY ADMITTED.        I WOULD REPRESENT TO THE

12:51PM   22       COURT THAT WE CAN LAY THE FOUNDATION FOR THIS DOCUMENT.

12:51PM   23                    THE COURT:    I'LL DO THAT.    WE'LL ADMIT IT NOW FOR

12:51PM   24       EASE OF THE PROCEEDINGS.

12:51PM   25                    MR. WADE:    MAY I PUBLISH IT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 136
                                                                               137 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2024


12:51PM    1                     THE COURT:   IT CAN BE PUBLISHED.

12:51PM    2             (DEFENDANT'S EXHIBIT 7338 WAS RECEIVED IN EVIDENCE.)

12:52PM    3       BY MR. WADE:

12:52PM    4       Q.    LET'S START WITH THE EMAIL.       DO YOU SEE AT THE TOP OF THE

12:52PM    5       EMAIL, SIR, THIS EMAIL SAYS -- ACTUALLY, LET ME GO ONE EMAIL

12:52PM    6       BELOW.    TWO EMAILS BELOW.     JUST PULL UP THE FIRST TOP OF THE

12:52PM    7       DOCUMENT.

12:52PM    8             DO YOU SEE THE DOCUMENT FROM NICK MENCHEL?

12:52PM    9       A.    YES.

12:52PM   10       Q.    AND DO YOU KNOW, WHO WAS NICK MENCHEL?

12:52PM   11       A.    HE WAS ONE OF THE DECOYS.

12:52PM   12       Q.    AND SO YOU KNOW WHO HE IS?

12:52PM   13       A.    YES, I INTERACTED WITH HIM AT THERANOS.

12:52PM   14       Q.    OKAY.    HE WAS AN EMPLOYEE AT THERANOS?

12:52PM   15       A.    YES.

12:52PM   16       Q.    AND DO YOU KNOW WHAT POSITION OR WHO HE WORKED FOR?

12:52PM   17       A.    HE HAD A NUMBER OF DIFFERENT ROLES COORDINATING WITH THE

12:52PM   18       COLLECTION SITES.     I DO NOT RECALL HIS EXACT JOB DESCRIPTION.

12:52PM   19       Q.    AND DO YOU RECALL HIM BEING INVOLVED IN THE WALGREENS SOFT

12:52PM   20       LAUNCH?

12:52PM   21       A.    NO.

12:52PM   22       Q.    OKAY.    DO YOU SEE THERE WHERE IT SAYS THE LIST, THEY'RE

12:52PM   23       CREATING A LIST RELATING TO WALGREENS, THE WALGREENS VISITS?

12:53PM   24       A.    YES.

12:53PM   25       Q.    LET'S GO UP TO THE TOP, AND DO YOU SEE THE ATTACHMENT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 137
                                                                               138 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2025


12:53PM    1       THERE SAYS WAG VISITS 091113 TO 101713?

12:53PM    2       A.    YES.

12:53PM    3       Q.    OKAY.   AND THIS SAYS THAT THIS IS UPDATED, AND THIS IS AS

12:53PM    4       OF 10-21-2013?

12:53PM    5       A.    YES.    THAT'S THE DATE OF THE EMAIL AND THE DATE OF THE

12:53PM    6       EXCEL SPREADSHEET IS 10/17/2013.

12:53PM    7       Q.    FAIR ENOUGH.    LET'S LOOK AT THE SPREADSHEET.       IF WE CAN

12:53PM    8       PULL IT UP.

12:53PM    9             AND IF WE LOOK AT THE WAG FINGERSTICK TAB.

12:53PM   10             DO YOU SEE THAT?

12:53PM   11       A.    YES.

12:53PM   12       Q.    AND DO YOU SEE WHERE IT LISTS THE TESTS THAT WERE RUN ON

12:54PM   13       FINGERSTICK?

12:54PM   14       A.    YES.

12:54PM   15       Q.    AND DO YOU SEE WHERE IT SAYS CBC?

12:54PM   16       A.    YES.

12:54PM   17       Q.    AND WHAT MACHINE WAS CBC RUN ON AS A FINGERSTICK TEST?

12:54PM   18       A.    I BELIEVE IT WAS THE TEST THAT WAS RUN IN NORMANDY USING

12:54PM   19       FLOW CYTOMETRY.

12:54PM   20       Q.    OKAY.   NON-EDISON?

12:54PM   21       A.    NO EDISONS WERE USED ON CBC'S.

12:54PM   22       Q.    YOU KNOW THAT, SIR, BUT THE JURY DOESN'T, SO I'M ASKING TO

12:54PM   23       CLARIFY, SIR.

12:54PM   24       A.    SURE.

12:54PM   25       Q.    AND A1C, DOES THAT REFER TO HBA1C?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 138
                                                                               139 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2026


12:54PM    1       A.     CORRECT.

12:54PM    2       Q.     AND WHAT MACHINE DOES THAT TEST RUN ON WHEN IT'S A

12:54PM    3       FINGERSTICK TEST?

12:54PM    4       A.     THERE WERE DIFFERENT MACHINES USED AT DIFFERENT POINTS IN

12:54PM    5       TIME TO RUN A1C.     ONE OF THEM WAS CALLED THE DC ADVANTAGE.            AT

12:55PM    6       THIS POINT IN TIME I DO NOT RECALL HOW THE COMPANY WAS RUNNING

12:55PM    7       A1C.

12:55PM    8       Q.     OKAY.   BUT IT WAS NEVER RUN ON AN EDISON; RIGHT?

12:55PM    9       A.     NO.

12:55PM   10       Q.     IF WE CAN SCROLL DOWN.     ACTUALLY, YOU SEE AS YOU GO ALONG

12:55PM   11       THERE ARE ANYWHERE FROM 10 TO 20 TESTS, PARTICULARLY IN THE

12:55PM   12       EARLY DAYS.     IT'S A LITTLE -- THERE ARE A FEW MORE AND THEN IT

12:55PM   13       KIND OF PETERS OUT.

12:55PM   14              DO YOU SEE THAT?    DO YOU SEE THAT?

12:55PM   15       A.     YES.

12:55PM   16       Q.     OKAY.   AND WHEN WE GET TO THE BOTTOM, THE ONLY TESTS THAT

12:55PM   17       WERE RUN ON FINGERSTICK THROUGH 9-28-2013 WERE CBC AND HBA1C;

12:55PM   18       RIGHT?

12:55PM   19       A.     YES, THAT'S WHAT THIS SHEET INDICATES.

12:56PM   20       Q.     OKAY.   AND IDENTIFY FOR ME WHEN THE FIRST EDISON BASED

12:56PM   21       TEST WAS RUN ACCORDING TO THIS LIST?

12:56PM   22       A.     10-17-2013.

12:56PM   23       Q.     AND WHAT TEST IS THAT?

12:56PM   24       A.     TSH.

12:56PM   25       Q.     TSH?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 139
                                                                               140 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2027


12:56PM    1       A.    YES.

12:56PM    2       Q.    OKAY.    AND IF THERE IS A TSH TEST THAT WAS RUN IN THE CLIA

12:56PM    3       LAB, YOU WOULD HAVE ALREADY SIGNED THE VALIDATION REPORT FOR

12:56PM    4       THAT; RIGHT?

12:56PM    5       A.    YES, ABSOLUTELY.

12:56PM    6       Q.    AND YOU'VE TALKED ABOUT SOME TESTS THAT WERE DISCUSSED IN

12:56PM    7       LATE AUGUST OR SEPTEMBER OF 2013.        YOU'VE IDENTIFIED A FEW

12:56PM    8       DIFFERENT TESTS, SODIUM AND POTASSIUM, AND SOME OTHERS; RIGHT?

12:56PM    9       A.    YES.    I WAS NOT AWARE IN EARLY SEPTEMBER THAT THE LAUNCH

12:56PM   10       WOULD BE RESTRICTED TO CDC AND AIC.

12:56PM   11       Q.    WELL, YOU WORK AT THE LAB; RIGHT?

12:57PM   12       A.    RIGHT.

12:57PM   13       Q.    AND ALL OF THOSE PEOPLE WITHIN THE LAB REPORT TO YOU;

12:57PM   14       RIGHT?

12:57PM   15       A.    YES.

12:57PM   16       Q.    INCLUDING THE CLS'S; RIGHT?

12:57PM   17       A.    YES.

12:57PM   18       Q.    AND THEY ARE THE ONES WHO ISSUE THE REPORTS?

12:57PM   19       A.    YES.

12:57PM   20       Q.    AND SO YOU COULD HAVE WALKED OVER AT ANY TIME AND ASKED

12:57PM   21       THEM; RIGHT?

12:57PM   22       A.    YES.

12:57PM   23       Q.    OKAY.    BUT YOU DON'T SEE SODIUM OR POTASSIUM LISTED ON

12:57PM   24       THIS SHEET, DO YOU?

12:57PM   25       A.    I DO.    IT'S LINE 106 IN THE SPREADSHEET.       IN COLUMN A,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 140
                                                                               141 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                           2028


12:57PM    1       IT'S 1947 -- I'M SORRY, IT ACTUALLY BEGINS ON LINE 104.           IN

12:57PM    2       COLUMN A, IT'S 1478.      IT'S LISTED AS CMP.     THAT'S A COMPLETE

12:57PM    3       METABOLIC PANEL THAT INCLUDES SODIUM.

12:57PM    4       Q.    OKAY.   AND DO YOU KNOW WHAT MACHINE THAT WAS RUN ON?

12:57PM    5       A.    THAT WOULD BE RUN ON THE MODIFIED SIEMENS INSTRUMENT.

12:57PM    6       Q.    AND WHAT DATE WAS THAT?

12:57PM    7       A.    FROM THIS SHEET OCTOBER 14TH, 2013.

12:57PM    8       Q.    AND IF IT WAS RUN, IT HAD A VALIDATION REPORT; RIGHT?

12:57PM    9       A.    CORRECT.

12:57PM   10       Q.    AND WE'VE TALKED ABOUT THESE ISSUES THAT CAME UP BEFORE

12:58PM   11       VALIDATION REPORTS; RIGHT?

12:58PM   12       A.    YES.

12:58PM   13       Q.    BUT IF A VALIDATION REPORT WAS ISSUED AND THE TEST WAS

12:58PM   14       RUN, THAT MEANS THAT THE ISSUE YOU EXPRESSED WAS RESOLVED;

12:58PM   15       RIGHT?

12:58PM   16       A.    NO.    I HAVE TO DISAGREE WITH YOU.

12:58PM   17       Q.    WELL, DO YOU RECALL TESTIFYING TO THAT PREVIOUSLY, SIR?

12:58PM   18       A.    TESTIFYING TO?

12:58PM   19       Q.    DO YOU RECALL TESTIFYING THAT IF THERE WAS A CONCERN THAT

12:58PM   20       WAS RAISED AND A SUBSEQUENT VALIDATION REPORT WAS SIGNED BY

12:58PM   21       YOU, THAT YOU HAD BEEN COMFORTED THAT THAT CONCERN HAD BEEN

12:58PM   22       ADDRESSED AND IT WAS ONLY THEN THAT YOU WOULD BE WILLING TO

12:58PM   23       VALIDATE AN ASSAY?

12:58PM   24       A.    CORRECT.    CORRECT.   I THOUGHT YOU WERE ASKING ME ABOUT THE

12:58PM   25       RELIABILITY TESTING AFTER THE VALIDATION WAS SIGNED.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 141
                                                                               142 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2029


12:58PM    1       Q.    I'M GLAD I WAS ABLE TO CLARIFY.

12:58PM    2       A.    OKAY.

12:59PM    3       Q.    NOW, YOU TESTIFIED ON DIRECT ABOUT THAT MEETING WITH

12:59PM    4       ELIZABETH IN ADVANCE OF THE LAUNCH?

12:59PM    5       A.    RIGHT.

12:59PM    6       Q.    THAT WAS THE SOFT LAUNCH?

12:59PM    7       A.    CORRECT.

12:59PM    8       Q.    AND ABOUT THE TWO TESTS THAT WERE RUN IN SEPTEMBER; RIGHT?

12:59PM    9       A.    CORRECT.

12:59PM   10       Q.    AND YOU TALKED ABOUT THE SERIOUS CONCERNS THAT YOU HAD;

12:59PM   11       RIGHT?

12:59PM   12       A.    YES.

12:59PM   13       Q.    AND YOU MENTIONED THREE TESTS?

12:59PM   14       A.    YES.

12:59PM   15       Q.    POTASSIUM, SODIUM, AND GLUCOSE?

12:59PM   16       A.    YES.

12:59PM   17       Q.    NOW, YOU'VE TESTIFIED UNDER OATH PREVIOUSLY WITH RESPECT

01:00PM   18       TO THIS MEETING; RIGHT?

01:00PM   19       A.    DURING THE GRAND JURY TESTIMONY I BELIEVE.

01:00PM   20       Q.    RIGHT.   AND THAT -- AND IN A DEPOSITION --

01:00PM   21       A.    YES.

01:00PM   22       Q.    -- IN A CIVIL PROCEEDING.

01:00PM   23             DO YOU RECALL THAT?

01:00PM   24       A.    YES.    YES.

01:00PM   25       Q.    OKAY.    AND IN THAT TESTIMONY YOU SAID THAT YOU RAISED ONE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 142
                                                                               143 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2030


01:00PM    1       TEST; RIGHT?

01:00PM    2       A.    I DON'T REMEMBER EXACTLY WHAT I SAID IN THE TESTIMONY.

01:00PM    3       I'D HAVE TO LOOK AT IT.      BUT I KNOW I AT LEAST SPOKE ABOUT

01:00PM    4       POTASSIUM.     THERE WERE OTHER ISSUES THAT WERE DISCUSSED,

01:00PM    5       INCLUDING THE SODIUM AND GLUCOSE.

01:00PM    6       Q.    SIR, DO YOU RECALL YOUR TESTIMONY WAS THAT THE ISSUE THAT

01:00PM    7       YOU RAISED WITH ELIZABETH HOLMES IN THAT MEETING WAS RELATED TO

01:00PM    8       THE POTASSIUM ASSAY?

01:01PM    9       A.    NOT JUST THE POTASSIUM.

01:01PM   10       Q.    WELL, LET'S LOOK BACK AT YOUR TESTIMONY, SIR.

01:01PM   11             IF YOU CAN LOOK AT THE EXHIBIT IN THE YELLOW BINDER,

01:01PM   12       11001.

01:01PM   13       A.    OKAY.

01:01PM   14       Q.    AND I WANT TO CLARIFY ONE THING AT THE OUTSET BEFORE WE

01:01PM   15       TALK ABOUT YOUR TESTIMONY.

01:02PM   16             THE POTASSIUM ASSAY WAS GOING TO BE RUN ON WHAT DEVICE?

01:02PM   17       A.    MODIFIED SIEMENS DEVICE.

01:02PM   18       Q.    NOT THE EDISON DEVICE?

01:02PM   19       A.    CORRECT.

01:02PM   20       Q.    SO THIS CONVERSATION HAD NOTHING TO DO WITH THE USE OF THE

01:02PM   21       EDISON 3.5 IN THE LAB; RIGHT?

01:02PM   22       A.    NO, IT DID NOT.

01:02PM   23       Q.    IF YOU CAN LOOK AT PAGE 190 OF 11001.

01:02PM   24                     THE CLERK:   THAT EXHIBIT NUMBER AGAIN, COUNSEL.

01:02PM   25       SORRY.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 143
                                                                               144 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2031


01:02PM    1                     MR. WADE:   11001.

01:03PM    2                     THE WITNESS:   I HAVE IT.

01:03PM    3       BY MR. WADE:

01:03PM    4       Q.    AND IF YOU CAN READ TO YOURSELF PAGE 190.

01:03PM    5       A.    OKAY.

01:03PM    6       Q.    DO YOU SEE THE DISCUSSION OF THE POTASSIUM ASSAY?

01:03PM    7       A.    YES.

01:03PM    8       Q.    AND THE DISCUSSION OF THE CONVERSATION WITH MS. HOLMES AND

01:03PM    9       THE WALGREENS LAUNCH?

01:04PM   10       A.    YES.

01:04PM   11       Q.    AND DOES THIS REFRESH YOUR RECOLLECTION?         AND THIS WAS

01:04PM   12       TESTIMONY THAT YOU GAVE UNDER OATH IN THAT CIVIL DEPOSITION;

01:04PM   13       RIGHT?

01:04PM   14       A.    YES, I DID DISCUSS THE POTASSIUM ISSUES WITH

01:04PM   15       ELIZABETH HOLMES.

01:04PM   16       Q.    AND THAT REFRESHES YOUR RECOLLECTION; RIGHT?         YOU DON'T

01:04PM   17       MENTION ANY OTHER ASSAY THERE, DO YOU?

01:04PM   18       A.    I DON'T MENTION ANY OTHER ASSAYS.

01:04PM   19       Q.    OKAY.    LET'S GO TO YOUR GRAND JURY TESTIMONY.

01:04PM   20       A.    UH-HUH.

01:04PM   21       Q.    AT 76.

01:04PM   22       A.    CAN YOU TELL ME WHICH BINDER, ET CETERA?

01:04PM   23       Q.    IT WAS ONE OF THOSE YELLOW BINDERS AND IS THAT TESTIMONY

01:04PM   24       THAT YOU WERE LOOKING AT BEFORE.

01:04PM   25             IT IS EXHIBIT 11002.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 144
                                                                               145 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2032


01:05PM    1       A.    OKAY.

01:05PM    2       Q.    GO TO PAGE 76.

01:05PM    3       A.    OKAY.

01:05PM    4       Q.    DO YOU SEE THAT?

01:05PM    5       A.    YES.

01:05PM    6       Q.    TAKE A MOMENT AND READ THAT.

01:05PM    7       A.    I'VE READ IT.

01:05PM    8       Q.    AND YOU RAISED THE POTASSIUM ISSUES; RIGHT?

01:05PM    9       A.    YES.

01:05PM   10       Q.    AND YOU DON'T MENTION ANY OTHER ASSAYS THAT WERE RAISED IN

01:06PM   11       THAT MEETING; RIGHT?

01:06PM   12       A.    I WAS ASKED SPECIFICALLY ABOUT CONVERSATIONS WITH

01:06PM   13       MR. BALWANI AND MS. HOLMES ABOUT THE POTASSIUM RESULTS.

01:06PM   14       Q.    RIGHT.   AND YOU WERE ASKED QUESTIONS ABOUT THAT MEETING.

01:06PM   15       YOU'VE BEEN ASKED QUESTIONS ABOUT THAT MEETING.

01:06PM   16             YOU'VE GIVEN TESTIMONY ON THREE DIFFERENT OCCASIONS WITH

01:06PM   17       RESPECT TO MATTERS AT THERANOS, RIGHT, OUTSIDE OF THIS TRIAL?

01:06PM   18       A.    THE CIVIL GRAND JURY -- AND WHAT WOULD BE THE THIRD?

01:06PM   19       Q.    THERE WERE TWO CIVIL DEPOSITIONS THAT YOU GAVE TESTIMONY

01:06PM   20       IN; RIGHT?

01:06PM   21       A.    I DON'T RECALL.

01:06PM   22       Q.    YOU GAVE TESTIMONY IN THE ARIZONA MATTER.         DO YOU RECALL

01:06PM   23       THAT?    WE'VE BEEN LOOKING AT THAT TESTIMONY.

01:06PM   24       A.    THERE WAS -- IS THAT THE COLMAN, ET AL.?

01:07PM   25       Q.    THAT WAS A DIFFERENT MATTER.       DO YOU RECALL GIVING



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 145
                                                                               146 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2033


01:07PM    1       TESTIMONY IN THE COLMAN MATTER?

01:07PM    2       A.    YES.

01:07PM    3       Q.    AND I CAN REFRESH YOUR RECOLLECTION WITH THE BINDERS IF

01:07PM    4       YOU WOULD LIKE.     BOTH TRANSCRIPTS ARE IN THE BINDERS.

01:07PM    5       A.    THAT'S OKAY.

01:07PM    6       Q.    AND DO YOU RECALL THAT YOU GAVE TESTIMONY OR DEPOSITIONS

01:07PM    7       TWICE?

01:07PM    8       A.    I ACTUALLY ONLY RECALL GIVING DEPOSITIONS IN THE COLMAN

01:07PM    9       CASE.

01:07PM   10       Q.    OKAY.   WE TALKED ABOUT YOUR TESTIMONY?

01:07PM   11       A.    YES.

01:07PM   12       Q.    AND WE TALKED ABOUT SEVEN MEETINGS --

01:07PM   13       A.    YES.

01:07PM   14       Q.    -- WITH THE GOVERNMENT?

01:07PM   15       A.    YES.

01:07PM   16       Q.    AND BEFORE THE PREP SESSION MEETINGS --

01:07PM   17       A.    YES.

01:07PM   18       Q.    -- YOU NEVER MENTIONED ANY ASSAY THAT YOU RAISED WITH

01:07PM   19       MS. HOLMES IN THAT MEETING OTHER THAN POTASSIUM IN ANY OF THOSE

01:07PM   20       INTERVIEWS; ISN'T THAT RIGHT?

01:07PM   21       A.    I HONESTLY -- IN SEVEN MEETINGS, I DON'T HAVE AN

01:07PM   22       ENCYCLOPEDIC MEMORY.

01:07PM   23       Q.    YOU CAN'T REMEMBER THOSE DEPOSITIONS, BUT YOU CAN RECALL

01:08PM   24       THAT YOU RAISED THOSE TWO OTHER ASSAYS IN THAT MEETING?

01:08PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 146
                                                                               147 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2034


01:08PM    1       Q.    EIGHT YEARS AGO?

01:08PM    2       A.    YES.

01:08PM    3       Q.    NOW, IN THAT MEETING WITH MS. HOLMES IN SEPTEMBER, YOU

01:08PM    4       RAISED A CONCERN ABOUT FINGERSTICK TECHNOLOGY; RIGHT?

01:08PM    5       A.    YES.

01:08PM    6       Q.    AND HER RESPONSE WAS WE SHOULD JUST USE THE VENOUS DRAWS

01:08PM    7       IF THE FINGERSTICK IS NOT READY; RIGHT?

01:08PM    8       A.    YES.

01:08PM    9       Q.    AND THAT WAS A SAFE AND PERTINENT RESPONSE, WAS IT NOT?

01:08PM   10       A.    YES.

01:08PM   11       Q.    THAT WOULD HAVE BEEN EXACTLY THE KIND OF RESPONSE THAT YOU

01:08PM   12       WOULD HAVE PROPOSED?

01:08PM   13       A.    YES.

01:08PM   14       Q.    THOSE VENOUS METHODS WERE RELIABLE?

01:08PM   15       A.    YES.

01:08PM   16       Q.    AND YOU HAD BEEN DOING THOSE AT SAFEWAY FOR OVER A YEAR;

01:09PM   17       RIGHT?

01:09PM   18       A.    YES.

01:09PM   19       Q.    AND THE COMPANY HAD EXPERIENCE DOING THOSE?

01:09PM   20       A.    YES.

01:09PM   21       Q.    AND IF THERE WERE ISSUES THAT NEEDED TO BE ADDRESSED WITH

01:09PM   22       RESPECT TO THE ASSAYS THAT WERE RUN ON FINGERSTICK, YOU COULD

01:09PM   23       JUST RUN THEM ON VENOUS IN THE MEANTIME?

01:09PM   24       A.    CORRECT.

01:09PM   25       Q.    AND WE HAVE SEEN OTHER INSTANCES WHERE YOU HAVE SUGGESTED



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 147
                                                                               148 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2035


01:09PM    1       JUST THAT WHEN ISSUES AROSE IN THE LAB; RIGHT?

01:09PM    2       A.    YES.

01:09PM    3       Q.    HCG, FOR EXAMPLE.     DO YOU RECALL THERE WAS AN INSTANCE

01:09PM    4       WHERE YOU SAID IT SHOULD GO TO VENOUS DRAW?

01:09PM    5       A.    CORRECT.

01:09PM    6       Q.    AND YOU DID IT ON OTHER OCCASIONS; RIGHT?

01:09PM    7       A.    RIGHT.

01:09PM    8       Q.    AND THAT'S A ROUTINE PART OF BEING A LAB DIRECTOR; RIGHT?

01:09PM    9       A.    CORRECT.

01:09PM   10       Q.    AND YOU'RE PAID TO MAKE THOSE JUDGMENTS?

01:09PM   11       A.    YES.

01:09PM   12       Q.    AND IN THIS PARTICULAR CIRCUMSTANCE, MS. HOLMES WASN'T

01:09PM   13       DIRECTING WHAT YOU HAD TO DO; RIGHT?

01:09PM   14       A.    NO, SHE WAS NOT IN A POSITION TO DIRECT.

01:10PM   15       Q.    AND SHE WAS MAKING A SUGGESTION, WHY DON'T YOU RUN IT ON

01:10PM   16       VENOUS DRAW; RIGHT?

01:10PM   17       A.    YES.

01:10PM   18       Q.    WHICH IS ULTIMATELY THE RESULT THAT YOU WANTED FROM THAT

01:10PM   19       MEETING, IS IT NOT?

01:10PM   20       A.    YES.

01:10PM   21                    MR. WADE:    NOW I'M SWITCHING TO A NEW TOPIC,

01:10PM   22       YOUR HONOR.    I WONDER WHEN THE COURT WANTED TO TAKE ANOTHER

01:10PM   23       BREAK?

01:10PM   24                    THE COURT:    IN ABOUT 15 MINUTES.

01:10PM   25                    MR. WADE:    OKAY.   WE'LL KEEP GOING.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 148
                                                                               149 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2036


01:10PM    1       Q.    DO YOU RECALL BEFORE THAT LAUNCH THAT YOU WERE DOING SOME

01:10PM    2       WORK WITH THE R&D GROUP TO VALI -- TO BRING THE ASSAYS OVER

01:11PM    3       FROM THE R&D FUNCTION TO THE CLIA FUNCTION?

01:11PM    4             DO YOU RECALL THAT?

01:11PM    5       A.    YES.

01:11PM    6       Q.    AND JUST FOR THE BENEFIT -- BECAUSE THERE ARE TWO

01:11PM    7       DIFFERENT LABS THAT WERE OPERATING WITHIN THERANOS; RIGHT?

01:11PM    8       A.    CORRECT.

01:11PM    9       Q.    THERE WAS AN R&D LAB THAT WAS OPERATING?

01:11PM   10       A.    YES.

01:11PM   11       Q.    AND THERE WAS A CLIA LAB?

01:11PM   12       A.    YES.

01:11PM   13       Q.    AND THE R&D LAB DOESN'T HAVE THE SAME FEDERAL CLIA

01:11PM   14       REQUIREMENTS THAT YOU HAD; RIGHT?

01:11PM   15       A.    NO, IT DOES NOT.

01:11PM   16       Q.    IT'S BASICALLY FOR RESEARCH AND DEVELOPMENT?

01:11PM   17       A.    YES.

01:11PM   18       Q.    AND THERE WERE A LOT OF SCIENTISTS OVER THERE WORKING TO

01:11PM   19       DEVELOP ASSAYS; RIGHT?

01:11PM   20       A.    YES.

01:11PM   21       Q.    AND YOU WOULD CONSULT WITH THEM AFTER YOU JOINED THE

01:11PM   22       COMPANY FROM TIME TO TIME; RIGHT?

01:11PM   23       A.    YES.

01:11PM   24       Q.    AND YOU WOULD GIVE THEM INFORMATION TO HELP INFORM THE

01:11PM   25       WORK THAT THEY WERE DOING SO THAT IT WOULD FACILITATE EASIER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 149
                                                                               150 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2037


01:11PM    1       TRANSITION INTO THE CLIA LAB; RIGHT?

01:11PM    2       A.    YES, YES.

01:11PM    3       Q.    BECAUSE YOU HAD SOME TECHNICAL EXPERTISE THAT COULD HELP

01:11PM    4       INFORM THEM AS TO WHAT YOU WERE GOING TO LOOK FOR DOWN THE

01:12PM    5       ROAD; RIGHT?

01:12PM    6       A.    YES.

01:12PM    7       Q.    OKAY.   AND YOU WORKED WITH DR. YOUNG ON THAT A BIT?

01:12PM    8       A.    CORRECT.

01:12PM    9       Q.    AND DID YOU WORK WITH OTHER SCIENTISTS THERE?

01:12PM   10       A.    PAUL PATEL.

01:12PM   11       Q.    AND DR. PATEL WAS THE LEAD ON GENERAL CHEMISTRY ASSAYS?

01:12PM   12       A.    YES.

01:12PM   13       Q.    AND DO YOU RECALL WORKING WITH DR. GANGAKHEDKAR A BIT AS

01:12PM   14       WELL?

01:12PM   15       A.    YES.

01:12PM   16       Q.    OKAY.   AND DID YOU WORK WITH -- AND SHE WAS WORKING ON THE

01:12PM   17       ELISA ASSAYS; CORRECT?

01:12PM   18       A.    THE EDISON ASSAYS, CORRECT.

01:12PM   19       Q.    WELL, SHE WAS WORKING ON A LOT OF ELISA ASSAYS, BUT THEY

01:12PM   20       INCLUDED THE EDISON ASSAYS; RIGHT?

01:12PM   21       A.    WE NEVER HAD A TEST, SIR, THAT WAS AN ELISA ASSAY PER SE.

01:12PM   22       ALL OF THE IMMUNOASSAYS WERE RUN ON THE EDISON.

01:12PM   23       Q.    OKAY.   AND YOU -- WE'LL COME BACK TO DISCUSS SOME OF THE

01:12PM   24       IMMUNOASSAYS THAT WERE IN THE LAB LATER.

01:12PM   25             BUT YOU WERE WORKING WITH THOSE FOLKS ON FACILITATING THAT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 150
                                                                               151 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2038


01:13PM    1       TRANSITION INTO THE CLIA LAB?

01:13PM    2       A.    YES.

01:13PM    3       Q.    OKAY.    AND JUST SO WE'RE CLEAR, BECAUSE WE THROW A LOT OF

01:13PM    4       TERMS AROUND IN THIS TRIAL ABOUT TESTS AND LABS, IT'S NOT --

01:13PM    5       CLIA REGULATIONS APPLY ONCE IT GOES INTO THE CLIA LAB; RIGHT?

01:13PM    6       A.    NO.    CLIA SETS FORTH WHAT YOU NEED OR HOW YOU NEED TO

01:13PM    7       VALIDATE A TEST BEFORE YOU START RUNNING IT ON PATIENTS.            THERE

01:13PM    8       ARE SPECIFICATIONS THAT HAVE TO BE DEMONSTRATED BEFORE YOU GO

01:13PM    9       LIVE.

01:13PM   10       Q.    AND THOSE ARE SOME SPECIFICATIONS THAT ARE SET FORTH IN

01:13PM   11       THE FEDERAL REGULATIONS?

01:13PM   12       A.    CORRECT.

01:13PM   13       Q.    RIGHT?

01:13PM   14             AND ONE OF THE THINGS -- BUT MY POINT IS, SIR, BEFORE IT'S

01:13PM   15       GOING TO GO INTO THE CLIA LAB, THOSE SPECIFICATIONS AREN'T

01:13PM   16       APPLICABLE, RIGHT, IN R&D?

01:13PM   17       A.    R&D RUNS THE VALIDATION STUDIES.        PROVISIONAL SOP'S ARE IN

01:14PM   18       PLACE TO GUIDE HOW THOSE STUDIES ARE BEING CONDUCTED, AND THEN

01:14PM   19       THERE'S SOMETHING CALLED TECH TRANSFER WHERE THE R&D TEAM

01:14PM   20       TRAINS THE CLIA LABORATORY PERSONNEL ON HOW DO THE ASSAY, AND

01:14PM   21       THEY'RE SIGNED OFF AS TRAINED PERSONNEL, AND THEN THE

01:14PM   22       VALIDATION REPORT GETS SIGNED OFF BY THE LAB DIRECTOR AND THEN

01:14PM   23       THE TEST CAN GO LIVE.

01:14PM   24       Q.    AND ULTIMATELY THE JUDGMENTS AS TO WHICH TEST COULD GO

01:14PM   25       FROM R&D INTO CLIA WAS YOUR CALL FUNDAMENTALLY?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 151
                                                                               152 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2039


01:14PM    1       A.    YES.

01:14PM    2       Q.    AND IF YOU DIDN'T SIGN YOUR NAME, IT COULDN'T COME IN?

01:14PM    3       A.    CORRECT.

01:14PM    4       Q.    OKAY.    AND THERE WERE OTHER PEOPLE WHO SIGNED THE ASSAY

01:14PM    5       VALIDATION REPORTS BASED UPON WORK THAT THEY HAD DONE ON THE

01:14PM    6       ASSAY; RIGHT?

01:14PM    7       A.    YES.    THEY WERE VOUCHING FOR THE, FOR THE INTEGRITY OF THE

01:14PM    8       DATA.

01:14PM    9       Q.    AND THEY WERE VOUCHING FOR THE INTEGRITY OF THE DATA AND

01:14PM   10       YOU RELIED UPON THAT --

01:15PM   11       A.    I RELIED UPON THEM, CORRECT.

01:15PM   12       Q.    OKAY.    BUT ONCE THEY CAME IN, YOU HAD TO MAKE THAT

01:15PM   13       JUDGMENT AS TO WHETHER OR NOT THOSE CLIA REQUIREMENTS WERE

01:15PM   14       CHECKED; RIGHT?

01:15PM   15       A.    THAT WAS DONE AT THE VERY BEGINNING OF THE VALIDATION

01:15PM   16       PROCESS SO THAT I WOULDN'T BE ASKING FOR THINGS AFTER THE FACT,

01:15PM   17       THAT WE HAD A COMPREHENSIVE PLAN IN PLACE BEFORE THE VALIDATION

01:15PM   18       BEGAN.

01:15PM   19       Q.    RIGHT.   YOU STARTED BACK NOT LONG AFTER YOU BEGAN WORKING

01:15PM   20       AT THE COMPANY ON THOSE PROJECTS, RIGHT, AND ADVISING THE R&D?

01:15PM   21       A.    YES, YES.

01:15PM   22       Q.    AND MUCH OF THE WORK THAT THEY WERE DOING IN THE R&D GROUP

01:15PM   23       WAS SPECIFICALLY DESIGNED TO FACILITATE SMOOTH TRANSITION INTO

01:15PM   24       THE CLIA LAB?

01:15PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 152
                                                                               153 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2040


01:15PM    1       Q.    OR QUICK TRANSITION?

01:15PM    2       A.    YES, YES.

01:15PM    3       Q.    AND I'D LIKE TO SHOW YOU WHAT IS IN EVIDENCE AT 9921,

01:15PM    4       WHICH IS GOING TO BE ONE OF YOUR BLACK BINDERS.          WE'LL BRING IT

01:15PM    5       UP ON THE SCREEN.     IT'S IN EVIDENCE, AND IT MAY BE EASIER FOR

01:16PM    6       YOU TO LOOK AT IT THERE.       IT'S ON YOUR SCREEN.

01:16PM    7             DO YOU SEE THIS IS A DOCUMENT ENTITLED MASTER VALIDATION

01:16PM    8       PLAN FOR ELISA ASSAYS ON THERANOS DEVICES?

01:16PM    9       A.    YEAH.

01:16PM   10       Q.    AND THIS WAS PUT IN PLACE INITIALLY IN 2011.

01:16PM   11             DO YOU SEE THAT?

01:16PM   12       A.    YES.

01:16PM   13       Q.    AND THAT WAS BY DR. ARNOLD GELB?

01:16PM   14       A.    CORRECT.

01:16PM   15       Q.    AND HE WAS YOUR PREDECESSOR AS LAB DIRECTOR?

01:16PM   16       A.    CORRECT.

01:16PM   17       Q.    OKAY.   AND YOU SEE DR. --

01:16PM   18       A.    I JUST WANT TO CLARIFY THAT.       SO DR. GELB WAS NOT THERE

01:16PM   19       WHEN I ARRIVED.     THE LABORATORY DOCUMENTS WERE BEING SIGNED BY

01:16PM   20       SPENCER HIRAKI.     HE WAS A PH.D.

01:16PM   21       Q.    SPENCER HIRAKI WAS SERVING AS THE CLIA LAB DIRECTOR FOR

01:16PM   22       THAT SHORT PERIOD --

01:17PM   23       A.    CORRECT.

01:17PM   24       Q.    -- BETWEEN WHEN DR. GELB LEFT AND WHEN YOU ARRIVED; IS

01:17PM   25       THAT RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 153
                                                                               154 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2041


01:17PM    1       A.    CORRECT.

01:17PM    2       Q.    AND I SHOULD SAY BETWEEN WHEN DR. GELB LEFT AND YOU MET

01:17PM    3       THE LICENSING REQUIREMENTS?

01:17PM    4       A.    THAT'S RIGHT.     THAT'S RIGHT.

01:17PM    5       Q.    OKAY.    BUT YOU WERE SERVING -- WELL, DR. GELB, IN ANY

01:17PM    6       EVENT, APPEARS TO HAVE SIGNED THIS DOCUMENT.

01:17PM    7             DO YOU SEE THAT?

01:17PM    8       A.    CORRECT.

01:17PM    9       Q.    AND DO YOU RECALL WHETHER YOU HAD REVIEWED THIS DOCUMENT

01:17PM   10       AT THE TIME?     I CAN GO TO THE SECOND PAGE AND IT MIGHT HELP.

01:17PM   11       THIRD PAGE.

01:17PM   12       A.    I DO NOT RECALL REVIEWING THIS DOCUMENT.

01:17PM   13       Q.    OKAY.    LET'S GO TO EXHIBIT 1031.      THAT'S IN EVIDENCE.

01:18PM   14             IF WE CAN PUBLISH IT, YOUR HONOR?

01:18PM   15                     THE COURT:   YES.

01:18PM   16       BY MR. WADE:

01:18PM   17       Q.    LET'S START WITH AN EMAIL HERE.       AND YOU SEE THIS IS AN

01:18PM   18       EMAIL FROM DR. GANGAKHEDKAR COPYING DR. SIVARAMAN.           YOU KNEW

01:18PM   19       DR. SIVARAMAN AS WELL?

01:18PM   20       A.    YES, I DID.

01:18PM   21       Q.    SHE WORKED IN R&D?

01:18PM   22             DO YOU RECALL THAT?

01:18PM   23       A.    SHARADA WAS SUREKHA'S BOSS.       THEY BOTH WORKED ON THE

01:18PM   24       IMMUNOASSAYS AND THE EDISONS.       I THINK SHARADA LEFT AT SOME

01:18PM   25       POINT AND SUREKHA TOOK OVER.       I DON'T RECALL.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 154
                                                                               155 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2042


01:18PM    1       Q.    OKAY.   IN ANY EVENT, THIS WAS SENT TO YOU AND DR. YOUNG.

01:18PM    2             DO YOU SEE THAT?

01:18PM    3       A.    AND TO ELIZABETH.

01:18PM    4       Q.    RIGHT, AND TO MS. HOLMES?

01:18PM    5       A.    YES.

01:18PM    6       Q.    AND MS. HOLMES WAS VERY INVOLVED IN THE R&D EFFORTS.

01:18PM    7             DO YOU RECALL THAT?      ON THE ASSAYS?

01:19PM    8       A.    I HAVE SEEN EVIDENCE DURING THIS TRIAL WHERE SHE WAS

01:19PM    9       COMMUNICATING WITH SUREKHA.

01:19PM   10       Q.    LET ME -- WE DON'T WANT ANY EVIDENCE.        WE JUST WANT YOUR

01:19PM   11       KNOWLEDGE AT THE TIME.      I DON'T MEAN TO BE RUDE AND INTERRUPT

01:19PM   12       YOU, BUT WE JUST WANT TO KNOW WHETHER YOU WERE AWARE AT THE

01:19PM   13       TIME THAT SHE WAS INVOLVED IN THE R&D?

01:19PM   14       A.    WHETHER MS. HOLMES WAS INVOLVED?

01:19PM   15       Q.    YES.

01:19PM   16       A.    I DO NOT KNOW.

01:19PM   17       Q.    BUT SHE WAS ON THIS DOCUMENT?

01:19PM   18       A.    CORRECT.

01:19PM   19       Q.    AND DO YOU SEE HERE IT MENTIONS OR ATTACHES THREE

01:19PM   20       DOCUMENTS?

01:19PM   21       A.    YES.

01:19PM   22       Q.    OKAY.   AND THERE ARE A COUPLE DEVELOPMENT REPORTS, AND

01:19PM   23       THEN IT SAYS A VALIDATION PLAN.

01:19PM   24             DO YOU SEE THAT?

01:19PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 155
                                                                               156 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2043


01:19PM    1       Q.    OKAY.   LET'S BRING UP THE FIRST -- AND IT SAYS -- I'M

01:19PM    2       SORRY.    IF WE CAN GO BACK TO THE EMAIL.       I JUMPED THE GUN

01:19PM    3       THERE.

01:19PM    4             IT SAYS, "AS DISCUSSED IN THE MEETING WITH ELIZABETH,

01:19PM    5       PLEASE REVIEW THE DATA IN THE DEVELOPMENT REPORTS FOR USABILITY

01:20PM    6       TOWARDS VALIDATION AND PROPOSE WHAT WILL BE NEEDED FOR

01:20PM    7       VERIFICATION FOR THE 3.5 SYSTEM WITH THE PRE-DILUTIONS."

01:20PM    8             DO YOU SEE THAT?

01:20PM    9       A.    YES.

01:20PM   10       Q.    AND THIS WAS KIND OF THE TECH TRANSFER THAT YOU WERE

01:20PM   11       TALKING ABOUT; RIGHT?

01:20PM   12       A.    YES.

01:20PM   13       Q.    AND YOU WERE --

01:20PM   14       A.    ACTUALLY, THIS IS REALLY ASSAY DEVELOPMENT.         THE TECH

01:20PM   15       TRANSFER IS WHEN, YOU KNOW, THE R&D TEAM IS VALIDATING THE TEST

01:20PM   16       AND THEY'RE TRAINING THE CLIA STAFF.        THESE ARE REALLY

01:20PM   17       PRELIMINARY STUDIES AS FAR AS I CAN TELL.

01:20PM   18       Q.    WELL, LET'S LOOK AT THE DOCUMENT.        IF WE CAN BRING UP THE

01:20PM   19       FIRST ASSAY.

01:20PM   20             DO YOU SEE THERE IT SAYS MASTER VALIDATION PLAN FOR ELISA

01:20PM   21       ASSAYS ON THERANOS DEVICES.

01:20PM   22             DO YOU SEE THAT?

01:20PM   23       A.    YEAH.   SO ONE THING THAT DOESN'T MAKE SENSE IS THERE WAS

01:20PM   24       AN ATTACHMENT THAT SAYS TSH MASTER VALIDATION PLAN, THAT WAS

01:20PM   25       WHAT THE ATTACHMENT WAS ENTITLED, AND THE DOCUMENT SAYS MASTER



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 156
                                                                               157 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2044


01:21PM    1       VALIDATION PLAN, SO I DON'T KNOW WHY THERE WAS THAT

01:21PM    2       DISCREPANCY.

01:21PM    3       Q.    THERE WERE MULTIPLE ATTACHMENTS, AND WE CAN SPEND A LITTLE

01:21PM    4       TIME WITH EACH.

01:21PM    5             LET ME START WITH THIS ONE.

01:21PM    6       A.    UH-HUH.

01:21PM    7       Q.    AND THIS IS AN ATTACHMENT.       AND IF YOU HAVE ANY

01:21PM    8       UNCERTAINLY, THE EXHIBIT IS IN YOUR BOOK.         YOU'RE WELCOME TO

01:21PM    9       LOOK AT THE PHYSICAL ATTACHMENT.

01:21PM   10             BUT THIS IS ONE OF THE ATTACHMENTS.        IT SAYS MASTER

01:21PM   11       VALIDATION PLAN FOR ELISA ASSAYS ON THERANOS DEVICES.

01:21PM   12             DO YOU SEE THAT?

01:21PM   13       A.    YES.

01:21PM   14       Q.    AND THIS IS NOW THE TYPE OF FORMAT THAT WAS USED WITHIN

01:21PM   15       THE CLIA LAB SETTING AT THERANOS; RIGHT?

01:21PM   16       A.    CORRECT.

01:21PM   17       Q.    AND THIS IS THE TYPE OF DOCUMENT, WHEN YOU'RE TALKING

01:21PM   18       ABOUT VALIDATION REPORTS LATER -- AND WE'LL TALK ABOUT SOME IN

01:21PM   19       A BIT -- MANY OF THEM HAVE THIS TYPE OF DOCUMENT, THIS TYPE OF

01:21PM   20       COVER PAGE; RIGHT?

01:21PM   21       A.    YEAH.   YOU CAN'T, YOU CAN'T HAVE A MASTER VALIDATION PLAN

01:21PM   22       THAT WOULD APPLY TO ALL OF THE ELISA ASSAYS.          THAT MAKES NO

01:21PM   23       SENSE.    IT'S A PURE ASSAY PLAN.      THAT'S WHAT IS REQUIRED.

01:21PM   24       Q.    I UNDERSTAND.     LET ME SEE IF I CAN HELP UNPACK THAT

01:22PM   25       COMMENT A BIT.     OKAY?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 157
                                                                               158 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2045


01:22PM    1       A.    UH-HUH.

01:22PM    2       Q.    EACH ASSAY HAS TO HAVE AN ASSAY SPECIFIC VALIDATION PLAN?

01:22PM    3       A.    CORRECT.

01:22PM    4       Q.    SIGNED BY YOU --

01:22PM    5       A.    CORRECT.

01:22PM    6       Q.    -- IN ORDER TO BE OFFERED IN THE CLIA LAB; RIGHT?

01:22PM    7       A.    NO.    THAT, THAT IS THE GREEN LIGHT FOR IT TO GO INTO

01:22PM    8       VALIDATION.

01:22PM    9             THE PLAN LAYS OUT HOW ARE YOU GOING TO DO YOUR VALIDATION,

01:22PM   10       WHAT YOUR ACCEPTANCE CRITERIA ARE, ET CETERA.

01:22PM   11             AFTER THE PLAN THERE'S A VALIDATION REPORT.         THAT HAS TO

01:22PM   12       BE SIGNED BY ME BEFORE TESTS CAN BE OFFERED.

01:22PM   13       Q.    OKAY.   SO THERE'S A VALIDATION PLAN?

01:22PM   14       A.    CORRECT.

01:22PM   15       Q.    AND THEN THERE'S A VALIDATION REPORT?

01:22PM   16       A.    CORRECT.

01:22PM   17       Q.    THAT IS PREPARED WITHIN THE CLIA LAB?

01:22PM   18       A.    YES.

01:22PM   19       Q.    AND ONCE YOU'RE COMFORTABLE THAT IT HAS MET ALL OF THE

01:22PM   20       REQUIREMENTS, YOU SIGN IT?

01:22PM   21       A.    CORRECT.

01:22PM   22       Q.    AND BEFORE THE TEST CAN BE OFFERED, YOU NEED TO HAVE AN

01:22PM   23       SOP; RIGHT?

01:22PM   24       A.    YES.

01:22PM   25       Q.    AND THE SOP IS PREPARED?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 158
                                                                               159 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2046


01:22PM    1       A.    YES.

01:22PM    2       Q.    AND THEN YOU OFFER THE ASSAY?

01:22PM    3       A.    YOU NEED TRAINING AND DOCUMENTATION OF TRAINING.

01:22PM    4       Q.    AND ALL OF THOSE THINGS UNDER THOSE REGULATIONS IN 7603

01:23PM    5       ULTIMATELY ARE THE RESPONSIBILITY OF THE LABORATORY DIRECTOR?

01:23PM    6       A.    YEAH.   YOU NEED TO HAVE INSTRUMENTS MAINTAINED,

01:23PM    7       PERFORMANCE QUALIFICATIONS ON THE INSTRUMENTS.          THERE ARE A

01:23PM    8       NUMBER OF THINGS.

01:23PM    9       Q.    THERE ARE A LOT OF THINGS THAT YOU NEED TO HAVE WITHIN THE

01:23PM   10       FUNCTIONING OF THE CLIA LAB; RIGHT?

01:23PM   11       A.    YES.

01:23PM   12       Q.    AND WE'LL TALK ABOUT MANY OF THEM WITH YOU, SIR.

01:23PM   13             BUT I'M FOCUSSED RIGHT NOW ON THIS INITIAL PERIOD.

01:23PM   14             AND I UNDERSTAND YOUR TESTIMONY IS EVERY ASSAY HAS TO HAVE

01:23PM   15       A PLAN?

01:23PM   16       A.    CORRECT.

01:23PM   17       Q.    DO YOU RECALL THAT?

01:23PM   18             DO YOU RECALL THAT FOR DIFFERENT CATEGORIES OF ASSAYS

01:23PM   19       THERE WAS SORT OF AN OVERARCHING MASTER VALIDATION PLAN THAT

01:23PM   20       WOULD BE USED FOR THE PROCESS TO BE USED TO CREATE THOSE

01:23PM   21       INDIVIDUAL ASSAY PLANS?

01:23PM   22       A.    I DON'T RECALL THAT.

01:23PM   23       Q.    LET'S TAKE A LOOK AT THE DOCUMENT.

01:23PM   24             YOU SEE YOU WERE SENT THIS DOCUMENT; RIGHT?

01:23PM   25       A.    I SEE THAT IT HAS MY NAME ON IT AT THE BOTTOM.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 159
                                                                               160 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2047


01:23PM    1       Q.    WE CAN GO BACK TO THE EMAIL ON 1031.

01:24PM    2       A.    YEAH, THIS WAS TSH MASTER VALIDATION PLAN.         I'M ASSUMING

01:24PM    3       THAT'S THE SAME DOCUMENT.

01:24PM    4       Q.    SIR, I DON'T WANT ANY CONFUSION.         WHY DON'T YOU PULL UP

01:24PM    5       1031 IN YOUR BLACK BINDER.

01:24PM    6       A.    ONE BLACK BINDER STARTS AT 10451.

01:25PM    7                    MR. WADE:    MAY I APPROACH, YOUR HONOR?

01:25PM    8                    THE COURT:    DO YOU HAVE IT?

01:25PM    9                    MR. WADE:    I HAVE IT.   BUT IF IT'S EASIER I'LL HAND

01:25PM   10       IT.

01:25PM   11                    THE WITNESS:    IT'S NOT IN HERE.     THE OTHER BINDER

01:25PM   12       ENDS AT 10300.

01:25PM   13                    MR. WADE:    (HANDING.)

01:25PM   14                    THE WITNESS:    OKAY.   THANKS.

01:25PM   15       BY MR. WADE:

01:25PM   16       Q.    I BELIEVE IN THAT COPY, SIR, I ONLY PRINTED ONE OF THE

01:25PM   17       FOUR ATTACHMENTS.

01:25PM   18             BUT WHY DON'T YOU TAKE A MINUTE AND REVIEW THAT DOCUMENT

01:25PM   19       JUST GENERALLY TO FAMILIARIZE YOURSELF WITH IT.

01:25PM   20             WHILE HE'S DOING IT, IF WE CAN PULL UP ON SPLIT SCREEN

01:25PM   21       THAT ATTACHMENT AND 9921.

01:26PM   22             SO YOU'LL RECALL A FEW MINUTES AGO WE LOOKED AT 9921.              IT

01:26PM   23       WAS THE DR. GELB MASTER VALIDATION PLAN --

01:26PM   24       A.    YES.

01:26PM   25       Q.    -- FOR ELISA ASSAYS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 160
                                                                               161 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2048


01:26PM    1             DO YOU SEE THAT?

01:26PM    2       A.    YES.

01:26PM    3       Q.    AND THAT WAS SIGNED BY DR. GANGAKHEDKAR, DR. GELB, AND

01:26PM    4       DR. YOUNG.     I GUESS JUST THOSE THREE, YES?

01:26PM    5       A.    OH, THAT WAS WAY BACK IN 2011, YEAH.

01:26PM    6       Q.    RIGHT.   DO YOU SEE THAT BACK IN 2011?

01:26PM    7       A.    YEAH.

01:26PM    8       Q.    AND WHY DON'T WE LOOK AT A COUPLE OF PAGES OF THAT

01:26PM    9       DOCUMENT.     IF YOU'LL GO TO THE THIRD PAGE.

01:26PM   10             THIS IS THE DOCUMENT THAT SETS FORTH SOME PLANS AND

01:26PM   11       DEFINITIONS WITH RESPECT TO HOW THE VALIDATION PROCESS WAS

01:26PM   12       GOING TO PLAY OUT WITH RESPECT TO ASSAY DEVELOPMENT.

01:26PM   13             LET ME GO TO THE NEXT PAGE.       AND THE NEXT PAGE.     AND THE

01:27PM   14       NEXT PAGE.

01:27PM   15             OKAY.    NOW, IF YOU TURN YOUR ATTENTION BACK TO 10 -- THE

01:27PM   16       ATTACHMENT AT 1031, YOU SEE IT'S VERY SIMILAR.          AND IT APPEARS

01:27PM   17       TO BE AN ATTEMPT TO UPDATE THAT OLD PLAN?

01:27PM   18       A.    YES.    THIS ONE IS DATED AUGUST 2013.

01:27PM   19       Q.    RIGHT.

01:27PM   20       A.    THE AUTHOR AND REVIEW AND STATEMENT ARE THE SAME -- I'M

01:27PM   21       SORRY.    THE PREVIOUS ONE WAS SIGNED BY DR. GELB.        YOU'RE

01:27PM   22       SHOWING ME THE UPDATED ONE ON THE SCREEN, AND I'M ALSO LOOKING

01:27PM   23       AT IT.

01:27PM   24       Q.    OKAY.    LET ME PULL DOWN THE OLD ONE.

01:27PM   25       A.    YEAH.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 161
                                                                               162 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2049


01:27PM    1       Q.    AND I'M GOING TO FOCUS YOU ON THE ONE THAT WAS SENT TO YOU

01:27PM    2       AND DR. YOUNG AND MS. HOLMES IN AUGUST OF 2013.

01:28PM    3             OKAY?

01:28PM    4       A.    OKAY.

01:28PM    5       Q.    DO I INFER FROM YOUR QUESTIONS THAT YOU DON'T RECALL THIS

01:28PM    6       DOCUMENT?

01:28PM    7       A.    I DO NOT.

01:28PM    8       Q.    OKAY.   BUT YOU UNDERSTAND THAT IT WAS EMAILED TO YOU AT

01:28PM    9       THE TIME?

01:28PM   10       A.    YES.

01:28PM   11       Q.    OKAY.   I'M JUST GOING TO ASK YOU A COUPLE OF QUESTIONS

01:28PM   12       ABOUT THIS DOCUMENT.

01:28PM   13       A.    UH-HUH.

01:28PM   14       Q.    IF WE CAN GO TO THE SECOND, THIRD, RIGHT HERE.

01:28PM   15             DO YOU SEE WHERE IT -- THE PURPOSE IS IDENTIFIED AS "TO

01:28PM   16       DEFINE A VALIDATION PLAN FOR THE VALIDATION AND QUALIFICATION

01:28PM   17       OF ELISA ASSAYS."

01:28PM   18             DO YOU SEE THAT?

01:28PM   19       A.    YES.

01:28PM   20       Q.    AND IF I CAN TAKE ALL OF NUMBER 2, THE SCOPE.

01:28PM   21             DO YOU SEE THAT 2.1 SAYS, "THIS DOCUMENT APPLIES TO THE

01:28PM   22       VALIDATION/QUALIFICATION OF ELISA ASSAYS ON THERANOS DEVICES

01:28PM   23       UNDER CLIA REGULATIONS BY CLIA LABORATORY PERSONNEL"?

01:29PM   24       A.    YES.

01:29PM   25       Q.    AND THEN 2.2 OF THAT PAGE REFERS TO 42 CFR 493.1253.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 162
                                                                               163 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2050


01:29PM    1             DO YOU SEE THAT?

01:29PM    2       A.    YES.

01:29PM    3       Q.    AND YOU'RE FAMILIAR WITH THAT PROVISION, AREN'T YOU, SIR?

01:29PM    4       A.    YES, I AM.

01:29PM    5       Q.    THAT'S AN OLD STANDBY FOR A LAB DIRECTOR LIKE YOU, ISN'T

01:29PM    6       IT?

01:29PM    7       A.    YES.

01:29PM    8       Q.    OKAY.    AND THE IDEA -- THAT IS THE CLIA REGULATION THAT

01:29PM    9       SETS FORTH ALL OF THE REQUIREMENTS THAT NEED TO BE MET BEFORE

01:29PM   10       AN ASSAY CAN BE VALIDATED, AND THEN LATER IN THE VALIDATION

01:29PM   11       DOCUMENT IN THE CLIA LAB, AND THEN OFFERED TO PATIENTS; RIGHT?

01:29PM   12       A.    YES.    IT LISTS THE REQUIRED PERFORMANCE SPECIFICATIONS.

01:29PM   13       Q.    RIGHT.   AND YOU SEE THAT REFERENCE THERE?

01:29PM   14       A.    YES.

01:29PM   15       Q.    AND IF WE CAN GO DOWN TO THE NEXT SECTION OF THE DOCUMENT

01:30PM   16       THERE AND JUST FOCUS ON THE DEFINITIONS.

01:30PM   17             IT TALKS ABOUT SOME OF THOSE REQUIREMENTS AND GIVES SOME

01:30PM   18       DEFINITIONS THERE?

01:30PM   19       A.    YES.

01:30PM   20       Q.    AND WITH RESPECT TO ACCURACY, IT ALSO INCORPORATES CLSI

01:30PM   21       MATERIAL; RIGHT?

01:30PM   22       A.    YES.

01:30PM   23       Q.    WHICH IS A COMMON INDUSTRY STANDARD GUIDANCE ON ACCURACY;

01:30PM   24       RIGHT?

01:30PM   25       A.    CLSI -- I CAN DESCRIBE WHAT THAT IS.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 163
                                                                               164 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                            2051


01:30PM    1       Q.    SURE.

01:30PM    2       A.    IT IS A PRIVATE ORGANIZATION BASED IN WAYNE, PENNSYLVANIA,

01:30PM    3       THAT PUBLISHES GUIDANCE DOCUMENTS ON A NUMBER OF LABORATORY

01:30PM    4       ISSUES.

01:30PM    5       Q.    OKAY.    AND WHY DON'T WE GO TO THE NEXT PAGE.         THE NEXT

01:30PM    6       PAGE, NEXT PAGE.     LET'S BLOW UP 7.     I'M SORRY.    6.

01:31PM    7             AND THIS TALKS ABOUT THE PROCESS TO DO THAT ON THE

01:31PM    8       THERANOS DEVICES; RIGHT?

01:31PM    9       A.    YES.

01:31PM   10       Q.    AND THE DEVICES THAT WERE BEING USED AT THIS TIME WERE 3.0

01:31PM   11       AND 3.5 DEVICES; RIGHT?

01:31PM   12       A.    I DO NOT RECALL.

01:31PM   13       Q.    OKAY.    AND I KNOW YOU DON'T REMEMBER THE DOCUMENTS, BUT AS

01:31PM   14       A GENERAL MATTER --

01:31PM   15       A.    ARE YOU ASKING ME TO VOUCH FOR THE TRUTH OF THIS

01:31PM   16       STATEMENT?

01:31PM   17       Q.    NO.

01:31PM   18       A.    OKAY.

01:31PM   19       Q.    I JUST KNOW YOU DON'T REMEMBER THE DOCUMENT.

01:31PM   20       A.    YEAH.

01:31PM   21       Q.    BUT DO YOU RECALL GENERALLY THE PROCESS THAT WAS GONE

01:31PM   22       THROUGH TO MEET THOSE SPECIFICATIONS WITH RESPECT TO EACH

01:31PM   23       INDIVIDUAL ASSAY?

01:31PM   24       A.    YES.    YES.

01:31PM   25                     MR. WADE:   OKAY.   MAYBE THIS WOULD BE A GOOD TIME



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 164
                                                                               165 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2052


01:31PM    1       FOR A BREAK, YOUR HONOR.

01:31PM    2                    THE COURT:    SURE.   SURE.   LET'S TAKE OUR AFTERNOON

01:31PM    3       BREAK.

01:31PM    4             FOLKS, LET'S TAKE ABOUT 20 MINUTES AND THEN WE'LL COME

01:32PM    5       BACK AND FINISH OUR DAY.

01:32PM    6             (RECESS FROM 1:32 P.M. UNTIL 1:54 P.M.)

01:54PM    7                    THE COURT:    ALL RIGHT.   THANK YOU.    WE'RE BACK ON

01:54PM    8       THE RECORD.    ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT AGAIN.

01:54PM    9             MR. WADE, WOULD YOU LIKE TO CONTINUE?

01:54PM   10                    MR. WADE:    I WOULD, YOUR HONOR.

01:54PM   11       Q.    DR. ROSENDORFF, I'D LIKE TO BACK UP TO THE TIME BEFORE YOU

01:54PM   12       JOINED THERANOS --

01:54PM   13       A.    YES.

01:54PM   14       Q.    -- AND ASK YOU ABOUT WHEN YOU JOINED THERANOS.          OKAY?

01:54PM   15       A.    YES.

01:54PM   16       Q.    YOU OFFERED SOME TESTIMONY ABOUT THAT ON DIRECT.

01:54PM   17             DO YOU RECALL?

01:54PM   18       A.    YES.

01:54PM   19       Q.    AND BEFORE YOU JOINED THERANOS, YOU WERE WORKING AT UPMC?

01:55PM   20       A.    CORRECT.

01:55PM   21       Q.    AND WERE YOU THE CLIA LAB DIRECTOR?

01:55PM   22       A.    MY TITLE WAS MEDICAL DIRECTOR OF THE CLIA LABORATORIES.

01:55PM   23       MIGUEL REYES WAS ON THE CERTIFICATE AS THE CLIA DIRECTOR OF

01:55PM   24       RECORD.

01:55PM   25       Q.    AND BEFORE YOU CAME TO THERANOS, HAD YOU EVER SERVED AS A



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 165
                                                                               166 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2053


01:55PM    1       CLIA LAB DIRECTOR BEFORE?

01:55PM    2       A.    NO.

01:55PM    3       Q.    I BELIEVE YOU APPLIED FOR THE JOB, IS IT LATE 2012?

01:55PM    4       A.    CORRECT.

01:55PM    5       Q.    AND YOUR INTERVIEW WAS IN LATE 2013; IS THAT CORRECT?

01:55PM    6       A.    CORRECT.

01:55PM    7       Q.    AND YOU PROVIDED A RESUME IN CONNECTION WITH THAT?

01:56PM    8       A.    YES.

01:56PM    9       Q.    LET ME DIRECT YOU TO EXHIBIT 10272.        AND THEY ARE IN THE

01:56PM   10       BLACK BINDERS AND THEY SHOULD BE IN NUMERICAL ORDER, DOCTOR.

01:56PM   11       IT SHOULD HELP YOU LOOK AT THE TABS ON THE SIDE.

01:56PM   12                    THE COURT:    IS IT VOLUME 1?

01:56PM   13                    MR. WADE:    I BELIEVE SO.    WE'LL BRING A BOOKSHELF

01:56PM   14       FOR THE COURT NEXT TIME, YOUR HONOR.

01:56PM   15       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

01:56PM   16       A.    YES.

01:56PM   17       Q.    AND DO YOU RECOGNIZE THAT DOCUMENT?

01:56PM   18       A.    YES.

01:56PM   19       Q.    AND WHAT IS THE DOCUMENT?

01:56PM   20       A.    IT IS A RESUME THAT APPEARS TO BE CURRENT DURING MY TIME

01:56PM   21       AT UPMC.     IT'S SINCE BEEN UPDATED.

01:56PM   22       Q.    AND BASED ON THE BOOKS AND RECORDS OF THE COMPANY, THIS

01:57PM   23       APPEARS TO BE THE ONE THAT YOU SENT TO THERANOS?

01:57PM   24       A.    YES.

01:57PM   25       Q.    WOULD IT APPEAR TO BE OF THAT VINTAGE?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 166
                                                                               167 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2054


01:57PM    1       A.    YES.

01:57PM    2                    MR. WADE:    MOVE THE ADMISSION OF EXHIBIT 10272.

01:57PM    3                    THE COURT:    THERE'S AN ADDRESS THAT SHOULD BE

01:57PM    4       REDACTED.

01:57PM    5                    MR. WADE:    I BELIEVE IT'S AN ADDRESS THAT HAS LONG

01:57PM    6       SINCE PASSED, BUT IF THERE'S A CONCERN.

01:57PM    7                    THE COURT:    SHOULD WE OUT OF CAUTION, MR. BOSTIC?

01:57PM    8                    MR. BOSTIC:    NO OBJECTION TO THE ADMISSION,

01:57PM    9       YOUR HONOR.

01:57PM   10                    THE COURT:    LET'S JUST DELETE THAT.     THANK YOU,

01:57PM   11       MR. WADE.

01:57PM   12                    MR. WADE:    MY APOLOGIES.

01:57PM   13                    THE COURT:    AND THE PHONE NUMBERS AND ALL OF THAT.

01:57PM   14                    MR. WADE:    WE'LL BLOCK OUT THE WHOLE ROW BELOW

01:57PM   15       A. ROSENDORFF, M.D.

01:57PM   16             MAY WE PUBLISH IT, YOUR HONOR, ONCE WE GET THAT?

01:57PM   17                    THE COURT:    YES.

01:57PM   18             (DEFENDANT'S EXHIBIT 10272 WAS RECEIVED IN EVIDENCE.)

01:57PM   19       BY MR. WADE:

01:57PM   20       Q.    AGAIN, THIS IS THE RESUME BEFORE THE TIME YOU APPLIED TO

01:58PM   21       THERANOS?

01:58PM   22       A.    YES.

01:58PM   23       Q.    AND DO YOU BELIEVE THAT THIS RESUME IS TRUE, ACCURATE, AND

01:58PM   24       COMPLETE?

01:58PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 167
                                                                               168 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2055


01:58PM    1       Q.    WHY DID YOU LEAVE UPMC?

01:58PM    2       A.    WHY DID I LEAVE?

01:58PM    3       Q.    YES.

01:58PM    4       A.    I GOT REALLY INTERESTED IN THE INNOVATION THAT WAS

01:58PM    5       HAPPENING IN SILICON VALLEY, AND I REMEMBER READING A BIOGRAPHY

01:58PM    6       OF STEVE JOBS, AND I DON'T RECALL WHO THE AUTHOR WAS.

01:58PM    7             THE WHOLE KIND OF EXCITEMENT AROUND SILICON VALLEY WAS

01:58PM    8       VERY COMPELLING TO ME.

01:58PM    9             THAT'S THE MAJOR REASON, YES.

01:58PM   10       Q.    AND WAS IT THIS BIOGRAPHY?

01:58PM   11       A.    YES.

01:58PM   12       Q.    AND IT WAS WALTER ISAACSON AND STEVE JOBS?

01:58PM   13       A.    YES.

01:58PM   14       Q.    AND YOU WERE EXCITED ABOUT TECHNOLOGY, AND THAT'S ONE OF

01:58PM   15       THE REASONS THAT YOU MIGHT WANT TO MOVE OUT TO SILICON VALLEY?

01:59PM   16       A.    YES.

01:59PM   17       Q.    AND WERE THERE ANY OTHER REASONS THAT PROMPTED YOU TO

01:59PM   18       LEAVE UPMC?

01:59PM   19       A.    NOT THAT I CAN RECALL, NO.

01:59PM   20       Q.    NOT THAT YOU CAN RECALL?

01:59PM   21       A.    NO.

01:59PM   22       Q.    NOTHING ELSE?

01:59PM   23       A.    NO.    I WANTED TO MAKE A MORE GLOBAL IMPACT ON HEALTH CARE

01:59PM   24       AND I THOUGHT JOINING A DIAGNOSTICS COMPANY WOULD HELP ME DO

01:59PM   25       THAT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 168
                                                                               169 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2056


01:59PM    1       Q.    OKAY.    AND I BELIEVE YOU TESTIFIED THAT -- SO WHEN YOU

01:59PM    2       WERE MOVING WEST AND YOU WANTED TO GET INTO TECHNOLOGY, YOU

01:59PM    3       WERE -- YOU HAD SORT OF APPLE AND ITS STORY AND INNOVATION IN

01:59PM    4       YOUR MIND; IS THAT FAIR?

01:59PM    5       A.    INNOVATION, YES, YES.

01:59PM    6       Q.    AND SO YOU UNDERSTOOD MUCH OF WHAT HAD MADE APPLE

01:59PM    7       SUCCESSFUL AS A RESULT OF READING THE ISAACSON BIOGRAPHY;

02:00PM    8       RIGHT?

02:00PM    9       A.    YES, YES.

02:00PM   10       Q.    AND YOU KNEW ONE OF THE THINGS THAT WAS IMPORTANT TO

02:00PM   11       APPLE'S SUCCESS AND SUCCESS OF A TECHNOLOGY COMPANY WAS VERY

02:00PM   12       EFFECTIVE PUBLIC RELATIONS AND MARKETING; RIGHT?

02:00PM   13                     MR. BOSTIC:    OBJECTION.   FOUNDATION.

02:00PM   14                     THE COURT:    WELL, IF HE KNOWS.

02:00PM   15             CAN YOU ANSWER THAT QUESTION?

02:00PM   16                     THE WITNESS:   MY PERSONAL OPINION WAS THAT IT WAS

02:00PM   17       APPLE'S UNDERSTANDING OF PEOPLE'S EVERYDAY NEEDS AND TAILORING

02:00PM   18       THE TECHNOLOGY TO THOSE NEEDS THAT MADE IT SUCCESSFUL.

02:00PM   19       BY MR. WADE:

02:00PM   20       Q.    AND, AGAIN, WE'RE TALKING ABOUT -- BASED ON THE BOOK, YOU

02:00PM   21       ARE AWARE THAT MR. JOBS SPENT A LOT OF TIME FOCUSSED ON

02:00PM   22       COMMERCIALS AND OTHER PUBLIC RELATIONS; RIGHT?

02:00PM   23       A.    YES.

02:00PM   24       Q.    AND YOU'RE AWARE, BASED ON THE BOOK, THAT THEY BECAME

02:00PM   25       INCREDIBLY FAMOUS FOR SOME OF THE ADVERTISING THAT THEY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 169
                                                                               170 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2057


02:00PM    1       DEVELOPED; RIGHT?

02:00PM    2       A.    YES.

02:00PM    3       Q.    THAT THEY CREATED THE 1984 SUPER BOWL AD.

02:01PM    4             DO YOU RECALL THAT?

02:01PM    5       A.    I RECALL A CHIAT/DAY, I BELIEVE, THERE WAS AN AD ABOUT BIG

02:01PM    6       BROTHER, OR THERE WAS A REFERENCE TO GEORGE ORWELL.

02:01PM    7       Q.    THE ORWELLIAN AD, WHICH I BELIEVE WAS TITLED 1984?

02:01PM    8       A.    YES.

02:01PM    9       Q.    AND IT WAS RUN IN THE SUPER BOWL.

02:01PM   10             DO YOU RECALL THAT?

02:01PM   11       A.    I DO NOT RECALL.

02:01PM   12       Q.    AND AS A RESULT OF THAT, THAT HELPED GET A LOT OF

02:01PM   13       ATTENTION FOR APPLE.

02:01PM   14             DO YOU RECALL THAT?

02:01PM   15       A.    THAT WAS A VERY FAMOUS COMMERCIAL, SO I GUESS SO.

02:01PM   16       Q.    AND THERE WERE ALSO -- THAT SAME FIRM THAT IS REFERENCED

02:01PM   17       IN THE ISAACSON BOOK, THE CHIAT/DAY FIRM, THEY DEVELOPED THE

02:01PM   18       "THINK DIFFERENT" CAMPAIGN AND IT TALKS ABOUT THAT IN THE BOOK;

02:01PM   19       RIGHT?

02:01PM   20       A.    YES.

02:01PM   21       Q.    AND THAT WAS VIEWED AS A KEY PART OF THEIR SUCCESS, THAT

02:01PM   22       BRANDING STRATEGY; RIGHT?

02:01PM   23       A.    YES.

02:01PM   24       Q.    AND YOU RECALL FROM THE BOOK THE INTENSE SECRECY THAT

02:01PM   25       MR. JOBS IMPOSED ON R&D PROJECTS AT APPLE?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 170
                                                                               171 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2058


02:01PM    1       A.    CAN I MAKE A COMMENT ON APPLE'S SUCCESS?

02:01PM    2       Q.    YOU CAN ANSWER THE QUESTION.

02:02PM    3       A.    OKAY.    CAN YOU REPEAT THE QUESTION?

02:02PM    4       Q.    DO YOU WANT ME TO REPEAT IT?

02:02PM    5       A.    YEAH.

02:02PM    6       Q.    OKAY.    DO YOU RECALL -- DO YOU RECALL THAT THE BOOK LAYS

02:02PM    7       OUT IN INTENSE DETAIL OR IN EXCRUCIATING DETAIL THE SECRECY

02:02PM    8       THAT APPLE PUT IN CONNECTION WITH ITS RESEARCH AND DEVELOPMENT

02:02PM    9       AND PRODUCT DEVELOPMENT EFFORTS.

02:02PM   10             DO YOU RECALL THAT?

02:02PM   11       A.    I RECALL INTENSE SECRECY WITH REGARD TO THE PUBLIC

02:02PM   12       KNOWLEDGE OF THE TECHNOLOGY, YES.

02:02PM   13       Q.    DO YOU RECALL THAT THERE WERE -- AS DETAILED IN THE BOOK,

02:02PM   14       THERE WERE ACTUALLY OCCASIONS WHERE MR. JOBS WOULD MOVE AN R&D

02:02PM   15       PRODUCT TEAM OUT OF THE APPLE FACILITY INTO ANOTHER FACILITY, A

02:02PM   16       SECRET AND UNDISCLOSED LOCATION, THAT WAS UNMARKED.

02:02PM   17             DO YOU RECALL THAT?

02:02PM   18       A.    NO.   THAT'S INTERESTING.     YEAH.

02:02PM   19       Q.    OKAY.    DO YOU RECALL THAT WHEN MR. JOBS WOULD GO TO REVIEW

02:02PM   20       TECHNOLOGY, THAT HE WOULD DO IT IN A SPECIAL PASSWORD PROTECTED

02:03PM   21       ROOM WHERE NO ONE ELSE COULD ACCESS THAT TECHNOLOGY?           IT WAS A

02:03PM   22       ROOM SPECIFICALLY DESIGNED FOR THAT?

02:03PM   23                     MR. BOSTIC:   OBJECTION.    RELEVANCE.   FOUNDATION.

02:03PM   24       COUNSEL IS TESTIFYING.

02:03PM   25                     MR. WADE:   HE READ THE BOOK.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 171
                                                                               172 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2059


02:03PM    1                    THE COURT:    HE DID READ THE BOOK, BUT THIS ISN'T THE

02:03PM    2       TIME FOR A BOOK REPORT.      I FAIL TO SEE THE RELEVANCE.

02:03PM    3             I'LL ALLOW YOU SOME LATITUDE, BUT HE READ THE BOOK AND YOU

02:03PM    4       CAN GO ON.

02:03PM    5                    MR. WADE:    FAIR ENOUGH.

02:03PM    6             LET ME CONTINUE WITH THE RELEVANCE.

02:03PM    7       Q.    YOU READ THE BOOK?

02:03PM    8       A.    YES.

02:03PM    9       Q.    AND I BELIEVE YOU TESTIFIED YOU CAME OUT AND YOU

02:03PM   10       INTERVIEWED FOR 20 MINUTES WITH MS. HOLMES; IS THAT RIGHT?

02:03PM   11       A.    ABOUT THAT, YES.

02:03PM   12       Q.    AND ABOUT 20 MINUTES WITH DR. YOUNG?

02:03PM   13       A.    YES.

02:03PM   14       Q.    AND ABOUT 20 MINUTES WITH MR. BALWANI?

02:03PM   15       A.    YES.

02:03PM   16       Q.    AND YOU WERE VERY IMPRESSED BY THEIR EXUBERANCE.          WAS THAT

02:03PM   17       THE WORD THAT YOU USED?

02:03PM   18       A.    THE PHRASE I USED WAS EARNESTNESS AND DEDICATION.

02:03PM   19       Q.    YOU WERE IMPRESSED BY THEIR EARNESTNESS AND DEDICATION AT

02:04PM   20       THE TIME OF THE INTERVIEW?

02:04PM   21       A.    YES.

02:04PM   22       Q.    AND YOU HAD DONE SOME RESEARCH ON THE COMPANY; RIGHT?

02:04PM   23       A.    CORRECT.

02:04PM   24       Q.    AND YOU LOOKED AT SOME PATENTS?

02:04PM   25       A.    THERE WAS VERY LITTLE INFORMATION AVAILABLE ON THE COMPANY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 172
                                                                               173 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2060


02:04PM    1       WEBSITE ABOUT WHAT THEY ACTUALLY DID.         I WAS ABLE TO GOOGLE AND

02:04PM    2       FOUND SOME PATENTS THAT THERANOS HAD FILED --

02:04PM    3       Q.    OKAY.

02:04PM    4       A.    -- OVER THE YEARS, YEAH.

02:04PM    5       Q.    OKAY.    AND YOU SAID THAT THERE WAS VERY LITTLE

02:04PM    6       INFORMATION.

02:04PM    7             THERE WAS NOT A LOT OF PUBLIC DISCLOSURE IN THAT

02:04PM    8       INFORMATION; RIGHT?

02:04PM    9       A.    NO.

02:04PM   10       Q.    BECAUSE THEY WERE STILL IN RESEARCH AND DEVELOPMENT MODE?

02:04PM   11       A.    STEALTH MODE, QUOTE-UNQUOTE.

02:04PM   12       Q.    YES.    AND LIKE APPLE, THEY KEPT THE SECRETS.       YOU HAD JUST

02:04PM   13       READ APPLE, SO IT MUST NOT HAVE BEEN SURPRISING FOR YOU TO

02:04PM   14       LEARN THAT THIS TECHNOLOGY COMPANY WAS HOLDING ITS CONFIDENTIAL

02:04PM   15       TRADE SECRETS CLOSELY?

02:04PM   16       A.    I HAD TWO THOUGHTS.      ONE WAS THAT THE LACK OF INFORMATION

02:04PM   17       WOULD NOT ALLOW ME TO EVALUATE THIS OPPORTUNITY AS THOROUGHLY

02:05PM   18       AS I WOULD LIKE.

02:05PM   19             MY OTHER THOUGHT WAS THAT THEY MUST HAVE GREAT TECHNOLOGY

02:05PM   20       BECAUSE THEY'RE KEEPING IT SO SECRET, BECAUSE THEY'RE KEEPING

02:05PM   21       IT SO SECRET, BECAUSE THEY'RE KEEPING THE TECHNOLOGY SO SECRET.

02:05PM   22       Q.    OKAY.    AND -- BUT IT WASN'T TOTALLY SECRET.       THERE WERE

02:05PM   23       PATENTS THAT YOU REVIEWED; RIGHT?

02:05PM   24       A.    CORRECT.

02:05PM   25                     MR. WADE:   MAY I APPROACH, YOUR HONOR?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 173
                                                                               174 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2061


02:05PM    1                     THE COURT:   YES.

02:05PM    2                     MR. WADE:    (HANDING.)

02:05PM    3                     THE COURT:   IS THIS THE PATENT BINDER?

02:05PM    4                     MR. WADE:    THIS IS THE PATENT BINDER.      I BELIEVE IT

02:05PM    5       IS VOLUME 8.

02:05PM    6       Q.    DR. ROSENDORFF, I PUT BEFORE YOU A BINDER OF THE PATENTS

02:05PM    7       THAT WERE PUBLICLY AVAILABLE ON THE WEBSITE ON -- PUBLICLY

02:05PM    8       AVAILABLE AS OF THE DATE OF YOUR INTERVIEW.          OKAY?

02:05PM    9       A.    YES.

02:05PM   10       Q.    AND DO YOU RECALL HOW -- AND I WANT TO HAVE THIS AS A

02:06PM   11       REFERENCE FOR YOU IN CASE YOU NEED TO GO TO ANY OF THESE

02:06PM   12       MATERIALS IN CONNECTION WITH MY QUESTIONS.         OKAY?

02:06PM   13       A.    OKAY.

02:06PM   14       Q.    AND YOU MENTIONED THERE WAS NOT VERY MUCH PUBLICLY

02:06PM   15       AVAILABLE INFORMATION; RIGHT?

02:06PM   16       A.    NO.

02:06PM   17       Q.    AND THERE WAS NOT A LOT OF PRESS OR MEDIA OUT THERE;

02:06PM   18       RIGHT?

02:06PM   19       A.    THERE WAS NOT.

02:06PM   20       Q.    RIGHT.    AND THERE WASN'T A LOT ON THE WEBSITE?

02:06PM   21       A.    THERE WAS A YOUTUBE VIDEO OF ELIZABETH THAT SHE WAS

02:06PM   22       TALKING AT STANFORD AND IT WAS SHORTLY AFTER SHE STARTED THE

02:06PM   23       COMPANY.     SHE WAS A BRUNETTE BACK THEN.      IT WAS AN INTERESTING

02:06PM   24       TALK, YEAH.

02:06PM   25       Q.    AND SO WAS I.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 174
                                                                               175 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2062


02:06PM    1             (LAUGHTER.)

02:06PM    2       BY MR. WADE:

02:06PM    3       Q.    NEVERTHELESS, BASED UPON YOUR INFORMATION, THE INFORMATION

02:06PM    4       THAT YOU WERE TO GATHER AND THE PATENTS THAT YOU REVIEWED, YOU

02:06PM    5       CAME TO A CONCLUSION ABOUT THE COMPANY; RIGHT?

02:06PM    6       A.    YES.

02:06PM    7       Q.    YOU THOUGHT IT WOULD BE THE NEXT APPLE?

02:06PM    8       A.    CORRECT.

02:06PM    9       Q.    NOW, YOU UNDERSTAND THAT APPLE IS THE BIGGEST COMPANY IN

02:07PM   10       THE WORLD RIGHT NOW?

02:07PM   11       A.    IS THAT RIGHT?

02:07PM   12       Q.    IT'S WORTH OVER $2 TRILLION.

02:07PM   13       A.    MARKET CAP?

02:07PM   14       Q.    YEAH.

02:07PM   15       A.    I KEEP LOSING TRACK.      SOMETIMES IT'S MICROSOFT.      SOMETIMES

02:07PM   16       IT'S APPLE.     SOMETIMES IT'S GOOGLE.     YOU KNOW BETTER THAN ME.

02:07PM   17       Q.    ALL CHILDREN OF THE SILICON VALLEY HERE; RIGHT?

02:07PM   18       A.    NO.    I DIDN'T GROW UP HERE.

02:07PM   19       Q.    OKAY.   THOSE COMPANIES ARE ALL CHILDREN OF THE

02:07PM   20       SILICON VALLEY?

02:07PM   21       A.    YES, YES.

02:07PM   22       Q.    AND SO YOU CAME TO THE -- BUT YOU DID KNOW AT THE TIME --

02:07PM   23       IF YOU DIDN'T KNOW IT WAS ONE OF THE BIGGEST COMPANIES IN THE

02:07PM   24       WORLD, YOU KNEW IT WAS ONE OF THE MOST SUCCESSFUL COMPANIES

02:07PM   25       GOING AT THE TIME; RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 175
                                                                               176 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2063


02:07PM    1       A.    CORRECT.

02:07PM    2       Q.    AND BASED UPON THE HOUR OF INTERVIEWS AND THOSE PATENTS,

02:07PM    3       YOU CAME TO THE VIEW THAT THIS WAS GOING TO BE THE EQUIVALENT

02:07PM    4       OF THIS ICONIC CORPORATE COMPANY?

02:07PM    5       A.    I BELIEVED IT WAS GOING TO REVOLUTIONIZE LABORATORY

02:08PM    6       TESTING.

02:08PM    7       Q.    AND WERE THERE PARTICULAR PATENTS THAT CAUSED YOU TO

02:08PM    8       BELIEVE THAT IT COULD REVOLUTIONIZE LABORATORY TESTING?

02:08PM    9       A.    YEAH.   THERE WERE PATENTS RELATED TO HOW YOU COLLECT SMALL

02:08PM   10       SAMPLES; THERE WERE PATENTS RELATED TO TIPS THAT WERE COAT TO

02:08PM   11       THE ANTIBODIES THAT WOULD BOTH DRAW UP THE SAMPLE AND BE A

02:08PM   12       DETECTION DEVICE.     THERE WERE A LOT OF INTERESTING IDEAS.

02:08PM   13       Q.    AND THAT WAS WHAT -- THE TECHNOLOGY THAT YOU SAW PUBLICLY

02:08PM   14       AVAILABLE IN THE INTELLECTUAL PROPERTY IS WHAT CAUSED YOU TO

02:08PM   15       THINK THIS COULD BE THE NEXT APPLE?

02:08PM   16       A.    NOT JUST THAT.     I MEAN, THE IMPRESSION THAT I GOT AFTER

02:08PM   17       THE INTERVIEWS, THE FACT THAT THEY WERE INTERVIEWING ME AT

02:08PM   18       6:00 P.M. SPOKE TO A CERTAIN WORTH ETHIC THERE.

02:09PM   19             THE PATENTS WAS ONE FACTOR, YES.

02:09PM   20       Q.    PATENTS AND WORK ETHIC?

02:09PM   21       A.    YES.

02:09PM   22       Q.    AND THE 60-MINUTE OF INTERVIEW?

02:09PM   23       A.    ON YOUTUBE, YEAH.

02:09PM   24       Q.    OKAY.   AND I THINK YOU SAID WHEN YOU CAME TO THE COMPANY,

02:09PM   25       YOU DIDN'T GO ON TO THE CLIA LICENSE RIGHT AWAY; RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 176
                                                                               177 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2064


02:09PM    1       A.    CORRECT.    I NEEDED A CALIFORNIA MEDICAL LICENSE BEFORE I

02:09PM    2       COULD SERVE AS LABORATORY DIRECTOR.

02:09PM    3       Q.    AND SO WAS THERE A PROCESS THAT YOU HAD TO GO THROUGH TO

02:09PM    4       GET THAT BEFORE YOU COULD BE THE LABORATORY DIRECTOR?

02:09PM    5       A.    YES.    I APPLIED TO THE MEDICAL BOARD OF CALIFORNIA FOR A

02:09PM    6       MEDICAL LICENSE.

02:09PM    7       Q.    OKAY.   AND DID YOU GET THAT LICENSE?

02:10PM    8       A.    YES.

02:10PM    9       Q.    AND DO YOU RECALL WHEN YOU WENT ON THE CLIA CERTIFICATE?

02:10PM   10       A.    I DO NOT RECALL.

02:10PM   11       Q.    BEFORE YOU WENT ON THE CLIA CERTIFICATE, WAS IT

02:10PM   12       SPENCER HIRAKI WHO WAS ON THE CLIA CERTIFICATE?

02:10PM   13       A.    CORRECT.

02:10PM   14       Q.    AND JUST SO WE UNDERSTAND IT, THERANOS WAS RUNNING ONLY

02:10PM   15       THE BIG MACHINES; RIGHT?

02:10PM   16       A.    CORRECT.

02:10PM   17       Q.    AND THE COMMERCIAL DEVICES.

02:10PM   18             DO YOU RECALL WHICH ONES?

02:10PM   19       A.    THERE WERE -- I RECALL THEY WERE RUNNING THE VENOUS

02:10PM   20       SAMPLES ON THE SIEMENS INSTRUMENTS UNMODIFIED AND THE CELLDYNE

02:10PM   21       RUBY FOR CBC'S.

02:10PM   22       Q.    AND THOSE WERE COMING UNDER A CONTRACT THAT WAS WITH

02:10PM   23       SAFEWAY; IS THAT RIGHT?

02:10PM   24       A.    CORRECT.

02:10PM   25       Q.    THEY WERE PERFORMING TESTS OUT AT THE SAFEWAY LABORATORY,



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 177
                                                                               178 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2065


02:11PM    1       OR AT THE SAFEWAY HEADQUARTERS -- I'M SORRY -- AT THE THERANOS

02:11PM    2       LABORATORY; RIGHT?

02:11PM    3       A.    THESE TESTS WERE FOR SAFEWAY EMPLOYEES AT THEIR

02:11PM    4       HEADQUARTERS IN PLEASANTON.

02:11PM    5       Q.    AND AT WHAT POINT DID YOU GET INVOLVED IN OVERSEEING

02:11PM    6       THOSE, NOT IN A CLIA CAPACITY, BUT JUST AS AN EMPLOYEE?           DID

02:11PM    7       YOU HAVE ANY ROLE IN OVERSEEING THE OPERATION OF THOSE TESTS?

02:11PM    8       A.    NO.

02:11PM    9       Q.    NO?

02:11PM   10       A.    NO.

02:11PM   11       Q.    AND WHEN YOU -- WERE THERE ANY STEPS THAT YOU UNDERTOOK IN

02:11PM   12       BETWEEN THE PERIOD WHEN YOU WEREN'T THE CLINICAL LAB DIRECTOR

02:11PM   13       TO FAMILIARIZE YOURSELF WITH THE STATUS OF THE CLIA LAB?

02:11PM   14       A.    YES.   I WOULD HAVE FREQUENT DISCUSSIONS WITH LABORATORY

02:12PM   15       STAFF.    I SPENT A LOT OF TIME IN THE ACTUAL LABORATORY AND

02:12PM   16       FAMILIARIZED MYSELF WITH THE INSTRUMENTATION, WITH THE

02:12PM   17       LABORATORY INFORMATION SYSTEMS.

02:12PM   18       Q.    THE LABORATORY INFORMATION SYSTEM, THAT'S THE LIS?

02:12PM   19       A.    CORRECT.

02:12PM   20       Q.    AND THERE WAS PROBABLY AN EARLY VERSION OF THE LIS AT THAT

02:12PM   21       TIME?

02:12PM   22       A.    YES.   IT WAS CALLED LABDAQ.

02:12PM   23       Q.    LABDAQ.    IT WAS KIND OF AN OFF-THE-SHELF PRODUCT; IS THAT

02:12PM   24       RIGHT?

02:12PM   25       A.    I BELIEVE SO.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 178
                                                                               179 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2066


02:12PM    1       Q.    AND I'LL COME BACK IN A SECOND AND I'LL ASK YOU A FEW

02:12PM    2       QUESTIONS NEXT ABOUT THE NEXT VERSION OF THE LIS.

02:12PM    3       A.    UH-HUH.

02:12PM    4       Q.    BUT BEFORE I DO THAT, MR. HIRAKI WAS NOT THERE FULL TIME;

02:12PM    5       CORRECT?

02:12PM    6       A.    NO, HE WAS NOT.

02:12PM    7       Q.    DO YOU RECALL HOW OFTEN HE WOULD COME IN?

02:12PM    8       A.    ABOUT ONCE A MONTH.

02:12PM    9       Q.    AND YOU WERE THERE?

02:12PM   10       A.    CORRECT.

02:12PM   11       Q.    AND DID YOU THINK THAT IT WAS -- WAS IT YOUR UNDERSTANDING

02:12PM   12       THAT IT WAS APPROPRIATE UNDER CLIA TO HAVE A PART-TIME LAB

02:13PM   13       DIRECTOR?

02:13PM   14       A.    YES, IT IS PERMITTED UNDER CLIA.

02:13PM   15       Q.    IN FACT, IT'S PRETTY COMMON, ISN'T IT?

02:13PM   16       A.    YES.

02:13PM   17       Q.    AND IT'S NOT AT ALL UNCOMMON FOR ONE LAB DIRECTOR TO COVER

02:13PM   18       MULTIPLE LABS; RIGHT?

02:13PM   19       A.    CORRECT.    YOU'RE PERMITTED TO DIRECT FIVE LABS UNDER CLIA,

02:13PM   20       I BELIEVE.

02:13PM   21       Q.    FIVE LABS?

02:13PM   22       A.    CORRECT, CORRECT.

02:13PM   23       Q.    SO AS A LAB DIRECTOR, YOU HAVE THE ABILITY TO SPLIT YOUR

02:13PM   24       TIME BETWEEN FIVE DIFFERENT LABS?

02:13PM   25       A.    YES, IF YOU -- THAT'S REALLY AN INTERNAL CHOICE.          IF YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 179
                                                                               180 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2067


02:13PM    1       BELIEVE THAT YOU CAN FULFILL THOSE DUTIES RESPONSIBLY, THEN

02:13PM    2       YES.

02:13PM    3       Q.     AND THAT'S A JUDGMENT THAT IS MADE BY THE LAB DIRECTOR?

02:13PM    4       A.     CORRECT.

02:13PM    5       Q.     OKAY.    AND DID YOU THINK, GIVEN THE SMALL VOLUME OF TESTS

02:13PM    6       AND THE FACT THAT THEY WERE ON THESE BIG MACHINES, DID YOU

02:13PM    7       THINK THAT MR. HIRAKI WAS DEDICATING ENOUGH TIME IN THAT

02:13PM    8       PERIOD?

02:13PM    9       A.     YES.

02:13PM   10       Q.     AND YOU WERE THERE, TOO, TO HELP; RIGHT?

02:13PM   11       A.     YES.

02:13PM   12       Q.     AND YOU AT TIMES SERVED AS A PART-TIME LAB DIRECTOR;

02:14PM   13       CORRECT?

02:14PM   14       A.     CORRECT, CORRECT.

02:14PM   15       Q.     AND ABOUT WHAT IS THE MOST LABS THAT YOU'VE COVERED?

02:14PM   16       A.     THREE.

02:14PM   17       Q.     THREE AT ONCE?

02:14PM   18       A.     YES.

02:14PM   19       Q.     OKAY.    BUT YOU THINK THERE'S A REGULATION THAT ALLOWS YOU

02:14PM   20       TO DO UP TO FIVE; IS THAT RIGHT?

02:14PM   21       A.     YEAH.    I DON'T KNOW IF THAT'S A BUSINESS AND PROFESSIONS

02:14PM   22       CODE THAT IS SPECIFIC TO CALIFORNIA OR WHETHER THAT'S A CLIA

02:14PM   23       REG.    THOSE ARE THE RULES.     I DON'T KNOW WHAT THEY FALL UNDER,

02:14PM   24       YEAH.

02:14PM   25       Q.     AND IS THE ISSUE THERE, THERE'S SOME JUDGMENT THAT IF YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 180
                                                                               181 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2068


02:14PM    1       GO OVER FIVE, THAT'S PROBABLY TOO MANY; RIGHT?

02:14PM    2       A.    YES.

02:14PM    3       Q.    AS YOU WERE COMING INTO THE LAB, DID YOU REVIEW THE SOP'S

02:14PM    4       THAT WERE IN PLACE.

02:14PM    5       A.    NO.    ONCE YOU'RE THE LAB DIRECTOR OF RECORD, YOU DON'T

02:15PM    6       SIGN SOP'S.     YOU KNOW, THE TESTS WERE BEING RUN ACCORDING TO

02:15PM    7       THE PACKAGE INSERTS, THE SIEMENS PACKAGE INSERTS.          I WAS

02:15PM    8       FAMILIAR WITH THOSE.

02:15PM    9             I DON'T REALLY RECALL REVIEWING THE SOP'S IN MUCH DETAIL,

02:15PM   10       NO.

02:15PM   11       Q.    NOW, GIVE US ALL A SENSE OF THE NUMBER OF SOP'S THAT ONE

02:15PM   12       HAS IN A CLIA LAB.      DO YOU HAVE AN ESTIMATE ON THE NUMBER OF

02:15PM   13       SOP'S?

02:15PM   14       A.    IT'S VERY VARIABLE.      IT DEPENDS ON THE NUMBER OF TESTS

02:15PM   15       BEING RUN.     IT DEPENDS ON THE REGULATORY ENVIRONMENTS IN THE

02:15PM   16       LABORATORY.     SO I CAN'T REALLY GIVE YOU A NUMBER.

02:15PM   17       Q.    WHEN YOU SAY "REGULATORY ENVIRONMENT," IS THAT WHETHER

02:15PM   18       IT'S A MODERATE COMPLEXITY OR A HIGH COMPLEXITY LABORATORY?

02:15PM   19       A.    NO.    IT'S JUST THE CULTURE OF THE COMPANY IN TERMS OF

02:15PM   20       HAVING SOP'S AND POLICIES IN PLACE THAT ADDRESS EVERY SINGLE

02:15PM   21       CLIA REQUIREMENT, YEAH.

02:15PM   22       Q.    BUT THERE ARE SOME THINGS THAT ARE VIEWED AS NECESSARY

02:16PM   23       UNDER CLIA; RIGHT?

02:16PM   24       A.    YES.

02:16PM   25       Q.    AND DID YOU --



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 181
                                                                               182 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2069


02:16PM    1       A.    SO I JUST WANT TO CLARIFY, NOT -- THERE ARE MANY, MANY,

02:16PM    2       LABORATORIES THAT ARE ACCREDITED BY CAP, THE COLLEGE OF

02:16PM    3       AMERICAN PATHOLOGY.      THOSE LABORATORIES WOULD BE TAILORING

02:16PM    4       THEIR SOP'S TO THE CAP CHECKLIST.

02:16PM    5       Q.    OKAY.   WAS THERANOS A CAP LAB?

02:16PM    6       A.    NO.

02:16PM    7       Q.    IT WAS THE CLIA LAB?

02:16PM    8       A.    CORRECT.

02:16PM    9       Q.    AND THE CLIA PROCESS ACTUALLY, THERE'S A CERTIFICATION

02:16PM   10       PROCESS THAT HAPPENS BEFORE YOU CAN ATTAIN CLIA LICENSING;

02:16PM   11       RIGHT?

02:16PM   12       A.    CORRECT.

02:16PM   13       Q.    AND PART OF THAT PROCESS IS THAT YOU HAVE TO GO THROUGH

02:16PM   14       AND SET UP NECESSARY PROCEDURES AND GET NECESSITY PERSONNEL AND

02:16PM   15       EQUIPMENT AND THE LIKE; RIGHT?

02:17PM   16       A.    CORRECT.

02:17PM   17       Q.    AND IN THOSE REGULATIONS THAT WE WERE TALKING ABOUT AT

02:17PM   18       7603, THERE ARE A LOT OF REQUIREMENTS THAT GO TO WHAT IS

02:17PM   19       NECESSARY BEFORE YOU CAN PROPERLY FUNCTION AS A CLIA

02:17PM   20       LABORATORY; CORRECT?

02:17PM   21       A.    CORRECT.

02:17PM   22       Q.    AND IT WAS YOUR UNDERSTANDING AT THE TIME THAT YOU CAME

02:17PM   23       INTO THE COMPANY THAT THERANOS HAD ALREADY GONE THROUGH THAT

02:17PM   24       CERTIFICATION PROCESS; RIGHT?

02:17PM   25       A.    YES.    SO THE FIRST THING THAT HAPPENS IS THAT LABORATORY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 182
                                                                               183 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2070


02:17PM    1       FIELD SERVICES COMES ON SITE AND THEY DO AN INSPECTION, AND IF

02:17PM    2       THAT GOES WELL, THEY ISSUE A CERTIFICATE OF REGISTRATION, AND

02:17PM    3       THEN AT SOME SUBSEQUENT POINT, THEY COME BACK AND DO ANOTHER

02:17PM    4       INSPECTION AND THEY GIVE YOU A CERTIFICATE OF COMPLIANCE, COC.

02:17PM    5       Q.    AND ONLY THEN CAN YOU OPERATE AS A LAB?

02:17PM    6       A.    NO.    YOU CAN START TESTING AFTER YOU GET YOUR CERTIFICATE

02:17PM    7       OF REGISTRATION.

02:17PM    8       Q.    SO AFTER THE FIRST CERTIFICATE.       BUT THEN THEY'RE GOING TO

02:18PM    9       COME BACK A SHORT TIME LATER AND DO AN INSPECTION; IS THAT

02:18PM   10       RIGHT?

02:18PM   11       A.    CORRECT.    CORRECT.   THAT'S MY UNDERSTANDING, CORRECT.

02:18PM   12       Q.    OKAY.   AND SO THERE ARE TWO VISITS THAT ARE NECESSARY

02:18PM   13       BEFORE YOU ARE KIND OF FULLY CERTIFIED UNDER CLIA?

02:18PM   14       A.    CORRECT.

02:18PM   15       Q.    OKAY.   AND IT WAS YOUR UNDERSTANDING AT THE TIME THAT YOU

02:18PM   16       CAME IN THAT THERANOS HAD ALREADY GONE THROUGH THAT PROCESS;

02:18PM   17       RIGHT?

02:18PM   18       A.    YES.

02:18PM   19       Q.    AND DO YOU KNOW --

02:18PM   20       A.    I ACTUALLY -- SO I WANT TO CLARIFY.        THERANOS WAS RUNNING

02:18PM   21       AND REPORTING PATIENT SAMPLES, I BELIEVE THEY HAD AT LEAST

02:18PM   22       THEIR CERTIFICATE OF REGISTRATION.        I DO NOT RECALL IF THEY HAD

02:18PM   23       THE OTHER CERTIFICATE OF COMPLIANCE, YEAH.

02:18PM   24       Q.    OKAY.   WELL, I TAKE IT AT SOME POINT BEFORE YOU BECAME THE

02:18PM   25       LAB DIRECTOR, YOU LEARNED OR ENSURED THAT IT WAS A PROPERLY



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 183
                                                                               184 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2071


02:18PM    1       CERTIFIED LAB.

02:18PM    2       A.    YES, YES, OF COURSE.

02:18PM    3       Q.    AND YOU FILED THE NECESSARY PAPERWORK TO PUT YOURSELF ON

02:18PM    4       THE LAB AS THE LAB DIRECTOR; RIGHT?

02:18PM    5       A.    CORRECT.

02:18PM    6       Q.    AND DO YOU RECALL THE DATE ON WHICH YOU BECAME THE, YOU

02:19PM    7       BECAME THE LABORATORY DIRECTOR OF RECORD?

02:19PM    8       A.    NO, I DO NOT.

02:19PM    9       Q.    DO YOU RECALL AROUND THE FALL OF 2013?

02:19PM   10       A.    SUMMER MAYBE.     I JUST -- I CAN'T SPEAK TO THAT UNDER OATH.

02:19PM   11       I DON'T HAVE A RECOLLECTION OF IT.

02:19PM   12       Q.    OKAY.   I TAKE IT YOU DON'T RECALL WHEN YOU GOT YOUR

02:19PM   13       NECESSARY LICENSING FROM CALIFORNIA?

02:19PM   14       A.    NO, I DO NOT RECALL.      NO.

02:19PM   15       Q.    OKAY.   AND THERE ARE, WITHIN THE CLIA WORLD, DIFFERENT

02:19PM   16       LEVELS OF COMPLEXITY --

02:19PM   17       A.    CORRECT.

02:19PM   18       Q.    -- FOR LABS; RIGHT?

02:19PM   19       A.    CORRECT.

02:19PM   20       Q.    AND THERE'S A HIGH COMPLEXITY LAB; RIGHT?         AND A MODERATE

02:19PM   21       COMPLEXITY LAB?

02:19PM   22       A.    THERE ARE MULTIPLE CATEGORIES.       THERE'S A MODERATE

02:19PM   23       COMPLEXITY, A HIGH COMPLEXITY, THERE'S SOMETHING ELSE CALLED

02:20PM   24       PROVIDER -- PPM, IT'S A MICROSCOPY CERTIFICATION.          THERE ARE

02:20PM   25       OTHER LABS DOING CLIA WAVE TESTS.        SO THERE ARE A NUMBER OF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 184
                                                                               185 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2072


02:20PM    1       CATEGORIES.

02:20PM    2       Q.    AND WHAT IS -- HIGH COMPLEXITY, IS THAT THE HIGHEST LEVEL

02:20PM    3       FOR A CLIA LAB?

02:20PM    4       A.    RIGHT.   SO IF YOU DO EVEN ONE LABORATORY DEVELOPED TEST,

02:20PM    5       YOU'RE IMMEDIATELY CONSIDERED HIGH COMPLEXITY.

02:20PM    6       Q.    SO THERANOS NEEDED TO BE A HIGH COMPLEXITY CLIA LAB;

02:20PM    7       RIGHT?

02:20PM    8       A.    CORRECT.

02:20PM    9       Q.    AND AS A RESULT, THE LEVEL OF QUALIFICATIONS FOR STAFF GO

02:20PM   10       UP A LEVEL; RIGHT?

02:20PM   11       A.    CORRECT.

02:20PM   12       Q.    AND THERE ARE SOME PEOPLE WHO COULD BE -- WHO WOULD BE

02:20PM   13       QUALIFIED TO BE MODERATE COMPLEXITY LAB DIRECTORS WHO COULD

02:20PM   14       NEVER BECOME A HIGH COMPLEXITY LAB DIRECTOR; RIGHT?

02:20PM   15       A.    THAT'S RIGHT.

02:20PM   16       Q.    UNLESS THEY WENT BACK TO MEDICAL SCHOOL OR SOMETHING OR

02:20PM   17       GOT A PH.D. IN THE NECESSARY LICENSING?

02:20PM   18       A.    YES.   THE REQUIREMENTS ARE MORE STRINGENT FOR EDUCATION

02:21PM   19       AND EXPERIENCE IN A HIGH COMPLEXITY LAB VERSUS A MODERATE

02:21PM   20       COMPLEXITY.

02:21PM   21       Q.    AND ARE THE OPERATIONAL POLICIES AND GUIDELINES MORE

02:21PM   22       RIGOROUS AS WELL?

02:21PM   23       A.    THOSE ARE DETERMINED BY THE LABORATORY FOR THE MOST PART,

02:21PM   24       YEAH.

02:21PM   25       Q.    WELL, YOU WERE -- YOU ENDED UP BEING THE LAB DIRECTOR OF



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 185
                                                                               186 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2073


02:21PM    1       THIS HIGH COMPLEXITY LAB; RIGHT?

02:21PM    2       A.     YES, I WAS.

02:21PM    3       Q.     AND WAS UNIVERSITY OF -- UPMC, WAS THAT A HIGH COMPLEXITY

02:21PM    4       LAB?

02:21PM    5       A.     YES.

02:21PM    6       Q.     OKAY.   SO YOU WERE COMFORTABLE WITH THE LEVEL OF

02:21PM    7       PROCEDURES AND THINGS THAT WERE IN PLACE WHEN YOU PUT YOUR NAME

02:21PM    8       ON TO THE CERTIFICATE?

02:21PM    9       A.     AT THE TIME, YES.

02:21PM   10       Q.     YEAH.   WERE THERE OTHER POLICIES THAT YOU PUT IN PLACE

02:21PM   11       IMMEDIATELY OR BEFORE YOU TOOK OVER?

02:21PM   12       A.     SO I LISTED A NUMBER OF POLICIES AND PROCEDURES IN THE

02:22PM   13       EMAIL TO ELIZABETH SHORTLY BEFORE THE LAUNCH.          THAT'S WHAT I

02:22PM   14       WORKED ON.     THAT'S WHAT I RECALL.

02:22PM   15       Q.     THAT'S WHAT YOU RECALL?

02:22PM   16       A.     YEAH.

02:22PM   17       Q.     BECAUSE YOU WERE TELLING HER WHAT NEEDED TO BE DONE IN

02:22PM   18       ORDER TO BE SHIPSHAPE?

02:22PM   19       A.     CORRECT.

02:22PM   20       Q.     IN ORDER TO MAKE SURE THAT EVERYTHING IS IN COMPLIANCE?

02:22PM   21       A.     YEAH.   I WAS FURIOUSLY WORKING ON DOCUMENTATION BEFORE THE

02:22PM   22       LAUNCH, YEAH.

02:22PM   23       Q.     IN FACT, IF WE CAN GO BACK TO -- DO YOU RECALL IN THAT

02:22PM   24       EMAIL FROM MR. BALWANI IN ADVANCE OF THE NOVEMBER PUBLIC

02:22PM   25       LAUNCH, DO YOU RECALL THAT DOCUMENT THAT WE WERE LOOKING AT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 186
                                                                               187 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2074


02:22PM    1       A.    I THINK SO, WHERE I SAID HOW EXCITING THAT WE'RE

02:22PM    2       GOING PUBLIC, OR THAT WE'RE EXPANDING TESTING TO A WIDER BASE?

02:22PM    3       IS THAT THE EMAIL?

02:22PM    4       Q.    YES.   IT'S 12464.    CAN WE BRING THAT UP?

02:23PM    5             DO YOU SEE AT THE BOTTOM OF THE FIRST PAGE THERE'S AN

02:23PM    6       EMAIL FROM MR. BALWANI TO YOU?

02:23PM    7             DO YOU SEE THAT?

02:23PM    8       A.    YES.

02:23PM    9       Q.    AND WE TALKED ABOUT HOW THIS WAS IN DISCUSSION OF GOING

02:23PM   10       LIVE?

02:23PM   11       A.    YES.

02:23PM   12       Q.    AND LET'S GO TO THE SECOND PAGE.

02:23PM   13                    THE CLERK:    IS THIS ADMITTED?

02:23PM   14                    MR. WADE:    I BELIEVE 12464 WAS ADMITTED.      IF NOT, I

02:23PM   15       WOULD MOVE THE ADMISSION.

02:23PM   16                    THE CLERK:    IT IS.

02:23PM   17       BY MR. WADE:

02:23PM   18       Q.    AND DO YOU SEE THIS PAGE?

02:23PM   19       A.    YES.

02:23PM   20       Q.    AND HERE MR. BALWANI IS SAYING, "THE KEY IS TO HAVE

02:23PM   21       PERFECT DISCIPLINE AND SOP'S IN PLACE TO MAKE SURE WE HAVE A

02:23PM   22       PLAN FOR EVERYTHING AND EVERYONE IN THE CHAIN KNOWS WHAT NEEDS

02:23PM   23       TO BE DONE."

02:23PM   24             DO YOU SEE THAT?

02:23PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 187
                                                                               188 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2075


02:23PM    1       Q.    AND HE'S -- AND HE THEN SAYS, "WE WILL WORK ON THIS FROM

02:24PM    2       NOW THRU THE NEXT 5 DAYS AND I KNOW WE WILL GET THIS DONE."

02:24PM    3             DO YOU SEE THAT?

02:24PM    4       A.    YES.

02:24PM    5       Q.    AND SO HE WAS ASKING AND HE WANTED THIS SHIPSHAPE LIKE YOU

02:24PM    6       SAID?

02:24PM    7       A.    YES.

02:24PM    8       Q.    AND THEN HE SAYS, "I WOULD LIKE TO ASK AT THIS TIME IF YOU

02:24PM    9       HAVE A REASON TO THINK THAT WE NEED MORE TIME OR TEST OUT

02:24PM   10       SOMETHING THAT WE HAVEN'T THOUGHT ABOUT."

02:24PM   11             DO YOU SEE THAT?

02:24PM   12       A.    YES, YES.

02:24PM   13       Q.    WE WILL BE PICKING UP -- THERE'S MAYBE A TYPO THERE, BUT

02:24PM   14       HE BASICALLY SAYS THAT THEY'RE GOING TO BE PICKING UP SAMPLES

02:24PM   15       EVERY HOUR OR SO DURING NOVEMBER.

02:24PM   16             DO YOU SEE THAT?

02:24PM   17       A.    YES.

02:24PM   18       Q.    AND SO HE'S RAISING THIS TO YOU TO MAKE SURE THAT YOU'RE

02:24PM   19       COMFORTABLE; RIGHT?

02:24PM   20       A.    YES.

02:24PM   21       Q.    AND YOU RESPOND.     LET'S LOOK AT THAT.

02:25PM   22             AND YOU SAY, "THIS IS VERY EXCITING THAT WE ARE BROADENING

02:25PM   23       OUR TESTING TO A WIDER BASE?"

02:25PM   24             RIGHT?

02:25PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 188
                                                                               189 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2076


02:25PM    1       Q.    DO YOU RECALL THAT?

02:25PM    2             AS A LAB DIRECTOR, IT PROBABLY WAS MORE EXCITING TO START

02:25PM    3       HAVING MORE VOLUME AND DIFFERENT TESTS; RIGHT?

02:25PM    4       A.    YES.

02:25PM    5       Q.    AND IT SAYS, "THERE ARE A FEW ISSUES THAT NEED TO BE

02:25PM    6       ADDRESSED."

02:25PM    7             SO YOU RESPONDED TO HIS INQUIRY; RIGHT?

02:25PM    8       A.    YES.

02:25PM    9       Q.    AND YOU IDENTIFIED THOSE ISSUES; RIGHT?

02:25PM   10       A.    YES.

02:25PM   11       Q.    AND YOU WORKED TO MAKE SURE THAT YOU GOT THEM ADDRESSED;

02:25PM   12       RIGHT?

02:25PM   13       A.    YES.    YES.

02:25PM   14       Q.    AND DO YOU RECALL IN THIS TIME PERIOD THERE WERE

02:25PM   15       ACTUALLY -- THERE WAS KIND OF A CAP PUT IN PLACE ON THE NUMBER

02:25PM   16       OF SAMPLES THAT WOULD BE HANDLED?

02:25PM   17       A.    I DO NOT RECALL THAT.

02:25PM   18       Q.    WELL, DO YOU RECALL IN THIS TIME PERIOD IN NOVEMBER THERE

02:25PM   19       WAS ONLY THE ONE LOCATION; RIGHT?

02:25PM   20       A.    CORRECT.

02:25PM   21       Q.    AND WE HAD TALKED ABOUT THE -- YOU WERE ASKED IN THE GRAND

02:25PM   22       JURY ABOUT WHETHER THE -- IT WAS GOING TO BE IMMINENT THAT YOU

02:26PM   23       WERE GOING TO ENTER THE 40 WALGREENS LOCATIONS.

02:26PM   24             DO YOU RECALL THAT?

02:26PM   25       A.    YEAH.   THAT'S WHAT I WAS TOLD BY MR. BALWANI, THAT IT WAS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 189
                                                                               190 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2077


02:26PM    1       IMMINENT THAT THEY WERE GOING TO GO INTO ARIZONA AND HAVE A

02:26PM    2       NUMBER OF LOCATIONS THERE.

02:26PM    3             BUT AS OF NOVEMBER, IT WAS JUST THE WALGREENS IN

02:26PM    4       PALO ALTO.

02:26PM    5       Q.    RIGHT.   AND ACTUALLY, IN THE EMAIL DOWN BELOW, IT SAYS, WE

02:26PM    6       WILL BE OPENING OUR FIRST PHOENIX LOCATION NEXT MID-WEEK;

02:26PM    7       RIGHT?

02:26PM    8       A.    YES.

02:26PM    9       Q.    SO AT THE TIME THERE WAS ONE; RIGHT?

02:26PM   10       A.    CORRECT.

02:26PM   11       Q.    AND THERE WOULD SOON BE A SECOND?

02:26PM   12       A.    CORRECT.

02:26PM   13       Q.    AND DO YOU RECALL THAT THERE WAS ACTUALLY ANOTHER ARIZONA

02:26PM   14       STORE THAT WAS ADDED IN NOVEMBER AS WELL?

02:26PM   15             DO YOU RECALL THAT?

02:26PM   16       A.    I DON'T RECALL THE ROLLOUT, THE TIMELINE AND THE ROLLOUT

02:26PM   17       IN ARIZONA.    NO, I DO NOT.

02:26PM   18       Q.    AND DO YOU RECALL IT WASN'T UNTIL ACTUALLY OCTOBER OF 2014

02:26PM   19       THAT THERE WERE 40 STORES ACROSS ARIZONA?

02:27PM   20       A.    AGAIN, I DON'T RECALL THE EXACT SCOPE AND TIMELINE OF THE

02:27PM   21       ARIZONA ROLLOUT.

02:27PM   22       Q.    BUT YOU RECALL FROM THE VOLUME THAT IN THE EARLY PERIOD

02:27PM   23       IN -- OF THE PUBLIC LAUNCH FROM THE -- IN NOVEMBER GOING

02:27PM   24       FORWARD, THAT THE VOLUME WAS NOT OVERWHELMING; RIGHT?

02:27PM   25       A.    CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 190
                                                                               191 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2078


02:27PM    1       Q.    AND THAT THE STORE FOOTPRINT EXTENDED OVER TIME AND THE

02:27PM    2       VOLUME RAMPED UP; RIGHT?

02:27PM    3       A.    CORRECT, CORRECT.

02:27PM    4       Q.    AND ONE OF THE THINGS THAT YOU WERE FOCUSSED ON WITH

02:27PM    5       DR. PANDORI AND OTHERS WAS WORKING TO GET STRONG PROCEDURES AND

02:27PM    6       POLICIES IN PLACE WHILE THE VOLUME WAS STILL LOW; RIGHT?

02:27PM    7       A.    YES.

02:27PM    8       Q.    AND THAT GAVE YOU MORE TIME TO DO SOME THINGS LIKE SOME OF

02:27PM    9       THESE STUDIES AND SOME OF THESE OTHER THINGS TO TRY TO GET

02:27PM   10       COMFORTABLE WITH THE PROCEDURES; RIGHT?

02:27PM   11       A.    FROM MY PERSPECTIVE, THE VOLUME IS NOT -- DOESN'T REALLY

02:27PM   12       MATTER.    YOU HAVE TO HAVE POLICIES AND PROCEDURES IN PLACE

02:28PM   13       BEFORE YOU START PATIENT TESTING.

02:28PM   14       Q.    RIGHT.

02:28PM   15       A.    IT'S NOT THAT THE VOLUME IS LOW, SO NOW WE HAVE BREATHING

02:28PM   16       ROOM TO DO THIS.     THIS HAS TO BE DONE EVEN IF YOU'RE TESTING

02:28PM   17       ONE PATIENT.

02:28PM   18       Q.    AND YOU STILL HAVE TO HAVE ALL OF THE CLIA POLICIES AND

02:28PM   19       PRACTICES IN PLACE; RIGHT?

02:28PM   20       A.    YES.

02:28PM   21       Q.    AND YOU STILL NEED TO ADHERE TO THE REGULATIONS AS YOU SAY

02:28PM   22       YOU DID; RIGHT?

02:28PM   23       A.    YES.

02:28PM   24       Q.    BUT IN TERMS OF THE OPERATIONAL ASPECTS OF THE LAB, AND

02:28PM   25       HOW IT FUNCTIONS, AND HOW IT HANDLES THINGS, AND HOW IT IS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 191
                                                                               192 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2079


02:28PM    1       MANAGED ON A DAY-TO-DAY BASIS, YOU HAVE SOME TIME TO WORK THAT

02:28PM    2       OUT; RIGHT?

02:28PM    3       A.    YES.   DEFINITELY ON THE OPERATIONAL ISSUES, YES.

02:28PM    4       Q.    AND THAT'S APPROPRIATE.      THE KEY THING IS YOU HAVE TO MEET

02:28PM    5       THOSE CLIA REQUIREMENTS?

02:28PM    6       A.    CORRECT.

02:28PM    7       Q.    AND YOU ALWAYS MET THOSE?

02:28PM    8       A.    YES.

02:28PM    9       Q.    NOW, THIS MAY BE ROUTINE TO YOU, BUT PLEASE BEAR WITH ME.

02:29PM   10       THESE SOP'S AND POLICIES THAT YOU PUT IN PLACE, A LOT OF THEM

02:29PM   11       ARE ACTUALLY SPECIFICALLY REQUIRED BY THE REGULATIONS; RIGHT?

02:29PM   12       A.    CORRECT.

02:29PM   13       Q.    THAT STACK AT 7603?

02:29PM   14       A.    CORRECT.

02:29PM   15       Q.    AND WHICH IS PROBABLY RESPONSIBLE FOR THE DEATH OF MANY

02:29PM   16       TREES; RIGHT?     IS THAT RIGHT?

02:29PM   17       A.    I GUESS SO.    YOU'RE MAKING A JOKE, BUT I GUESS SO.

02:29PM   18       Q.    AND VERY THICK POLICIES.      DO YOU RECALL THAT?

02:29PM   19       A.    YES.

02:29PM   20       Q.    AND WHAT IS THE PURPOSE?      CAN YOU JUST EXPLAIN FOR THE

02:29PM   21       LADIES AND GENTLEMEN OF THE JURY THE PURPOSE OF HAVING SOP'S

02:29PM   22       AND WHY IT'S IMPORTANT TO DOCUMENT THEM?

02:29PM   23       A.    RIGHT.   SO AN SOP IS A SERIES OF STEPS THAT THE LAB TECHS

02:29PM   24       TAKE DURING TESTING, AND THE GOAL IS TO MAKE SURE THAT ALL OF

02:29PM   25       THE TECHS ARE DOING THE SAME THING, THAT THEY'RE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 192
                                                                               193 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2080


02:30PM    1       STANDARDIZATION BETWEEN LAB TECHS, THAT THEY'RE EXECUTING THE

02:30PM    2       TESTS IN A WAY THAT COMPLIES WITH HOW.         THE TEST IS SUPPOSED TO

02:30PM    3       BE RUN SO THAT ACCURATE TESTS COME OUT.

02:30PM    4             THERE ARE OTHER SOP'S THAT DEAL WITH PROFICIENCY TESTING

02:30PM    5       OR POST-ANALYTIC ASPECTS LIKE PATIENT REPORTING, AND

02:30PM    6       PREANALYTIC LIKE HOW YOU COLLECT THE SAMPLE.

02:30PM    7             AN SOP IS AN OPERATING PROCEDURE THAT SPELLS OUT IN DETAIL

02:30PM    8       HOW THINGS SHOULD BE DONE AND MAKES SURE THAT EVERYBODY IS ON

02:30PM    9       THE SAME PAGE.

02:30PM   10       Q.    AND THAT CAN GO FROM VERY SPECIFIC INFORMATION WITH

02:30PM   11       RESPECT TO ONE ASSAY; RIGHT?

02:30PM   12       A.    YES.

02:30PM   13       Q.    AND IT CAN INCLUDE THAT?

02:30PM   14       A.    YES.

02:30PM   15       Q.    TO A WHOLE QUALITY ASSURANCE SYSTEM; RIGHT?

02:30PM   16       A.    YES.

02:30PM   17       Q.    AND THAT QUALITY ASSURANCE SYSTEM IS SOMETHING THAT THE

02:30PM   18       LAB DIRECTOR IS ULTIMATELY RESPONSIBLE FOR; RIGHT?

02:31PM   19       A.    YES.

02:31PM   20       Q.    AND YOU HAD A QUALITY CONTROL MANAGER AT THERANOS?

02:31PM   21       A.    QM MANAGER, CORRECT.

02:31PM   22       Q.    AND HIS NAME WAS LANGLY GEE; RIGHT?

02:31PM   23       A.    THAT'S CORRECT.

02:31PM   24       Q.    SPECIFICALLY HIRED FOR THAT FUNCTION?

02:31PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 193
                                                                               194 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2081


02:31PM    1       Q.    AND REPORTING TO YOU?

02:31PM    2       A.    YES.

02:31PM    3       Q.    AND HE HAS A WHOLE SET OF POLICIES AND A WHOLE SYSTEM THAT

02:31PM    4       IS DESIGNED TO ASSURE QUALITY CONTROL AND FUNCTIONING WITHIN

02:31PM    5       THE LAB?

02:31PM    6       A.    YES.

02:31PM    7       Q.    RIGHT?

02:31PM    8             AND SO YOU HAVE THAT WHOLE SPACE; RIGHT?

02:31PM    9             AND THEN YOU ALSO HAVE A LOT OF VERY SPECIFIC REQUIREMENTS

02:31PM   10       THAT NEED TO BE DOCUMENTED WITHIN THESE PROCEDURES; RIGHT?

02:31PM   11       A.    CORRECT.

02:31PM   12       Q.    AND LET'S LOOK AT 9903.

02:32PM   13       A.    OKAY.

02:32PM   14       Q.    DO YOU HAVE THAT IN FRONT OF YOU?

02:32PM   15       A.    YES.

02:32PM   16       Q.    AND THAT'S SOP FOR REFRIGERATOR AND FREEZER TEMPERATURE

02:32PM   17       MONITORING; RIGHT?

02:32PM   18       A.    YES.

02:32PM   19       Q.    AND THIS WAS THE SOP THAT WAS IN PLACE WITHIN THE THERANOS

02:32PM   20       CLIA LAB; RIGHT?

02:32PM   21       A.    IT WAS EFFECTIVE ON JUNE 9TH, 2011.        I DO NOT KNOW IF

02:32PM   22       THERE WAS A SUPERSEDING DOCUMENT THAT WOULD HAVE REPLACED THIS.

02:32PM   23       I WOULD NEED TO GO INTO THE DOCUMENT CONTROL SYSTEM TO SEE

02:32PM   24       THAT.

02:32PM   25       Q.    BUT YOU RECOGNIZE THAT THIS IS PART OF THE DOCUMENT FORMAT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 194
                                                                               195 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2082


02:32PM    1       AND DOCUMENT CONTROL SYSTEM THAT WAS USED TO TRACK DIFFERENT

02:32PM    2       POLICIES WITHIN THE CLIA LAB AT THERANOS; RIGHT?

02:32PM    3       A.    THIS IS A -- THIS IS A PROCEDURE, SIR.

02:32PM    4       Q.    THIS IS AN SOP?

02:32PM    5       A.    CORRECT, CORRECT.

02:32PM    6       Q.    BUT THIS IS AN SOP, WHICH IS A POLICY OR PROCEDURE WITHIN

02:32PM    7       THE THERANOS LAB; RIGHT?

02:32PM    8       A.    PROCEDURE, CORRECT.

02:32PM    9       Q.    OKAY.    PROCEDURE.    I STAND CORRECTED, DOCTOR.

02:33PM   10             AND IT'S KEPT IN THE FORMAT AS A CONTROL DOCUMENT THAT WAS

02:33PM   11       NECESSARY WITHIN THE LAB; RIGHT?

02:33PM   12       A.    CORRECT.

02:33PM   13                     MR. WADE:    I MOVE THE ADMISSION OF 9903.

02:33PM   14                     MR. BOSTIC:   NO OBJECTION.

02:33PM   15                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

02:33PM   16             (DEFENDANT'S EXHIBIT 9903 WAS RECEIVED IN EVIDENCE.)

02:33PM   17       BY MR. WADE:

02:33PM   18       Q.    SIR, THIS IS, I'M GOING TO GUESS, 120 PAGES THAT RELATES

02:33PM   19       TO THE MONITORING OF TEMPERATURES WITHIN THE REFRIGERATOR AND

02:33PM   20       FREEZER AT THE LAB; RIGHT?

02:33PM   21       A.    I DON'T KNOW HOW MANY PAGES ARE HERE.        THESE PROCEDURES

02:33PM   22       APPEAR TO APPLY TO TEMPERATURE MONITORING, YES.

02:33PM   23       Q.    YOU SEE THE FIRST PAGE IN THE BOTTOM IS 425?

02:33PM   24       A.    YES.

02:33PM   25       Q.    AND YOU SEE THE LAST PAGE IS 558?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 195
                                                                               196 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2083


02:33PM    1       A.    I'M SORRY?

02:33PM    2       Q.    THE LAST PAGE ON THE BOTTOM SAYS --

02:34PM    3       A.    OH, I SEE.

02:34PM    4       Q.    -- 558.    IF YOU JUST FLIP TO THE BACK.

02:34PM    5             I'M JUST FOCUSSED ON THE VERY LAST PAGE, DR. ROSENDORFF?

02:34PM    6       A.    YES.

02:34PM    7       Q.    AND DO YOU SEE IT SAYS 558 IN THE BOTTOM RIGHT CORNER?

02:34PM    8       A.    YES.

02:34PM    9       Q.    OKAY.   SO THAT'S ABOUT 125, 130 PAGES.

02:34PM   10             DO YOU SEE THAT?

02:34PM   11       A.    THEY'RE NOT ALL PROCEDURES.       THERE ARE TEMPERATURE LOGS IN

02:34PM   12       HERE THAT WOULD BE FILLED OUT BY A LABORATORY STAFF.

02:34PM   13       Q.    I'M GLAD YOU MADE THAT POINT BECAUSE ONE OF THE

02:34PM   14       REQUIREMENTS IN THIS PROCEDURE IS SPECIFIC AND ROUTINE REGULAR

02:34PM   15       MONITORING --

02:34PM   16       A.    CORRECT.

02:34PM   17       Q.    -- OF THIS OPERATION; RIGHT?

02:34PM   18       A.    CORRECT.

02:34PM   19       Q.    AND THE REASON I SHOW THIS IS THAT THIS IS TYPICAL OF MANY

02:35PM   20       OF THE SPECIFIC PROCEDURES WITHIN THE CLIA LAB; RIGHT?

02:35PM   21       A.    YES.

02:35PM   22       Q.    AND YOU HAVE A TEAM OF PEOPLE THAT WERE REQUIRED TO DO ALL

02:35PM   23       OF THESE THINGS?

02:35PM   24       A.    YES.

02:35PM   25       Q.    AND TO DOCUMENT THESE THINGS?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 196
                                                                               197 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2084


02:35PM    1       A.    YES.

02:35PM    2       Q.    LET'S GO TO 9915.

02:35PM    3       A.    I'M THERE.

02:35PM    4       Q.    AND DO YOU SEE THAT THIS IS A DOCUMENT IN THAT SAME

02:35PM    5       PROCEDURE TEMPLATE?

02:35PM    6       A.    YES.

02:35PM    7       Q.    AND THIS IS FOR TEST RESULT REPORTING --

02:35PM    8       A.    YES.

02:35PM    9       Q.    -- EFFECTIVE 6-13-2011?

02:35PM   10       A.    YES.

02:35PM   11       Q.    AND MAINTAINED IN THE THERANOS CLIA LAB?

02:35PM   12       A.    YES.

02:35PM   13                     MR. WADE:    I MOVE FOR THE ADMISSION OF 9915.

02:35PM   14                     MR. BOSTIC:   NO OBJECTION.

02:36PM   15                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:36PM   16             (DEFENDANT'S EXHIBIT 9915 WAS RECEIVED IN EVIDENCE.)

02:36PM   17       BY MR. WADE:

02:36PM   18       Q.    THIS WAS A PROCEDURE THAT WAS IMPLEMENTED UNDER DR. GELB?

02:36PM   19       A.    YES.    I CAN MAKE OUT HIS HANDWRITING AS THE APPROVER, YES.

02:36PM   20       Q.    OKAY.    AND IF YOU GO TO THE THIRD PAGE.

02:36PM   21       A.    YES.

02:36PM   22       Q.    THIS SETS FORTH THE PROCEDURE FOR WHEN TESTS CAN BE

02:36PM   23       REPORTED; RIGHT?

02:36PM   24       A.    HOW?    WHEN?   THAT'S A PROCEDURE FOR TEST REPORTING, YES.

02:36PM   25       Q.    RIGHT.    AND ARE THERE SPECIFIC RULES AND REGULATIONS THAT



                                         UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 197
                                                                               198 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2085


02:36PM    1       REPORT TO THAT -- RELATE TO THAT?

02:36PM    2       A.    YES, ABSOLUTELY.

02:36PM    3       Q.    AND WHO IS RESPONSIBLE WITHIN THE CLIA LAB FOR TEST

02:36PM    4       REPORTING?

02:36PM    5       A.    ON A ROUTINE BASIS?

02:36PM    6       Q.    LET'S START THERE.

02:36PM    7       A.    THE CLINICAL LABORATORY SCIENTISTS.

02:37PM    8       Q.    THOSE ARE SOMETIMES REFERRED TO AS CLS'S?

02:37PM    9       A.    YEAH, THEY RELEASE THE RESULTS FROM THE LAB INTO THE

02:37PM   10       REPORTING SYSTEM.

02:37PM   11       Q.    AND WE'VE SEEN WITHIN THE DOCUMENTS THAT YOU HAVE BEEN

02:37PM   12       ASKED QUESTIONS ABOUT CLS EMAIL GROUPS; RIGHT?

02:37PM   13       A.    YES.

02:37PM   14       Q.    AND THOSE EMAIL GROUPS ARE DESIGNED TO GO TO THE PEOPLE

02:37PM   15       WHO HAVE THE AUTHORITY TO RELEASE THE TESTS; RIGHT?

02:37PM   16       A.    CORRECT.

02:37PM   17       Q.    AND TO DO THAT YOU HAVE TO BE A CLS OR ABOVE?

02:37PM   18       A.    IN GENERAL.    THERE'S A GOVERNOR, THERE WAS A GOVERNOR'S

02:37PM   19       DECLARATION FOR COVID THAT EXEMPTED WHERE CLS WAS NO LONGER

02:37PM   20       REQUIRED TO RELEASE COVID RESULTS.

02:37PM   21       Q.    BECAUSE OF THE DEMAND FOR THAT TESTING?

02:37PM   22       A.    BECAUSE OF THE EMERGENCY.      BECAUSE OF THE PANDEMIC, YEAH.

02:37PM   23       Q.    OKAY.   BUT AS A GENERAL MATTER, WITH THE EXCEPTION OF

02:37PM   24       COVID RESULTS, THERE WERE NO -- THERE WAS NO COVID-19 TESTING

02:38PM   25       DONE AT THERANOS; RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 198
                                                                               199 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2086


02:38PM    1       A.    NO, NO.

02:38PM    2       Q.    THERE WAS A NOVEL CORONAVIRUS R&D ASSAY, THOUGH; RIGHT?

02:38PM    3       A.    I DO NOT RECALL.

02:38PM    4       Q.    OKAY.   THE -- IN ANY EVENT, WITH RESPECT TO THIS, I

02:38PM    5       BELIEVE YOUR TESTIMONY IS THAT THE CLS'S ARE AUTHORIZED TO

02:38PM    6       RELEASE REPORTS?

02:38PM    7       A.    CORRECT.

02:38PM    8       Q.    AND THEY HAVE SPECIFIC TRAINING THAT GIVES THEM THE

02:38PM    9       ABILITY TO DO THAT; RIGHT?

02:38PM   10       A.    CORRECT.

02:38PM   11       Q.    AND THEY HAVE TO FOLLOW THE SPECIFIC POLICY; RIGHT?

02:38PM   12       A.    CORRECT.

02:38PM   13       Q.    AND ARE THERE SOME OTHER MORE SENIOR PEOPLE WHO COULD DO

02:38PM   14       THAT, TOO?    LIKE I ASSUME YOU COULD RELEASE A RESULT?

02:38PM   15       A.    YES, YES.

02:38PM   16       Q.    OKAY.   IS THERE ANYONE BETWEEN THE CLS AND THE LAB

02:38PM   17       DIRECTOR WHO HAS THE LEGAL AUTHORITY TO RELEASE RESULTS?

02:38PM   18       A.    YOU NEED THE CLS, SO I DON'T RECALL EXACTLY.         I THINK THE

02:38PM   19       TECHNICAL SUPERVISOR HAS TO BE CLS BUT THE GENERAL SUPERVISOR

02:38PM   20       DOES NOT.

02:38PM   21             I'LL HAVE TO REVIEW THE REGULATIONS, BUT YOU NEED A CLS

02:39PM   22       LICENSE TO RELEASE TEST RESULTS, YES.

02:39PM   23       Q.    AND THE CLS LICENSE AND THE GENERAL SUPERVISOR, THAT'S THE

02:39PM   24       MORE SENIOR PERSON; RIGHT?

02:39PM   25       A.    CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 199
                                                                               200 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2087


02:39PM    1       Q.     AND I THINK WE TALKED ABOUT BEFORE, MS. HOLMES WAS NOT

02:39PM    2       QUALIFIED TO HAVE ANY OF THOSE POSITIONS WHERE YOU COULD

02:39PM    3       RELEASE RESULTS; RIGHT?

02:39PM    4       A.     NO, SHE WAS NOT.

02:39PM    5       Q.     WITHIN A HIGH COMPLEXITY LAB; RIGHT?

02:39PM    6       A.     CORRECT.

02:39PM    7       Q.     AND SHE NEVER DID RELEASE RESULTS TO YOUR KNOWLEDGE, DID

02:39PM    8       SHE?

02:39PM    9       A.     NO, NOT TO MY KNOWLEDGE.

02:39PM   10       Q.     SHE NEVER CAME DOWN IN THE LAB AND SAID SEND THOSE OUT;

02:39PM   11       RIGHT?

02:39PM   12       A.     NO.

02:39PM   13       Q.     AND THAT WOULD NOT HAVE BEEN APPROPRIATE, WOULD IT?

02:39PM   14       A.     IT WOULD NOT HAVE BEEN APPROPRIATE, NO.

02:39PM   15       Q.     AND IS IT YOUR BELIEF, SIR, THAT DURING YOUR TIME PERIOD

02:39PM   16       AS LAB DIRECTOR AT THERANOS THAT YOU FOLLOWED THE LEGAL

02:39PM   17       REQUIREMENTS AND POLICIES WITH RESPECT TO TEST REPORTING?

02:39PM   18       A.     YES.

02:39PM   19       Q.     SIR, I MENTIONED A MINUTE AGO LIS.

02:40PM   20              DO YOU RECALL THAT?

02:40PM   21       A.     YES.

02:40PM   22       Q.     AND AT SOME POINT DO YOU RECALL THAT THERE WAS A NEW LIS

02:40PM   23       SYSTEM THAT WAS PUT IN PLACE WITHIN THE THERANOS LAB?

02:40PM   24       A.     YES.   IT WAS CALLED SUPER MARIO, I BELIEVE.

02:40PM   25       Q.     IT WAS A CUSTOM BUILT PRODUCT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 200
                                                                               201 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2088


02:40PM    1       A.    CORRECT.

02:40PM    2       Q.    BY SOFTWARE DEVELOPERS?

02:40PM    3       A.    CORRECT.

02:40PM    4       Q.    AND, AGAIN, FOR THE BENEFIT OF THE JURY, YOU WERE SHOWN A

02:40PM    5       LOT OF EMAILS RELATING TO TEST RESULTS; RIGHT?

02:40PM    6       A.    YES.

02:40PM    7       Q.    AND QUESTIONS WERE ASKED BASED UPON SNIPPETS OF

02:40PM    8       INFORMATION THAT WAS INCLUDED WITHIN THE EMAILS; RIGHT?

02:40PM    9       SOMETIMES DATA?     SOMETIMES PATIENT INFORMATION; RIGHT?

02:40PM   10       A.    THE QUESTIONS WERE BASED ON THE EMAIL CONTENT, YES.

02:40PM   11       Q.    RIGHT.   AND THAT VARIED FROM EMAIL TO EMAIL; RIGHT?

02:41PM   12       A.    CORRECT.

02:41PM   13       Q.    AND YOU DIDN'T MAINTAIN THE PATIENT RECORDS IN ALL OF THE

02:41PM   14       TESTING DATA WITHIN EMAIL; RIGHT?

02:41PM   15       A.    IT'S THE, IT'S THE ISSUES THAT ARE ESCALATED THAT ARE

02:41PM   16       RECORDED IN EMAIL AS BUSINESS RECORDS.

02:41PM   17             ALL OF THE LABORATORY RESULTS AND REPORTS BY LAW NEED TO

02:41PM   18       BE MAINTAINED WITHIN THE LABORATORY INFORMATION SYSTEM, AND

02:41PM   19       YOU'RE REQUIRED TO MAINTAIN THE TEST REPORTS AS WELL.

02:41PM   20       Q.    RIGHT.   AND THAT'S A SPECIAL, THAT'S A SPECIAL DATABASE

02:41PM   21       THAT TRACKS ALL OF THE ASPECTS OF TESTING; RIGHT?

02:41PM   22       A.    SO THE LABORATORY INFORMATION SYSTEM RECORDS WHAT HAPPENED

02:41PM   23       WITHIN THE LABORATORY.      THERE ARE OTHER SYSTEMS THAT ARE USED

02:41PM   24       TO STORE THE ACTUAL REPORTS AND TO STORE WHAT ARE CALLED

02:42PM   25       ASSESSIONS, WHICH IS THE ACTUAL ORDER FOR THE TEST THAT IS



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 201
                                                                               202 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2089


02:42PM    1       FILLED OUT BY THE ORDERING CLINICIAN.

02:42PM    2             DOES THAT ANSWER YOUR QUESTION?

02:42PM    3       Q.    IT GIVES ME A FRAMEWORK FOR ANOTHER QUESTION.          I AM A

02:42PM    4       LAWYER.

02:42PM    5       A.    AH.

02:42PM    6       Q.    SO THE LIS TRACKS A LOT OF SPECIFIC DETAILS ABOUT THE TEST

02:42PM    7       THAT WAS PERFORMED AND THE RESULTS THAT WERE -- THAT RESULTED;

02:42PM    8       RIGHT?

02:42PM    9       A.    CORRECT, THE SAMPLE THAT WAS PROCESSED, THE METHOD IT WAS

02:42PM   10       RUN ON, THE TIME THAT IT WAS PROCESSED, THE TIME THAT IT WENT

02:42PM   11       TO EACH PART OF THE ANALYTIC PROCESS, ET CETERA.

02:42PM   12       Q.    AND THE NEW -- NOT THE OLD LAB DAQ SYSTEM, BUT THE NEW

02:42PM   13       SYSTEM THAT WAS PUT IN PLACE, SUPER MARIO, OR WHATEVER IT WAS

02:42PM   14       CALLED, THAT WOULD TRACK EVEN MORE INFORMATION THAN LAB DAQ,

02:43PM   15       D-A-Q; RIGHT?

02:43PM   16       A.    I CAN'T REALLY SPEAK TO THAT.       I DESCRIBED WHAT A GOOD

02:43PM   17       LABORATORY INFORMATION SYSTEM SHOULD DO.         I'M NOT TESTIFYING AS

02:43PM   18       TO WHAT SUPER MARIO WAS CAPABLE OF.

02:43PM   19       Q.    OKAY.   BUT -- THANK YOU FOR CLARIFYING.

02:43PM   20             YOU DID TESTIFY THAT YOU NEED AN LIS TO BE A CLIA

02:43PM   21       COMPLIANT LAB; RIGHT?

02:43PM   22       A.    YES.

02:43PM   23       Q.    AND YOU HAD ONE WHEN YOU WERE AT THERANOS?

02:43PM   24       A.    YES.

02:43PM   25       Q.    AND IT TRACKED DATA ABOUT THE TESTS THAT WERE RUN?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 202
                                                                               203 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2090


02:43PM    1       A.    YES.

02:43PM    2       Q.    AND ISN'T IT THE CASE THAT SOMETIMES WHEN AN ISSUE AROSE,

02:43PM    3       SOMEONE WOULD GO AND PULL INFORMATION FROM THE LIS TO GIVE YOU

02:43PM    4       MORE DATA TO CONSIDER; RIGHT?

02:43PM    5       A.    YES.

02:43PM    6       Q.    AND THAT TYPE OF DATA COULD INCLUDE THE SPECIFIC ASSAY

02:44PM    7       THAT WAS USED; RIGHT?

02:44PM    8       A.    YES, YES.

02:44PM    9       Q.    AND IT COULD INCLUDE THE MACHINE THAT IT WAS RUN ON?

02:44PM   10       A.    YES.

02:44PM   11       Q.    BOTH THE TYPE OF MACHINE LIKE WAS IT A BIG MACHINE, AN

02:44PM   12       EDISON, OR SOME OTHER MACHINE; RIGHT?

02:44PM   13       A.    YES.

02:44PM   14       Q.    BUT IT COULD ALSO TELL YOU EXACTLY WHICH MACHINE?

02:44PM   15       A.    I CAN'T SPEAK TO -- IT SHOULD.       A GOOD LIS WILL RECORD THE

02:44PM   16       SERIAL NUMBER OF THE INSTRUMENT THAT WAS USED FOR THAT SAMPLE.

02:44PM   17       Q.    AND THE REFERENCE RANGE?

02:44PM   18       A.    YES, THOSE ARE STORED IN LIS, YES.

02:44PM   19       Q.    AND WHAT OTHER TESTING INFORMATION WAS INCLUDED OR WOULD

02:44PM   20       BE INCLUDED IN THE LIS?

02:44PM   21       A.    TIME OF ARRIVAL IN THE LAB OF THE SAMPLE, TIME THAT THE

02:44PM   22       REPORT WAS RELEASED.

02:45PM   23             THE REFERENCE RANGES, THE ACTUAL RESULTS TYPICALLY THERE'S

02:45PM   24       A COMMENT SECTION IN THE LIS THAT COULD BE FILLED OUT BY THE

02:45PM   25       CLS'S.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 203
                                                                               204 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2091


02:45PM    1       Q.    AND IN CONNECTION WITH YOUR MEETINGS AND IN PREPARATION

02:45PM    2       FOR YOUR TESTIMONY OR YOUR MEETINGS WITH THE GOVERNMENT PRIOR

02:45PM    3       IN THE CASE, DID THEY EVER SHOW YOU ANY LIS DATA RELATING TO

02:45PM    4       ONE OF THE INCIDENTS?

02:45PM    5       A.    NO, THE LIS WAS RENDERED INACCESSIBLE.         THAT'S MY

02:45PM    6       UNDERSTANDING.

02:45PM    7       Q.    OKAY.   YOU DON'T HAVE ANY PERSONAL KNOWLEDGE OF THAT, DO

02:45PM    8       YOU, SIR?

02:45PM    9       A.    NO.   THAT HAPPENED AFTER I LEFT.

02:45PM   10       Q.    OKAY.   SO YOU DON'T HAVE ANY OF THE DETAILED INFORMATION

02:45PM   11       THAT RELATES TO ANY OF THE INCIDENTS THAT YOU'VE TALKED ABOUT;

02:45PM   12       RIGHT?

02:45PM   13       A.    NO.   I DISAGREE.    THERE'S A -- ALL OF THE PERTINENT -- I

02:45PM   14       WOULD ASK FOR ALL OF THE PERTINENT INFORMATION ON A PATIENT

02:45PM   15       QUERY.    FOLKS LIKE MAX FOSQUE WHO RAN THE LIS, I WOULD GATHER

02:46PM   16       ALL OF THE INFORMATION TO DO AN INVESTIGATION IN INSTANCES

02:46PM   17       WHERE THERE WAS A PATIENT COMPLAINT OR A DOCTOR COMPLAINT,

02:46PM   18       ET CETERA.

02:46PM   19       Q.    I DIDN'T MEAN TO SUGGEST OTHERWISE.

02:46PM   20             MY POINT IS ACTUALLY JUST THAT.

02:46PM   21             WHEN SOMETHING WOULD COME UP, YOU WOULD HAVE MAX FOSQUE OR

02:46PM   22       SOMEONE WHO HAD ACCESS TO LIS GATHER ALL -- SCRAPE ALL OF THE

02:46PM   23       DATA OUT OF THERE, GET THE REPORT, HAVE ALL OF THE DETAILS, AND

02:46PM   24       ONLY THEN WOULD YOU BE IN A POSITION TO FULLY ANALYZE THE

02:46PM   25       POSITION; RIGHT?



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 204
                                                                               205 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2092


02:46PM    1       A.    YES, I WAS ALSO ABLE TO LOG INTO THE LIS AND CHECK THINGS

02:46PM    2       ON MY OWN.

02:46PM    3       Q.    AND DID YOU DO THAT?

02:46PM    4       A.    YES, I DID.

02:46PM    5       Q.    AND MS. HOLMES NEVER HAD ACCESS TO LIS; RIGHT?

02:46PM    6       A.    I DO NOT KNOW.

02:46PM    7       Q.    YEAH.   WELL, YOU NEVER, YOU NEVER HAD ANY INTERACTION WITH

02:46PM    8       HER THAT LED YOU TO BELIEVE THAT SHE DID; RIGHT?

02:46PM    9       A.    CORRECT.

02:46PM   10       Q.    THE -- AND YOU GOT THAT INFORMATION ON MANY OCCASIONS WHEN

02:46PM   11       ISSUES WOULD ARISE; RIGHT?

02:46PM   12       A.    YES.

02:46PM   13       Q.    AND IT WOULD NOT JUST GIVE YOU INFORMATION ABOUT THAT

02:46PM   14       SPECIFIC PATIENT, BUT IT WOULD GIVE YOU INFORMATION ABOUT OTHER

02:47PM   15       TESTS, RIGHT, OF THE SAME KIND THAT WERE MAYBE RUN IN THE SAME

02:47PM   16       MONTH, FOR EXAMPLE?

02:47PM   17       A.    YES.    DATABASE QUERIES ARE -- YOU'RE ABLE TO DO DATABASE

02:47PM   18       QUERIES ON THE LIS AND COLLECT INFORMATION IN ANY NUMBER OF

02:47PM   19       WAYS, YEAH.

02:47PM   20       Q.    SO YOU COULD LOOK AT A SPECIFIC TYPE OF ASSAY, PULL ALL OF

02:47PM   21       THE RESULTS FOR A PARTICULAR MONTH AND SEE IF THEY TOLD YOU

02:47PM   22       ANYTHING; RIGHT?

02:47PM   23       A.    CORRECT.

02:47PM   24       Q.    AND YOU COULD PULL OUT THEORETICALLY ALL OF THE EDISON

02:47PM   25       ASSAYS AND LOOK AT THEM IN TOTAL AND SEE IF IT TOLD YOU



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 205
                                                                               206 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2093


02:47PM    1       ANYTHING; RIGHT?

02:47PM    2       A.    YEAH, THESE ARE ALL FEATURES OF AN IDEAL LIS.

02:47PM    3       Q.    YEAH.

02:47PM    4       A.    JUST TO BE PERFECTLY TRUTHFUL, I DON'T REMEMBER WHAT THE

02:47PM    5       FULL CAPABILITIES WERE OF SUPER MARIO.

02:47PM    6       Q.    OKAY.    WELL, DO YOU EVER RECALL BEING CONCERNED ABOUT THE

02:47PM    7       CAPABILITIES?

02:47PM    8       A.    NO.    I MEAN, THE INFORMATION WAS AVAILABLE TO ME, WHETHER

02:47PM    9       IT CAME FROM LIS OR OTHER SOURCES.

02:48PM   10       Q.    OKAY.    LET ME GO TO DOCUMENT 9910.

02:49PM   11       A.    YES, I HAVE IT.

02:49PM   12       Q.    AND DO YOU RECOGNIZE THIS TO BE ONE OF THE POLICIES OR

02:49PM   13       PROCEDURES THAT WAS IMPLEMENTED IN THE THERANOS CLIA LAB?

02:49PM   14       A.    THIS IS A QUALITY ASSISTANCE MANUAL THAT WAS EFFECTIVE IN

02:49PM   15       2011 WRITTEN BY ARNE GELB AND APPROVED BY SPENCER HIRAKI.

02:49PM   16       Q.    AND BASED ON THE FORMAT, YOU UNDERSTOOD THAT THIS WOULD

02:49PM   17       HAVE BEEN A MANUAL THAT WAS IN PLACE AT THE TIME IN THE

02:49PM   18       THERANOS CLIA LAB?

02:49PM   19       A.    I'M SORRY, DURING WHAT TIME PERIOD?

02:49PM   20       Q.    WELL, IT WAS EFFECTIVE AS OF 6-9-2011.

02:49PM   21             DO YOU SEE THAT?

02:49PM   22       A.    YES.

02:49PM   23                     MR. WADE:   I WOULD MOVE THE ADMISSION OF

02:49PM   24       EXHIBIT 9910.

02:49PM   25                     MR. BOSTIC:   NO OBJECTION.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 206
                                                                               207 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2094


02:49PM    1                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

02:49PM    2             (DEFENDANT'S EXHIBIT 9910 WAS RECEIVED IN EVIDENCE.)

02:50PM    3       BY MR. WADE:

02:50PM    4       Q.    AND I BELIEVE YOU TESTIFIED THAT THIS WAS A POLICY THAT

02:50PM    5       WAS PUT IN PLACE IN DR. GELB'S PERIOD; RIGHT?

02:50PM    6       A.    SO ONE THING THAT DOESN'T JIBE HERE IS THAT SPENCER HIRAKI

02:50PM    7       IS LISTED AS THE CO-DIRECTOR, AND HE'S ALSO LISTED AS ONE OF

02:50PM    8       THE SIGNATORIES OF THE MANUAL.       SO YOU WOULD HAVE TO ASK LFS

02:50PM    9       WHO WAS ON THE LICENSE AT THE TIME.         AND IT APPEARS FROM THIS

02:50PM   10       THAT THEY WERE ACTUALLY CO-DIRECTORS.         AND IF YOU SEE UNDER

02:50PM   11       SPENCER'S NAME IT SAYS CO-DIRECTOR.

02:50PM   12       Q.    OKAY.    AND JUST SO WE'RE CLEAR, THIS IS REVISION A; RIGHT?

02:50PM   13       A.    CORRECT.

02:50PM   14       Q.    OKAY.    AND LET'S LOOK AT 9945.

02:51PM   15             AND DO YOU RECOGNIZE THIS TO BE A QUALITY SYSTEMS MANUAL

02:51PM   16       THAT WAS IN PLACE WHEN YOU WERE THE LABORATORY DIRECTOR AT

02:51PM   17       THERANOS?

02:51PM   18       A.    YES.

02:51PM   19                     MR. WADE:    MOVE THE ADMISSION OF 9945.

02:51PM   20                     MR. BOSTIC:   NO OBJECTION.

02:51PM   21                     THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

02:51PM   22             (DEFENDANT'S EXHIBIT 9945 WAS RECEIVED IN EVIDENCE.)

02:51PM   23       BY MR. WADE:

02:51PM   24       Q.    NOW, DO YOU SEE HERE THIS IS EFFECTIVE AS OF 7-28-2014?

02:51PM   25       A.    YES.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 207
                                                                               208 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2095


02:51PM    1       Q.    AND DO YOU RECALL WE WERE PREVIOUSLY DISCUSSING HOW OVER

02:51PM    2       TIME YOU WERE WORKING TO CONTINUOUSLY IMPROVE THE QUALITY

02:51PM    3       SYSTEMS OPERATION; RIGHT?

02:51PM    4       A.    YES.

02:51PM    5       Q.    AND, IN FACT, UNDER CLIA CONTINUOUS IMPROVEMENT IS SORT OF

02:51PM    6       A CONCEPT THAT IS ENCOURAGED; RIGHT?

02:51PM    7       A.    CORRECT.

02:51PM    8       Q.    AND THERE IS ACTUALLY A SPECIFIC SET OF PROCEDURES WITHIN

02:51PM    9       THE CLIA REGULATIONS THAT TALK ABOUT HOW YOU DEAL WITH

02:52PM   10       PROBLEMS; RIGHT?

02:52PM   11       A.    CAN YOU BE MORE SPECIFIC.

02:52PM   12       Q.    WELL, THERE ARE PROCEDURES THAT TALK ABOUT THINGS YOU GO

02:52PM   13       THROUGH, STEPS YOU GO THROUGH TO TRY TO PREVENT PROBLEMS.

02:52PM   14       THAT'S LIKE A QUALITY SYSTEMS MANUAL.

02:52PM   15             DO YOU RECALL?

02:52PM   16       A.    CORRECT.

02:52PM   17       Q.    AND THERE ARE REQUIREMENTS FOR WHAT YOU SHOULD DO IF A

02:52PM   18       PROBLEM ARISES AND WHAT YOU SHOULD DO AND DOCUMENT AND THE

02:52PM   19       LIKE?

02:52PM   20       A.    CORRECT, CORRECT.

02:52PM   21       Q.    OKAY.   AND ONE OF THE CONCEPTS THAT YOU'RE SUPPOSED TO DO

02:52PM   22       UNDER CLIA REGULATIONS IS TO LEARN FROM YOUR MISTAKES AND TRY

02:52PM   23       TO STRENGTHEN THE POLICY AS A RESULT OF THEM; RIGHT?

02:52PM   24       A.    CLIA DOES NOT DETAIL A PRESCRIBED HOW OUR LAB SHOULD GO

02:52PM   25       ABOUT IMPROVING ITS QUALITY.       IT'S A SET OF REGULATIONS THAT



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 208
                                                                               209 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2096


02:52PM    1       ARE DESIGNED TO ENSURE GOOD LABORATORY PRACTICE AND GOOD

02:52PM    2       PATIENT CARE.

02:52PM    3       Q.    OKAY.   WELL, WE'LL GO INTO THOSE REGULATIONS A BIT MORE

02:53PM    4       TOMORROW, BUT THIS PROCEDURE THAT WAS IN PLACE AT 9945 WAS MADE

02:53PM    5       EFFECTIVE 7-28-2014; RIGHT?

02:53PM    6       A.    CORRECT.

02:53PM    7       Q.    AND THAT WAS REVISION C?

02:53PM    8       A.    YES.

02:53PM    9       Q.    AND THAT WAS PART OF AN EFFORT BY YOU AND THE TEAM THAT

02:53PM   10       YOU WERE WORKING WITH TO TRY TO STRENGTHEN THE QUALITY SYSTEMS

02:53PM   11       WITHIN THE CLIA LAB?

02:53PM   12       A.    YES.

02:53PM   13       Q.    OKAY.   AND IT'S SIGNED BY DR. MASINDE.

02:53PM   14             DO YOU SEE THAT?

02:53PM   15       A.    YES.

02:53PM   16       Q.    AND WHO WAS DR. MASINDE?

02:53PM   17       A.    A TECHNICAL SUPERVISOR.

02:53PM   18       Q.    AND THEN WE TALKED ABOUT MR. GEE; RIGHT?         DO YOU SEE THAT?

02:53PM   19       A.    YES.

02:53PM   20       Q.    AND HE WAS ACTUALLY THE QA/QC MANAGER?

02:53PM   21       A.    YES.

02:53PM   22       Q.    AND HE WAS IN CHARGE OF THAT?

02:53PM   23       A.    CORRECT.

02:53PM   24       Q.    AND REPORTING TO YOU?

02:53PM   25       A.    CORRECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 209
                                                                               210 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2097


02:53PM    1       Q.    AND THEN WE SEE HODA ALAMDAR WHO YOU TALKED ABOUT BEFORE.

02:54PM    2             AND THEN WE SEE LINA CASTRO; RIGHT?

02:54PM    3       A.    YES.

02:54PM    4       Q.    AND SHE'S THE CLS AND SAFETY OFFICER; RIGHT?

02:54PM    5                    THE WITNESS:    YOUR HONOR, MAY I HAVE A FEW MINUTES

02:54PM    6       FOR A RESTROOM BREAK?

02:54PM    7                    THE COURT:    YES.   SHOULD WE --

02:54PM    8                    MR. WADE:    WE'RE AT 3:00 O'CLOCK.

02:54PM    9                    THE COURT:    WHY DON'T WE BREAK FOR THE DAY.       WE'LL

02:54PM   10       BREAK FOR THE DAY.       WE'LL TAKE OUR RECESS NOW, LADIES AND

02:54PM   11       GENTLEMEN.

02:54PM   12             WE'LL START AT 9:00 O'CLOCK.       MAY WE GO UNTIL 4:00

02:54PM   13       TOMORROW?    DOES THAT CAUSE INCONVENIENCE FOR OUR JURORS?

02:54PM   14             I SEE NO HANDS.

02:54PM   15             THANK YOU SO MUCH FOR YOUR GENEROSITY.         BEFORE WE BREAK,

02:54PM   16       LADIES AND GENTLEMEN, LET ME REMIND YOU AGAIN, PLEASE DO NOT

02:54PM   17       COMMUNICATE WITH ANYONE IN ANY WAY ABOUT THIS CASE, PLEASE

02:54PM   18       AVOID ANY INFORMATION ABOUT THE CASE YOU MIGHT SEE WHILE

02:54PM   19       BROWSING YOUR SOCIAL MEDIA OR ANY INTERNET ACTIVITY.           AVOID ANY

02:54PM   20       NEWSPAPER ARTICLES AND TELEVISION ADS ABOUT THIS.

02:54PM   21             I'LL ASK YOU TOMORROW WHETHER OR NOT ANY OF THOSE THINGS

02:54PM   22       HAVE HAPPENED.

02:54PM   23             HAVE A GOOD EVENING, AND WE'LL SEE YOU TOMORROW AT 9:00

02:54PM   24       O'CLOCK.

02:54PM   25             THANK YOU.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 210
                                                                               211 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                           2098


02:55PM    1              (JURY OUT AT 2:55 P.M.)

02:55PM    2                    THE COURT:    ALL RIGHT.   PLEASE BE SEATED.     THANK

02:55PM    3       YOU.    THE RECORD SHOULD REFLECT THAT OUR JURY HAS LEFT FOR THE

02:55PM    4       DAY.    I THINK THE WITNESS IS GONE.      YES.

02:55PM    5              ANYTHING FURTHER BEFORE WE BREAK?

02:55PM    6                    MR. BOSTIC:    YOUR HONOR, I BELIEVE THE PARTIES HAD

02:55PM    7       SPOKEN WITH THE COURT ABOUT WHETHER NOW MIGHT BE A GOOD TIME TO

02:55PM    8       DISCUSS THE ADDITIONAL POST-THERANOS TOPICS RELATED TO

02:56PM    9       DR. ROSENDORFF.

02:56PM   10                    THE COURT:    ARE WE READY TO TALK ABOUT THAT NOW,

02:56PM   11       MR. WADE?

02:56PM   12                    MR. WADE:    WE MAY BE.    THERE MAY BE SOME ISSUES THAT

02:56PM   13       I COULD RAISE.     FRANKLY, I WOULD PREFER TO DO IT AT SIDE-BAR

02:56PM   14       AND CONSIDER WHETHER WE COULD KEEP A PORTION OF THAT SEALED.             I

02:56PM   15       KNOW THAT --

02:56PM   16                    THE COURT:    PARDON ME FOR INTERRUPTING YOU.       WHY

02:56PM   17       DON'T WE DO THIS.     WE JUST FINISHED THIS WITNESS'S TESTIMONY.

02:56PM   18       I WAS WONDERING WHETHER WE WERE GOING TO MOVE INTO ANY OF THIS.

02:56PM   19              WHAT I WOULD LIKE YOU TO DO -- AND PARDON ME, I'M NOT

02:56PM   20       COMMENTING ON YOUR ANSWER AT ALL, BUT IT MIGHT BENEFIT YOU TO

02:56PM   21       TALK WITH YOUR TEAM, MR. WADE, ABOUT WHAT YOU'RE GOING TO DO

02:56PM   22       AND HOW YOU'RE GOING TO DO THAT AND, YOU KNOW, IF YOU FEEL THE

02:56PM   23       OPPORTUNITY TO COMMUNICATE WITH THE GOVERNMENT TO ENHANCE OUR

02:56PM   24       CONVERSATION TOMORROW MORNING, THAT WOULD BE HELPFUL.

02:56PM   25                    MR. WADE:    I'M HAPPY TO DO THAT, YOUR HONOR.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 211
                                                                               212 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2099


02:56PM    1             I THINK MY SENSITIVITY IS OBVIOUSLY THE WITNESS IS ON

02:56PM    2       CROSS-EXAMINATION AND THE WITNESS HAS COUNSEL.          YOU MAY HAVE

02:57PM    3       NOTICED THERE WERE A FEW MEMBERS OF THE MEDIA PRESENT AND HIS

02:57PM    4       COUNSEL IS PRESENT AND HAS THE RIGHT TO OBSERVE THIS.

02:57PM    5             I'M NOT INCLINED TO PREVIEW ALL CROSS-EXAMINATION

02:57PM    6       APPROACHES IN ADVANCE.

02:57PM    7             IF THERE'S A DESIRE TO RAISE SPECIFIC ISSUES, I'M HAPPY TO

02:57PM    8       SHARE WITH THE GOVERNMENT AT THIS POINT BECAUSE I HAVE THE

02:57PM    9       WITNESS ON CROSS.

02:57PM   10             IF THERE'S A DESIRE TO GET INTO SPECIFIC DETAIL IN ADVANCE

02:57PM   11       SO THE GOVERNMENT CAN RAISE THEIR ISSUES, WHICH I HAVE NO

02:57PM   12       OBJECTION TO, I WOULD JUST ASK THAT WE DO IT AT SIDE-BAR, WE

02:57PM   13       HAVE THAT SEALED UNTIL HE'S DONE TESTIFYING, AND THEN IT CAN BE

02:57PM   14       UNSEALED.

02:57PM   15                    THE COURT:    OH, LET'S SEE.    THE SIDE-BAR

02:57PM   16       CONVERSATION YOU'RE SPEAKING TO?

02:57PM   17                    MR. WADE:    JUST ON THE SCOPE AND NATURE OF THE

02:57PM   18       CROSS-EXAMINATION BEFORE THAT OCCURS.

02:57PM   19                    THE COURT:    OKAY.   AND THIS IS -- I THINK WHAT WE'RE

02:57PM   20       TALKING ABOUT HERE WE DISCUSSED PREVIOUSLY IS ANY POST-THERANOS

02:57PM   21       EMPLOYMENT WITH THIS WITNESS.

02:58PM   22             MR. BOSTIC.

02:58PM   23                    MR. BOSTIC:    THAT'S CORRECT, YOUR HONOR.

02:58PM   24             I BELIEVE THERE ARE TWO CATEGORIES OF INFORMATION WE ARE

02:58PM   25       TALKING ABOUT THAT GOES UNDER THAT UMBRELLA TOPIC.           ONE IN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 212
                                                                               213 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                          2100


02:58PM    1       PARTICULAR RELATES TO DOCUMENT PRODUCTION BY THE GOVERNMENT

02:58PM    2       SUBJECT TO A STIPULATED PROTECTIVE ORDER THAT THE COURT SIGNED.

02:58PM    3                    THE COURT:    OKAY.

02:58PM    4                    MR. WADE:    AND WE HAVE GIVEN NOTICE THAT WE MAY USE

02:58PM    5       THOSE MATERIALS, IN PARTICULAR I -- THERE'S A, THERE'S A --

02:58PM    6                    THE COURT:    LET ME.   PARDON ME, AGAIN.     I APOLOGIZE,

02:58PM    7       MR. WADE.

02:58PM    8             IF YOU HAVE, TO THE EXTENT THAT YOU FEEL COMFORT, IF YOU

02:58PM    9       CAN IDENTIFY WHAT THOSE DOCUMENTS ARE AND THEN EMAIL THEM TO

02:58PM   10       MS. KRATZMANN JUST TO SHARE WITH THEM IN ADVANCE SO I HAVE SOME

02:58PM   11       TIME TO LOOK AT IT.

02:58PM   12                    MR. WADE:    SURE.

02:58PM   13                    THE COURT:    WOULD THAT BE HELPFUL?

02:58PM   14                    MR. WADE:    WE WOULD BE HAPPY TO DO THAT.      AGAIN,

02:58PM   15       WE'RE NOT -- WE'RE TRYING TO BE AS TRANSPARENT AS WE CAN BE

02:58PM   16       WITHOUT REVEALING THE INFORMATION.

02:58PM   17             ONE OTHER NOTE, YOUR HONOR, JUST ON THIS WITNESS.

02:58PM   18             I THINK THE WITNESS EXPLAINED THAT HE HAS A CONFLICT AT

02:58PM   19       2:00 O'CLOCK TOMORROW.

02:58PM   20                    THE COURT:    RIGHT.

02:58PM   21                    MR. WADE:    I THINK THERE WAS SOME UNCERTAINTY.       I

02:58PM   22       WILL NOT BE DONE AT 2:00 O'CLOCK TOMORROW.

02:59PM   23             I THINK WE WILL SEE OCTOBER BEFORE WE SEE ANOTHER WITNESS

02:59PM   24       UNLESS WE TAKE ONE OUT OF ORDER.

02:59PM   25             SO I WANTED TO JUST RAISE THAT AND GET THE COURT'S --



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 213
                                                                               214 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2101


02:59PM    1                    THE COURT:    NO.   THANK YOU.   I WANTED TO ASK YOU

02:59PM    2       ABOUT HOW MUCH TIME, WHETHER OR NOT -- I THINK THE PHRASE

02:59PM    3       FRIDAY WAS CLOSER TO THE END THAN THE BEGINNING I THINK.

02:59PM    4                    MR. WADE:    MR. BOSTIC HAS TAUGHT ME ABOUT THE

02:59PM    5       DANGERS OF GIVING ESTIMATES.

02:59PM    6             (LAUGHTER.)

02:59PM    7                    MR. WADE:    I WOULD EXPECT ALL DAY --

02:59PM    8                    THE COURT:    TOMORROW.

02:59PM    9                    MR. WADE:    -- TOMORROW.    AND CERTAINLY IF IT'S UNTIL

02:59PM   10       2:00 ALL DAY TOMORROW, AND I'LL HAVE A BETTER SENSE AFTER THAT.

02:59PM   11                    THE COURT:    OKAY.

02:59PM   12                    MR. WADE:    SOME IS GOING A LITTLE FASTER THAN OTHERS

02:59PM   13       AS THE COURT KNOWS.

02:59PM   14                    THE COURT:    SURE.   WELL, WHAT I'VE ASKED THE JURY TO

02:59PM   15       DO IS TO HAVE A 4:00 O'CLOCK DAY TOMORROW.

02:59PM   16             AND IT SOUNDS LIKE WE WOULD BREAK THIS WITNESS'S TESTIMONY

02:59PM   17       AND TRY TO FILL THE GAP WITH ANOTHER WITNESS, MR. BOSTIC?

02:59PM   18       WOULD THAT BE POSSIBLE?

02:59PM   19                    MR. BOSTIC:    YOUR HONOR, I'D LIKE TO HAVE A FIRM

02:59PM   20       ANSWER ON THAT NOW.       UNFORTUNATELY, WE STILL NEED TO CHECK WITH

03:00PM   21       OUR OTHER WITNESSES WHO ARE NEXT IN THE LINEUP.

03:00PM   22             I ALSO UNDERSTAND THAT THE DEFENSE IS WILLING TO AGREE TO

03:00PM   23       CERTAIN WITNESSES COMING NEXT IN ORDER BUT NOT OTHERS, SO I

03:00PM   24       THINK THERE MAY BE SOME ADDITIONAL CONVERSATION TO HAVE WITH

03:00PM   25       DEFENSE COUNSEL ON THAT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 214
                                                                               215 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2102


03:00PM    1                    MR. WADE:    IF I CAN JUST RAISE THAT ISSUE AND MAYBE

03:00PM    2       MAKE A SUGGESTION.       WE'LL MEET AND CONFER AND SEE IF WE CAN

03:00PM    3       WORK THIS OUT.     WE WANT TO BE AS FLEXIBLE AS WE CAN FOR THE

03:00PM    4       WITNESSES.

03:00PM    5             I BELIEVE THE NEXT WITNESS IS THE NEXT LAB DIRECTOR, AND

03:00PM    6       WE WOULD NOT WANT TO START THE EXAMINATION OF THAT LAB DIRECTOR

03:00PM    7       UNTIL WE COMPLETED THIS BECAUSE SOME OF WHAT WE LEARN HERE MAY

03:00PM    8       RELATE TO THAT EXAMINATION.       THAT IS SORT OF THE CONCERN THAT

03:00PM    9       WE WOULD HAVE AT THAT LEVEL.

03:00PM   10             BUT THE MORE PRACTICAL CONCERN IS, YOUR HONOR, I'M

03:00PM   11       EXAMINING BOTH WITNESSES.       IT WOULD BE VERY DIFFICULT FOR ME TO

03:00PM   12       DO THIS EXAMINATION, AND THEN BE PREPARED TO TAKE A SEPARATE

03:00PM   13       WITNESS IN PART BECAUSE I DON'T THINK WE WOULD FINISH.

03:00PM   14                    THE COURT:    OH, MR. WADE.    YOU WOEFULLY

03:00PM   15       UNDERESTIMATE YOUR SKILLS, MR. WADE.

03:01PM   16                    MR. WADE:    WHAT I WAS GOING TO SUGGEST, I KNOW THE

03:01PM   17       GOVERNMENT HAS SOME OTHER WITNESSES THAT THEY HAVE IDENTIFIED.

03:01PM   18             IF THERE IS CONCERN ABOUT WHETHER THEY CAN GET THAT

03:01PM   19       WITNESS UP AND DOWN, WE CAN MAYBE EVEN, YOU KNOW, BREAK --

03:01PM   20       DR. ROSENDORFF, I UNDERSTAND, LIVES IN SAN FRANCISCO.           MAYBE WE

03:01PM   21       CAN STOP AT THE LUNCH BREAK WITH DR. ROSENDORFF AND THEN MAKE

03:01PM   22       SURE WE CAN GET, YOU KNOW, A FULL WITNESS IN, BUT I JUST AM

03:01PM   23       WANTING TO BE --

03:01PM   24                    THE COURT:    WELL, HE SAID HE NEEDS TO FINISH AT

03:01PM   25       2:00.    I DON'T KNOW IF THAT MEANS FINISH HERE OR HE HAS AN



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 215
                                                                               216 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2103


03:01PM    1       APPOINTMENT AT 2:00.      I THINK HE SAID FINISH AT 2:00.       HE HAS

03:01PM    2       AN OBLIGATION.     MAYBE HE'S FACTORED IN HIS TRAVEL TIMING ON

03:01PM    3       THAT.

03:01PM    4             BUT I'M GOING TO HONOR HIS REQUEST, AND WE'LL BREAK WITH

03:01PM    5       HIM TOMORROW AT 2:00.      I HOPE WE CAN CAPTURE THE BALANCE OF

03:01PM    6       THOSE TWO HOURS WITH ANOTHER WITNESS OF SOME SORT.

03:01PM    7             I UNDERSTAND THE RETICENCE TO GO WITH ANOTHER DIRECTOR.

03:01PM    8       YOU'LL HAVE THAT PERSON ON CROSS AS WELL, AND I UNDERSTAND THE

03:02PM    9       ISSUE WITH THAT FROM BOTH PERSPECTIVES.         IT'S BETTER TO HAVE A

03:02PM   10       CHRONOLOGY OF DIRECTORS IF THAT'S HOW IT'S GOING.          I DON'T

03:02PM   11       KNOW.

03:02PM   12             BUT WHY DON'T YOU SEE WHAT YOU CAN DO WITH THE WITNESS.

03:02PM   13             I DON'T KNOW IF THE GOVERNMENT HAS ANOTHER WITNESS THAT WE

03:02PM   14       CAN FIT INTO THAT -- IT'S A TWO HOUR ESTIMATE.

03:02PM   15             BUT, OF COURSE, THEN YOU HAVE TO FACTOR IN

03:02PM   16       CROSS-EXAMINATION, ET CETERA.

03:02PM   17             FRIDAY WE'RE ONLY GOING TO GO UNTIL 2:00 AT THE LATEST, I

03:02PM   18       DON'T KNOW, MAYBE 1:00, SOMETHING LIKE THAT.          SO PLEASE

03:02PM   19       CONSIDER THAT ALSO.

03:02PM   20                    MR. WADE:   AND THERE ARE -- THE GOVERNMENT IS, AS WE

03:02PM   21       ALL HAVE DISCUSSED WITH THE COURT, DISCLOSED WITNESSES WHO MAY

03:02PM   22       COME UP THIS WEEK.

03:02PM   23             IF THEY WANT TO RUN POTENTIAL WITNESSES BY US AND IN TERMS

03:02PM   24       OF, YOU KNOW, AN ESTIMATED LENGTH OF CROSS, WE'RE HAPPY TO MEET

03:02PM   25       AND CONFER AND SEE IF WE CAN FIND ONE WE CAN FIT IN THERE.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 216
                                                                               217 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2104


03:02PM    1                    THE COURT:    GREAT.    I APPRECIATE YOUR EFFORTS ON

03:02PM    2       THAT.    I'M NOT ASKING YOU TO REVEAL WHAT YOUR CROSS-EXAMINATION

03:02PM    3       IS, MR. WADE.

03:02PM    4                    MR. WADE:    YOU NEVER HAVE, YOUR HONOR.      I APPRECIATE

03:02PM    5       THAT.

03:03PM    6                    MR. BOSTIC:    YES, YOUR HONOR.    THE PARTIES ARE HAPPY

03:03PM    7       TO MEET AND CONFER ON THAT.         OF COURSE, OUR PRIORITIES ARE

03:03PM    8       AVOIDING CONFUSION FOR THE JURY, NOT INCONVENIENCING THE COURT,

03:03PM    9       AND MINIMIZING THE INCONVENIENCE ON WITNESSES, BUT WE WILL LOOK

03:03PM   10       INTO WHAT WE CAN DO TO FILL THAT SLOT TOMORROW.

03:03PM   11                    THE COURT:    THANK YOU.

03:03PM   12             THIS JURY IS EXPERIENCED WITH TAKING WITNESSES OUT OF

03:03PM   13       ORDER.    I THINK THEY'RE BECOMING MORE ACCLIMATED TO THE COURT

03:03PM   14       PROCESS AND IT'S A SMART JURY SO.

03:03PM   15                    MR. BOSTIC:    YOUR HONOR, IF I COULD JUST GO BACK TO

03:03PM   16       THE ISSUE OF DISCLOSURE.       I JUST WANTED TO NOTE FOR THE COURT,

03:03PM   17       THE PROTECTIVE ORDER COVERING THE DOCUMENT PRODUCTION RELATED

03:03PM   18       TO THE UNRELATED INVESTIGATION OF THE COMPANY WHERE

03:03PM   19       DR. ROSENDORFF ALSO WORKED.

03:03PM   20                    THE COURT:    RIGHT.

03:03PM   21                    MR. BOSTIC:    THAT PROTECTIVE ORDER CONTAINS A

03:03PM   22       PROVISION THAT REQUIRES EITHER PARTY BEFORE USING IT IN OPEN

03:03PM   23       COURT TO PROVIDE THE OTHER PARTY WITH NOTICE OF THE PARTICULAR

03:03PM   24       DOCUMENTS THAT ARE GOING TO BE USED AND TIME FOR THAT FIRST

03:03PM   25       PARTY TO OBJECT.



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 217
                                                                               218 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2105


03:03PM    1             THE ONLY NOTICE THAT WE HAVE RECEIVED THAT I'M AWARE OF

03:03PM    2       FROM THE DEFENSE GIVES US NOTICE OF AN ENTIRE 12,000 PAGE RANGE

03:03PM    3       OF DOCUMENTS THAT THEY MIGHT GO INTO.

03:04PM    4             MY POSITION IS THAT THAT'S NOT IN THE SPIRIT OR THE LETTER

03:04PM    5       OF THE PROTECTIVE ORDER.

03:04PM    6             I'M NOT SURE IF I MISSED SOMETHING ADDITIONALLY FROM THEM

03:04PM    7       WHILE WE'VE BEEN IN THE AFTERNOON SESSION, BUT I WANTED TO

03:04PM    8       RAISE THAT FOR THE COURT IN CASE THAT MIGHT BE A GATING ITEM TO

03:04PM    9       US HAVING A FULL CONVERSATION ABOUT THAT TOPIC.

03:04PM   10                    MR. WADE:    I DID NEED THE NIGHT TO REVIEW THE 12,000

03:04PM   11       DOCUMENTS, YOUR HONOR, BUT I BELIEVE THERE ARE A COUPLE OF

03:04PM   12       DOCUMENTS THAT WE HAVE INCLUDED WITHIN -- THE COURT'S

03:04PM   13       INDULGENCE.

03:04PM   14                    THE COURT:    CONTAINED ON THAT POST-IT.

03:04PM   15                    MR. WADE:    MS. TREFZ HAS PROVIDED ME THE EVER USEFUL

03:04PM   16       GOLDEN TICKET.     I BELIEVE THEY'RE WITHIN THESE, THESE VOLUMES.

03:04PM   17       I'M SURPRISED THE GOVERNMENT HASN'T REVIEWED THEM ALREADY.

03:04PM   18             BUT THE -- I WILL GIVE THAT LIST THAT IDENTIFIES SOME OF

03:04PM   19       THEM, AND THERE MAY BE ONE OR TWO OTHERS.

03:04PM   20             AND IF WE IDENTIFIED THEM, AS SOON AS WE IDENTIFY THE

03:05PM   21       POTENTIAL USE, WE WILL RAISE IT WITH THE GOVERNMENT.

03:05PM   22             I THINK THE -- I FORGET EXACTLY WHAT THE MATERIALS ARE,

03:05PM   23       BUT I DON'T THINK IT WILL BE MUCH OF A SURPRISE TO THE

03:05PM   24       GOVERNMENT, AND WE'RE HAPPY TO MEET AND CONFER WITH THEM ON --

03:05PM   25                    THE COURT:    WELL, THAT WOULD BE GREAT.      I APPRECIATE



                                        UNITED STATES COURT REPORTERS
               Case: 22-10312, 04/25/2023,
               Case 5:18-cr-00258-EJD      ID: 12702996,
                                        Document   1267 DktEntry:  36-10, Page
                                                         Filed 01/18/22   Page 218
                                                                               219 of
                                                                                   of 219
                                                                                      220
                   ROSENDORFF CROSS BY MR. WADE                                         2106


03:05PM    1       YOUR EFFORTS TO -- IT WOULD MAKE IT A -- MORE EFFICIENT FOR US

03:05PM    2       TO ENGAGE OUR JURY AND GET THE EVIDENCE IN AS NEEDED IF WE CAN.

03:05PM    3             I KNOW YOU MIGHT HAVE SOME DISCUSSIONS ABOUT CERTAIN

03:05PM    4       TOPICS, AND I'M EAGER TO TALK WITH YOU ABOUT THAT.

03:05PM    5             BUT TO THE EXTENT THAT YOU CAN MEET AND CONFER AND

03:05PM    6       IDENTIFY THOSE DOCUMENTS, I'M HAPPY TO HEAR IT'S NOT 12,000

03:05PM    7       PAGES, THEY FIT ON A POST-IT, A SMALL POST-IT, WHICH IS

03:05PM    8       REFRESHING, SO WE WILL SEE WHAT WE CAN COME UP WITH.

03:05PM    9                    MR. WADE:    WE WILL DO THAT, YOUR HONOR.      OBVIOUSLY

03:05PM   10       WE HAVE A LITTLE MORE FREEDOM TO HAVE THOSE DISCUSSIONS NOW

03:05PM   11       THAT WE HAVE THE WITNESS ON CROSS.

03:05PM   12                    THE COURT:    OKAY.   THANKS.   HAVE A GOOD EVENING.

03:05PM   13       WE'LL SEE YOU TOMORROW.

03:05PM   14                    THE CLERK:    COURT IS ADJOURNED.

03:06PM   15             (COURT ADJOURNED AT 3:06 P.M.)

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                                        UNITED STATES COURT REPORTERS
     Case: 22-10312, 04/25/2023,
     Case 5:18-cr-00258-EJD      ID: 12702996,
                              Document   1267 DktEntry:  36-10, Page
                                               Filed 01/18/22   Page 219
                                                                     220 of
                                                                         of 219
                                                                            220


 1

 2

 3                              CERTIFICATE OF REPORTERS

 4

 5

 6

 7             WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   SEPTEMBER 28, 2021

22

23

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                              UNITED STATES COURT REPORTERS
